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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF GEORGIA
                                     SAVANNAH DIVISION

CHRIS JAZAIRI,
            Plaintiff.
VS .                                                       CIVIL ACTIO N
                                                           FILE NO . : CV-04-404 - 091
ROYAL OAKS APARTMENT
ASSOCIATES, L . P . , Its Parent Company
And Subsidiaries, And
MITCHELL L . MORGAN
MANAGEMENT, INC .
                      Defendants,




                             P LAINT I FF'S FIRST MOTION I N LIM I NE
                                 RE : RAYMOND HARB I SON, P H .D .



        COMES NOW Plaintiff and moves to exclude the expert testimony of Defendant , including

testimony offered by Raymond Harbison, Ph . D., based on the lack or relevancy and lack       of reliability
of the testimony and in support of this motion states the following :

                 Defendant has named Dr.        Raymond     Harbison as an expert witness in the above

referenced action . Dr .   H arbison has no personal kno w ledge of any facts in this lawsuit. See Harbison
Report attached hereto as Exhibit I .        Dr. Harbison is a pharmacologisUtoxicologist and he has

submitted an extensive resume on the many pharmacological studies in which he has participated .

None of these studies involved the effects of mold . See Harbison C . V . attached hereto as Exhibit

2 at pp . 14 - 48 . Dr . Harbison has not published any peer-reviewed studies on the allergic effects of

molds on humans . Dr . Harbison is not qualified to comment on the allergic effects of mold on

humans .




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        2 . Dr Harbison is not a medical doctor . Exhibit 2 . Dr . Harbison is not licensed in any

state to render a diagnosis or treatment to any person for illness , disease or injury . As a matter of

law, he is not qualified to examine, diagnose or treat a person . He cannot prescribe medication or


testing . He is not licensed to interpret medical objective studies , including x-rays, blood tests or

pulmonary function tests in determining the illness of a p erson .      In forming his opinions , Dr.


Harbison has relied on med i cal records of medical doctors who have examined, diagnosed and

treated Plaintiff. Exhibit 1 at p . 1 .   Dr . Harbison is not qualified to comment on the cause of

Plaintiff's injury .

        3.       Additionally, Dr . Harbison is not legally qualified to comment on whether Plaintiff

has suffered any problems associated with allergies . Dr . Harbison has not published any studies on

the cause of allergic reactions to molds or in a damp environment . He has not ever legally examined,

diagnosed or treated a person for an allergic condition .     As a matter of law , Dr .   Harbison is not
allowed to examine, diagnose or treat anyone for an allergic lung condition or any other type of lung

condition . Dr . Harbison is not qualified to comment on whether    Plaintiffs lung condition is related
to her exposure in apartment 1607, Royal Oaks Apartments .

         4.       Dr.   Harbison's mistaken belief about Plaintiff's medical condition is demonstrated

in his expert statement when he refers to Plaintiff's lung fibrosis which requires years to develop

and, therefore, could not have developed while she was in the apartment . Harbison Report, Exhibit


I at p . 7, ¶ 3 . Not a single treating medical doctor has contended that Plaintiff has lung fibrosis

which developed over a long period of years . Dr . Harbison does not recognize the symptoms of

hypersensitivity pneumonitis . However, Dr . Harbison steps into the shoes of the treating medical

doctors to opine on the medical cause of Plaintiff's illness .


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        5.       Dr . Harbison also presumes that Plaintiff's injuries are the result of a toxic exposure,

and, therefore, he reasons that Plaintiff cannot have had a toxic exposure because the scientific

community has not established a dose response relationship to specific molds . This presumption is

demonstrated by Dr . Harbison statement about the minimal standards that are necessary to establish

a cause and effect relationship for "toxic effects" which include the need for "cytotoxicity"

Exhibit 1 at Harbison Statement at p . 5 at items d, e and h . Dr . Harbison then states that because

there is no evidence of a dose relationship with toxic levels of mold and mycotoxins, Plaintiff could

not have been injured while living in the apartment . [d . at p . 5 . However, Plaintiff's doctor, Dr .

Johanning , has diagnosed Plaintiff with an inflammatory allergic reaction akin to hypersensitivity

pneumonitis . Johanning Depo . at 73-74, 111-112, attached as Exhibit 3 .         The medical literature

requires exposure but does not require a specific threshold dose before a diagnosis can be made

of this allergic condition . Exhibit 4, 5, 6, and 7 . There is no known dose response relationship

established by medical science relevant to an allergic reaction, as distinguished from    a toxic reaction .
Exhibit 8 .   Dr . Harbison's opinions about the necessity of a dose response relationship to establish

a toxic reaction is irrelevant .

        6.       Dr . Harbison is not an industrial hygienist . Exhibit 2 . Dr. Harbison does not collect

or analyze mold samples in the regular course of his practice .      He does not inspect residences for

unhealthy dampness or elevated levels of mold in the usual course of his practice . Defendant has

not presented any evidence that Dr . Harbison has any qualifications to comment on Ken Warren's

evaluation of the mold exposure of Plaintiff in Apartment 1607 , Royal Oaks Apartment and the need

for remediation as confirmed by the Chatham County Department of Health . Dr. Harbison's

comments on Mr . Warren's evaluation are outside of Dr. Harbison's area of expertise .


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        7.       Dr . Harbison is not a mycolog i st .      Exhibit 2 . Defendant has not presented any

evidence that Dr . Harbison is qualified to testify on the nature of molds . He is not qualified to

determine the most accurate method of evaluating a residence for mold exposure . Additionally, Dr.

Harbison is not qualified to comment on the most probable level of mold spores in the apartment .

Additionally, any comments on the nature ofmolds , particularly the molds found in apartment 1607,

Royal Oaks Apartment would be outside Dr . Harbison's expertise .

        8.     Dr . Harbison would be qualified to testify on pharmacological or toxicological

testing, but such testing is irrelevant to the allegations in this lawsuit . Exhibit 2 .

        9.       The expert report of Dr . Harbison is required to be a complete statement of his

opinions and rationales . Rule 26(a)(2)(B) . Any testimony from Dr . Harbison must be limited to his

opinions and rationales stated in his report . Id .

        WHEREFORE, Plaintiff respectfully requests that the testimony of Dr . Harbison be limited

in conformance with the trial court's gatekeeping function set forth in Daubert v . Merrell Dow

Pharm . Inc . , 509 U . S . 579 (1993) and the notice requirements of the federal rules ofcivil procedure .

Rule 26(a)(2)(B) , F .R . Civ . P .




                     THIS , the ~ day of                                       12005 .



                                         EUGENE C . BROOKS, IV
Brooks Law Firm                          Georgia Bar N o . 08-4750
313 West York Street
P .O. Box 9545
Savannah, GA 31412
912/233-9696


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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 SAVANNAH DIVISION
CHRIS            JAZAIRI,                    )
               Plaintiff.                     )
VS .                                          )     CIV IL ACTION
                                                     FILE NO . : CV-04-404-091
ROYAL OAKS APARTMENT )
ASSOCIATES, L . P . , Its Parent Company )
And Subsidiaries, And )
MITCHELL L. MORGAN                     )
MANAGEMENT, INC .                         )
                      Defendants, )

                                   BR IEF IN SUPPO RT OF
                          P LAINT I FF'S FI R ST MOTION IN LIMINE
                              RE RAYMON D HAR BI SON . PH .D .



       I. STATEME N T OF THE CASE




       Plaintiff Chris Jazairi , a tenant in apartment 1607 of Royal Oaks Apartment in Savannah ,

from May until the end of August of 2002 has been diagnosed with an allergic inflammatory lung

condition resulting from exposure to an unhealthy damp residential living environment that included

atypical elevated levels of mold . Plaintiff has sued the landlord in tort for recovery for her injury .




       II.     ARGUMENT AN D C I TAT ION OF AUTHO RITY




                A.     Th e Federal R u l es of Evidence Limit Expert Testimony




        Defendant has proffered the testimony of Dr . Harbison on a broad range of topics including

medical causation, exposure levels and the nature of molds .                    Dr .   Harbison is a
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pharmacologist/ toxicologist . Dr . Harbison's testimony should be limited because (1) he is not

qualified to testify competently regarding the matters he intends to address ; (2) his proffered expert

testimony is unreliable under Rule 702 ; (3) his proffered expert testimony is irrelevant under Rule


402 ; and (4) his proffered expert testimony is unfairly prejudicial under Rule 403 .

        The Federal Rules of Evidence provide for the admission of expert testimony when

"scientific, technical, or other specialized knowledge will assist the trier of fact . " Fed . R . Evid . 702 .


Under Rule 702 , in such situations a witness "qualified as an expert by knowledge, skill, experience,

training, or education may testify . . . in the form of an opinion or otherwise . " Id.

        The Supreme Court in Daubert v . Merrell Dow Pharm . . Inc ., 509 U . S . 579 (1993), focused

on the admissibility of scientific expert testimony , findin g that such testimony is admissible only if

the expert is competent to present it, and it is both reliable and relevant . The Court explained that

"Federal Rule of Evidence 702 allows the admission of expert testimony only if: (1) the expert is

competent and qualified to testify regarding the matters that he intends to address ; (2) the

methodology by which the expert reaches his conclusions is sufficiently reliable ; and (3) the expert ,

through scientific, technical or specialized expertise, provides testimony that assists the trier of fact

to understand the evidence or determine a fact in issue . " Siharath v . Sandoz Pharm . Coro . , 131 F .

Supp . 2d 1347, 1351 (N .D . Ga . 2001) (citing Daubert , 509 U . S . at 590 - 91) : Allison v . McGhan

Med . Coro . , 184 F . 3d 1300, 1309 (1 lth Cir . 1999) ; City of Tuscaloosa v . Harcros Chemicals, Inc . ,

158 F .3d 548, 562 (11 th Cir . 1998)) . To ensure that these elements are present , the Court held that ,

under Rule 702, trial judges are to serve as the "gatekeeper" to the introduction of such evidence .


Daubert, 509 U . S . at 591-93 . "The judge's role is to keep unreliable and irrelevant information from

the jury because of its inability to assist in the factual determinations, its potential to create


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confusion, and its lack of probative value . " Allison, 184 F . 3d at 1311-12 .

        "The burden of laying the proper foundation for the admission of the expert testimony is on

the party offering the expert, and admissibility must be shown by a preponderance of the evidence ."

Id. at 1306 . "Where the burden has not been satisfied, Federal Rule of Evidence 702 precludes expert

testimony ." Siharath, 131 F . Supp . 2d at 1351 .

        In performing its "gatekeeping" function, the trial court is required , under Federal Rule of

Evidence 104(a), to answer preliminary questions regarding the admissibility of expert testimony

under Rule 702, examining the expert's opinion testimony for competence, reliability, and relevance .

The first element addresses whether "the expert is qualified to testify competently regarding the


matters he intends to address . " Allison, 184 F . 3d at 1306 . Under Rule 702, the question is whether

the witness is qualified as an expert "by knowledge, skill , experience , training or education" in the

area concerning which he or she will present expert testimony . Fed . R . Evid . 702 . The court must

examine "not the qualifications of a witness in the abstract, but whether those qualifications provide


a foundation for a witness to answer a specific question . " Berry v . City of Detroit, 25 F .3d 1342,

1351 (6th Cir . 1994), cert . denied , 51 3 U . S . 1 ll 1 (1 995) . I f th e wi t n ess is not qua lified to testi fy

competently regarding the matters he or she intends to address, then his or her testimony should be


excluded . See United States v . Paul, 175 F .3d 906 , 912 (11th Cir . 1999) (witness's review of

literature in area outside his field "did not make him any more qualified to testify as an expert . . .

than a lay person who read the same articles") ; City of Tuscaloosa, 158 F . 3d at 563 ("[P]ortions of

[plaintiffs' expert's] testimony lie outside of his competence as a statistician . . ., thus requiring the

exclusion of those portions of [his] data and testimony . . . . ") .

         If the Court determines that the witness is qualified to testify competently regarding the


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matters he or she intends to address , the Court must next assess the reliability of the proffered expert

testimony . The Court must determine "whether an expert's testimony reflects `scientific knowledge , '

whether the findings are `derived by the scientific method ,' and whether the work product amounts

to `good science . "' Daubert v . Merrell Dow Pharm . , Inc . , on remand , 43 F . 3d 1311 , 1316 (9th Cir .

1995), cert . denied, 516 U . S . 869 (1995) (quoting Daubert, 509 U . S . at 590, 593)) . The adjective

"scientific" in "scientific knowledge" implies "a grounding in the methods and procedures of


science . Similarly, the word `knowledge' connotes more than subjective belief or unsupported

speculation. " Daubert, 509 U . S . at 590 . Thus, "[u]nder the regime of Daubert . . . a district judge

asked to admit scientific evidence must determine whether the evidence is genuinely scientific , as

distinct from being unscientific speculation offered by a genuine scientist . " Allison, 184 F . 3d at

                                          Corp 78 F .3d 316,318 (7th Cir. 1 996)). See also Cartwri ght
131 6- 17 (quoting Ro sen v . Ciba-Gei gy .,

v. Home Depot U . S.A. , Inc . , 936 F. Supp .   900,905 (M. D . Fla   1996) ("Even experts must show that

they used science and not speculation to come to their conclusions . ") . The burden of proving the

reliability of proffered expert testimony rests with the person seeking to use it ; "the expert's bald

assurance of validity is not enough . " Daubert, 43 F . 3d at 1316 .




                 B.      Dr. Harbison's Proffere d Testimony D oes Not "Fit" Under Daubert




        "The final element ofadmissibility, set forth in Daubert, is an appropriate relevance, or `fit,'

between the expert's opinion and the facts of the case ." Siharath, 131 F . Supp . 2d at 1352 (citing

Daubert, 509 U .S . at 591 ; United States v . Gilliard, 133 F .3d 809, 812 (11th Cir . 1998) ; United

 States v . Smith, 122 F .3d 1355, 1358-59 (11th Cir . 1997)) . "`Fit' is not always obvious, and


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scientific validity for one purpose is not necessarily scientific validity for other, unrelated purposes . "

Daubert, 509 U . S . at 591 . "Scientific testimony does not assist the trier of fact unless the testimony

has a valid scientific connection to the pertinent inquiry . " Siharath , 131 F . Supp . 2d at 1352 (citing

Daubert, 509 U . S . at 591) . "There is no `fit' where there is `simply too great an analytical gap

between the data and the opinion offered,' as when an expert offers animal studies showing one type

of cancer in laboratory mice to support causation of another type of cancer in humans . " Id . (citing

G e n eral Elec . Co . v . Join e r , 522 U . S . 136 , 146 (1 997)) .

         In the case sub 'u~dice, Dr . Harbison's opinion about toxic mold inj ury does not         "fit" into the
facts of the case . Toxic injury from mold is not an issue . The dose-response relationship between

toxic exposure and human injury is irrelevant to the case sub ,~dice
                                                               ~u    . Plaintiff has not been diagnosed

with her injury toxic exposure .

         Plaintiff has suffered an allergic lung inflammation . Dr .        Johanning, a    medical doctor, has

applied medical science in diagnosing Plaintiff with allergic inflammatory response . Johanning

Depo . at 54, 74, 126-27 at Exhibit 3 . Dr . Harbison is not a medical doctor and is unqualified to

criticize medical science because he is not a medical doctor . Dr . Harbison has no qualifications to

establish the standard necessary for a medical diagnosis . Furthermore, Dr . Harbison's opinions

stated in his written report on the cause and effect of toxins is irrelevant . Daubert v . Merrell Dow

Pharm . Inc . , 509 U . S . 579 (1993) .




                   C.       Dr . H a rbi s on I s U nre li a bl e B eca u se H e I s No t Qu a lifie d t o Tes tify
                            Co mp ete ntl y R egardi n g th e Matters H e In te nd s to A ddress



         Dr . Harbison intends to express general opinions at trial on       abroad range of issues which are

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outside of his expertise . For instance, his expert report addresses issues of medical diagnosis and

practice . While Dr. Harbison maybe qualified to opine generally about the ability of specific toxins

he has studied to cause injury to humans, he is not qualified to comment on Plaintiff's medical


condition or the cause ofher condition . Dr . Harbison has also not examined or treated Plaintiff . Dr .

Harbison's opinion on the medical standard that must be satisfied to establish a medical diagnosis


must b e exclude d . Daubert , 509 U . S . at 579 .

        Dr.   Harbison's expert report addresses Plaintiff's medical condition and he relies on his

review of medical records in forming his opinion .           However, he is not qualified to make such


statements as a matter of law . O . C . G . A . § 43-34-26 . He does not have a medical license to diagnose

or treat anyone, no matter what their condition . For instance , Georgia strictly limits the practice of

medicine to license medical doctors . O . C .G .A . § 43-34-26 . Dr . Harbison is not a medical doctor .

His testimony on medical practice and diagnosis would be unreliable .                Therefore , he can not


comment on Plaintiff's illness or the cause of it . Daubert , 509 U . S . at 588-95 .

        Dr . Harbison is no more qualified to testify competently regarding the cause of Plaintiff's

medical condition and the cause of her condition than a lay witness w ho read her medical records .

See Paul, 175 Fad at 912 ; City of Tuscaloosa, 158 Fad at 563 . Because Dr . Harbison is not qualified

to testify competently regarding the matters he intends to address at trial, his opinion on the cause


of Plainti ff's illn ess should be excluded under Rul e 70 2 . Daub ert , 509 U . S . at 588 - 95 .

        Additionally, Dr . Harbison does not have the qualifications to comment on Mr . Warren ' s

opinion which is based on the practice of industrial hygiene . Mr . Warren inspects and advises

property owners and insurance companies on the need for mold remediation based on this opinions

of potential unhealthy mold exposure as a regular part of this business . See Warren Affidavit , App .


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Vol . I at Exhibit 31, attached hereto as Exhibit 9 .              Dr . Harbison does not have this experience or


expertise .   While Dr . Harbison is certainly bright and accomplished , his area of expertise in

pharmacology and toxic exposures would not qualify him to perform tasks outside of his field .


Daubert , 509 U . S . at 588 -9 51 ; Paul , 1 7 5 F . 3d at 9 12 .

         Additionally, Dr . Harbison is not qualified to opine on the nature of molds . He does not

study molds . He is not a mycologist .             He has not published on the field of mycology .          He has


apparently picked up a book which discusses molds and is reciting what a book says . Unfortunately,

he has misunderstood or mischaracterized the book's statements . See                    Homer Affidavit    attached

hereto as Exhibit 11 at ¶¶ 6-7 . Dr . Harbison is no more qualified to speak about molds than a

layman . See Paul, 175 Fad at 912 ;          City of   Tuscaloosa, 158 Fad at 563 .




                   D.       D r. H arbison's Testimon y Should Be Limited Under R ul e 402 B ecause
                            It Is Irrelevant



         Dr . Harbison's proffered testimony on the need for a dose response study to establish the

toxic effects of each of the molds that may have been in Plaintiff's apartment should also be

excluded because it is irrelevant . Rule 402, F .R . E .             Plaintiff's lung condition was either caused by


an allergic reaction, as testified to by Dr . Johanning [Johanning Depo at pp . 126-27, Exhibit               31, or
by cigarette smoking, as suspected by Dr . Costanzo . Costanzo Depo . at 42, Exhibit 10 . No treating

doctor contends that Plaintiff has suffered a toxic reaction to mold that has caused longstanding lung


fibrosis . Therefore, Dr . Harbison's testimony about the lack of any studies on the dose response

relationship of molds is irrelevant .         Daubers 509 U . S . at 588 - 95 .




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                 F.       D r . Harbison's Testimony Must Be Limited to Opinions and the Basis
                          for T h ose Opinions in His Expert Report



        The federal rules require that a specially retained expert provide a full statement of his

opinions and the basis and reasons therefrom, all materials that he relied upon in forming his

opinions and all exhibits he will refer to in support of his opinions . Rule 26 (a)(2)(B) , F . R . Civ . P .

Dr . Harbison has written a 9 page report and Plaintiff has relied on this report as a full statement of

his opinions .   The committee that commented on the federal rules contemplated that the reports

might eliminate the need for depositions . See Rule 26 F . R . E . Committee Notes, 1993 Amendments

J(2).
        Dr . Harbison should not be allowed to extend his testimony beyond the opinions and

rationales for those opinions that are stated in his expert report . Dr . Harbison's testimony should be

limited only the opinions that are properly supported and are not cumulative in his expert report .

Rule 26(a)(2)(B) F . R . Civ . P .




                 F.       D r . Harbison's Testimony Should Be Limited under R ule 403




        Rule 403 may serve as an additional basis for excluding expert testimony that, although

relevant, has probative value which is "substantially outweighed by the danger of unfair prejudice ,

confusion of the issues, or misleading the jury, or by considerations of undue delay , waste of time ,

or needless presentation of cumulative evidence . " Fed . R . Evid . 403 . "The Supreme Court

recognized in Daubert the intricate role of Rule 403 in an expert testimony admissibility analysis

when it noted that expert testimony could be `both powerful and quite misleading because of the



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difficulty in e v alu atin g it ."' All is on , 184 F . 3d at 1 3 1 0 ( qu o tin g D a ub ert , 5 09 U . S . at 5 9 5 ) . "Th u s,

while Rules 401 and 402 reflect the                             general       policy of the Federal Rules for liberal admission of

evidence, Rule 403, working in conjunction with Rules 702 and 703, militates against this general

policy by giving courts discretion to preclude expert testimony unless it passes more stringent

standards of reliability and relevance . These stricter standards are necessary because of the potential

impact on the jury of expert testimony . " Id .

                In light of the many infirmities of Dr . Harbison ' s expert statement in this case, whatever

minimal probative value his opinions might have would be substantially outweighed by the danger

of unfair prejudice to Plaintiff or of misleading the jury .                                 Therefore, Dr.              Harbison's   testimonyshould

be strictly limited under Rule 403 .

                                                                    C O NC L US IO N

                An Order is attached for the Court's review . Plaintiff respectfully requests that this order be

entered which strictly limits Dr . Harbison's testimony only to matters in which he is qualified to

opine, which are relevant to this case and which he properly disclosed .




                THIS, the Z ! day of                              merit                                   , 2005 .




                                                                EUG C . BROOKS , IV
Brooks Law Firm                                                 Georgia Bar No . 08-4750
313 West York Street
P .O . Box 9545
Savannah, GA 31412
912/233-9696


            \                     j                         \
G AUSE R S Ac t rv eA Personal In uryU A Z A1Rf , CH R IS Bn e f i n S u ppo rt of 1 st M orto n   in Limme   - Harb i son wp d
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                         IN TH E UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF GEORGIA
                                   SAVANNAH DIVISION

CHRIS JAZAIRI ,

               Plaintiff.
VS .                                                   CIVIL ACTION
                                                       FILE NO . : CV-04-404-091
ROYAL OAKS APARTMENT
ASSOCIATES, L .P . , Its Parent Company
And Subsidiaries , And
MITCHELL L . MORGAN
MANAGEMENT, INC .,
                      Defendants .



                                   O RD E R ON PLAINTIFF'S
                                  FIRST M O TI ON I N LIM I NE



       Having read and considered Plaintiff's First    Motion in   Limine, it is hereby granted . Dr .

Harbison's testimony will be limited to his area of expertise in pharmacology and toxicology . Dr .

Harbison is not a medical doctor and is not qualified to discuss or render any expert opinion on the

symptoms, diagnosis, treatment or cause of Plaintiff's medical condition . Therefore, Dr . Harbison

may not testify on her symptoms, diagnosis, treatment or cause of Plaintiff's alleged injuries .

Daubert v . Merrell Dow Pharm . Inc . , 509 U .S . 579 (1993)

        Furthermore, Dr . Harbison is not an industrial hygienist and does not inspect , test or

remediate properties for mold or other moisture related problems as a regular practice . Therefore ,

Dr . Harb i son is not qualified to comment on the evaluation of apartment 1607, Royal Oaks

Apartments by Ken Warren, an industrial hygienist , or by the Chatham County Department of

Health . Therefore, Dr . Harbison may not testify on the methods of evaluating the apartment , on the

degree of mold contamination , on moisture-related damage in the apartment or on the health y or

unhealthy environment in the apartment . Id .
             Case 4:04-cv-00091-BAE Document 81 Filed 04/29/05 Page 15 of 224




              Furthermore, Dr . Harbison is not a mycologist and does not study the nature of molds . Also ,

he does not collect mold samples, analyze mold samples or interpret mold samples as a                                                                regular part

of his practice . Therefore, Dr . Harbison may not testify on the nature of molds , including those

found in the apartment, on the methods of collection and analysis of the mold samples or on the


interpretation of the mold analysis . Id .

              Furthermore, the testimony of Dr . Harbison is limited to the statements and opinions                                                         which
he has described in his expert report of December 6 , 2004 .                                                         Rule 26(a)(2)(B) , F . R . Civ . P .




                             So Ord e red thi s                                      day of                                         12005.



                                                                                        Hon . B . Avant Edenfield
                                                                                        Judge, U . S . District Court
                                                                                        Southern District of Georgia, Savannah




G   T SCRS`Ac m e ' Pe r sona l Inj uryV 4Z A1 R [,   CH RIS Order   -I st   Mo r on m L immc   -I l afi i son %pd




                                                                                                ' 2_
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                         REPORT OF DR . RAYMOND D . HARBISON

I am a board certified toxicologist and Director of the Center for Environmental/Occupational
Risk Analysis and Management at the University of South Florida, Tampa, Florida . I am also a
Professor of Environmental and Occupational Health in the College of Public Health at the
University of South Florida, Professor of          Pharmacology
                                                              and Pathology in the College of
Medicine at the University of South Florida, and adjunct Professor of Medicine at the College of
Medicine, State University of New York at Buffalo . I earned a doctorate in
Pharmacology/Toxicology    at the University of Iowa, College of Medicine in 1969 .            1
                                                                                       served on
the faculty of Tulane Medical School, New Orleans, Louisiana from 1969 to 1971 and
Vanderbilt Medical Center, Nashville, Tennessee from 1971 to 1981 . I served as Director of the
Interdisciplinary Toxicology Program at the University of Arkansas for Medical Sciences, Little
Rock, Arkansas from 1981 to 1988 . I was a Professor of Pathology, Toxicology and
Pharmacology   at the Health Science Center at the University of Florida, Gainesville, Florida
from 1988 to 1996 .

My experience includes research and teaching related to general toxicology, human health risk
assessment, evaluating potential mechanisms of toxicity in association with alleged health
effects, and evaluating patients potentially affected by chemical exposures who present to the
Occupational and Environmental Medicine Clinic at the University of South Florida .

I have served on the editorial boards of scientific journals, including Fundamental and Applied
Toxicology, Environmental Health Sciences, Teratogenicity, Carcinogenicity, and Mutageniciry,
and Research Communications in Pharmacology and Toxicology . I have served on advisory
committees for the National Academy of Sciences, National Research Council, American Cancer
Society, the United States Environmental Protection Agency, the National Institute of
Occupational Safety and Health, National Institute of Environmental Health Sciences, and the
National Institute for Drug Abuse .

I have authored over 150 scientific articles, and have publi shed se v eral chapt e rs in t extboo ks of
industrial hygiene and occupational medicine . I have published a textbo ok of industri al
toxicol ogy. My membership in scientific societies includ es the Society of Toxi co logy, S ociety
for Risk Analysis , Teratology Society, American Society fo r          Pharmacologyand E xperimental
Therapeutics, and the New York Academy of Sciences . My curriculum vitae, whi ch is attached
as Exhibit " 1," includes a complete list of my publications .

I have re vi e we d materials that include but are not limit ed to the depo s ition tes tim o n y of th e
Plaintiff Chris Jazairi and her medical records , the complaint filed by th e Pl aintiff, init ia l
disclosures and interrogatory responses by the Plaintiff, the Report of Dougl as R. Haney, t h e
Report of Kenneth R . Warren, visual inspection information and photographs for Unit 1 60 7 o f
the Ro y al Oaks Apartments in Savannah, Georgia, and a r eport (7-29-02) from th e Chatham
County Department of Public Health and results of samples taken Au gus t 2, 2 00 2 fro m Unit
1607 , sa mplin g res ults of Dr. Richard Lipsey, rough draft d epos iti o n te st i m o n y o f Dr . Eckardt
Johannin g, and other materials .


                                                                            EXHIBIT
                                                                                                      Page 1

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  I understand Chris Jazairi claims that mold discovered in her residence of Unit 1607 Royal Oaks
  Apartments, Savannah, Georgia caused and/or contributed to a variety of her current health
  conditions and complaints .

  From my training and experience, I am thoroughly familiar with the scientific and medical
  literature concerning mold and mycotoxins . I am also familiar with the documented effects of
  mold and mold mycotoxins on humans .

  In addition, from my training and experience, I am aware of available scientific literature
  describing the scientific methodology required to determine the cause of a human disease or
  ailment. I am aware of the requirement to apply this same methodology to establish the causal
  link between a mold exposure and alleged diseases and conditions, which would occur
  spontaneously or by chance, from those which may be caused as a result of mold and mycotoxin
  exposure . If the scientific methodology is not followed, arbitrary and incorrect associations may
  be made because of individual bias, confounders, and failure to use a precise and objective
  comparison .
  I have reviewed the opinions and conclusions of Mr . Doug Haney, Mr . Kenneth Warren, and Dr.
  Eckardt Johanning, clinical laboratory testing results, medical records, residence testing results
  and other information, and records from other health care providers concerning the complaints
  and conditions of Chris Jazairi .

  In any situation involving  environmental  exposure to mold and mycotoxins, where the alleged
  exposure is followed by an allegedly observable physiological change or deficit, the ultimate
  problem confronting the practitioner attempting to attribute a cause ties in determining whether
  there is a basis for concluding that the observed effect would not have occurred in the absence of
  mold and mycotoxin exposure .

  I have reviewed the residential history of Chris Jazairi . I am aware that Mr . Doug Haney and Mr .
  Kenneth Warren are alleging that mold and mycotoxin exposure in her residence either could
  have caused or did cause her current conditions and complaints . I understand Dr. Eckardt
  Johanning opines the initial complaints of Chris Jazairi were caused by mold and dampness at
  Unit 1607, but these effects have resolved and are not associated with her current complaints .

  It is my conclusion after reviewing these materials that the methodology and procedures used by
  Mr. Doug Haney and Mr . Kenneth Warren to reach their conclusions that Chris Jazairi was
  exposed to a harmful concentration of mold and/or mold toxins, or that any of this exposure
b caused or contributed to her current conditions, are not based on valid and reliable scientific
  principles and are not generally accepted by the scientific community . In addition, the data
  relied upon and advanced as supportive of their opinions is not based on valid and reliable
  scientific principles and is not generally accepted by the scientific community as supplying an
  adequate basis for the conclusions reached . Moreover, none of the records of other medical
  providers support a conclusion that Ms . Jazairi's alleged health conditions were caused by
  exposure to mold at the Royal Oaks Apartments . In sum, proof is lacking that Chris Jazairi
  either was exposed to a harmful amount of mold or mycotoxin in her residence or that any



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residential mold or mycotoxin exposure could have or, in fact did, cause her present conditions
and complaints .

In fact, there are many published conclusions that do not support the opinions of Mr . Dou g
Haney and Mr . Kenneth Warren and the claims of Chris Jazairi . For example, the American
College of Occupational and Environmental Medicine Council on Scientific Affairs (2002)
published that ,

                          "Current scientific evidence does not support the proposition
                          that human health has been adversely affected by inhaled
                          mycotoxins in home, school, or office environments"


In add iti o n , Dr. Harriet Burge of the Harvard School of Public H e alth published (2001) th at ,



                          "The fact that a mo ld is growing in a home is not good
                          evidence for exposure of any kind, and certainly not evidence
                          of any danger ."

Further, the American Industrial Hygiene Association (2001) published that,


                          "U ltimate ly, th e pane l conc l uded that at this time there is not
                          enough evidence to support an association between
                          mycotoxin fungi and a change in the spectrum of illness, the
                          severity of i ll ness or an increase in illness ."

Page and Trout (2001) of the National Institute for Occupational Safety and Health published
that,

                          "This review of t he literature indicates that there is
                           inadequate evidence to support the conclusion that
                           exposure to mycotoxins in the indoor (nonindustrial)
                           environment is causally related to symptoms or illness
                           among bui ldi ng occupants ."


Other published literature indicates that,

                    "Although exposure to molds can produce significant mucosal
                    irritation, there are very few data to suggest long-term ill effects .
                    More importantly, there is no evidence in humans that mold
                    exposure leads to nonmucosal pathology . . ."(Assouline-Dayan et
                    al ., 2002)

                     "specific toxicity due to i n haled fungal toxins has not been
                    scientifically established" (Fung and Hughson, 2002)



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                     "Specific toxicity due to inhaled mycotoxins is not well
                     doc umented, and remains controversial ." (Fang and Hughson,
                      2002)

                     "Adverse health effects from inhalation of Stachybotrys spores in
                      water-damaged buildings is not supported by available
                      peer-reviewed reports in medical literature ."
                      (Texas Medical Association, 2002)

Finally and most recently, the Institute of Medicine, of The National Academies concluded that
there was inadequate or insufficient evidence to determine whether an association exists for
possible mold effects such as,

                                    Dyspnea (sh ortness of breath)
                                        Ast hma deve l opment
                                        Airfl ow deve l opment
                               Mucous membrane irritation syndrome
                                         Chr o nic obstruction
                                           Inh a l atio n fevers
                                          Lower respiratory
                        Ac u te idiopathic pul monary hemorrhage in infants
                                            S k in symptoms
                                  Gastrointestinal tract
                                                       problems
                                             Fatigue
                                    Neuropsychiatric symptoms
                                              Cancer
                                       Rep rod uctive effects
                            Rheumato l ogic and oth er immune diseases

                (Institute of Medicine, Damp Indoor Spaces and Health, 2004)

Various individuals have attempted to devise a          methodology    sufficient for linking disease
processes occurring in a specific individual following specific exposures . There is general
agreement that in the absence of certain information, no valid conclusion as to cause and effect
can be made in a specific individual's case.

The followin g minimal information is required by the scientific community b e fo r e any
reasonable medical or scientific probability can be expr ess ed relating an expo s ure to an o b se rve d
effect in a specific individual .

                a.       Exposure to a putative agent must be do cumented .

                b . The exposure must occur in such a fashion that the substance is temporally
                        eligible to be the cause of the observed effect .




                                                                                                   P age 4
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               c.     The exposure level must be documented at a level capable of indu c in g a
                      known toxic effect .

               d . The observed toxic effect, whether acting directly on the target organ, or
                       indirectly through alteration of body chemistry or function must be
                       satisfactorily linked to the observed effect in the target organ . The
                       observed effect must be biologically plausible and known to be caused by
                       the agent .

               e . A toxic effect suspected of being responsible, either directly or indirectly
                       for injury to a specific organ must have been replicated in a general
                       population upon identical exposure .

               f. Confounding variables, such as drug-induced, intrinsic factors, or effects
                      caused by infectious diseases, must be eliminated as potential causal or
                      contributing factors .

               g . If the latency period (the time between exposure and alleged effect) is
                       extended, some plausible explanation for delay of onset of the disease
                       process must be present, either through data from similarly exposed
                       populations, or other sources .

               h . The specific effect from the putative agent must be demonstrated as
                      occurring in the specific individual involved . In cases where no effect can
                      be demonstrated other than injury to a target organ, no conclusion can be
                      drawn unless specific cytotoxicity affecting the target organ can be
                      demonstrated.

                      A consistent pattern of identical effects under controlled circumstances
                      must be demonstrated (literature precedence) .

                      A consistent morphologic pattern under controlled circumstances (or a
                      pathognomonic effect) must be demonstrated and existence of the specific
                      morphologic pattern confirmed in the individual case under consideration .

               k. Epidemiologic and bioassay tests must be supportive .

Neither Mr . Doug Haney nor Mr. Kenneth Warren have met these minimum requirem ents .

There is no objective evidence that Chris Jazairi was exposed to harmful or toxic levels of mold
and mycotoxins while living in the residence at Unit 1607 at Royal Oaks Apartments . Regardless
of that fact, none of the other minimal requirements generally accepted by the scientific
community as being required before a causal relationship can be attributed in a specific
individual's case are present here . However, Mr . Doug Haney and Mr . Kenneth Warren rely on
the belief that exposure to mold and mycotoxins as described in the various reports for the
residence can cause the current complaints and conditions of Chris Jazairi . This conclusion is not



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consistent with scientific and medical literature and public policy . The information availabl e
provides a "snapshot" look at the mold present in the residential environment at the time o f
visual observation and sampling. This does not identify and characterize the actual level of any
residential exposure of Chris Jazairi to mold and mycotoxins . Further, there are no federal o r
state standards that identify harmful concentrations of mold and mycotoxins in indoor
environments . Generally, indoor levels of mold are compared to outdoor levels of mold to
determine whether there is an "amplification site" for mold growth indoors . But even reports of
indoor levels of mold exceeding outdoor levels fall well short of the required evidence for
identifying a purported harmful dose of mold and mold toxins that a person received .

Dr . Richard Lipsey sampled personal belongings of Chris Jazairi more than nine months after
she moved out of Unit 1607 at Royal Oaks Apartments . These sampling results cannot be
extrapolated to the residence of Chris Jazairi because they were removed and stored elsewher e .
Further, these sampling results do not justify the destruction of approximately $90,000 . of
personal property . These sampling results cannot be used to reliably determine the mold cont ent
of Chris Jazairi's personal property while living in Unit 1607 .

A move-in punch list for Unit 1607 notes mold in the second bath and a letter to Royal Oaks
Apartments indicates visible mold on air vents in upstairs bathrooms and on walls around air
vents . The mere presence of mold does not result in mold and mycotoxins entering the body .
Exposure is only the opportunity for contact . The presence of mold does not always result in
airborne spores . For example, Stachybotrys spores do not easily enter the air because of the
sticky nature of this mold growth . Exposure does not necessarily result in mold or a putative
agent entering the body . A visual inspection by the Chatham County Department of Public
Health identified mold in bath laundry, master bedroom, around tub, and air-conditioning vent .
Sampling by Chatham County Department of Public Health (8-2-02) identified mold in two bulk
samples from the lower and upper bath . Various fungi were found in the bulk samples . The
reliability of these samples is suspect, because the samples were obtained August 2, 2002 but
were not received and analyzed by the laboratory until more than a month later. However no air
samples were collected and analyzed for viable and non-viable fungi . There are no samples that
indicate air levels of viable and non-viable mold exceeded any levels known to cause lung injury .
The average indoor air concentration of Colony Forming Units (CFU) per cubic meter (m3) of air
reported in the scientific literature for non-complaint residential structures was 1,252 CFU/m3 .
There is no sampling data that indicates the air levels in Unit 1607 ever exceeded that level . The
range reported in the scientific literature of indoor air concentrations of spores per cubic meter of
air was 68 to 2,703 spores/m3 . Again, there is no sampling data that indicates the air levels in
Unit 1607 ever exceeded these levels . Further, seasonal outdoor spore concentrations varied from
543 to 5,423 spores/m3, for example, during September 2001 through December 2001 in
Charlotte, NC . Therefore, airborne fungus exposure is normal and there is no data that indicates
exposure in Unit 1607 was distinguishable from outdoor, non-complaint, and normal residences .
Further, no indoor air surveys identified any mycotoxins present in the indoor air of Chris
Jazairi's residence. Therefore, any claim that Chris Jazairi was exposed to mycotoxins resulting
from mold growth in her residence is speculation .

These sampling results likewise cannot be used to justify the further remediation of Unit as 1607
proposed by Mr . Kenneth Warren . There is no objective validation of the efficacy of the



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additional remediation of Unit 1607 proposed by Mr. Kenneth Warren . There is no evidence that
the proposed remediation would significantly alter any exposure of Chris Jazairi to mold and
mycotoxins .

Mr. Doug Haney and Mr. Kenneth Warren contend that mold and mycotoxin exposure in Unit
1607 were excessive and could cause adverse health effects . However, neither Mr . Haney nor
Mr . Warren has relied on any air measurements of mold or mycotoxins for their opinions . Their
opinions are based on extrapolation and their methodology for extrapolation has not been
disclosed nor validated. Further, the error rate of their extrapolation methodology is not known .
They have not used any reliable methodology to arrive at their conclusions that there were mold
and mycotoxin levels in the air of Unit 1607 that were sufficient to cause the complaints and
conditions of Chris Jazairi .

There has not been a specific mold or mold toxin-induced toxic effect, attributable to mold from
the residence at Unit 1607 Royal Oaks Apartments that has been shown to be the cause of the
present complaints and conditions of Chris Jazairi and no specific mold and/or mold toxin-
induced cytotoxicity has been demonstrated . The present condition of lung fibrosis is not
temporally eligible to be caused by the alleged exposure at Unit 1607 . Development of lung
fibrosis takes years and could not have been produced in a few weeks or months as a result of an
alleged exposure at Unit 1607 . Such a claim is not biologically plausible .

No empirical data is available to indicate that the residential mold exposure identified in the
various reports for the Unit 1607 residence of Chris Jazairi is capable of inducing her pres ent
conditions . No direct or indirect evidence, indicating that a dose of mold and/or mycotoxin
resulting from the Unit 1607 residence is capable of altering body tissues, has been provided .
Neither Mr . Doug Harvey nor Mr. Kenneth Warren have provided any evidence that the alleged
household mold exposure of Chris Jazairi could have resulted in a dose sufficient to cause her
current conditions and complaints . No specific exposure analysis is provided for Chris Jazairi .
They rely simply on the history provided by Chris Jazairi and the limited sampling and reports as
the exposure basis for the conclusion that mold, mycotoxins, and the residential environment at
Unit  1607 is the cause of the present       conditions and complaints of Chris       Jazairi.
                                                                                             This
methodology is not consistent with a scientific methodology and these opinions are not
concordant with the scientific and medical literature .

None of the residential visual inspection and sampling reports establish that Chris Jazairi
received a harmful dose of any mold or mycotoxin .

None of the clinical laboratory test results establish that Chris Jazairi received a harmful dose of
any mold or mycotoxin from the indoor environment of Unit 1607 Royal Oaks Apartments,
Savannah, Georgia . Chris Jazairi was not found to be allergic to mold and mold was not
identified in her respiratory system . Although Dr . Eckardt Johanning opines that the initial
complaints of Chris Jazairi were due to an allergic response to mold in her residence, there is no
evidence to support that opinion . Dr . Johanning agrees that the present complaints of Chris
Jazairi were not caused by mold and conditions at Unit 1607 . However, he has not used a reliable
methodology for concluding the initial complaints of Chris Jazairi were caused by mold and
damp conditions at Unit 1607 . He also has not determined the frequency, duration, and level of




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exposure of Chris Jazairi to a putative agent . The rate of error of his methodology is not known_
Further, he has not properly ruled out smoking and other possible causes of her initial complaints
nor properly ruled in mold as a cause of her initial complaints . Finally, contrary to Dr.
Johanning's opinion, the Institute of Medicine concluded that there is inadequate or insufficient
evidence to determine an association between lower respiratory illness in adults and damp indoor
environment .

No consistent pattern of similar effects as seen in Chris Jazairi under controlled circumstances
has been reported in the scientific literature . There are no reliable epidemiological studies that
support a cause and effect relationship between the mold and mycotoxin exposure claimed by
Chris Jazairi and her complaints and conditions . Further, there are no reliable epidemiological
studies that support the opinions and conclusions of Mr . Doug Haney, Mr . Kenneth Warren, and
Dr. Eckardt Johanning .

Chris Jazairi is 39 years old and has a history of two decades of smoking a pack of cigarettes a
day and consumes approximately four ounces of alcohol on a daily basis . She also lived with a
smoker in Unit 1607 . She lived in the Unit for about four months . Her current condition and
complaints are similar to when living in Unit 1607 even though she has not lived in Unit 1607
for more than two years . One of her health care providers, Patricia Costanzo, MD (7-20-04)
noted,


       "Chris moved to the mid-west and th en back here . She is h eadstrong

       about the mold issue . S h e has seen several ot h er doctors in regard to

       i t. I am not sure if s h e wa n ts me to h elp her and treat her or whether

       she simply wants me to try to help h er with a lawsuit . " (MED0031)



       "S h e feel s tir ed a nd s h o rt o f brea th o n exert i on . She h as a nt e rio r chest

       pain or tightness . She h as a s lew o f other complaints referable to almost

       every body system, a ll o f whic h sh e is trying to blame on th e mold ." (MED0031)



       " H owever, the res ults of my bron ch oscopy fa il e d to recove r a n y m old" (ME D0031)

Further, neither Mr . Doug Harvey, Mr. Kenneth Warren, nor Dr. Eckardt Johanning has provided
comparative risk analyses for the smoking and drinking history of Chris Jazairi . These are risk
factors for her present condition and complaints .

Absent reliable epidemiological studies that support a cause and effect relationship between
mold exposure and her complaints and conditions and evidence that Chris Jazairi received a
harmful dose of mold and mycotoxin from the indoor environment of the residence at Unit 1607,
any testimony by Mr . Doug Haney, Mr. Kenneth Warren, and Dr . Eckardt Johanning alleging
Chris Jazairi has suffered injuries as a result of exposure to mold and mycotoxins at the dwelling
is speculation .



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Based upon a review of all of the exposure evidence and the present conditions and complaints
of Chris Jazairi, it is my opinion that the methodology and procedures adopted by Mr . Dou g
Haney, Mr. Kenneth Warren, and Dr. Eckardt Johanning are not based on valid and reliabl e
scientific principles, have not been adequately tested, are not generally accepted by the scientific
community, and when subj ected to peer review, have been rejected by the scientific community .

In addition, the scientific basis that is relied upon is wholly inadequate . The evidence relied
upon by Mr. Doug Haney, Mr. Kenneth Warren, and Dr . Eckardt Johanning can fairly be
described as non-existent . They have provided no reliable evidence of a harmful mold and
mycotoxin exposure resulting from residing at Unit 1607 . They have relied on the belief that
exposure to mold, based on the description of Chris Jazairi and the various reports provided,
caused the present condition and complaints of Chris Jazairi . Even under the most minimal
standards, the evidence is totally absent to draw a conclusion that household mold exposure as
described by Chris Jazairi and others and sampled by Chatham County Department of Publ i c
Health caused or contributed to the present conditions and complaints of Chris Jazairi .

No reasonable practitioner would conclude that sufficient evidence exists for linking this
household mold exposure, as identified by Chris Jazairi and various reports, with the alleged
conditions and complaints of Chris Jazairi based on the facts of this case .

I reserve the right to change and/or supplement my opinion should additional information
become available.




RAYMOND D . HARBISON, M . S, Ph . D .

12-06-04




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                                  Center for
                                  EnvironmentaUOccupational
                                  Risk Analysis & Management
COL L EGE OF P U BL IC   HEALTH        O CCUPATIONAL, ENVIRONMENTAL   & A GRICULTURAL                           E
                                                                                        DISEASE CONTROL do PRE 4 ,NTIO.N

UN IVE RS I TY O F SOUTH FLORIDA




                         D r. Ray mond D . H arbison
                            Profess or & D irecto r
                                        904-608-3935
                                  rharbiso @ix .netcom.com




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         Case 4:04-cv-00091-BAE Document 81 Filed 04/29/05 Page 26 of 224




                                      CURRICULUM VITAE

                           Raymond D . Harbison, M.S., Ph.D .
          Center for Environmental/Occupational Risk Analysis & Management
                                College of Public Health
                              13201 Bruce B . Downs Blvd .
                              Tampa, Florida 33612-3805




Home Address : 15445 51st Drive
                 Wellborn, Florida 32094

Date and Pl ac e of Birth : January   1, 1943, Peru, Illin ois
EDUCATION


Dra ke Unive rsity , Des Moines, Iowa -19b1 to 1965, B .S.


Uni versity of Iowa, Iowa City, Iowa     - 1965 to    1967, M .S. (Pharmacology) -
        Thes is : Induced hyperbilirubin emia and a quantitative method or an a lysi s of
        di azo ti ze d bilirubin .


Univer s ity of Iowa , College of Medicine, Iowa City, Iowa - 1967 to 1969 , Ph. D .
      ( Pharmac ology/Toxicology) - Dis sertati o n :      Studi e s on the mechanism o f
      t e rato genic action and neonatal pharma c ol ogy o f diphenylhydantoin.

S UM   MARY   OF EXP ERIENCE
2004-PRESENT
DEPARTMENT OF HEALTH
STATE OF FLORIDA
ENVIRONMENTAL PUBLIC HEA LTH TRACK IN G           ADVISORY COMM ITTEE


2003-PRESENT
!ASSOC IATE M EMBER
H . LEE MOFFITT CANCER CENTER & R ESEARCH I NSTITUTE
TAMPA, FL

2003-PRESENT
CHAIRMAN, PUBLIC H EALTH OVERSIGHT COMMITTEE
SAUDI   ARABIA



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2002-PR ESE NT
RESEARCH PROFESSOR, Center for         Environmental Di agnos tics a nd Bio re med iation
The Uni ve rsity o f West Fl orida
P en saco l a, FL




2001-PRESENT
T RAINI NG      DIRECTOR,    NIOSH     HAZA RDOUS SUBST ANCES CONTINUI NG EDUCATION
TRAINING
NI OSH -     EDUCATION AND R ESEARCH CENTER, UNIVERSITY           OF SOUTH F LORIDA


2000-PRESENT
BROWNFIELD ADVISORY B OARD- HI LL SBO R OUGH          COUN'T'Y, FLORIDA


2000-Pr ese nt
Editorial B o ard- R ese arch Communications in Ph arm acology and Toxicolo gy

1999-Pr ese nt
Vice Chair, Technical Advisory Committee, Brownfi eld Advisory Board , C ity of
Clear-water, Florida

1998-Pr esent
Toxic ol og i s t,   Rese arch Service, Haley Veteran s Adminis tration Hospit a l, T ampa,
Fl orida


1998-Pr esent
Pro fe sso r, Dep a rtme nt of Pathology, College of M e dicin e, Univ e r s ity of South Fl o rida



1995-Pr esent
Adjunct Professor,        Department of   Medicine, Colle ge of Medicine, State Univ ersity of
New York at Buffalo

1995-Prese nt
Pro fessor,     Department
                         of Pharmacology and Th e rap eutics, College of Med icine,
University of South Florida

1995-Present
Professor, Department of Environmental and Occupational Health, College of Public
Health, University of South Florida

1 995-Pr ese nt
D i r ec tor, Cent er fo r Environme ntal/Occupatio nal Risk Anal ys is & M an agemen t,
Coll ege o f P ubli c H ealth, University of South Fl o rid a


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1 9 9 6-P r ese nt
Direc t or , Cer t ifi cati o n of Hazardous M a te ria l s      H a ndler s   R e view   Cour se and
E xa mina ti o n


1994- Pr esent
Nati on a l Ins titut e of Health, Reviewers Res e r v e


1994-1995
Advisory Board of Center for Training, Research, and                   Education   for Environmental
Occupations (TREED), University of Florida



1993-1997
American Cancer Society Study Review Group                 (Florida)
1993-1 997
Academy o f T oxicological Sciences, Board of Dir ectors

1992-1997
Advisory Board of Earth 2020, the University of Virginia's Center for Environmental
Policy

1 99 1- 1995
Fac ulty, S up e rfund Unive rsity Training Institut es, E as t Tennessee State Univ ers ity and
Unive r sity of Virginia

1991-1995
Science Advisory Board Consultant, Environmental Health Committee, United States
Environmental Protection Agency


1990-1995
Professo r, De partm ent of Pathology, College o f M edicine, University of Florid a

1989-1995
Director, Laborat ory for Environmental and Human T oxicology, Univ ersity o f Florida

1989-1997
Sp ec iality Staff, St. Vincent Infirmary Medical Center, Little Rock, Arkan s as

 1989-1996
 Board of Advisors, The Environmental Institute

 1989-1994
 National Institute of Drug Abuse, Pharmacology II Study Review Group


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          Case 4:04-cv-00091-BAE Document 81 Filed 04/29/05 Page 29 of 224



1 988- 1 995
Professo r, D e p a rtme nt of Pharmacolo gy and Th er a p eutics,     C o llege of M edicine,
Uni ver s ity of Fl o r i da


1988-1995
Professor, Department of Physiological Sciences, Health Science Center, University of
Florida

1987-1997
Clinical Pr ofessor, Department of      Preventive M edicin e, Medical College of Wi sconsin,
Milwaukee, Wisc onsin

1 986-1990
National Institut e of Environmental Health Scien ces S tudy Revi ew Group

1984 -1 98 5
C hairm a n , Nati o nal Institute of Occupational Saf e t y and H ealth Study Review Gr o up

1982-1986
Editori al Bo ard , Fundamental and Applied Toxic olo gy

1 980-1990
Soci e ty o f Toxic olo gy Liaison with Teratology So c i ety


1980-1 988
Profess or,   Department of   Pharmacology, University o f Arkan sas for Medical Sciences



1980-1984
National Institute of Occupational Safety and Health Study Review Committee

19 79-Present
Editori al B oar d, Teratogenicity, Mutagenicity , Carcinogeni city

1977-1 980
Dir ecto r, Toxic Substance Control Laboratory and A ss ociate Professor,      Department of
Pharmacology and Bi och emistry, School of M edicine, Va nderbilt Uni versi ty, Nashv ille,
Tennesse e

1977-1980
Professional Affairs Committee -      American Society      for Pharmacology and Experimental
Therapeutics




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1977-198
National Institute on Drug Abuse       - Review of    DAWN (Drug Abuse Warning       Network)
1977-1979
G radu a t e Edu cation Co mmitte e , Vanderbilt Univ e r s ity


1977-1978
National Research Council      Committee to     Review Scientific Program of National Center
for Toxicological Research

1976-1980
Editorial Board, Environmental Health Sciences

1 976-1977
National Ac a demy of Science, Advisory Center f or Toxicology          - Revision   of Toxic ity
Testing Proce dure s for C onsumer Protection Ag ency

1 975- 1 976
Tec hni ca l Committee of the Society of Toxicol o gy , Chairman


19 7 5 -1976
Nati ona l Ins titut e on Drug Abuse Center Review Committe e

1974-1980
Editorial Bo ard , Inte rnational Journal of   Addictive Di sease s
1974-1979
Vanderbilt Medical Center,      Animal Care      Comm itt ee

1974-1978
C ons ultant, U . S . Congressional Committee on Saf e ty As sessment of Chemica l Additives
& Dru gs

1974-1975
Standing Policy Committee on Biomedical Scienc es, Vanderbilt School of Medicine;
National Institute on Drug Abuse, Clinical B ehavioral Review         Committee
1974-1975
Co-C hairman, Technical Conunittee of the Society of Toxicology

1972-1976
Assistant Professor of Pharmacology and Biochemistry, Vanderbilt University School of
Medicine




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1 97 1 -1 975
Na ti o n a l In s titutes of Me ntal H e alth-Narcotic Addic ti on and Dru g Abu se R eview
Committ ee, Bi o me di cal- Pharm aco logy-T oxi c olo gy


1 971- 1 972
A ssis ta nt P rofessor, D epartme nt o f Pharmacology, Tul a ne Medical Sch oo l


1971 -197 2
Director of Teratol ogy S ection, Laboratory of Envir onmental Health ,         Department of
Medicine, Sc hoo l of M edicine , Tulane University

1969-1970
Instru c t or of Ph a rmaco logy, Tulane Medical Scho o l

1965-1969
USPHS Trainee, University of Iowa, Department of Pharmacology, College of Medicine,
Iowa City, Iowa


PROFESSIONAL SOC I ETIES


Rho Chi Honor ary Pharmacy Society
S igma Xi (Prom o tio n of Research in Science)
Am e ric an A ssoc i a tio n f o r the Advancement of S cie n ce
Te r ato l ogy Socie ty
Soc i e ty of To xi co log y
Ame r ican Soc iety fo r Ph a rmacology and Exp e rime ntal Therapeutics
N e w Y ork A cademy of Science
So cie ty fo r Ri s k Anal ys is

AWARDS
1978
Socie ty o f Tox ico logy Achievement Award

CERTIFICATION
1982
1987
1992
1997
2002
Certified in General Toxicology
Registration
Registered Professional Industrial Hygienest
1999

                                      INDUSTRIAL EXPERIENCE



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•       Occi den tal Oi l   - Worker safety in o il shale production
•       Shell D evelopm ent Corp oration      - Pesticide use a nd safety
• Petrolit e Corporatio n          - Health ass essment       of waste incin e ration method s

• Monsanto Co rporation              - Chemical      mutagen es is a nd   the workplace,     environmental
  assess ment o f PCB pollution

• American Acade my of Industrial Medicine                     - Women in   the workplac e

• T e nnessee Occ up a tional Safety Health Admini s tration - Indu s tri al toxico l ogy
  tr a ining c our se

•       Society Organic Che mical Manufacturing A ssociatio n             - Chemical car cinogenesis
•       Sanitary Co rporation of America           - Worker safety at industrial residue landfill sites
    •   E thyl Co rp o ration - Chemical-induced mutage n esi s               and terato g ene s is in the
        wo rkplac e


    •   State of Kentucky Bureau of Natural Resourc es              - Toxicology training course for solid
        waste management personnel

    • U .S. E nvironm ental Protection Agency - Chemistry and toxicology of hazardous
      mate ria l s training course for     spill
                                       management p ersonnel

    • Eco logy a nd Environment, Inc . - Health and safety program advi sor

    • Texaco     - Toxicology consultant
    • Hoo ker Chemical Company            - Evaluation of health effects at Love Can al
    •   Che mical Manufacturers Association            - Technical review of health eff ects of PCBs
    • Ame ri can Pe trol e um Institute - Comm ent s                    to EPA conc erning Resource
      Co nse rv a tion Re c ov e ry Act


    • IBM Corporation - Reproductive hazard assessment

    •    U.S. Environmenta l Protec tion Agency - Rebuttab le presumptio n review of
         pesticides (FIFRA)



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• United S tates    Department of   Agriculture       - Review of aerial pes ti cide appl ications
•   St ate o f Georgia    Department
                                  of Environmental Pr otec tion              - Toxicology    trainin g
    cou rse for emergency environmental incide nt m anage ment

•   State of North Carolina Environmental Resource Management Division                  - Toxicology
    training course for   environmental management         and public health personnel

    Exx on    - Review of teratogenic hazard of   benzene exposure

• U.S.       Department
                      of Justice       - Evaluation
                                                  of          environmental
                                                                       and publi c health
  problems as soc iated with Price Landfill, Atlantic C ity , New Jersey

• U.S. Departm ent of Justice          - Evaluation
                                              of environmental and publi c health
  problems a ssociated with Bridgeport Oil and R ent al contaminati on of the D ela ware
  River, Bridgeport, New Jersey

• U .S. Environm ental Protection Agency       - Evaluation of the environmental            imp act of
  dredgin g of the Hudson River for PCBs, New York

• U . S . Environmental Protection Agency - Evaluation of environm ental and publ ic
  h e alth pr obl e ms associated with LiPari Landfill in N ew Jerse y


• Velsicol Chemical Corporation          - Evaluation       of health probl ems associa ted with
  Hard eman C o unty Landfill

• U. S. Environmental Protection Agency        - Review
                                                    of           environmental and     public health
  inf ormation a ssociated with Denny Farm Site , Verona , Missouri

•   U.S. Environmental Protection Agency       - Review
                                                     of environmental and public health
    information associated with Rose Park Landfill, Salt Lake City, Utah

    U .S .   Environmental   Protection Agency - Evaluation of          environmental     and public
    health problems associated with Taylor Road Landfill, Tampa, Florida

•   Dow Chemical Company - Evaluation of health problems associated with a
    degreasing operation in Tyler, Texas

•   United States Environmental Protection Agency - Training course director for
    Toxicology and Risk Assessment for eight southeastern states . (Alabama, Florida,
    Georgia, Kentucky, Mississippi, North Carolina, South Carolina, Tennessee)

•   Monsanto Chemical Company - Evaluation of adverse health effects associated with
    PCB contamination of feed grain in Michigan



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•   American Bar Association       - Short co urse concernin g the rol e o f expert test imony in
    environmental litiga ti ons.

•   Gates E nergy    - Evaluation of the toxicity of   m etal hydrides

• Dive rsitech / Gen Corp.       - Evaluationof mortality among PCB expose d            tire   and
  pla stic f abricators
• BIC    - Evaluation  of reproductive workplace hazards
• Breed Industri es      - Assessment
                                    of health risks assoc iat ed with airbags

GRANT SUPPORT


Eff ect of Envir o nme ntal Toxicants             FS00782                  1970-1982
       o n Perina tal Development

Effect of Mariju ana o n P erinatal               DA00141                  1971-1974
     D eve l o pme nt


Schl eider F ound a ti on                                                  1970-1972
      D e v e lo pmental Toxicology

C linical P harm acol ogy -                       GM15431                  1975-1981
      T o xico lo gy C e nte r


E nv ir onm e nt a l Tox i cology Center          ES00267                  1972-1981

S y nth es i s and Stud y of New                  F501018                  1975-1981
      Che l a ti n g A gents

Life Insurance Research Fund                                               1970-1981


Natio n a l Confer ence on Control of             EPA                      1977-1978
     Hazard ou s Materials Spills


Wampole Laboratories - Development                                         1979-1981
     of a Prenatal Diagnostic Aid for
     Neurotube Defects

Introduction to Hazardous Materials               EPA                      1980-1981
     Incidence Responses and
     Environmental Hazards
     Evaluation

Environmental Toxicant Effects on                 ES02824                  1981-1986


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      Perina ta l D e v el o pm e nt


S tu dy of th e R e pr odu ctiv e Toxicity    NF                   1 985- 1 987
       of Selecte d C h e mi cal s


Studi es of C he mi cal-Induced Toxicity      ES05216              1988-199
     a nd S tress


Studi es of I so mer Specific PCB-           *Cooperative          1989-1991
     Indu c ed Toxicity                       Agreement

Mechanism of Coca in e-Induced                NIDA                 1990-1991
    Live r Tox icity

Methamphetamine-Induced Toxicity              NIDA                 1991 - 1 9 9 4


Toxicology Support                            **DER/DEP            1991-1995

Radon Risk Assessment                         HUD                  1994-1996

Pediatric Formula Evaluation                  Mead-Johnson         1994-1996


H a loc arb on To xic ity                     COPH                 1995-1996

Assess me nt of Risk Ass ociated              DOE                  1996-1997
     wi t h V i tr ifi e d Mat erials


Evaluation of Airbag Safety                   Br ee d Industries   1997-1998

Adrenergic Modulation of

Stress-Induced changes in                     NIOSH-Center for     1999-2000
      Pesticide Toxicity                      Agricultural
                                              Research And
                                              Education

P es ti c i de- Induce d Toxicity             NIOSH                1999-2000

PAH- induced Cellular Changes                NIOSH                 2000-2001

Env ir o nme nt a l H ealth Monitoring       General Hith Systems 2000-2003

F l ori da Bi omonito rin g                  CDC                   2001-2003




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Ars enic   Physician's Workgroup            FL DOH                        2001-2002


Adr e ner g ic Alterations of Toxins-Toxicants DOD                        20001-2003

Cli nica l T oxico logy E valuation of Health     CD C                    2002 -2004
Am o n g Res ide nts o f E s c ambia County, FL


A ssessme nt o f Public Health Risks of FL DOH                            2002-2003
Bl ue/Gree n Algae Cyanobacter


Evaluation of Toxins on DNA DOD 2003-2004
Brain's DNA Repair Response to Neurotoxicants DOD 2004-2006
*Department of Environmental and Community Medicine UMDNJ                        - Robert   Wood
Johnson Medical School Piscataway, New Jersey
** Dept of Environmental Protection, State of Florida
ES - National Institute of Environmental Health Sciences COPH-College of Public   lth       H
DA  - NationalInstitute on Drug Abuse DOE- Dept of Energy
GM - National Institute of General Medical Sciences DOD- Dept of Defense
EPA - United States Environmental Protection Agency              DOH- Dept
                                                                     of Health
NF - National Foundation March of Dimes
NIDA - National Institute on Drug Abuse HUD               - Housing
                                                              and Urban Development
NIOSH-National Institute of Occupational Safety & Health        CDC-Ctr
                                                                    Disease Control

                                    TEACHING EXP ERIENCE


Medica l T oxicology                         Vand erbilt M e dical Center
                                             Second Y ear Medi cal Pharmaco l ogy

D evel op me ntal Pharmacology               Vand erbilt M e di ca l Center

Drug Metabolism                              Two Hour Graduate Level Course
                                             Vanderbilt Medical Center

Toxicology                                   Two Hour Graduate Level Course
                                             Vanderbilt Me dic al Center

M e di cal T o xico logy                     Second Year Medical Pharmacology
                                             University of Arkansas for Medical Sciences

Advanced Toxicology                          Two Hour Gr a duate Level Cour se
                                             University of Arkansas for Med ic al Scie nces

Onco logy                                    Two H o ur Graduate Level Co urse
                                             Univ ersity of Arkan s a s for M edica l Sciences
Che m ica l Ca rcinogenes is                 Sec o nd Y ea r              Me dica l Pat hol ogy
                                             Univ er sity o f Fl o rid a, C o ll ege of M e d icine



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M e di ca l Toxico l ogy                        Seco nd Y ear M edic a l Pharmaco logy
                                                Unive r s i ty o f Flor i da , Coll ege o f M e dici ne
                                                Univ e rsity of South Florida , C o ll ege o f
                                                 M e di c ine

Mechanism of Chemical-Induced                   Two Hour Graduate Level Cours e
Toxicity                                        Univ e rs ity of Fl orida , Coll e ge of M edicin e

Introductory Toxicology                         Thr ee Hour Graduate Level Cour se
                                                Univ ersity of    Florida,
                                                                     College of Me dicine

Health Implica tio ns / Aspects of              Superfund Uni versity Training Insti tute
Chemi ca l Issues                               East Te nn essee State Univ e rsity,
                                                Univ e rsity of Virginia,
                                                Envir onme nt a l Protection Agency


Ris k A ssess ment                              Two Hour Graduate Level Cour se
      • Indu stri a l                           Univers ity o f South Florida, Coll e ge o f
      • Occ up atio nal                         Publi c Healt h
       •   Environmental
Oc cup ati o nal and Environmental              Two Hour Graduate Level Cour se
     M e d icine                                Univ e rs ity of South Florida, Coll ege of
                                                  Pub lic Health


 Biomonitoring                                  Two Hour Graduate Level Cour se
                                                University of South Florida, Colle ge o f
                                                  Public Health

                                CO NTINUING EDUCATI ON:


 National Hazardous Materials
      Training Course                            Eight Hour s (Toxicology)

 H azard ou s Waste M anagement                  Four Hours (Toxicology)

 To xic Sub s tance Control                      Eight Hours (Toxicology)

 Environmental Protection Agency,
       Region IV, Health and Safety
       Training School                           Six Hours (T o xicolo gy)

 Indu stri a l Toxic o lo g y                    Five Hours (Carcinogen esis, Terato genes i s)

 Fore ns ic M e di c ine                         Three Hours (Toxicology)




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Toxico l ogy an d Ri s k Assessment           Eight Hours

Certifica tio n for H azardous
      M ateria l s Manage rs                  Tw e nty F o ur H o ur s (NIOSH - ERC)
N e urol ogy a nd S o lv e nt
      Ence phalop a th y                      Eight Hours (NIOSH - ERC)

Tox icology and R isk Assessment              Eleven Hours (NIOSH -          ERC)
                             GRADUATE TRAINING - PREDOCTORAL

                                        Year Degree
                                         Conferred Present Address

B e rn ar do Mantilla - Plata, Ph . D      1972 University of Antioqua
                                                   Department of Toxicology
                                                   Medellin, Columbia

Michael Stevens, Ph .D .                   1973 Mons anto Chemical Company
                                                 Toxic ol o gy Departm ent
                                                 St . Lo ui s, Missouri

Ri c hard W. Free man, Ph. D               1980 Ecol ogy and Environment, In c .
                                                       Tallaha ss ee, Fl orida

Michael E. Fant, M .D., Ph.D               1980        D e p artment of Pediatrics
                                                       Wa shington Univ er s ity,      S ch oo l   of
      M edi cin e
                                                       St. L o ui s, Missouri

A de l ine Smith, Ph . D .                 1982 National Institute of Health
                                                    Div . of Molecular Toxicology
                                                    Bethesda, Maryland

James Jernigan, Ph .D .                    1983        Amoc o
                                                       Chic ago, Illinoi s

Christopher Teaf, Ph .D .                  1985        Florida State University
                                                       Center for Biomedical and Hazardous
                                                              Waste Research
                                                       Tallahassee, Florida

Felix Adatsi, Ph .D.                       1986 Department of Natural Resources
                                                   State of Michigan
                                                    Lansing, Michigan




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M . Ann Clevenger, Ph .D             1987         E PA
                                                  W as hing to n, D .C .

Glenn C. Millner, Ph.D.              1987 En v iro nme ntal Consultant
                                           L ittl e R oc k , Arkansas

Henry F . Simmons, M .D ., Ph .D .    1988 Divis io n o f Clinical Toxicol ogy
                                            Unive r s ity of Arkans as for Me dica l
                                            L ittl e Rock , Arkan sas

Mary Alice Smith, Ph.D .              1989 Unive rsity of Georgia
                                            Ath ens, Ge o r gia

Hudson K. Bates, Ph . D .             1989        R esea rc h Triangl e Institute
                                                  Researc h Triangle Park, NC


Roland Garipay, MSPH                  1998 Unit e d Stat es Navy
                                            N orfo lk, Virginia


Todd Stedeford,Ph .D .               2000 In s titute of Molecular Toxic ol ogy
                                           K yoto, Japan


Deborah Price                        2001 Environmental Health
                                             Pinellas County, FL


Rony Francois                        2003 Public Health Practice
                                             University of South Florida
                                             College of Public Health

                            GRADUATE TRAINING -POST DO CTORAL


                                       Years of
                                        Study                  Present Address

Micha e l Evans, Ph. D .              1973-1976                Amer. Inst . Toxicology
                                                               Indianapolis , Indiana

Chandrahar Dwivedi, Ph .D .           1973-1976 Meharry Medical College
                                                     Dept. of Pediatrics
                                                     Nashville, Tennessee

Richard P. Koshakji, Ph .D            1973-1976                 D ept. of Pharmacology
                                                                Vanderbilt M ed ical Center
                                                                Nashville, Tennessee



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J ames S . M ac D o n a ld              1975-1977 Merck Institute for
                                                       The rap eutic R esea rch
                                                        Wes t P oint, Pennsy l vania
D ani e l G oo dman , Ph . D .          1 978- 1 980  Univ . o f Arkansas Med . Sci .
                                                        Div , of Inte rdis . T o xicology
                                                        Little Rock , Arkansas


Ro b e rt C . J a m es, Ph . D .        1979-1981 TERRA, Inc .
                                                     Tallahassee, FL

Pe t er Wells, Pharm . D .              1979-1981 U niversity of Toront o
                                                              College of Pharmacy
                                                              Toronto, Ontari o, C anada



Shahata El-Sewedy, Ph .D                1982-1983 University of Al e xandri a
                                                    Medical R esearch Ins titute
                                                    Alexandria, E gypt


S yed F . Ali, Ph .D .                  1982-1983 Natl . Ctr . for Toxicol . Res .
                                                    Jefferson, Arkansas

Jay Gandy, Ph .D .                      1986-1987 Univ . of Arkansas Med .                Sci.
                                                               Dept . of Pharm. & Tox .
                                                               Little Rock, Arkansas

C hris tophe r Bor gert                 1991-1992 Univ . of Florida
                                                   Dept. of Pathology
                                                   Gainesville, Florida

Robert               Demott        1993-1994             Environ
                                                            Tampa, Florida

                                        PUBLI C ATIONS


1 . Harbison, R .D., R.C. Boerth and J.L . Spratt . Quantitative determination of free
          and conjugated bilirubin by diazo coupling and      a liquid-extraction and   column-
          chromatographic technique .   Biochem . J. 104 :46c-47c, 1967 .

2.        Harbison . R .D. and J .L . Spratt. Novobiocin-induced hyperbilirubinemia and its
          reduction by phenobarbital pretreatment . Toxicol . Appl . Pharmacol . 11 :257-263,
          1967 .




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3.     Harbiso n, R.D. and J .L. Spratt. Di sappearance of pl asma bilirubin fractio ns i n t he
       rat after phenobarbital . Arc h. Int. P harmacodyn . 1 72( 1 ):32-36, 1968 .

4.     Harbi son, R.D. and B . A. Becker.                      mortality in hypothyroid and
                                                    Bar bitur ate
       hyperthyroid rats .    J. Pharm. Sci. 58(2) :183-185, 1969.

5.     Harbison, R. D ., C.D. Klassen and B . A. Beck er. Hemodynamic s of the iso l ated
       perfused liv er of hypothyroid and hyp e rthyroid rats . Proc . Soc . Exper . Biol.
       Med . 132 :96-99, 1969 .

6.     H arbi so n, R . D . and B . A . Becker . Relation of d o sage and tim e of admini s trati o n
       o f diph eny lhydantoin and its teratogenic effect i n mice . Ter a t o l ogy 2 :3 0 5-31 1,
       1 96 9 .


7.     fl ing, T . E ., R . D . Harbison, B . A . Becker and J . R . Fouts . Diphenylhydanto in e f fec t
       o n n e onatal and a dult rat hepatic dru g m etabolism . J . Pharmaco l . Exp . The r .
       1 71 : 127-1 37, 19 70 .


8 . fling, T.E ., R .D . Harbison, B .A . Becker and J .R . Fouts . Kinetic changes in
      microsomal drug metabolism with age and diphenylhydantoin treatment .
      Europ . J . Pharmaco1 .11 :101-108,1970 .


9.     Harbi son, R . D . and B . A. Becker .   Effec t o f phenobarbital and SKF 5 25- A
       pr e tr e atm ent on diphenylhydantoin terat oge ni c ity in mice. J . Pharm aco l . E xp .
       Ther . 1 71283-288, 1 970.


10. Harbison, R .D. and B .A. Becker. Effect of phenobarbital or SKF 525-A
     pretreatment on diphenylhydantoin deposition in pregnant mice . Toxicol . Appl .
     Pharmcol.     20:573-581, 1971 .
11 . Harbison, R .D. and B . Mantilla-Plata . Prenatal toxicity, maternal distribution
      and placental transfer of tetrahydrocannabinol . J . Pharmacol. Exp . Ther .
       180(2):446-453, 1972.
12 . Harbison, R.D. and B .A. Becker. Diphenylhydantoin teratogenicity in rats .
      Toxicol . Appl . Pharmacol . 22 :193-200,1972.

13.    Wilso n , B .J . and R . D . Harbison . Rubrato xins .       J . Am. Vet . Med . A ssoc . 1 63(11 ) :
       1 274-1276, 1 973 .


14 .   Kos hakji , R . P ., B .J . Wilson and R . D . Harbi s on. E ffect of rubratoxin B o n pr e n a tal
       growth and d evelopment in mice . Re s . C o mm . Chem . Pathol. Pharmac ol _ 5 :584-
       593,1973 .




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         Case 4:04-cv-00091-BAE Document 81 Filed 04/29/05 Page 42 of 224

1 5 . Kos ha kji , R . P ., J . C o le and R . D . H a rbi so n . Influ e n ce of inj ec ti o n volum e o n
       p a r a th ion t ox i c ity and plas ma and br ain c h o l i nes te r ase i nhi biti o n. R es . Co mm .
       Chem . Pa t hol . Ph armacoL 6(2) :677-687,1973 .


16 . Mantilla-Plata, B. and R. D. Harbison. Effect of ph enobarbital a nd SKF 525-A
       pretreatment, se x, liv er injury and v ehicle on A9 tetr ahydrocannabinol toxicity .
      To xicol. Appl. Pharmacol . 27:123-130, 1974 .

17 .    J ones, M.M . and R. D . Harbison .          Phthal ylte trathioac etic acid (PTTA) _         A new
        chelating agen t. R es . Comm. Chem. Patho l. Pharmacol . 7:390-398, 1 974 .

1 8 . S tev ens, M . W . and R . D . Harbison . Plac ent a l tr ansfe r o f dipheny lhydant o in :
      Eff ects o f sp e ci es, gestation age, and ro ute o f admini s trati o n . Terato l ogy 9 :31 7-
      3 2 6,1 97 4 .


19 . Ha rbi son, R.D . and B .A. Becker .                           Comparative teratogenicity of
     diphenylh ydanto in and metabolites in mi ce. Te ratology 10(3) :237-242 , 1974 .

20 .     Dwiv e di , C . , R . D . Harbison, B. Ali and S . P a rmar . Synthe s is of sub s tituted
         anilino-[3- methox y -4- (4-azyl thiosemicarba z i d ec arbonylme thyl eneo x y l)]
         be nzy lid e nes :    Correlation between anti co nvulsant activ i ty and mo noamine
         oxida se inhibitory and antihemolytic prop erti es . J . Pharm ace ut . S ci . 6 3 ( 7) : 1124-
         1128 , 19 74 .


21 .     Parmar, S . S . , B . R . Pandey, C . Dwivedi and R . D . Harbiso n . Antic onvul s ant
         ac tiv ity and mo noamine oxidase inhibit ory properties of 1 ,3,5 - tr is ubs titute d
         pyr a z o lines . J . Pha rmaceut . Sci . 630 :1152-11 55, 1974 .


 22.     K osh a kji, R . P . , B . V . Rama Sastry and R . D . Harbi s on. Studies on the l ev els and
         na ture of cholinesterase in human and m o u se plac e nta . Res . Co mm. C h em. P a th .
         Pharmacol . g(2) :687-6 9 2, 1974 .


 23 .    Harbiso n, R.D. and B .V. Rama Sastry . A functional cholinergic sy stem in hum an
         placenta.        I n:   Bas ic and Therapeutic Aspects of Per inatal Pharmaco logy, P.L.
         Morselli, e t al ., eds ., Raven Press, New York , 19 75.

 24 .    Harbi so n, R . D ., ed . , Perinatal Addiction, Sp ec trum Press, N ew Y o rk , 19 7 5 .


 25.     Ali, B ., S.S. Parmar, C . Dwivedi and R .D . Harbison. Selective inhibition of
         nicotinamide adeninedinucleotide-dependent oxidations by substituted
         carbamides . Res . Comm . Chem . Pathol . Pharmacol . ll (1) :163-166,1975 .

 26 .    Ali, B., R. Kumar, S.S. Parmar, C . Dwive di and R .D. Harbi son.                   Antihemolytic
         and anticonvul sant activity of 1-(2,4-di chl oro/ 2,4,5-tri chlorophenoxyacety)-4-



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       a lkyl/ a rylthiosemicarbazides and th eir r elationship between inhibiti on of N AD-
       dependent oxi datio ns and monoamine oxidase . J.          Pharmaceut.Sci. 6 4($): 1 329-
       1 335, 1975.

27. G upt a, A. K., C. Dwivedi, T. K. Gupta , S.S. Parmar and R .D. Harbi son. Synthesis
    of 2- (N- arylcarboxamide)-3-substituted ethox yindol es and their monoa mine
    oxi dase inhibitory and      anticonvulsantactivities. J. Pharmaceut. Sci . 64(6) :1001 -
    1005 , 1975 .

28 . Evans, M.A ., M .W . Stevens, B . Mantilla-Plata and R .D . Harbison . Drugs of
      abuse, teratogenic and mutagenic considerations . Addictive Diseases : An
      International Journal . Vol II(1) :45-59,1975 .


29 .   H a rbi so n, R . D . and M . C . Braude . Overview of perinatal narcotic a dditi o n a nd
       futur e researc h goals in developmental pharmacology of abu sed d ru gs .
       Addic t ive Diseases : An International Journal . Vol . II(1) : 1-5,1975 .


30 . Dw ivedi, C and R .D. Harbison . Anticonvulsant activities of
                                                                          A8 and A 9-
     tetrahydrocannabinol and uridine . Toxicol . AppL Pharmacol . 31 :452-458,1975 .

31 . Harbison, R .D.     Parathion-induced toxicity and phenobarbital-induced
      protection against parathion during prenatal development . Toxicol . Appl .
       Pharmcol . 32(3) :48293,1975 .

32 . Mantilla-Plata, B ., G .L . Clewe and R .D . Harbison . A 9-tetrahydrocannabinol-
       induced changes in prenatal growth and development of mice . Toxicol . Appl .
       Pharmacol . 33 :333-340,1975 .


33.    Harbi son, R.D.   Comparative   toxicity of some selected p esticides in n eonatal and
       adult rats. Toxicol . Appl. Pharmacol .     32(2):443-455, 1975 .
34.    Mantilla-Plata, B. and
                           R. D. Harbison . Influ ence of alteration of THC m etabolism
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 1                                Johannin g

 2       and blood tests, urine tests .

 3               Q . And how do you determine exposure

 4       history?

 5               A . The exposure history is basically

 6       taking a good exposure history as we are trained

 7       in occupational-environmental medicine .

 8                       It's a big part of our training and

 9       it expands from the general medicine training

10       where you take a diagnostic oriented history and

11       the occupational history .

12                       You ask about circumstances of

13       exposure, conditions, modifying effects, temporary

14       effects, location, information . You ask questions

15       about exposure, nature, is it chemical,

16       biological, physical .

17                       You look at the duration of exposure

18       but social aspects of that and you look at the

19       connection bet w een exposure and disease

20      presentation and consider, you know, the general

21       available science and knowledge on that subject to

22      make a connection .

23               Q . Have any studies established a

24       connection bet w een exposure to stachybotrys and

25      adverse human health reactions?
                                                                             EXHIBIT



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 1                               Johanning

 2      The second time was 11/5/2004 .

 3               Q.    Okay . You, in respect to the March

 4      27, 2003 examination, you filled out, it looks

 5      like, I'd call it a diagnosis sheet .

 6                      What would you call that?

 7               A.    Yes . Billing sheet .

 8               Q . I'm sorry?

 9               A . A billing sheet that lists diagnosis .

10               Q . What did you indicate your diagnosis

11      or impressions were with respect to the visit of

12      March 27 on that billing sheet or diagnosis sheet?

13               A . I checked off restrictive lung

14      disease, extrinsic alveolitis hypersensitivity,

15      pnemonitis, organic dust exposure, sinusitis

16      chronic, rhinitis, chronic, allergy unspecified .

17               Q .   Okay . What does that mean, "Allergy

18      unspecified"?

19               A . It means allergy . There are all

20      kinds of allergies so I think that's how the

21      coding goes, ICD coding . So it's allergy

22      essentially .

23               Q . And what is extrinsic allergic

24      alveolitis HP?

25               A . It's an inflammatory condition that




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 2      affects the lung and can show upper interstitial

 3      abnormalities shown on x-rays .

 4                       In other words, it's HP,

 5      hypersensitivity pneumonitis . Another word would

 6      be "farmer's lung" which she's not a farmer so

 7      it's not appropriate .

 8               Q . Did you see that based on x-rays?

 9               A . Well, that was my preliminary

10      impression at the time . That was my suspected

11      diagnosis .

12                       There were x-ray findings that did

13      support, would support the diagnosis as such . The

14      history was supportive as such .

15               Q.   Okay . What is restrictive lung

16      disease?

17               A . It's a disease of hypersensitivity

18      pneumonitis or extrinsic allergic alveolitis can

19      present . This a restrictive lung disease where

20      basically you're not able to take a deep breath

21       and presents w ith shortness of breath and exertion

22       dyspnea .

23               Q . What is chronic sinusitis?

24               A . It's a condition that affects your

25       sinuses, an inflammatory condition that can




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 2              A . Well, I indicated symptoms that were

 3      still present and significant for her like

 4      dyspnea, cough, elevated immunoglobulins which we

 5      just talked about and allergy .

 6              Q . And with respect to the ones that

 7      were checked in March of 2003, you did not find

 8      those in November of 2004, the ones that were

 9      checked in M arch and not checked in November?

10              A . Well, based on the clinical exam,

11      there wasn't any history, you know, following that

12      for these things .

13              Q . So, for example --

14              A . But I have to say the

15      hypersensitivity pneumonitis result of a clearing

16      of the x-ray I had not seen when I filled this

17      out, so I left it out because -- actually, I don't

18      really know why I left it out, but it may as well

19      be there .

20               Q . You also didn't check chronic

21      sinusitis and chronic rhinitis?

22               A.    Right .

23               Q . And restrictive lung disease?

24               A.    Yes .

25               Q .   Okay . All right . Now, you said a




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 1                                   Johanning

 2      moment ago that you have a working diagnosis .

 3      What is your working diagnosis?

 4               A . Which is she has an inflammatory lung

 5      condition that has not resolved .

 6               Q . And what was the cause of the

 7      inflammatory lung condition in your opinion?

 8               A . Well, based on the history and

 9      findings, with a reasonable degree of medical

10      certainty, I think it was a microbial exposure in

11      her apartment .

12               Q . When you say "microbial exposure,"

13      what microbes?

14               A . The fungi and bacteria in her

15      apartment .

16               Q . What fungi and bacteria?

17               A . I can't give you specifics and the

18      testing is not sufficient to give you the whole

19      spectrum of what is there .

20                        Certainly the test results that were

21      done by the health department are indicative of

22      what we consider atypical molds in a brick

23      building .

24                        Specifically the things that were

25      identified at the time where a high presence of




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                                                                                        12 6 1
 1                                Johanning

 2               A .   Yes . I have considered that . I

 3      don't think it is .

 4               Q . Why don't you think it is?

 5               A . Because I don't think she has

 6      pneumonitis, there's no history of aspiration

 7      pneumonia, that type of thing . I can't see it at

 8      this point .

 9               Q . Do you believe it has contributed to

10      her problems?

11               A . I think it may have contributed to

12      some of the other symptomatology she was

13      describing and there may be something to that and

14      that's why I'm not sure I would relate it to the

15      fungal exposure .

16                       I don't think for the pulmonary

17      effects and the blood test results and the

18      breathing test and the chest x-ray results, that

19       it's of any significance .

20               Q . Is your opinion that the pulmonary

21      inflammation and the related symptoms was caused

22      by an allergic reaction or by a toxic reaction?

23               A.      W ell, my thinking is it's probably

24      somewhat a combination of both but primarily an

25      allergic mechanism, something that's best




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 2 described now as a type 3 .

 3   You        know,        if    you      categorize              it,         type

 4 3, type 4 response in the Gal and Coombs

 5 categories, you have a systemic effect where the

 6 Immunoglobulin G basically get activated and show

 7 up in testing . I don't think it's a medial type

 8 allergy and it's not a primary toxic effect .

 9       I   don't       think,          per      se,      that,          you

10 know, stachybotrys or whatever was the primary

11 cause of her problem .

12                Q . Do you -- is it your opinion that

13 there is support in the scientific and medical

14 literature for exposure to the condition she was

15 exposed to causing the pulmonary inflammation that

16   I       she suffered?

17                A.        Oh,    there ' s a quite a bit . Jordan

18       Fink    has     w ritten about it . He has seen patients

19 with that, in Scandinavia . People have described

20       that . Clearly, it's a rare condition .

21              I          do n 't think most people will

22 respond in these circumstances the way she did and

23 maybe there was something else there that we

24 didn't identify that made her respond this way .

25       Like      her       partner,            for       instance .




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   Mold-Induced Hypersensitivity
   Pneumonitis

  Paul A .       Greenberger, M . D.




  ABSTRACT                                                                         CLA SSIFICATION OF HYPERSENSITIVITY
    Mold-induced hypersensitivity pne umoniti.r results from macro-                PNEUMONITIS
 phage- and lymplwcyte-driven inflammation, wh ich may be attribut-                   here are four stages     o f hype rsensitivity  pneumonitis,
 able to con taminated iuonidifiers or heating-ventilation          systems or
 s ources in homes, schools, or workplaces. A case m ay be suspecte d
                                                                                   T     although, c l assically, three stages have been u sed
                                                                                  (Tabl e Ilk . The acute stag e classically occurs 4 - 12 hou rs
 when there is wafe r rnsnuion or inadequate drainag e. Some fungal                after exposure' but h as bee n reported to begin as long as 22
 causes include species of Alt emari    a, Aspergill us, Cryptoshn ma, Pen-       h ours after ex posure to a mu s hroo m s p ore extract? The
 ici ll ium, Pullutaria, Rhodotorul a, and Trichosporon. Vie differential         temporal rel ation to the expos ure m ay or may n o t be appre -
 diagnosis includes mo ld-induced asthma, sick building syndro me,                ciated by the patient. If a ches t roentgenogr a m is obtain ed,
 mass psych ogenic illn es s (epidemic hys teria), unjustified fears of           there wi ll be nodular or interstitial infiltrates . Pulmon ary
 "toxic" molds, a nd conditions causing rec u rren t pn eumonitis. (Al-           funct ion tests ob taine d after bro nchoprovocation chall enges
 lergy and Asthma Proc 25:219-223, 2004)                                          show restrictive fi n dings including r edu ctions in the fo rced
                                                                                  vital capacity (FVC) and forced exp iratory v olume in 1
 M       o ld- or fun g al -i nduce d hypersensitivity pneumonitis
           results in pulmonary inf ltiates, restrictive pulmo-
                                                                                  secon d (FEV l) , with a preservation or increas e in FEVI/
                                                                                  FVC consistent with res tricti o n . The diffusin g capaci ty fo r
 nary fun c tio n fin di ngs, and p recip itin reactio ns to the in-              carbon monoxi d e will be redu ce d . Du rin g bronc h oprovoca-
 criminated fu ngus . Acut e exposure s m ay cause fever and                      tion with a mushroom sp ore ex trac t (Pho lio ta nameko), the
 dy spn ea 5-20 hours after exposure , obscuring a temporal                       diffusing capacity dec rease d from 90 to 55% o f predic ted
 association. An envi ro nmental history for work or home i s                     while the vital capacity only dropped from 90 to 86%? At
i mportan t, an d some i ssues t o c onsi de r include those of th e              the same time, th e pati ent's temp erature i ncreased from 36 .7
h ome and work environmen ts (Tab les I and In . The wo rk                       t o 39 .1°C and th e wh ite bloo d co unt inc reased from 5100 to
environme nt may be b l a me d for resp ir atory co mplaints,                     16, 000/µL. Symp toms in cluded dys pne a , c ough, and fa-
some of which p oss i b ly could be attri b u tab le to molds . In               tigue, which resol ved ove r a period of hours .2 It i s poss i ble
cons idering the work e n vi ronme nt , some additional cons id-                 to develop arterial hy pozemia or e v en acute res piratory
erati ons are presented in Table II.                                             failure . Avoidan ce of th e antigen is advisable !
                                                                                    The subacu te s tag e consis ts of dy spnea , fat igue , and
                                                                                 no npro du ctive coughing as sociated with fever and arteri al
                                                                                 hy poxemia that occu rs intermittently o ver wee ks or m on ths .
From the Division of Allergy-Immunology, Depariment of Medi-
cine, Northwestern University, Feinberg School of Medicing Chi-
                                                                                 The chest roentgenogram may be negative whe n the patient
cago, Illinois
                                                                                 is exami n ed in-be tween epi sod e s but a high-resol ution com-
Supported by the   ErnestS. Bailey Grant to      Northwestern Memo-              puted to m ography (CT) ex ami nati o n o f the lun g will s how
rial Hospital and Northwestern University                                        a groun d-gl ass p attern. S ome pati ents will have nodular or
Presented at the Combined Meeting on Allergy,             Asthma and Im-         linear infiltrates d epending on the proximity to an exp osure.
munology, Puerto VaUarrq Mexico, January 16, 2003 .                              The subacut e clinic al symptoms wi ll appear acute if th e
                                                                                 patient i s examined hours aft er exp os ur e. Av oidance of the
Address correspondence and reprint requests to Paul A . Green-
berger, M.D., Division ofAllergy-Immunology, 676North St. Clair                  antigenic source of co urse is critical but may be overl ooked
Street, Number 14018, Chicago, IL 60611                                          if the diagnosis has not b een made . Pulmonary function
Copyright m 2004, OceanSide Publications,         Inc.,   U.S.A .                parameters can app ear eithe r restrictive or normal In c on-
                                                                                 trast to most forms of hype rsensitivity pneum onitis in t he


                                                                                                          EXHIBIT
Allergy and      Asthma Proc.                                                                                                                 219

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                                                                                                            J




                                TAB LE I                                                            TABLE III

            Evidence for Molds in the Home or Work                             Classification of   Hypersensitivity Pneurnionitis
                          Environment                                                            Acute
  Ev ide nce of p as t water intr us ions on b asement walls                                     Subacute
  Discolored ceiling tiles from roof lea ks                                                      Subacute chronic
  Loos e floor ti les                                                                            Chronic
  Plumbing fixtures with l eaks
  Musty odors
  Discolored or very cl ean b asement carpeting                        L(86%) .5 She had only two positive precipitin reactions that
  Moldy vent s in t he air conditioning or heating sys tems            were to Aspergillus flavus and Penicillium herbarum . Un-
  Moldy bathroom tiles and wal ls                                      expectedly, the chest CI' was worse with pulmonary fibro-
                                                                       sis, interlobular septa] thickening, honeycomb formation of
                                                                       the left lower lobe, and areas of ground-glass fibrosis . Her
                               TABLE II                                pulse oximetry revealed a baseline of 98% and a drop to
  General Issues to Consider in th e Work Environment                  92% with exercise .3 The initial improvement in this patient
                                                                       was associated with radiographic progression on chest CT
 A li kely occupa t ional eti ology, e.g., mushroo m                  examination and lack of improvement of pulmonary            func-
      cultivation,
                m alt prod uction , etc .                             tionparameters . The lack of improvement of the         diffusing
 Is the air filt ered e ffec tively an d the sys te m maintained      capacity and other pulmonary function tests and       appearance
    on sch edule?
                                                                      of honeycomb fibrosis on CT suggest a course in-between
 Oth er VOCs p resen t?
                                                                      subacute and chronic hypersensitivity pneumonitis S
 Is the air co nditioning conde nser turne d off at night ?
 Are roof leak s causin g m old gr o wth ?                               Chronic hypersensitivity pneumonitis consists of irre-
 Is there ov ercrowding of employees?                                 versible restrictive pulmonary function tests, chronic fi-
 Is there inadequate ven tilatory cap acity wit h increased           brotic radiological findings, lack of or a partial response to
    c on centrations o f CO Z?                                        oral corticosteroids, and the potential for need for supple-
 Is the l ocation of th e ai r intake too c l ose to roads or         mentary oxygen. The chest examination will show crackles,
    idling trucks?                                                    perhaps in many areas not just the bases . Some patients will
 Is there s h ort circuiting be tween exhaust an d s upply            have weight loss and irreversible dyspnea can be expected .
    v e nts?                                                          It is still possible to have subacufe episodes if exposure to
                                                                      the antigen occurs. Rare fatalities from chronic hypersensi-
 VOCs     = volatile organic     compounds.
                                                                      tivity pneumonitis have been reported from fungi,6 other
                                                                      cases being from either avian antigens" or thermophific
 s ub acute s tage, av ian hyp ersensi tiv ity p neumo n itis may     organisms (classified as bacteria) from farmer's lung. 9.10
 re sul t in obstructi ve or res tric ti ve pulmon ary    function       Identification of hypersensitivity pneumonitis in the acute
 changes 3'° Patie nts w ith s ubacute hype rsensitivity pn eumo-     or subacute stages is the goal so that avoidance of the
nitis s hou ld h ave a favorable ou tlook if the   antigenic expo-    antigens can occur and respiratory status can be preserved
s u re is avoided .                                                   as best as possible . In Table IV, some suggestions for
    The designati o n subac ute chroni c hype rsensitivity pneu-      making the diagnosis of mold (fungal)-induced hypersensi-
monitis w as proposed to desc ribe a pa tient who h ad re-            tivity   pneumonitis are   listed.
peated episodes o f s ub acute hypersensitivity pneumoni t is
that resulted from a co nta minated humidifier in her be d-          IMMUNOLOGIC FINDIN GS IN
room.5 The p atient had precipitin rea c tion s to 10 fungi and      HYPERSENSITIVITY PNEiJXfOi\~ITIS
humid ifier w ater.3 Her CT s can showe d a diffuse
glass pattern
                                                          ground-
                 with thi ck ened alveol ar septa. A lung biop sy
                                                                     P   recipitating antibodies      are
                                                                                                   necessary but not sufficient
                                                                          because they represent immunoglobulin G antibodies,
revealed patchy      areas   of lymph oc ytes, pl asma cells, and    which can be evident in exposed subjects as well . Sera
h isti oc ytes " in a bron chiolocentric pattern i5 Her diffusing    should be concentrated and reactive antigens are crucial.
c apac ity for CO was 57% o f predi cted, an d the FVC w a s         Certain cases of hypersensitivity pneumonitis are over-
95%. The FEVI was 9I%. The humidifier was removed and                looked because of poorly reactive antigens being used in the
s h e received a 5-week cours e of prednisone . Her diffusi ng       precipitin reaction testing . Bronchoalveolaz lavage reveals a
cap aci ty remained unch anged and the FVC bad declined              clear reversal    of the usual CD4/CD8 2 :1 ratio. Increases in
fro m 2.8 4 L (95 %) to 2.4 8 L (85%). Over almost 4 years,          the CD8+ lymphocyte population to as much as          60- 80%
                                                                                                                             in
although the pat ient had no t experie nced dyspnea as she h ad      both symptomatic and asymptomatic subjects with            hyper-
a t the ti me of diagnosis, she di d have a nonproductive            sensitivity
                                                                               pneumonitis can occur. In contrast, control       (non-
congb. On examination, there were fine, b ibasi la r crackles-       hypersensitivitypneumonitis)          bronchoalveolar
                                                                                                                    lava e maygg
The diffusing capacity was at     61% and th e FVC    was at 2. 51   have 13% lymphocytes because the predominant cell in



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                                                                            were positive with an ti-CD80 in 7% and anti-CD86 in 24%.
                              TABLE IV
                                                                            These findings suggest th at the m acroph ages are ac tivated,
  S uggestions for Making the Diagnosis of M old-Induce d                   having phagocytosed the specific antigens . The macro-
                Hyp ersensitivity Pneu mo ni t is                           phages appear to be more effective at antigen presentation
                                                                            to T lymphocytes because of th ei r increased e xtent of acti-
  His tory of mold exposure and potential sources of
    exposu re                                                               va ti on. There were no d ifferences found be twe en t he T
  Symptoms of     cough, dyspnea, fever, and, in some                       lymphocytes s taining positive fo r C D2 8 (rec eptor fo r
    patients ,  myalgias                                                    CDBO) or cyt otox ic T lymphocy t e a ntigen (CTLA) -4 (re-
 Chest roentgenogram or CT examination (nodular                             cepto r for     CD86).   These studies    are   consistent with in-
   infiltrates, grou nd-glass opacification, or fibrosis)                   creased accessory molecu le expression, w hich w ould sup-
 Prec ipi tins in gel to mol d (fu ngal) antigens                           port greate r antige n presentation to T lymphocytes . In
 Res tri c tive pul m o n ary fu nc tion tests or at l eas t d ecreased     addition, when ana lysis of b ron choa lveolaz lavag e lympho-
   diffu sing capacity for CO                                               cytes was studied, there was a re du ction in apop totic ly m-
 Lung biops y specimen (not always necessary ) sh o wing                    p hocytes compared with normals . 13 The imm u no l ogic re-
   nonca seas ting granulomas consisten t with                              sponses in terms of s u ppression are impai re d so that
   hypersensitivity pneumonitis and absence of ot h e r                                          1114 i s not co n tained . Granulomas
                                                                           lym phocyte       activation
   condi tions                                                             are noncaseating an d are c onsidere d to occ ur because of
                                                                           c hronic antigen stimulation." Alveolar macroph ages have
                                                                           been reported to genera t e increas ed reactive oxy gen species
 lav age is macro phages.     The l y mp hocytes are a ctivat ed     as    such as su peroxide anion.ls Ind ee d , the c ontributi on of
 s hown by the presence of the receptor fo r interleukin (IL)-2            supero xide anion, often thou ght attributab le to polymorpho-
 (CD25+), whi ch is she d from activated IL2.1 IL-2 i n-                                                                       alveolar
                                                                           nuclear l eukoc yt es, res u l ts fro m a cti v at ed       macro-
 creases co uld h elp expla in the lymphocyte pre domi nan ce in           p hages. Th e co mp lexity of hyperse n s itiv ity pneu mo niti scan
 bronchoalveolar  l avage . Th e CD B + lymp hocy tes are ac ti-           not be underestimated; this c onditi o n is an u nusua l lu ng
 vated but their suppresso r activity is li mi ted ; perh aps thi s        di sease beca u se of th e predo mina nce of CD 8+ lympho-
 effect allo w s for the an ti ge ns being proinflam mato ry in s tead     cytes in bronc h oal veolar l avage , exaggerated macrop h age
 of bei ng co ntained . V arious pi vo tal cyt okines such as tumor        and lymphocyte activa tion, mu l ti ple causes, and variab le
 nec r osis fac to r a , i nterferon y, and IL- 1 p trigger inc reases     prognosis.
 in a key receptor so luble intracellular adh esion mol ecule
 (sICAM ). Furthermore, tumor n ecros i s factor a contributes             CAUSES OF     MOLD-INDUCED
 to granuloma formation (and containment o f Myco bacte-                   HYPERSENSITIVITY PNEUMONITIS
 ria ll) . Interferon y i ncr e ases mac rophage antigen pre sen ta-
 tio n, s tim ulates oth er cell s such as natural ki ller (CD56 + )
 c ell s, and its presence is consis t ent with CD4+ T helper cell
subs et 1   activation. Cellular influx, includin g polymorpho-
                                                                           S  ome of the many examples of m old-induced hypersen-
                                                                               sitivity pneumonitis are listed in Table V. The caus es
                                                                          may be reme died to reduce the incidence of newly affected
                                                                          w o rker s . Nevertheless, the nature of the manufacturing or
nuclear leukocytes , into ti ssue o ccurs through ICAM. The               recovering pr oces s still may allow for workers to become
bronchoalveolar l avage ly mphocy t es and m acrophages ex-               sensitized . For example,       there are   many uses of cork ob -
press in creased l eve ls of ICAM- 1 compared with co ntro l s .          tained from tree or ground       bark
                                                                                                         that becomes moldy causing
   Lymphocyte s u ppression is impaired in some cases o f
                                                                          suberosis. 16 Penicillium frequentans and Aspergillus fu-
hyperse nsi tivity pn eumoni tis . 1 In vitro mitogen responses of        .igatus  also caused the disease . In malt worker's lung,
                                                                          mi
the bronchoalveolar lavage lymphocytes are reduced whe n
                                                                          barley must be steeped in water so that it converts to mall
phyt ohemagglu tinin or concanavalin A are used, co nsistent              The process may occur on a wet floor 20 X 120 ft . Thi s step
wi th r edu ced su ppressor activity. When addi tional alveolar           in the process allows for the possibility of mold growth and
macrophages, s erving as accessory cells, are incu bated with
                                                                          disease pr oduction .
separated CD4 + o r CDS + ly mphocytes, t he re sp on s es to
mitogen s return to normal Thus, although there is a         remark-
ablebronchoalveola r lavag e lymphocytosis, lymphocyte re-                A PARTIAL DIFFERENTIAL DIAGNOSIS
spo nsiveness i s impaired. However, it is no t irrevers ible             REGARDING MOLD-INDUCED
becaus e providing addi ti o na l macrophages overco mes, a t             HYPERSENSITIVI'T'Y PNEUMONITIS
least fn vitro, the lymphocyte suppression .                              T able      V lists true causes of mold- or fungus -related
  Costimulatory m o lecules12on macrophages in bronchoal-                         hypers ens itivity pneumon itis . Some other conditions
veolaz l ava ge are increased . When bronchoalveolar lavage               that   should be considered and excluded are presented in
cells are stained with anti-CD80 (B 7-1) and anti-CD86 (B                 Tab l e VI. Si   gnificant diagnostic expertise may be needed to
7-2), i n h ype rsensi tivity pneumoni tis, anri-CD80 was p os-           rule in mol d-induced hypersensitivity pneum onitis and ex-
i tive in 35% of macrophages an d anti-CD86 was evident in                clude s ome of these syndromes.       In
                                                                                                                 sick building syndrome,
62%                                  tr
        of macrophages . In con ast, contro l macrophages                 there i s an ex ces s of work -rel at ed symptoms reported .     "

Allergy and Asthma Proc .                                                                                                                 221
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                                                                        TABLE V
                                           Cau s es of Mold-Induced Hypersen sitivity Pneumonitis

                    Nam e                                                          Fun gal Cau s e or       Ci rcumstance
  Summer type                                           Moldy rugs stacked on each other, Trichosporon cutaneum
  Hu midifie r dise ase                                 Penicillium species, T. vulgaris, S. virdis
  Av ian                                                Aspergillus fumigates in       bird
                                                                                       excreta
  Malt worker 's l ung                                  Aspergillus clavatus, A . fumigalus
  Suberosis                                             Moldy cork dust, Penicillium species, A . fumigates
  W ood worker' s l ung                                 Altemaria species
  Sequ o i osis                                         Moldy wood dust,     Pullalaria species, Penicillium expansion                 on a   moldy floor
  Cheese worker' s lung                                 Penicillium roqueforti, P . caseii
  Sauna taker 's lung                                   Pullafaria species on moldy cedar
 Maple     bark   s tripper ' s dis ease                Cryptostroma corticale
 Soy s au c e brew er' s dis ease                       Aspergillus oryzae
 Ven ti lat or l ung or humidifier d isease             Some fungi or thermophillic bacteria
 Moldy basement walls                                   Aspergillus species, Rhodotorula species



                                                                             SUMMARY
                             TABLE VI

  Conditions Tha t May B e Confused wit h Mold-Induced
                                                                             H     ypersen si tivi ty pneumoniti s from mo lds may be su's-
                                                                                    pected and then confirmed by a co nstellatio n of
                  Hypersensitivity Pneurnonitis                              findings suc h as precip itin reac tion s, a p ro b abl e source, lung
 Mold (fu ngal)- induce d    asthma                                          CT findings,        restrictive     p ulmon ary functi on   parameters,
 B ui lding-rel a ted s yn dr omes (tr ue disease)                           an d , in some cases, the lung bi opsy .             Remediation of the
   A sthm a                                                                  wa ter source pro mo ting fu ngal growth is advisab le , but
   Hypers en sitivity pne u monitis from ano ther cause                      some patients will have res idu al pulmona ry fib ros is . The
   Legionella p neum onia                                                    differe nti al diagnosis als o i ncludes mass psychogenic ill-
 Sick building sy ndro m e                                                   n ess , unjustified fea rs from "t oxic" fungi, tru e bui l d i ng-
 Mass psyc hoge nic i llness                                                 related conditions su ch as mold-induced asthma, an d sick
 Unjustified fears o f    "toxic" mol ds                                     b ui l ding syndrome. B ecau se fu ngi can be c ultured from
                                                                             indoor enviro n men t s, they may be blamed fo r more illn ess
                                                                             than jus ti fied . Nevert he less , when the c linical and radio log-
                                                                             ical features sugges t mo ld-ind uc ed           hypersensitivity
                                                                                                                                           pneu-
 Sy mptoms may be cu taneou s, m ucous m embrane irritati on,                monilis, serum p rec ipitins should be obta ined and a short
 fati gue , he adache, o r difficul ty concentrating . Som e epi-            course of prednisone o ft en is administere d . Att e mpts at
sodes ar e expl ain e d by certain co ndition s affectin g heati ng-        remedia tion of the suspect enviro nment should be advised.
coo l ing sys tem s or even i ntroducti on of vehicl e exhau st
fum es into the intak e air of the building . At opy is   not a risk        REFEREN CES
factor for rep orting s ympt oms . In one study , do ubling of the            L Zacharisen MC, and Fink JN . Hypers ens itivity pncumoni4s. In
airflow in the bu ilding did not redu ce th e number of re-                        Patterson's Allergic Dis ease s . Grnmmu LC, and Cneenberger PA
p orted symptoms . A no ther co n dition is m as s psychogeni c                  ( Eds) . Philadelphia:Lippin cott Williams & Wikins, 515-527, 20 02 .
illness ." This condition is epidemic hysteria in whi ch a                   2 . N akaz awa T, and    Tochigi   T.   Hypersensitivity pneumonitis due to
                                                                                 m ushr oom (Phalwm nameko) spores . Chest 95: 1149-1151 , 1989 .
c ons te llatio n of sy mptoms su gg e s tive o f an organ ic illness        3 Ohtani Y, Saild S, Semi Y, et al . Clinical         features of recurrent and
is reported but there i s no i d en tifiable ca use found . The                  ins idious chronic bird fanc ier' s lung . Ann
                                                                                                                              Allergy Asthma I mmunol
affec ted subjects, wh o are h ealthy before the ons et of thi s                   90:604- 610. 2003 .
condition, share beliefs a s to wh a t is the caus e often rel ate d         4.    Zacharisen MC, Schleuter DP , Kurup VP, et a] . The long-term
to detectio n of a noxi ous odor such as a gasoline smell. One                     outcome in acute, subacute, and chronic forms of pigeon breeder's
                                                                                   dis ease hypersensitiv i ty pneumomtis . Ann Allergy As thma Immun ol
person is affecte d by the odor a n d then m any more are as
                                                                                   E 8 : 175- 182 . 20 0 2 .
well. The condition i s an examp le of verbal pers on-to-                    5.    M oron N, Grccnberga PA, a nd Patterson R Long-term evaluation
perso n tran sm ission. The re may be sudde n onset of h ead-                     of hypersensitivity pneumonibs : A case study follow-up and litera-
a ches, sh ortness of breath, and diz ziness, but despite inten-                   ture review . Ann Allervy Asthma Pro c 23,265--270, 2002
sive efforts , no cau sativ e agent is i dentified. 1 e In on e              6.   Nakagawa-Yoshida K, Ando M, Etches RI, et al . Fatal cases of
                                                                                  fazm er's lun g in a Canadian family: Probable new antigeat . Penicil-
exa mple triggere d b y th e recognition o f a smell of gaso line,
                                                        monoxide,                 4 ium brevicompactum and P. o ltvicolor. Chest 111:7A5--248, 1997.
volatileorganic compounds , p es ti ci des , carb on                         7.   Greenberger PA , Pica LC, Patters on R, et al . End-stage lung and
mercury,   paraquat, and polychlorina ted biph enyls all were                     Ultimately fatal dise ase in a b i rd fan cier. Am I 3rf ed 86 .119-122,
excluded . 1 8                                                                    1 989 .



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     8 . Pezez-Padilla R, Salas 7, Chapela R, et al.     Mortality in Mexican        1 4.   bicClellan JS , Alb er s GM, Noyes BE, ct al . B -Iy mphocyte     aggregates
         patients                                     compared
                    with chronic pigeon breeder 's lung             those
                                                                  with        with         in al veoli from a child wi th hypersensitivity pneumouiRS (bird breed-
          usualinterstitial pneumonia.   Am Rev Resnv Dis    14&49-53. 1993,                lung). Ann Allergy
                                                                                           ers                                    m
                                                                                                                        A su'~ma L *ndnol 83357-360 1999 .
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                                                    EO. Mortality      to            15. Calhoun       Enhanced
                                                                                                       WJ.               reactive oxygen      species metabo lism of ai r
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                                                                                           spa c e cells in                     pncumonih s J    Lab din Mod       117:443-
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                                                                                           etiologic          series
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                      Clin          lll :Sbt3-5 623, 2003.                                 2003 .
                               ha
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                              alveolar
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                       I           Care
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  13.    Laflamme Israel-Assayag
                      G                                Apoptosis
                                         E, an d Cormicr Y.               of 6mn-    18 .   Jones Craig
                                                                                                   TF,        AS, Hoy D, et al.   Mass                     attributed
                                                                                                                                          psych o gcnic illn ess
                 lavage
         choalvcolaz                   hypersensitivity pneumonitis. Fig
                               lymphocytes in                                             t o t o xicexposure     at a h i gh school . N Engl J     Med 342 96-100,
                                                                                                                                                                 :
          ~sn 21-225-231, 2003,
               ir i                                                                       2000.                                                                    0




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    .   -   I   y




   17. Hypersensitivity Pneumon itis
   Rachel E. Story,          M .D., M .P.H ., and Leslie C .               Grammer, M.D.




     ~ypersensitivity pneumoniti s (HP), also referred to as                  is associated with     continuous low-level exposure , and .pre -
     ii exhinsic allergic alveolitis, is c haracterized by no n -              senfs with insidiou s onset of shortness o f breath, pio ddctive
    immpnoglobulin E (IgE)- mediated inflammation of the pa-                   co ugh , and weight los s . The subacute form h a s . featiue "s ,of
    renchyma, alveoli, and termin al airways o f the lung initiated            both the acu te and the chron ic forms. Table I has addi ti o na l
    by inhaled antigens in a susc eptible hos t . Historically, HP             information di sti n guishing the three forms of HP.
    was associated primarily with occupati on al exposures suc h                   A high index of suspicion is required to make a diagnosis
    as theimophilic ac ti nomycetes on hay resulting i n farmer's             of HP. There is n o single diagnostic tes t that is de firiiti4e for
    lung.-- Residential contact with agents responsible for HP                HP. Physicians m us t identify expo sure to a n agent capable
   now accounts for most new cases of the disease with pet                    of causi n g HP with an appropriate te mporal telapon to
   buds, contaminated humidifi ers , and indoor molds being the               symptoms . Diagnostic tes ts are used to s uppo rt the diagno-
   trio"s t .freq uent sources o f exposure . '                               si s . For the ac ute form o f HP, an inhalati on challenge can
        T'he rn_inechaiiism
                  . . . ~
                            of inflammation in HP is not elucidated           clearly esta bli sh exposure and     an appropria te temp ora l re-
   fnlly,• 7'he 9ndaiumstion is non;IgE mediated an d seems to                lat ion to symp toms , but it is ra rely done becaus e se vere
   be driven by act ivated macrophages and CD8+ cytotoidc                     respiratory r eactions may occur.
   lymphocytes that am uriable ~ to's uppress mac ro phage activ-                S kin tes ting is no t useful bec au s e HP is not an IgE-m ediated
   ity .? Elevated antibody produ ction, primarily IgG, is seen in
                                                                             disease.   High   levels of serum   precipitating IgG      ti
                                                                                                                                     an bodies to

  HP and is tho ught fo be secondary to CD4 + T-helper                        the o ffending antigen are found in HP but are not diagno stic
  l ymph ocyte stimul a ti on o f plasma ceIls .l                             be cause many individuals with exposure but no diseas e have
                                                                              high levels of precipitating antibodies . The results of physical
       Etiologic agents of HP are eith er o rga nic high molecular
                                                                              examination, chest x ray , an d pulmonary function test d iffer
  weight compounds such a4       § bact(Fria fungi am oeb a e, and ani -     depending on the form of HP. D etails of the differences are
  mal proteins or inorganic low molecular we ight haptens su ch
                                                                             shown in Table I. Lung b iop sy is not diagnostic but often is
  as isocyaii ate and drugs inc luding amiodanone, gold, and
                                                                             characterized by poorly formed granulomas, alveolar wall in-
  miriocycline . A~comprehensive list of etio logic a gents is be-
  yond the s cope of this article but can be found eLsewhere
                                                                    .l•Z     filtration with lymphocytes , pl asma cells and neu tmphiLs, and
                                                                             in the chronic form of HP, fibrosis?
  Examples include: thermophilic a c tinomyces found in moldy                    The cornerstone of manage ment in HP is early diagnosis
 ha y causi n g farmers lung, Naegkria grube ri in contamina ted
                                                                             and avoidance o f the offending agent. Avoidance often
 humidifi es causing ventilation pneumonitis, avian protein in
                                                                             requires a change in occupatio n o r par ting with a belove d
 bid droppings causing bird-fancier's lung, and acid anhydrides
                                                                             p e t The refore, frequently, emo tional, ps ychologi cal , social ,
 in plas tics causing plastic worker's lung.                                 and economic factors lead to noncompli an ce . Prednisone at
      The epide miology of HP varies with the etiologic agent,               a dose of 0 . 5 mg/kg per day can decrease symptom's in th e
 p opul ation, and environment . Although th ermophilic acti-                acu te and sub ac ute forms but has no b ene fi t in terms of
 nomyces and avian proteins caus e most cases of HP in the                   di sease progression. It is dangerous       to treat a patient with
 Un i ted States , the incidence varies by re gi on and season              stero ids in the s etti ng of continued antigen ex posure .
 with fazmer's lung more common in humid regions and                           The maj ority of patients with HP enjoy acomplete re -
 s easons. In Japan, summertime mold contamination of                       co very once the offend ing age nt i s iden tified and a voided .
h omes with Trichnsporon cutaneum and Cryptoco ccus al-                     However, death s have been reported if expos u re con tinues .Z
bidus is the most common cause of HP .
     F iP_ presents in au acute, snbacute, and chronic form
                                                                            INIl4IUIY O LO GY
depending on the amount and duration of expo sure and the
leve l of host reactivity. The acute form typically occurs                     The inflammation in HP is no t IgE mediated
within 6-12 hours of an intense e xpos ure with s ymptoms of                   Activa ted macrophage s an d CDB + cytotoxic lympho-
fever, dyspnea, and nonproductive cough. The chronic form                      cytes are ke y mediators of inflammatio n i n BP.
                                                             EXHIBIT             i
S40                                                                              ' July-August 2004, Vol. 25, No . 4                  (Suppl 1)
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                                                                      • Increased expression of CDS OlCB 8b and CD28 increase
                              TABLE I
                                                                        the inflammation seen in HP .
                    Clinical Presentations o f H P

     Featur e            Acute         Subaca te Chronic
                                                                     CLINICAL         PEARLS
  Fever, chills            +                -              -
  Dys puea   +                             +          +              • HP is a clinica l diagnosis that require s a        high index of
  Cough Nonproduc tive               Prod uc ti ve   Producti ve '     susp icio n to detec t .
  Malaise,                           +      +        -E              • Resi de ntial expos ures to caus a tive agents are responsib l e
    myalgia                                                            for mos t ne w cases o f HP.
  Weight l oss               -      -        f                       • Clinica l features and diagnos ti d tes t res ults differ in the
  Rates               -        +             -F-                       ac ute, su bacute, and chronic forms of HP
  Clies t film Nodular Nodular Fibrosis                              • Skin testing is no t useful because          HP is    not
                                                                                                                               an Ig&
                Infiltrate s   Infiltrates -                              mediated disease.
  PM Restrictive -Mixed 'Mixed                                       • The     cornerstone of management in HP is early di agnosis
  DI ,CO            Decreased Decreas ed Decre ased
                                                                       and avoi dance of the offend ing agent
  PFTS = pulmonary fun ctio n tes t; DLCO = diasircg ca-             • Pre du i son e will decre ase symptoms i n the ac u t e and
  pacity far carbon mo n oxide .                                           s ubacu te phases but will   not impact d isease progression
  So urc e : Ref 2 (with permission).                                     i n mos t cases .


  • Brouch oalv eo lar lavage fluid typic ally reveals a lymph o-
                                                                     RE FERENCES
    cyiosis„wiffi aatio of CD8+ cells to CD4+ cells greater
    [Ildil
             ~.,
             one.                                                    I     P a te] AK, Ryu JH, and Reed CE Hypersensitivity pncumonius :
                                                                           Current concepts and future questions, I Allergy Clin Inununol
  *'Activated macrophages have in crease d expres sio n of                 108:661- 670, 2001 .
    CD80/CD 86 and T ce lls ha ve in crease d expression of its      2.    Grammer LC. Occupational allergic alveoliGS. Ann Allergy As thma
    codnter-ll g and CD 28.                                                Immuno i 83 ' 602-6 06 1999,                                  0




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         Toxic and Other Non-IgE-mediated
             Effects of Fungal Exposures
   Mark E.          Nordness, MD, Michael C . Zacharisen, MD, and                                         Jordan N. Fink, MD

 Address                                                                    non- IgE-media ted   effects o f various mol ds . The major non-
 Sxaon of Allergrlmm n dogy, Medal      College
                                            of Wi :corssin        9000W.    IgE unmunologicdisease of mo lds i s hypersensitivity pneu-
                  e~
 WisconsinAvcxi $iite    411.
                           htiwatdcee. WI 53226. USA                        moni tis. This paper is focused on the non-IgE effects o f mol d
                    rw
 E-{rad :mnordQn ed u
                                                                            in humans, including hypers en sitivity pne umonitis, infec-
 Current Alle rg y an d Ast h ma Reports 2003.3:438-M6                      tious disease, and myco to x icoses ( i n cluding th e rece ntly
 Current Science tnc ISSN 1529-7322                                         described "toxic mo l d syndrome').
 Copynght 420 0 3 try Current Science Inc

   Th ere are Riorc the {  MOOO      d            species of fiRld,        Hypersensitivity Pneumoniris
           m
   aocrpri g 75%    of 6a Wnsss of      the
                                   earth Alktgic. 8E-         I            Fungal antigens inhaled as biologic dusts can induce pul-
       i L
   id ced rt           Fw A
                      6 d' r4ome fish are Li o n.                          monary disease through non-IgE immune mechanisms in
   wl ier
        eas nor rlgErt    tsaY         t- ram
                                       Red,                much            immunocompetent patients . The terms hypersensitivity
   f o ais has been pla * endue iqn - V-r~ effects of                      pneumonitis (HP) and extrinsic allergic alveolitis are used to
   variow maids, kidu3~.              tivity Pngrn oni0s%                  describe this syndrome Despite the term alveolitis, there is
   kik ctloi u dsexpel aWif+       d     : Ewefserls_rw'h                  involvement of the inte rstitium, alveoli, middle airways, and
   priu.oonius is a d~ g4Wingrte assbciated wRh systsnic                   terminal airways The syndrome is due to immune mecha-
   and interstitiaF kng &N6aie fi) tnov is in usaepuMe                     nisms related to alveolar macrophages, and Thl lympho-
   k~6vidinis idlavk~iIRCtlf~Iolt Most fin& are not                        cytes are activated by inhalation of antigens by susceptible
   pathogarc to trorK~:c               ifptagi are apa We cf               individuals. The clinical presentation varies depending on
   i~(ec6rgmrt~u~o~o        t b~v~iA~.         ~ ~aivdr~                   the duration and extent of exposure to the fungi and the
   and opomre to r V cab @diu f`tcWc rd otd syn3orre' ) a re               immunologic response of the individual .
   trp&atedm caaig, rKtmrxtr, r1 aIspeofirl ryus^K                             Lung disease in grain workers was first reported by
   syrtp O xrA aans*, t} kere is no sclen0fic evidence to                  Ramazzini in 1713, and farmers lung was initially described
   tt4P ro t the   akpium d*Jxw       E eaRla is affected by inhaled       in England in 1932 . In the     past 35 years, microorganisms
   rty cotmdns, Fbwewe; if fnotd is 3sbovered 'n a home,                   (actinomycetes, bacteria, fungi, amoebae), animals (primarily
   scliod, or oR ce se ftt d ,e warns A ok/d be imstipted                  avian), low molecular weight chemicals, and drugs have been
   r+d appro~priao e rc         ttl~der~ to minimize                       identified as triggers of hypersensitivity prieurnonitis .
   w,xn." da r roge and p otmEi41 A%rgjc mmuntioR
                                                                           Epidemiology
                                                                           "There is little information regarding t h e exposure levels neces-
 Introduction                                                              sary to induce H P in suscep tible individu al s- Th e prevalence
 Fungus, commonly referred to as mold, is used to descri be varies by antigen and by l ocat ion. Paradoxically this disease
 the different members of the Fungi kingdom, of which there occurs l ess frequently in smokers than in n onsmo kers. Cages
 are five ma in phyla including Clrytrid iomycota, Zygo mycota, r ette smo king seems to be pro tec ti ve by a ffec ting alveolar
 Ascomyrota , Bas idi omyco ta, and Deu t e ro mycota. Fungi are macrophage fundion, thereby inhibiting lung inflammation
 eukaryodc, unicellular, dimorphic, or filamentous and are when immunogenic pa rt icles are inh aled . Another factor
 usu ally spore-bearing organi sms . Th er e are more than important in the induction of disease appears t o be the con-
 100, OOQ recognized species o f fungi, comprising 25% of the comitant occurrence ofa pulmonary insult such as avual res-
 biom ass o f the eartN occurring i n numerou s foams, s u ch as piratory infecvon [I].
 mushr ooms, t oad s tools, puffballs, yeasts, mild ew, smuts,
 mol ds, a nd rusts. Fungi can cause human disea se via four Fungal antig e ns o f hyp ersensitivity pneumonitis
 mechanisms including allergy, infection, non-Ig E-mediated Fungal antigens have become the mos t commonly reported
hypersensitivity, and toxicity. Allergic, IgE-in duced, mani - causes of HP recently and are s u mmarized in Table 1 . Many
festa tions of airborne fungi include asthma, conjunctivitis, frmgus-rela t ed H P syndromes have colorful and descriptive
rhi n itis, allergi c sinusit is, and all ergic broncho pulmonary names. Sensitizatio n by funga l antigens occur s through the
aspergillosis. Recently, much focus has been placed on the aerosol route, whereby particles smaller than 5 microns can

                                                                                                           EXHIBIT

                                                                                                              V
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                               Toxic and Oth er N on-IgE-mediated Effects of Fungal Exposures                       Nordness et a l .        43 9




 TabIP ! . Fungal antieens sources, and diseases fo r hyp e rse n s itivity pn eumonitis

                                                                                                               D isease
   Funga l     antigen                                             Sourc e

   Aspergillus species                                             Moldy brewer's malt dust                    Malt workers lung
                                                                   Moldy esparto grass in stucco               Stlpacos 4s
    ((um iganrt. drnaCs)
                                                                   Compost                                     Compost lung
                                                                   Moldy tobacco                               Tobacco workers disease
                                                                   Contaminated 02 humidifier
                                                                   Contaminated soy sauce
   Ahemarta species                                                Moldy wood dust                             Wood workers   lung
   Rhizopus and Mucer specks                                       Moldy wood trimmings                        Wood trimmers disease
   Botrytis drrerea                                                Moldy grapes                                Wine grower s lung
          as
   I4aeo6 idiun    pu n
                    ftda s                                         Contaminated        HVAC system             Air-conditioner lung
                                                                                                               Sauna taker's lung
   Oadaspariun species                                             Contaminated  sauna
   Gephdospedurn species                                           Sewer-water-contaminated        basement    Cepfmlosporiun HP
   Penalfivn frequents                                             Moldy cork dust                             Suberosis
                as
   Penidlfiun c eir and roqueforti                                 Cheese mold                                 Cheese  workers lung
      n A                         cu
   Pa ia m brevicorrrpoccun. Fus ian,                     Moldy hay or cowshed fodder                          Farmer's lung
    Absidia corymbi(e1a, WdJemia se6i
   Penarru , («parisu ,,, qdVrw,, dirncger,um)            Moldy wood dust                                     WA
   ftidRnm (canem6erti, rtalgiwerse, chryro8enun)         Salami seasoning                                    Sal ami workers lung
   perda7fiurt and A4XIOUNUTY species                     Moldy peat moss                                     Peat m oss pr ocessors lurg
                                                          M oldy oak and maple trees                          Woodman ' s di sease
   Neurons osieah a, Fiypsi %ts mcrnroreis, basidlospores Commercial indoor                                   Mushroom workers lung
                                                                     mushroom cultivation
   Trichmporvn cutaneum, T. wddes, Cryptncaaa al6idus              Contaminated Japanese house dust           Surr r ner-type HP
   Crypmsvana cortlcak                                             M oldy map l e bark                        Ma pl e ba rk stripper di s ease
   Rhoddm u    l rubra                                             Moldy cellar/bathroom walls
   6raphiiun spades, Atterrtaia, Arreabasdium pullWartr            Moldy redwood dust                         Sequoiosis
   Pen~a danvaTima                                                 Moldy home                                 E} N5o lung
   Lycoperdon pufflralls                                           Puff bal l spores                          Lycoper'donosis
      l
   Ca dda    species                                               Moldy reed                                 Saxophonists lung
  EPicaccvn riignun                                               Moldy basement shower                       Basement shower HP
  Fus m iurn napifortne                                           M oldy home                                 NIA
  Sacdiamionospara viridis                                        tried grasses and leaves                    Thatched-roof disease
  Strepoxryces aflxn                                              Contarninated fertilizer                    Streptomyces altos HP

  F-P-hypersenticMty pneu mon kls; HVAC-4 e~t   ventilation and air conditioning .


enter the alveoli. Orga nic dusts t hat contain
                                            molds can also                   conditioning systems have been implicated in outbreaks of
con tain teens, including mycowxins with enzymatic activity                  HP 1101. Room humidifiers have been causative sources with
that function a s adjuvants.                                                Aurevbasidium pul(ulans [11 / and the red yeast Rhabtrnula [ 12j-
     Repo rts o f a cu te mo ld-rel at e d H P include children             During the    summer
                                                                                               in southern Japan, house dust contami-
 expos ed to an unventilated shower cont aminated w i th Epi-               nated with Tridwsporon cutaneum or G}ptaaars a[6idvs can
 cocc um nigrum (2] , a hou se wife exp ose d to Pen ic il liu m            causeHP [13J .
 e4ansu m contaminated wood dust [3], the inhalation of
 basidiospores during processing and packing of mushrooms                   C l inical presentation
 141 and an adul t who developed HP caused by Pe:iaa domicil-               Hypersensitivity pneumonitis can present clinically as acute
 utna after house fl ood ing fro m the rains of II Nin o I 5 ]. Spe-        subacute, or chronic depending on the nature of the in haled
 des ofAspezilh4s have been implicated in ascr sauce brewer, a              dust, its anag eniary, the intensity and frequency of expos=
farmer with a poorly ventilated greenhouse, a hospitalized                  and the immunologic response of the host
pa tien t i nhal ing contaminated humidified oxygen 1 6 ), and                   The
                                                                                   acute form is characterized by both respiratory and
Sp anis h s tucco m akers working with moldy esp arto grass                 systemic symptoms that begin 4 to 6 hours        after exposure.
fib ers 171 . Suberosis describes affected workers in the cork              A dry, nonproductive cough, dyspnea, high fever, chills,
industry who inhale spores of Penicillium firquentans. Penicil-             myalgias, and malaise might persist for 2 8 hours, followed
lium spores found on agi ng cheese and sal a mi have caused                 by spontaneous recovery if the person is removed from the
cheese worker's l ung a nd sal ami worker's l ung, respectively             source of antigen   exposure. The attacks recur each time the
(8 j . Occupational H P has been linked to Penicillium spores in            individual is exposed, but the severity can vary. With fre-
moldy wood and peat moss [9J . Fungus-contaminated air-                     quent episodes, symptoms of anorexia, weight loss, and
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   progressive dyspnea might be prominent, resulting in              the      respiratory alkalos is particularlywith exercise. The abnormal-
   chronic  form.During an acute        attack i
                                        b basilar inspiratory                 ities disappear as the acute symptoms subside . If the lung
   Tales are prominent and can persist for weeks . Between                   damage is  severe, volume and flow abnormalities might per-
   attacks, the examination is usually normal .                              sistduring   asymptomatic phases. A mixed restrictive and
       The subacute form includes progressive respiratory                    obstructive ventilatory defect with low diffusion capacity can
   symptoms for weeks to months, without the explosive sys-                  be seen in chronic HP.
   teaucsymptoms noted earlier, uriless there is an exception-
   ally high allergen exposure                                               B ronch oalveo lar l avag e and h i stopath o logy
       The chronic form can be subdivided into that following                Patients wi i h HP have increases i n the abso l ute numbers of
   recurrent acute attacks or the more difficult to recognize                both CD4+ and CD8+ T lymph ocytes, and a very promi-
   insidious form. Prolonged or continuous exposure to small                 nent increase in CD8+T cell s 1 1 5 1 . Bronc h oal veo l ar lavage
   amounts of fungal antigen can result in the insidious form,                ( BAL) fluid also con tains acti vated lung    macrophages ( 16],
                                                       weak-
   manifested as progressive dyspnea, dry cough, malaise                     increases in mas t cells and natural taller cells, and      specific
  ness, anorexia, weight
                   and                           absent. The
                                loss. Fever is often                         IgG and IgA antibody. Cul tures are usually        negative.
  irreversible pulmonary damage occurs without acute attacks .                    The histopat hology depends on the s t age of the disease,
  Lung auscultation typically reveals fine, dry crackles, but                             appears nonspecific rs
                                                                             but general ly            as              int e ti tial p n eumoni-
  wheezing is not uncommon. Clubbing is unusual .                                 N                            there
                                                                             tis ( S I P) . In acu te d i sease,      is a marke d predomi-
                                                                             nance of lymphocytes, activa t ed macrophages, plasma cells,
  Laboratory features                                                        and neuvoph il s in alveo l i an d interstitial spaces . With dis-
  In the acute form, leukocytosis up to 30,00 cells per mm3                  ease progression, the alveo li beco me obli t erated, and the
  with a left shift might be present . Elevations of all immu-               intersti tial process becomes fibroblasti c In chronic disease,
  noglobulin isotypes, except IgE, erythrocyte sedimentation                 there is less prominent lymphocytic alveolitis, but intersti-
  rate Greacfive protein, rheumatoid factor, and serum lac-                  tial inflammation includes no t o n l y mas t cell s and pl asma
  tate dehydrogenase have been reported . Arterial blood                     cells but also nonnsea ting gran ul omas and fibrosis. There
 gases reveal a respiratory alkalosis with hypoxemia in the                  is minimal epithelia] cel l necrosi s or connecti ve tissue
 acute form The hypoxemia is accentuated by exercise. 'Me                    destruction, bu t peripheral des tructio n of alveo l ar wall s can
 characteristic immunologic finding is serum-precipitating                   resu lt in honeycombing.
 IgG antibodies against the spec offending fungal anti-
 gen as measured by gel diffusion techniques or immuno-                     Diagn os is
 electrophoresis. Precipitin bands between the patient's sera               Criteria for diagnosing H P include: 1) co mpatibl e symp-
 and antigens can be detected in nearly all ill individuals                 toms; 2) evidence of exposure to the appropri ate antigen b y
 but also in up to 50% of asymptomatic similarly e xposed                   history or by detection of specific antibodies in serum and/
 individuals (14] . Serum precipitins might disappear with                  or BAL f l uid, 3 ) ches t radiograph or H RCI ' w i th compatible
 time, if exposure ceases.                                                  findings; 4) lung lavage fluid Thl lymphocytosis (if BAL is
                                                                            performed) ; 5 ) his tol ogic ch anges such as N SIP (if l ung
 Radiography                                                                biopsy is performed ) ; and 6 ) repro duct ion of th e symptoms
 Dur ing an acute attack , soft , pat c hy, coalescin g paren-              wi t h supporting l abora tory and l ung funct ion   abnormalities
 c hymal infiltrat e s ca n be s een bilaterall y. B etwe en acu te         after exposure to the suspec te d environment. A ddit i ona l
 a ttacks, the che s t radiogra p h m ight b e normal , a lth ough ,        findings that are nearly always p resen t but can also be found
 more commonl y, there are very fine nodula tions and retic-                in other interstiti al l ung diseases include: 1) bibas ilar dry
ulation w i th coarse 6ron chovasculaz markings. End-stage                  T a l es; 2) decreased di ffusing capaci ty; and 3 ) arteria l hypox-
disease appears as diffuse fibrosis with honeycombing .                    emia a t rest or during exercise (1 7 ] .
High-re solution com puted tomography (HRCI') is no t bet-                    Th e suspicion for a causative enviro nmental antigen is a
ter than plain radiographs in acute disease; however, in                    temporal relatio n sh ip betwee n sy mpt oms and t he workplace
ch ronic d iseas e HRCT is superi or in id entifying abnormal               hobby, and entrance into a building or home This relation-
findings, such as centrilobular nodules, ground-glass opac-                 ship is more difficult to establish in the chronic form. Clues to
ities, and emphysematous changes .                                          identify mold contamination incl u de e vidence of broken-
                                                                           down foundations, deterioration of walls, roof damage a mil-
Pulmonary function                                                         dewed odor, 'powdery dust ' exiting air conditioner registers,
P ulmon a ry function abnorm al ities      can v ary depending on          and water stains on ceilings o r walls. A site visit might be helms
 th e form of the di se ase A restrictive ventil atory defec t is t he     fill t o measure indoor air quality compared with outdoors,
 most common finding in acute disease occurring 4 to 6 h ours              and microbial contamination .
after exp osure. There i s a decrease in b oth forced vital capacity           There is no singl e clinica l or unique tes t currently avail-
and forced expuatory volume in I second (F£Vi). The di ffu-                able to confirm the diagnosis of HP. Rather, it is a combi-
sion capacity frequently decreases during the attack reflecting            nation of clinical findings, radiographic abnormalities,
alveolar involvement. Blood gases reveal hypoxemia and                     pulmonary function, and immunologic testing that sum
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                                  Toxi c and Other N on -IgE-mediated Effects of               Fungal Exposures         Nordness et   al    441




 Table 2 . Commo n d e rma to phyt os is and res pec tive path ogens

   Type of infection              Pathogen                                                     Remarks
   Tinea rapids (scalp)                                           sc
                                  rricfiopfryton tonsurms . T. fioenleini (fetus),             More   common i n cFv ldren than adults
                                    Microspmnn audcuinr, M cansi
   Tinea uriguii rn (r    ails)                           p
                                  T. rubnm, T. mernagro iyter                                                          common,
                                                                                               Fungal nail infections are
                                                                                                occurring in 5:1000 people
   Tinea barbae (beard)           r. rus. =, r. Yerrucosum                                  Occur mainly in ad ults handling animals or
                                                                                              straw contaminated by infected mice
   Tinea   corporis (body)        T. rubrtm, T . melrtagropfry2es, M casi,                  Facial involvement mi ght involve flares
                                                                           p
                                   T. venixrsum, T . concentrinrn. M gy seum                  following exposure to sinlight
   Tinea cnuis (groin)                             fl
                                  Epide^nophY[on occosum, T. rubrun                         Very contagious spread via contaminated
                                                                                              towels and saunas
   Tines pe s(fi (feet)                    Li                 I
                                  E }loccos n, T. rubnm, T merttagroplytes                  Infection commonly starts with scaling in the
                                                                                              third or fourth interdigita! space




  ports the diagnosis [ 18 J . Lung biopsy and inhalation chal- there nas a decrease in the FEVl . "Iha e are insuffident da ta
  lenge might be necessary in some cases, eith er to confirm on using inhaled corticosteroids. Al lergen immuno therapy
  the diseas e or to Wil e ou t other diagnoses.                    with the offending funga l antigens is no t advisabl e, beca use
       When a specific environment is suspected, pu l monary the immune comp l exes formed might induce a vascular
  fun c ti o n tests can be p erfor me d before and severa l h ours inflammatory process .
  after expos iue likewise, purposefu l exposure in the labora-
  tory to the suspected antigen ca n also be done. If significan t
  changes occur i n l ung vo lu mes or diffusing capacity the Infectious Diseases
  environm ent should be fu rther investigat e d wi th fungal cul- Mos t fungi are no t pa thogeni c to man ; h owever, cert a in
  tures and immuno log ic studies u si ng the patie nt's ser um . fungi are capable of infec ting immunocompe tmt ind ividu-
  Chest radiographs are suggest ive in al l forms, but }iRGT can al s Typi cal examples include t he dermatop hytes, Blastomy-
  further delineate chronic disease, determine the site for lung ces, Cryptococcus, Hrstoplasmv, Coccidiodes, and Candida .
 biopsy, and nar row the differential diagnosis . Skin testing [ mmunocomp rom i sed individuals are not di scusse d i n
 has no practical role in the diagnosis. Open lung biopsy this review, but are at increased risk for infection by a vari-
 shoul d be performed if other studies do no t establish the ety of opportunistic fungi, typically including Aspergillus,
 diagnosis. The findings of NSI P s houl d promp t an investiga- Fusarium, Zygonrycete, and Candida. Susceptibl e ind i vidual s
 tion for HP; h owever, NSIP can be seen with co n necti ve are those with severe cellul ar immune dysfunct io n, such as
 ti ssue di s eases.                                                those wit h HIV infection, those undergoing chemo therapy,
                                                                             those on other immunosupp r essive drugs, and th ose with
 Treatment                                                                   uncontrol led diabetes melli t us .
  Early recognition of HP with subsequent avoidance of the
 offending fungus is the mos t imp orta nt factor in reversal of             Derm atophytosis
 the disease process . Once identified, a variety of measures               Dermatophytosis is a supe rfi cial infection of keratiniZed
 can be imp le mented to avoid the o ffend ing fungal antigen.             structures such as the hair, skin, and nails by three genera
 The use of air-filtering systems, masks, or alterations in the            of dermatophytes including Trichophyton, Epidennophytmi,
 forced-ai r heating or cooling systems might be beneficia l               and Murosporum . These genera contain more than 40 spe-
 Remediation t echn iques might b e n ece ssary t o i ncrease              cies. The various dermatophytoses are commonly classified
 home ventil ati o n , maint ain humidity a t l ess th an 50%,             according to infected body location preceded by " ones . '
 and treat areas o f r eg ul ar water exposure (ie, water traps ).         Table 2 summarizes the common dermatophytoses . The
 Removal of contaminated building materials, wh ich serve                  treatment of derniatophytosis involves the topica l applica-
 as reservoirs for fungal contamination, woul d likely be                  tion of medications such as dotrimazole, miconazole, or
 necessary. Most in d ividuals can expect complete reso l ution            ketoconazole. However, infections of the nails and hair
 o f symptoms and a return to normal pulmonary function                    respond poorly to topical treatment modalities and usually
days to weeks after th e exposure has stopped, if irreversib l e           require prolonged courses with oral antifungal          agents such
lun g d amage has no t occurred                                            as griseofulvin .
      If the di seas e appears to be progressing, e ven with avoid-
anc e, oral corticosteroids (eg, prednisone 40 to 80 mg(day)               Blastomycosis
are the drugs of choice. The clinical responses to steroids are            Blastomycosis is caused by the dimorphic fungus B[astomy -
often dramatic The duration of therapy is based on clinics]                ces dermauuGis . It occurs as a result of the inhalation of B .
improvement- In challenge studies, a lbufero l h elped where               dennuudis conidia into the lungs. Person-to-person traris-
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  mission does not occur. B. dernw tidis spores are found in              immun odiffusi o n, or tube precipitin . Antifungal therapy is
  soi l and are endemic in reg i ons o f t he Ohio and Missis-            not indicated in an uncomplicated primary             infection .
  sippi River va ll eys . Mos tindividuals
                                         who inha le B. dernrak-          Amphote nan B is recommended for severe infections.
  dis do no t de vel o p symptom s of b l astomycosis . The major
  cli nica l manifestations of bl astomycosi s are pu l monary,           Histoplasmosis
  cutaneous, and disseminated disease . Pulmonary blasto-                 Histoplasmosis is caused by any number of Histop[asma cap-
  mycosis prese nt s with fever, coug h, ches t pai n, and mucu s         suln(umvarieties (H. capsulatum tar. capsulntum, H. capsulatum
  devel opment an d can be self- l im it ed . However, 40% to             var. dubo isii, and H. capsulatum var. farciminosum) . H cap-
  80% of pat ien ts dev elop extrapulmonary dis semi n ation,             sulatum is found in soil containing high nitrogen concen-
  mos t co mm on ly to the skin , bon es, and male urogenital             trati o ns enriched by bird   (especially   pigeons) droppings .
                                    er e verrucous, or nodular.
  t rail Skin l es i ons can be ul c ati v ,                              Infection is acquired via inhalation of     microcondidia. Most
  Biopsies o f th e l esio ns typically reveal both ganul omatous         infections with N_ capsulatum are asymptomatic (95%) or
  and suppura ti ve .'Ihe
                    inflammation d i agnosis is b ased on                 present with mi ld upper respiratory tract symptoms. The most
  the id en ti fication o f the orga n ism i n t iss ues (broad-based,    common symptomatic illness is pulmonary disease, which
  single-budding yeast),      tissue c ul ture or chemi luminescent       manifests as a flulike illness with fever, cough, headache and
  DNA probe . Trea t men t i s intraven o us amph o tericin B fo r        chest pain Chest rad iograph reveals patchy infiltrates with an
  severe di ss emin ated infection and or al ketoconazol e, itra-         alveolar parenchyma l pattern with associated hilar/para-
  conazole, o r fl uconazol e for mild-to-moderate infections.            tracheal Symphadenopathy.        The disease typically resolves
  Oral th erapy is continued for at l eas t 6 mon ths in dissemi-        without treatment in several weeks. Individuals with chronic
  nated or pulm onary disease                                            obstructive pulmonary disease can develop chronic cavitary
                                                                         histoplasmosis Duserr   iriated   disease is rare in immunaom-
 Cryptococcosis                                                          petenthosts. Culture is the definitive method of diagnosis .
 Cryp tococcosi s is caused by the en capsulated yeast Crypto-           Most cases of histoplasmosis are self- limited, but chronic
 coccus n eofmma ns . I mmunocompetent in dividu a l s usually           cavitary or disseminated disease requires treatment . Currently,
 d eve l op mild o r cov er t d isease; howeve r, so m e d evelop        amphotericin B, miconazole, and ket D COnazole are chemo-
 pulmonary cryptococcosis. It is a maj or source of m orbi d -           therapeuti c options.
 i ty and mo rtality in pa t ients with A I DS . Infect ion occurs
  via inhalation of the yeas t, which is typi cally found in so il       Ch ro nic m u cocutaneous cand i d i asi s
  con taminat e d with pigeo n/b ird dropp i n gs . Pulm ona ry           Chronic mucocutaneous candidiasis (CMC) is a rare hetero-
  disease presents with cough, hemoptysis, and chest pain .              genous pri m ary immune deficiency disorder characterized by
  Chest r a diogr aphs mig ht demo nstr a te a so litary n od ule,       recurrent and chronic Cnndida infections of the skin, mucous
 focal infiltrates, or diffuse infiltra t es. Diagnosis is con-          membranes, and nails with C afbicarrs, C pnrapsilvsis, C tropi-
 fu med via iso l a tio n of th e organism from body flui d or tis-      tafis, or C guilliermondii. Typically, the disease begins in
 sue. En capsuat ed yeas t cells will be see n wit h India ink           infancy or childhood, and persistent oral thrush is the most
 stain ing. The treatment consis ts of amph oteridn B alone or           common presentation (followed by chronic diaper dermatitis
 in combination with flucytosine for serious infections .                in infants) . Both autosomal recessive and autosomal domi-
                                                                         nant modes of inheritance have been reported
 Coccidioidomycosis                                                         The immunologic defect in CMC is a thymus-dependent
  Co ccidioid omycosi s i s a sys te m ic mycos is ca use d by th e T-cell dysfunction . Abnormal delayed cutaneous hypersensi-
  di mo rph ic fu ng us Coccidioides immi t is . C. immitis i s      tivity with anergy to intradermal Candida skin test is com-
  end emic i n the sou thw estern United St ates, n o rth ern Mex- monly found . However, CMC has also been described in
  ico, and certain areas of Centra l and South America. Most patients with normal delayed cutaneous response to Canclsfa.
  individua l s residing in endemic areas have experienced an It is believed that most individuals with CSC have normal
 infec tion wi th G im m itis, Appr oxima tely 5% of primary neutrophil, monocyte, and complement function . Elevated
 infections p res ent as a fluli ke illness with fever, headach y serum IgG and IgA levels are frequently seen along with ele-
 mal a ise, co ugh, and anorexi a. Pul m onary infiltrates might vated anti-Candida antibody titers.
 be noted on chest radiograph . Most individuals resolve                In nearly 50% of the patients, CMC is associated with var-
 their primary in fecti o n wi thout complica t ions ; however, ious endoainopathies, especially 'if the CMC is autosomal
 disse minated disease occurs in less th an I% of in d ividuals recessive Autosomal dominant CMC is rarely associated with
 a nd affects th e s kin, bones, j oints, me n inge s, an d geni- endoainopathies. Hypoparathyroidism is the most common
 tourinary system. Those at ris k for disseminated disease defect seen in CMC, but others, inducting Addison's disease,
i ncl ude pr egnant women, Afri can Ameri cans, Filipin os,         hypothyroidism, hypopituitarism, pernicious anemia, dia-
neonat es, th e e l der ly, and those in an i mmu nocoinpro- betes mellitus, and gonadal failure, also can occur . Such
mi sed state. D iagnosis is confir med v i a an IgM response patients are also at increased risk for autoimmune diseases
de tected by l a t ex agglutination, enzyme immunoassay, including immune thrombocytopenic purpura, neutropenia,
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                             Toxic and O th er   Non -l gE- med i ated Effects   o f Fungal Exposu re s     No rd nes s e t al   443

 alopeda, juvenile rheumatoid arthritis, and hemolytic ane-         heady from one isolate to another. Therefore, even if a toxic
 mia. 'Ihycnoma commonly occurs in patients who develop             mold species is present, it cannot be presumed that it is or will
 CMC later in Ide                                                   produce mycotox ins [2Q ••].
     The diagnosis of CMC is based on persistent mucous                 Mycotoxins can elicit effects via inhalation, ingestion, or
 membrane and/or cutaneous Candida infections for at least 2        direct slam contact They are not significantly volatile, nor do
 years and the lack of general immunosuppressioa Ketocona-          they evaporate An inhalation exposure        wouldrequire pro-
 zole is the treatment for CMCas either intermittent or chronic     duction of an aerosol of fungal spores, mycel ial fragments, or
 therapy. Numerous experimental treatment options have              contaminated substrates. Spores are     typically
                                                                                                                    the most com-
 been described, including fetal thymic tissue transplants,         mon inhalation exposure unit for mycotoxins . The amount
 human leukocyte antigen (HIA)-matched leukocyte transfu-           of toxin per spore has been reported to be between 0 .02 nan-
 sions, transfer factor infusions, and immunostimulatory            ograms per 106 spores and 9 .9 nanograms per 106 spores.
 agents; however, pharmacotherapy is recommended (19] .             Therefore, massive spore exposure containing high levels of
                                                                    toxin would be necessary to elicit symptoms in humans .
                                                                    Levels higher than 106 spores per m3 of air for short periods
 Toxin-induced Disease                                              or constant exposure to more than 1000 spores per m3 for
 Mycotoxi c osis                                               several days are considered a toxic exposure (21 • x . These
 ' Toxic mo ld synd rome' is a   controversial di agnos is and extremely high levels of exposure in homes, offices, and
  refers to a constel lation of nonspecific systemic symptoms in schools are rare, and occur primarily in the farming, swine,
  persons exposed to mold. Symp toms reported include head- and poultry industries . They have been associated with
  adhe, rh inoahea, cough , dyspnea, e pis taxis, diarrhea, nausea, Organic Dust Toxic Syndromes.
 vomiting, memory loss, generalized and focal weakness and              Organic Dust Toxic Syndromes are a heterogeneous
 mood vari ations. Th ere is currentl y a l ack o f obj ect evi-
                                                            ive     group  of lower respiratory disorders typified by transient
 dence   linking mol   d e x posure to t hese nonspecific symptoms  cough,  d}5pnea, headache, nausea, fever, chills, malaise, and
 cited by p ati ents . Recently, th ere h as been a media frenzy myalgia . Pulmonary function is minimally affected, and
 relate d to reports o f mol d growt h amplification in homes, chest radiographs are usually normal. The trimmers seem to be
 schools, and office environments causing numerous nonspe . toxins or organic gases . Symptoms occur in most exposed
 cific systemic effects caused by mycotoxin exposure following indivi duals, especially those with high exposures . Episodes
 water incursion or 'tight' buildings. Numerous lawsuits have have occurred in situations with 'thick airborne dust' that
 been filed by individuals for alleged i l l effects caused by "worsened until it was no longer possible to see across the
 exposure o f mol ds an d myco toxins.                              room' X22] . Total spore counts have ranged from 105 to 1010
                                                                    spores per m3 of air (23,24] .
 Historical perspective                                                 Mycotoxins are commonly measured in foodstuffs world-
 For centuries, it has been known that certain fungi pro du ce      wide  However, it is difficult to accurately and precisely deter-
toxic metabolites that cause bi o logic resp onses in man In the   mine the mycotoxin concentration in large bulks of food
 1700s, ergot poisoning one of the first known mycotcaicoses,      owing to wide variability in the sampling and preparation of
occurred after the ingestion o f rye and millet contamina ted      the test product. Recent reports have focused on measuring
with CYaviceps . Qaviceps is a parasitic fungus that pr oduces     mycotoxins in patients and their environment The detection
toxic alkaloids . Epidernics of ergot poisoning occurred i n two   of polar and macrocyclic trichothecene mycotoxins from air
forms, gangrenous and convulsive. In the gangrenous form,          samples of a mold-contaminated building (25,261 and from a
victims suffered burning pains known as 'St. Anthony's fire, '     mold-exposed patient's urine 1271 have been reported, but
with subsequent numbness and necrosis of limbs . In the con-       these methods need further evaluation and validation
           m persons experience seizures and death
vulsive fonri                                                          More than 300 mycotoxins have been identified, and
                                                                     marry have been implicated in human disease Table 3 pro-
 Mycotoxins                                                          vides a partial list of mycotoxins, their respective fungal
 htyeoto2cicu are low molecular weight   chemicals   that are pro-   source, and the associated illness based on human inges-
du ced by fungi during the process o f m eta bol izing n u trients . tion, animal ingestion data, or animal exposure 1 28 •• j.
The word mycotoxin is based on the Greek words 'µv "a, ' Documentation of a connection between inhalation of myc-
which means fungus, and 'TO~ixov, ' which means arrow poi- otoxin and human disease has not been forthcoming
son . Th ey are secondary metabol i t es an d h ave n o known
physiologic function- Their toxic effec ts are called ' myco[oxi-
coses. ' Mycotoxin producti o n is a compl i ca ted and poorly     Specific Mycoto ins   x
understood process that de p ends on numero us factors,            Atlat oxin
including temperatu re, moisture n u trition, subs trates avail-   Afl atoxins are produced by Aspergillus flavor and Aspergilh s
able for growth, the genet ic pattern, the maturity of the spe-    parasituus on agricultura l commodities. Aflatoxins identified
cific fungal co l or; and competition from other organisms.        are designated B 1 , B2, G1, Gz, M1, and M2- Typically these tox-
Al so, the typ es and amounts of mycotoxins prod uced can vary     ins are found in areas where climatic conditions are con-
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   4 44      All

   Tabl e 3 . Mycotoxin s associated with foods, feeds, and environmental sources

                                                        Effected
             )
    Mycoto drt Fungus                                  subjects      Source                       Symptoms

    Aflatoxirs As"lus flavus                           Humans, dogs. Corn                                  )        gFi
                                                                                                  More da, wei t loss,       tremor, a t   da,
                                                        swine                                       li ve r fai lure, death
    (3avme alkaloids        Qaviceps   fusi(amis       Humans,       Millet                       Nlausea,     vomiting,  giddiness,
                                                        camels                                     drowsiness
    Etgornecrine C pupurea                             Humans        Barley                       Weakness, burning sensation, vornitirv,
                                                                                                      diarrhea, limb swelling, gangrene
    fi n,«usins kanri„m veltia ffloides.               Horses, s werve Corn                       Equine leukoencephalornalacia, porcine
                        F. pwaawm                                                                   pulmonary edema. cyarosis, death
    Cyclopiaz«wc add A (iavus, A tcmaro                Humans          M i llet                   Nausea, giddiness
    pdiratnxtin A PenicAutt vemicosun,                 Hunan, swine Grains, dried                 Interstitial nepfvopatfiy, edema
                             A ahrocera                                    vegetables, me at,
                                                                           fish, olives,
                                                                           wheat silage   dust
    T- 2 toxin              F. tri crKwm               Cattle      Corn                          Abortion, visceral hemorrhage- death
    Trichothecenes          Fusaium and Aspergdlus spp. Humans Wheat                             Vomiting, diarrhea, b loody stools, and
                                                                                                   abdominal pai n
    Tremorgens              A fumiga[us, A niger, AHumans Clover g rass and                      Fatigue, fever, chills, vomin ng,
                              ama, A dwaws, Mucor,
                             fl                          a l falfa silage dust                     dementia, tremor
                             Rh¢op a. PeniciAiirn,
                  Cep hdosponm
   Slafrarnin e, Rhizoctonia (egursnKOfa  Horses, cat tl e,              Red c lover, wfieat     Pr ofuse s alirati on ,lurimatirn,
     svrainsonine                        sheep                            and grass                drarrfaea, in c reased urination, joint
                                                                                                   mffness, tremor, abortion, increased
                                                                                                   wor k of breathing, death



 dudve to mold growth, and primitive methods are u sed for             sooty-appearing cetlu l olytic sap rophytic fungus is distr ibuted
 storage and harvesting, as in Asia and Africa . Aflatoxirrass od-     worldwide S . charut rum is commonly found in areas rich in
 ated animal disease was first recognized in the 1960s when            cellulose, such as hay, cerea l grai n s, wood, papa, cotton, an d
 contamination of peanut meal was identified in the death of                                                  in
                                                                       pl ant debris . The spores are produced humid conditions in
 m ore than 10,000 turkeys (TiukeyX diseas e) (29] . Since then,       which the moisture  content                  more
                                                                                                     ofthe substrate is  t han 15%
 aflatoxins have       identified as teratogenic and hep a to-
                     been                                              and the relative humidity is greater than 90%. The spores are
 carcinogenic in animals   (30], and an association between            not easily airborne Srnchy6ohys does no t compete well with
 aflatoxin ingestion and the development of human hepato-              other common mol ds, includi ng Penicill iu m and Aspergiliuz
 carcinoma has been established (311. Currently, the US Food           and is rarely found in outdoor ai r. I ndoor l evels are typica lly
 and Drug Administration monitor and regulates the lerel of            low, even with extensive su rface mold growth, owing to i ts
 aflatoxin contamination in feed grain, milk, and e o.                 poor abil try to compete Kith o ther mol ds [341,
                                                                           Stachybotrys produce s more than 40 differen t t oxins,
 Octrratoxicos i s                                                     including trichothecenes (ie, sa tratoxin), spiroc} c1 ic ladones,
Aspergi(lus ochracea ia and Penic Alium umucosum are the two           and stachybotrylactams . A recent review article 1 35 1 munrna-
major fungi tha t produce ochratoxi n A Ochratoxin A is pro-                        T
                                                                      rized Stach botrys's   mycotoxin nonhuman bi ol ogic effects as :
duce d pri marily in cere al grains during st orage i n t emp erate   2) inhibiting protein synth esis in pl an t animal models ; 2)
climates. H owever, it has be en fo un d in coffee, n ut s, cheese,   altering g3ycolysis, the pentose phosphate pathway, and the
fi sh wine beer, beans, and mi lk p owd er     1321. Odiratoxin A     tricarboxylic and cycle; 3 ) inducing h emolysi s with sheep's
 is a poten t nep h rotouin in animal s [ 33 J; its association in    blood ;  4) disrup ting development o f fetal rabbi t      alveolar 11
 human disease is specul ative In the late 1 950s, outbreaks of       cells; 5) disrupting  interleukin
                                                                                                     (IL) -2 product ion and viability
kidney disease occur red in rural Bulgaria, Romania, Tunisia,         in mouse T cells ; 6 ) reducing chol es terol absorption and t otal
and t he Former Yugoslavia that were associated with ochra-           cholestezo l in rats; 7) inhibiting the complement cascade; 8)
toxin A contamination o f gra in - Currently, eight count ries        reducing natura l killer cell activi ty, and 9 ) reducing antibody-
monitor foodstuffs for levels of ochrata xin A                        dependent cell-med i ated cyt otoz i ci ty. N iEculin et al. 1361
                                                                      reported tha t intranasal instilla ti o n of S. a tra spores contain-
Sta ch yb otryotoximsis                                               ing satiatoxin resul ted in severe intra-alveolar, bronchiolar,
Srach}bo[rys c7urRa n+m, also known as S atra and S. atternan is      and interstitial inflammation with pu l monary hemorrhage in
a filamentous fungi capabl e of producing severa l mycotoxins         mice Il:e effects of passive inhalatio n of SWchybotrys were
under certa in environm cnta l conditions. This greenish-bl ack/      investigated in a mouse model . Mice were placed in a chamr
     Case 4:04-cv-00091-BAE Document 81 Filed 04/29/05 Page 94 of 224


                                 Tox i c and Other Non                          Effects o f Fungal Exposures            Nordness et al.          445


  berwith S. cl icntnrum at a level equivalent to that which would          immuno!oa c studies. The conclusions might be called into
  cover all surfaces of a room . Despite airflow stronger than              question because the investigators did not test the control
  four times th e typical l evel in a home, no pul monary effects           subject's home/work environment for mold, and the differ-
  were documented [37 1 .                                                   ence in T lymphocytes could have been laboratory variance .
       Stachybodys has been associated with to )d dty, or stachy-           Similarly, Hodgson et       al 1461 loosely associated        "inhaled
  bo vyot oadcosi s, via several routes, including co ntact, inges-         fungal toxins" from rlspergilIus and Sfachybodys as causes of
  ti on, or i rilhalation.'Ihe toxic effects of S. charru Tum Were first    asth=, emphysema, and interstitial lung disease in workers
  docume n ted in t he   1920s in Russia- Researchers no ted tha t          at a flooded courthouse. The study findings were weak ened
  cattle and horses that inges t ed hay contaminated with the               by a lack of physical findings, the presence of normal chest
  mold devel oped signi ficant symptoms, including mucous                   radiographs, and no reliable biomarkus for mold exposure
  mem brane bleeding diarrhea, upper l ower respiratory disor-              Other publications have associated neurobehavioral and res-
  ders, and skin disease Many animals died within weeks after              piratory symptoms (47 ] and          multiple symptoms         ranging
  the ons et of the disease [38 1.                                          from depression to headache [48 1 to Stnclry6odys toxins, but,
       Dermatitis o f the axilt a, scrotum, and h a nds has b een          again, these studies lack appropriate      controls.
  reported in individuals who handl e fodder or sl eep on mol d-                          1 1
                                                                               Sudaldn 47 , Burge [21 • ],       and Terr
                                                                                                                     [35] have published
  in fes ted straw mattresses. Fingertip-skin inflammation, con-           reviews discussing Stnchybotrys and its current role in disease .
  sisting of a painful rash followed by scaling . was reported in          Overall, despite numerous         animal-modeland case-con ol        tr
   several women handli ng pots made from recycle d paper co n- studies, proof is lacking to demonstrate that exposure to S .
   tami nated wit h Stndrybotrys . It was no t determined whether chatmum in ho= school, or office environments is a cause of
   the etiol ogywas irritan4 allergic, or tox ic (39 1.                human disease. Randomized, con trolled trials are needed to
        Stach*dys was impl ica t ed as a causative agent of pu l mo- Further investigate the effects of S. chatarum on human health .
   nary hemorrhage i n se vera l case repor ts 140-421 and in more
   than 30 infants in the Cleveland area during the 1 990s . In
   Cl eveland, acase-control study determined that the affected Conclusions
   infants were more likely t han control infants to have lived in In conclusion, fungi are omnipresent in our world Al though
   wa t er-d a mage d ho mes in whi ch Stachybo ays was iso l ated molds are common and an important allergen in IgE medi-
   143 ]. The inves tiga tion concl u ded that Stachybotlys was likely ated disease, the non-IgE manifestations, such as infections
   responsi ble for th e p ulmonary hemorrhage i n the i n fants, or hypersensitivity pneumonitis, are unusual . Currently,
  owing to the increased vulnerability o f their rapid ly growi ng there is no scientific evidence to support the allegation that
  l ungs and the exp osu re to to b acco smoke ( 90% of cases) . human health is affected by in haled mycotoxins However, if
  However, in 1997, a re-evaluation of the initial study by the mold is discovered in a home, school, or office, the source
  Centers for Disease Control (CDC) suggested that there were should be investigated, and appropriate remediation under-
  errors in calculating the mean S. chartarum concentration in taken to minimize structural damage and potential allergic
  each h ouse; the air sampling environmental condi tions and sensitization.
  techniques were no t stand ardize d , an d imprope r s ta tistical
 matching of controls and cases had occurred. The CDC con-
 eluded that the evidence from the original studies was not suf-       References and Recommended Reading
 ficient to support an association be twee n S. chartaium a nd Papers of part ic ular interest, publish e d re cently, have be e n
 ac ute idi opathic pulmonary hemos i der osis 1441. Although hi ghlighted as:
 t he causality of mo ld and pulmonary h emorrhage rem ain s •              O fimpo rtan ce
                                                                            O f m aj or importance
controversial, in 1 99 8 t he American Acad emy of Ped iatrics
recommended that young i nfants shoul d n o t be e xposed to            1 Dak harna A Hegele RC, [aflamme G, et at Common respiratory
chronically mol dy environments, and that, in infants with                  ~ iuse s in lower a irways of patients with acute h ypersensitivi ty
                                                                             pneum oni a: Am J Rely Grit Core Med 1999,159:1316-1322 .
idio pathic pulmon ary hemor rh age th e parents shoul d be            2     Hogan MB, Patterson R , Pore R S, u ai. . Basement s h ower
q uestioned about water damage to their home environ ment                   hypersensi tivity pneumonitis secondary to Epicoccurn
      Recently, numerous rep orts have implicated Srnchybo vys              nig cu m . Chest 1996, 1 7 0 :855-856

mycotoxins as cau sative agen ts for mul t iple symptoms in 3 . ind         Park HS, Jung KS, Kim SO, et al. : Hyp ezsens iu wry pneumonius
                                                                                u ced by Penidlt ium apa n sum in a ho me e nvironment
water damaged buildings Johanning et al. 1451 reported that                 Clan Ezp A llergy 1 99 4 , 24:383-385
Stachybottys, among other molds, were responsible for                  4 . Mori S, Nakagawa-Yoshid a K Tsuchi ha4h i H , et al Mu shroo m
n u m ero us sel f-reported, nonspecific symptom s of fatigue,              w ork er's lung resulting from ind oo r cultivation of Pleurotus
                                                                            ostcat u s . Occuy Med 1 99 8, 48 :4 65-466.
dermatitis, and l ower respiratory tract sympto ms in workers              5 . Wright RS, Dyer  7- liebhaber Ml , e[ at: Hyprrsens i[ivi ty pneu -
of a water-damaged, mold-contaminated b uilding. Immune                        monitls from   Pezizia domiciliana :           El
                                                                                                                    a case o f Nino iyng.
dy sfu ncti on was cons id ere d, b u t the onl y sign ifi cant lab-           Amen 1 Resp Grit Care Med 1 999, 1 60: 1 758- 1 76 1
orato ry test findi ng was a difference bet ween the T lympho-             6. Da Broi U, OreGce U, Cahalin C, era( . ARDS after     double
                                                                               extrinsic exposure bypersensitivity pneumoniti&      Intenrrr
cytes (cont ro ls [7 6%] and cases [74%] ) in 20 hem at ologic/                Cart Med 1999, 25:755-757
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                                                      editcd by Ray Pocur son, Leslie Certo U Gramme and
i
                                                      Paul A                                          1
                                                               Green bcrge: L E pp i n w tt-Raven Pu bt vHCrs , Phdadatphu. 61 )997




                                                         23
                     Hypersensitivity Pneurnonitis
                                                J ordan        N. Fink

                                    f.N ink ,DeparEmehl of AG1a ?Ky -lmmunology,
                                 Medical CoGkge of 'rVucon,rm, Mikuauk se, Wf 5 2 6.         3 2




      ••,u 'iivl~ 'pna n~raonik,"cs shout'd~ P ~ ro asid+~''~~r cl~'arsic ~ '~«;c~ ti~tl oi.`.pt~ ~;:wa
         u~pa i~is: - uncommoa but important sincehugfista
                   f pgcenrixl caaaes is lang . test xn».thr*uatAc lies I4fosa of them
        Using
      . Keeps ng;ncrca usatiYs souse of and 8 cn an dae tiamw is dangerous as lvnS             ~ deattuEtion• f
        Deaths have resulted from prolonged cxposuxe ta birds iii-the house.                                . .~.
      • Tke; di apo * of hypc rsensitiviry pne u monitis is a worker where litigation is involved can be k ': .:                          r
        real problcnt-                                                                                                                          t
        Some•pc opie wo uld rather ri sk lung dcstrucriob than g ive up their bode .                                                  ~
      • Treating a patient with carcico scero iCs when the             antigen       remai ns in   the environment is
        dangerous.
        Unfortunately, saodfagnosi s by some laboratories            results i n     false-negati ve resu lts, Know the
        laboratory you use .
     • Pos itive   prescriptions against antigens may only indicate cxpp snre ,              not hypcrsensih n ty pnea-
       m on ttis . Cli nicalskill is required-


    Most of the hypersena?tivity dizea ses of the rctpiratory               tract in humans are asthma or rhi m -
    Ug= sad are caus ed by the rele ase of gharmacofogic mediators from mast cells and the recruit-
    ment of inflammatory cells as a result of [gE antigeti-initiated reactions . The inhaled antigens
    usually are commas pollen grains, mold sports, or animal proteins , and the resulting reaction
    induces bronchospasm_ mucosal edema, increased secretions, and inflammation . However,
    all ergi
             c respiratory reactions may take other forms, and additional immunologic processes
    involving precipitating an t ibo dies, circulating antigen-antibody comple xes, a n d cellular
    rnecha M ms may play a role in the pathogenesis of t h e disorders- Although asthma and rhini-
    U$ occur most often i n individuals with atopic constitutions, the diseases discussed in this
    chapter can be seen in bot h atopic and nonatoptc patients          disorders may be g
                                                                     . The                       rouped
    under the   general term of tn~errensrtrrrn• p a eumoEtftis but arc also referred to WS extrinsic                                 EXHIBIT
    allergic ctlveo titer . These diseases occur as the re sult of immunologic inflammation after the                                  .. ..,
    Inhalation of any of several organic dusrs . ' -=` They preeent in Several clinics l forms, depend-                                   ~
        °p «e patient 's
    dust, as                   immunologic
                                         responsiveness and intensity of                     exposure to the      offending
           well    as the ancsgeniciry of the inhaled biologic dust .
                                                       543
                                                                                                                                                          GJ


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                      Case 4:04-cv-00091-BAE Document 81 Filed 04/29/05 Page 97 of 224



                                           544 ALLERGIC DTSEA5ES

                                                                                                ETIOLOGY
                                           Almost   any inhaled organic dust can sensitize and result in the development of hyperscns) -
                                           tivzry pneumonius ; alist of antigenic materials associated with the disorders is shown to Tablc
                                           23-i . The diameters of the inhaled  .--itspanthat reach the terr niinai airways where lesions arc
                                           initiated are no larger than 3 to 5 p -zl . The dusts may b e derived from animal proteins ; for
                                           example, in pigeon breeder's disease, thc inhaled antigens are contained in dried avian drop-
                                           pings 3.13 23 Ln pituitary snuff-taker's disease, the offending material i s the pituitary powder
                                           containing bovine or porcine proteins the inhalation of vegetable dus t s contaminated with
                                           various nucroorganisms also causes hypersensitivity reactions such as fa rm er's lung, bagas-
             ' sosis, and mushroom picker's disease In these disorders, the inhaled dusts from the moldy
                               vegetation are contaminated with thermophilic actinomycetcs such as Mt cropolyspara faeni,
                               T7 ternwoCrinomyc¢s vulgaris, TheTmoactinomytes virtdis, or IhermoQCtinomytes candcdup,
                               whose spore s ate smaller than 1 rxun and can reach terminal airways, causing sensitization
             ';       and subsequent im munoio$ic inflammatory lung disease These thermophilz c bacteria are
             f;        ubiquitous and grow best at temperatures of 4 :) ° to SO°C, which commonly occur in decom-
                               posiuag hay, sugar cane . or mushroom compost. Z'hermophi] i c actinomycetes also have been
                               posing

                                                                                     n                                    i
                                                           TAB LE 23- 1 . Se sitfviry m ateria ls in hyp o rsens tivRy pneumonit s            i
             ~                                                                                         Antigenic
                                               E tiology               Disease entity            malarial Inhaled antigen

                                           Induced by serum        gird breeders lung              Av i an dust               Avian proteins
                                             proteins Pituitary                  snuff             Pituitary powder           Bovine o r p orc i ne prote ins
                 ~'                                                  taker 's    lung
                                                                   Pearloyster shell               Pearl oyster      shel l   Oyste r sh e et gtycop rote i n
                                                                     Pheumon i fie                   dust

                                           Induced by       Farme $ lung    r`                     Moldy    hay               Micropolyspora      MOM
                                                                                                                                                    or
                                             microorganisms B agassosts                            Moldy sugar cane             Thermoachnomy es      c
                                                                   M ushroom         picker's      Mushroom       compost       vulgans, T saorJre//.
                                                                      lung                                                              i
                                                                                                                                 T vind s, T candidw,
                                                                                                                                Microp      o"pora $ p
                                                                                 (
                                                                   Pneumon tis from                Dust from air
                  '                                                  oontemmeted air                 conditioners,
             f.
             E
                                                                     conditioner, humidifier,        humidiit e r,
             -                                                       o r heating system              or furnace
             r                                                       (forced air system
                                                                     disease)
                                                                   Maple bark d i sease            Moldy maple bark
             i          '      S@q           VO1o515                                               Redwood dust
                                                                   SU   be fO$i8                   M o ldy cork dust
                                                                   Cheese washer 's l ung          Chee se particles
                                                                   paprika spatters lung           Paprika dust               Crypiostroma cortlcale
                                                                   Malt workers lung               M alt dus t                Graphium sp
                                                                   Summer pneumoa ttis             H o use dust               Pen icdGum lrgquantan s
                                                                                                                              Penrcduum cased
                                                                                                                              Mucar stoloni7ar
                                                                                                                              A sperg illus clavatus
                                                                                                                              Ttlcho spolon cute neum

                                           Similar dr aeases   Smallpox handle r's l ung Sma I1DoX scab d u st Unknown
                                                                  Enzyme worker's l ung       Enzyme dust          Bacillus sutrbris
                                                                  Bathtub rafin i 5hers lun g Chemical catalyst Tol ue ne diisocyanat6
                                                                  Epoxy resin lung Heated epoxy rosin Phthalic anhYdntle e
                                                                  plastic worker' s lung      Plasuclzer Trimetlttic an hYd, ~
                                                                                                                                      Penicillin,
                                                                  Drug i nduced               P harmacologw agents Oo ld , th iazides
                                                                                                                     fetracycli n as
                                                                                             E ,70HAh1F4ING MD

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                                                              ~-             HYPERSENSITIVITY PINEUMONITIS                                545

               shown to contaminate forced air heating, htuu7di f'tcation, ox
                                                                           air-conditioning systems of com-
               mercial or residence buildings where hypersensitivity Qneumonius can occur as a result of
               sensitization to these and other contaminants .z,f"-
                  The inhalation of other antigens also may result in hypersensitivity pneemotvps Workers
               removing the bark from maple logs and inhaling the spores of Cryprostroma conicate, " wood-
               workers exposed to redwood dust that contains the rapid Graphiun : sp,s individuals working in
               cheese factories in which Peracillium caeseii spores may be inhaled, and brewers working in malt
               factories where spores of Aspergiltus cfavatus2y  shay be present also develop disease . A similar
               paeamonitis also may occur in workers exposed to the enzyme of Bacillus sulari(ir used in deter-
               gent manufactudng, 1 a and after exposure to organic chemicals such as phthalic 1Rhydtides26 or
               toluene diisocyanata 23 Recently, pneumonicis occurring only in the summer in Japan has been
               traced to homes contaminated with Trichaspa.vn curaneum ." The list of inhaled organic dusts
               that result in a hypersensitivity pneumonitis grows as exposure to new antigens increases .
                               the presence of an organic dust in the environment, other factors play a role
                      In addition to
               in  thedevelopment of a  hypersensitivity                                . The &e-
                                                          pneutnonitis in the exposed individual
               qurncy and extentof exposure  as  well  as the immunologic reactivityof the host are likely to
               influence theresponseto the dust, as arefactors such  asciliary                        l
                                                                              transport mechanisms, a vco-
               laz macrophage phagoeytosis, and other coexisting pulmonary inflattuuatery processes .


                                                                   C LIP3ZCA,L FE ATURES

               The clinical manifestations of these respiratorydisorders may present in several foans, depend-
               ing on the immunologic response to the inhaled antigen, the antigemcity of the dust,   and the fre-
               quency and intensity of exposure (Table 23-2) . In general, the manifestations arc similar, regard-
               less of organic dust inhaled, and hyperseasillvity pnearhoxtitz9 may be considered as a syndrome
               with a spectrum of clinical features, although each specific disease may be caused by a differ,
               em organic dust . The atopic individual may demonstrate typical broncbospasm or rhinorrbea
               unznediately after inhalation of the dust ; this reaction may be followed hours later by clinical
               features of a hypersensitivity pneurnonitis . The nopaiapic patient, however, usually responds
               with the late-type reaction characteristic of these disorders .                                                                   .f
                                                                                                                                                  q




                                           TABLE 2 3- 2. Clinica l fea tures of hypersensitivi ty pnoumonitls
                                                                                                                                                 .~



                                                                                                                                                 a
                                    Featur e                          Acute form          Subacute Corm          Chronic form                    i
                   Relation of      symptoms to     exposure                 +                    +                  -

                   Chills, lever                                             +             ~                                   -
                   0'009r1 , dYSpnee                                         +                    ~                 +
                   Malaise, myalgia, arihralgia                              fi              }
                   AnaM'IdB ' wei ght loss                                   t                    +                            fi
                   tnterstki, ll files heard                                 +                    +                 {
                   ClkAybing
                                                                          -                   -                     ~
                   Chest   X-ray                                    N odular nEil trates Nod ul ar infiltrates   Fibrosis honeycombing
                   ~~marlgry function
                                                                    Restriction           Rsstnoban              Restriction   Or obst ruction
                   ~~ Preclp tina                                            +             +
                   P'sVeM be 7t h avo ida nce                       Rapid                 Slo w                  N one

                                   "M th c ottlc68tg ira ds         Rap id                Rapid                  Non a




                                                                                 1
                             28 :59      51 8 4 59 4 6 46                               E JO HA NNING MD                                         02!02
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            '                                                                  Acute Form                                                          deci
                                                                                                                                                   flay
                     Th e most common and most easily recognized form of hypersensitivity pneuznoni tis follows                                    sho'
        ~        intermittent exposure to a specific organic dust. Within 4 to 6 hours of exposure, the sensi-                                     trt   v(
                      tized patent develops symptoms of coagh . dyspnea, fever, chills, myal y ia, and malaise,                                    eass
                     resembling a systemic viral or ba cterial infection . The symptoms persist for $ to 12 hours, but                             Syrr
         i      •  th e p atient recovers spontaneously, only to experience a recurrence of symptoms with rcex_                                     cent
        " .i          p osuTe . Numerous attacks may be associated with weight loss and anorexia. B etween the                                      Uor
                      acute attacks and in th e absence of further antigen exposure, the pati e n t o ften fee ls normal                            iti4:

                      Clinical examination during an attack reveals an acutely ill., dyspneic patient with prominent
                      bibasilar moist rales . Although the patient appears to recover within a few hours, th e races
                      may persist for a few days-
                          During the attack, laboratory studies usually demonstrate: a leukocytos o with the white
                      blood cell count as high as 25,00(} . EosinophiIia is unusual but may be as high as 10%. Often,                               Soy

        ~             levels of total serum IgG are elevated, but in some patients all of the major immunogtobui% ci                                als
                      cl asses are in creased- Levels of IgE are elevated only to patients with atopic diseases ; IgE lev-                          key
                      els us ually are normal in hypers ensi tivity pneumonitis .                                                                   PrI
                          Results from pulmonary function studies done during t he asymptomaric period of the acute
                      form of a hypersensitivity pneurnonitis usually are normal Measurable changes occur 4 to 6
        k;      hours      a fter exposure to the offending antigen (Fig. 23-J )- There is a reduction in vital capacity ,
                      a decrease in gas transfer across the alveolar wall (as measured by diffusing capacity), and a




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                                                Tempo    F 98   6              1 00                  103            4                 98s



                                  FIG . 23-1 . P u l mon ary fun cti on changes in en acute episod e of hypersensitivity p neu m onllD s .
                                  Noti ce the t ime delay from chall enge FVC, forced vit al ca pa c ity ; FE V, n, forced e x piratory vo l -
                                  ume in 1 second ; DL.co, diffusion capacity,
                                                                                              E JOHA NN ING MD
                    Case 4:04-cv-00091-BAE Document 81 Filed 04/29/05 Page 100 of 224
                                                                       HYPE RSE, NSITIVlTY PNLUMCINITIS                    1      ,sq7


                      decrease in pulmonary compliance Some patients also demonstrate decreases to expiratory
                      flow rates and 1-secottd forced v ital capaei[}, indicating airway obstruction . Chest x-rays may
                      show fine nodular densities and peripheral           infiltrates   suegettive of    interstitial   and alveolar
                      involvement (Figure 23-3)_ but a normal chest mes7teen q ram finding does not exclude the dis-
                      ease . With avoidance of exposure to the offending materials or therapy with cortico.5temids, all
                      symptoms disappear and abnormal laboratory test results return to normal . Continued intermit-
                      tent exposure t o   the   offending organic d i.1sl, however, array leasd   to permanent pulmonary, hrnc-
                      tion and radiographic abnormalities associated with progressive respiratory insufficiency .               Fatal-
                      ities because of progres~jv e hypersensitivity prlsUmomtis have been repotted .i4"'

                                                                    Subacute   Form
                      Some patients have a more insidious type of disease with rare acute sitcacks . These individu-
           n          als usually are exposed to small amounts of antigen over Ions; periods (c .g,_ lovebird or para-
          ~-          keet fanciers), The symptoms resemble those of a progressive bronchitis- dyspnea, chronic
                      productive cough with scanty sputum, anorexta, fati gue , and weight loss . Pulmonary function
           to
            6   i
          ty,




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UmoniUs .
story voi-            FIG. 23.2 , Ch est   x-ray of pati e n t wi t h a hypersensitivity pneumonft~s     c aused by the inha lat ion
                                             n
                      of thermophific ac t i omy oete s contaminating her         furnace humidifier
                  02/2                                                              E
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                               abnormalities   of progressive restriction , diffusion defect- and increased stiffre$ g Of th e Ian
                               are seen, These pati ents often are diagnosed as having chron i c bronchitis, recurrent e ~a~s
                               of influenza , idiopathic pulmonary fibrosis, or Hamman-Ri ch syndrome Although the clini_
                               cal laboratory abnormalities respond to corticostero i ds or prolonged avoidance of exposure to
                               the   offending dust . theresponse is much less prompt than in th e acute form. If suifiacq C fibro-
                               sis   is present, the pulmonary funct ion abnormalities become irreversible .
       (I; .

           i                                                              Chrovic Form
                               In some cases, chronic irreversible Sung damage may occur, This may take the form        ixtc,    Of
       i                       versible fibrosis and pulmonary insufficiency, and is seen 7n lomg-standing cases of farmer's
                               lung and in persons who keep parakeets, budgerigars, or lovebirds These persons have sy mp-
                               toms of progressive dyspnea and may develop irreversible pulmonary function abnormalities
                               or restriction . diffusion defects, and "stiff' lungs that do not respond to cortieosteroids . Lung
                               biopsy specimens from these patients demonstrate interstitial fibrosis with granu]omas and
   i                           thickening of alveolar walls .
                                  In a few patients with farmer's lung, pigeon breeder's disease, or hagassosis, pulmonary
                               function tests show persistently marked elevation of the residual volume, diminished flow
                               rates, and loss of pulmonary elasticity, suggestive of e m physema- Histologic examination of
                               these lungs shows obstructive bronchitis with distal destruction of alveoli . Such patients usu-
                               ally do not respond to corticosteroids or avoidance of exposure, even if these measures axe
; ..                           pursued for prolonged periods .
                                  Although avoidance of exposure usually is followed by resolution of signs and symptoms,
                               this dogs not always occur.    Patients with the chronic form of 6ypexsens itivity pneumonitis
                                manifest    progressive pulmonary impairment Patients with multiple acute episodes of
                                farmer's    lung may continue to have respiratory impairment, even long after avoidance-19


                                                                 UMMUNOLOGT C FEATURES

                                The characteristic immunologic feature of these disorders is the presence of precipitins
                                against the offending antigen in the sera of affected individuals (Fig. 23-3) . These antibodies
                                may be demonstrated by gel diffusion techniques using the patient's serum and t h e suspected
                                antigen . Zmmunodectrogboresxs has shown these precipitating antibodies to be of the IgG
                                class, although other studies have demonstrated antibody activity in other classes of
                                immunog iobuLins .ze.z9 A few patients have low titers of predpihns, and it may be necessary




                                            T                B



                                            H           '*        T             FIr ;   23.3 . I mmu nndifhlsiorl   studies   of seru m of
                             Case
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                                                                           HYPERSENSITtVlTY PNEUMONI? "fS 549


                              to concentrate their serum to detect the antibodies, but relatively high titers of these antibod-
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                              ies have been seen in the sera ot most symptomatic patients studied, As many as 50% of
                              asymptonaatic individuals exposed to the same antigen also may have precipitins, but usually
i-
                              of lesser titer Thus , the finding of precipitins must be considered in light of the clinical his-
                              tory when the diagnosis of hypersensitivity pneanzoniGis is considered .
r
                                  Skin tests with suspected checmopbile antigens have been shown to be unreliable because
                              of nonspecific irritation-type reactions. In the disorders caused by inhalation of serum pro-
                              teins, however, such as pigeon breeder's disease, skin tuts may be of value . Both immediate
                              wheel-and-flare and late (4- to 6-hour) clan reactions may be observed. The immediate reac-
                              tions are the same type as seen with the common inhalant allergens, but the late reactions
                              resemble the Atthus phenomenon, indicative of a vasculitis because of a precipitin-antigen
    -e-
                              reaction . The late reaction begins with a variable of edema and erythema of the injec ted area;
    r's
                              it can progress to central necrosis, but it usually subsides u] 24 hours unless necrosis has
     VP_                      occurred- Histologic examination of biopsy specimens of such skin reactions has demon-
     lc9

     trig                     mated lesions consistent with Arthus-type reactions. with a mild vasculitis consisting of poly-
                              morplaonucicaz a n d plasma cell infiltration of the vessels ui the area. 1 •a 7
     and

      ary                                                       RADIOGRAPHIC FEATURES
      ow
      I of
      Isu-                    Hypersensitivity pneumonitis cannot be distinguished radiographically from other        noninununo-
                              logic  interstitial disorders . Roentgcnogiam findings may be normal or they may show recurrent
       are
                              interstitial nodular znfitaations or fzbro t ic changes , depending on the stage o f the diseases 17
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       .ms ,
                         i
       'J atis
            of                                                   PATROLOGIC FEATURES
                              The  histologic features of the lung in the hypersensitivity disorders depend on the stage of the
                              disease  at the time of biopsy (Fig. Z3-4 ) . In early stages of farmer's lung , bagassosis, mush-
                              morn, picker's disease, and some hypersensitivity pcieumonitis caused by antigens other than
                              tkurmophilic organisms, the alveolar walls arc infiltrated with lymphocytes . Plasma cells and
           'l ttns            histooytes containing foamy cytoplasm also may be seen within the alveolar spaces . Later , the
           )dies              interstitium beco m es infiltrated with mononuclear cells and scattered giant cell gramilornata .
           acted              In ybll later stages, fibrosis of these areas occurs, and an organizing bronchioUtis obliteraris
            lg o              may be seen .
            ;S of                  In biopsy   specimens from  cases of pigeon breeder's disease, similar interstitial and alveolar
               ar
            ss i`             Branutomacous and     infiltrative changes may be seen-10-30,31 In addition, foamy macrophages,
                              possibly derived from alveolar macrophages, may be found in the interstitial areas and within
                              the alveoli . The interstitial positive of these foamy cells may be unique for pigeon breeder's dis-
                              ease because this feature is not common i n the other hypersensitivity pneumonitides .
                                 Bcoachiolitis obliterans can be observed with periphe ra l destruction of alveoli in some
                              chronic cases of farmer's lung, bagassosis, or pigeon breeder's disease . The interstitial and
                              mtrasiveolar infiltrate in these oases is less distinctive, and there are fewer foam-laden
                              macrophages than i n the other forms of the disozder_3 0 31


                                                                L1[FFIE R.E NTIAL DIAGNOSIS
              um °t
              ophl <<°        The diagn o si s o f a typical ca se o f a hyper s cgsi tiY ) ty pneumonitfs usually ca n b e made by
              H)•             evaluating the cnvironmental his tory, by examining results of appropri a t e laboratory uid
             0 2/ 24                           4646                                   E
                       Case 4:04-cv-00091-BAE Document 81 Filed 04/29/05 Page 103 of 224




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                                                                                                                demonstrates      a lymphoc y tic
                                                                                           in figure 23-2
                                                                      i men of the patient
                                FIG . 23-4. Lung biopsy spec rly granu l oma formation (x2b0)•
                                                             is with ea
                                inte rstiti al pne um on l i

                                                                                                            xposure where possible (Table 23,
                                                                                   of a,oj a ance and t' ec
                                ScTOl o Sic studies.     and by u sing a te al                      Q ers enSftivlty pReU1n
                                                                                                                            011i ti5 may be dt i-
                                                                      r ogr  e ss ive  forms  of hv                                i nrersutial pU1-
                                3) . The more insidious and p anJ p u lmonary fanction abnormalities of other
                                                                x-ray                                                          :~~cuiar    cUseasc~ .
                                cLt}t to d i 1_n o s c . Ch est                  cosinophIlIc pneumpnia, the collag e
                                                                                                                           n•
                                                                     hT' on ic                                               and s~tircotd may be
                                monary disorders          such as c
                                               du~quamatt~'e                        tncerst~Ual
                                                                                    es                        pn e umonia,
                                                         read of  carcinoma,      d
                                 lymphog e n du~ Sp
                                                                 MD
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                                                                     HYPERSENS.7TIVITYPNE£Ibf oNl7'TS                      55)


               S unij az, The finding of extnguJ.monaty involvement (such as gen eraliz ed lyaaphaden opatb y
               a, abdominal org anomegaly) rules out a hypersensitivity pneumoniris- At times, however, a
               log biopsy may be necessary to make a definitive d i agn osis . Biopsy also may be ne c essary
               to differentiate these disord ers from diffuse idiopathic pulmonary fibrosis , which clinically
               rcsembles the fibrotic stage of hypersensitivity p n eumonitis

                                            CONTROLLED EXPOSURE TO ANMENS
               pn occasion, the   patient may be exposed cautiously to the suspected antigen, and the reaction
               carefully   observed . This may be done during an asymptomattc period by allowing the farmer
               to enter the barn or the pigeon breeder to enter the  coop. The patient then should be brought
               to the hospital and observed frequently over the next 8 hours for symptoms or signs of hyper-
               sensitivity pnea%orut Is.
                  Some reactions may be diagnosed by careful inhalation exposure to nonirritating sterile
               extracts of the suspected antigen, although this is less desirable than observation after natural
               exposure . This purposeful exposure of an individual, however, either in the appropriate euvi-
               ronment or by direct airway challenge, must be considered an experimental tech n ique to be
               done with great caution by experienced physicians . With dilute extracts-previously shown
               not to induce any changes in normal individuals--znizeimaZ abnormalities in pulmonary func-
               tion tests or a rise in temperature of a few degrees 4 to 6 hours after exposure may clarify the
               diagnosis . Coxticosteroids may be needed in these cases to abort severe attacks that were
               induced inadveatently.



                                TABLE 23 - 3 .        C7ragnostrc me thods of hypersensitivity pne umoMtis

                            History
                            Suspido us of     environmentally induced      symptoms

                            Chest X- Ray
                            Abnormalities depend on stag e of dfxasa an d proximity to expo sure
                            Norma l findin g o n chest    x-ray is possible
                            P ulmonary      Function
                            A bnormalities depend on stag e of        disease and proximity to exposure
                            Usually .IFVC, 1DLC0, dPaoZ
                            Normal      function Is possible
                            Prec{pltins
                            U sua lly   present to offend ing   envi ronmen tal age nt s

 locyti c                   ttiai at Avo i dance
                            Resu l ts n i relief of   symptoms an d return to normal function

                            8ron chaa fveof a r Lavage

) 1e 23-                    Lymphocytosis with predominance of            suppression T calls
   d i ffi-                 L ung S}opsy
al pu1-                     F e aturescharacteristic of hypersensitivity pneumorid(&
Seascs    ,                    FVC , to resd vital capacity; DECO , dti ffus i on c apacity of the   lun gs for ca rb on
may be                      monoxide; Paoz, arterial pa rtlai pres su re of oxyge n.
           02 :5 6
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                                                                 PATHOGENESIS
              evaluation of pulmonary cell populations from patients with hypersensitivity pri eu nao ttiag
              has revealed activation of m acrophages and release of proiziflamrraatory cytoloincs and Cbg
              or suppressor cell attractants from those cells 3=•3 1 Further, the alveolitis                         of hypersensitivity
              pneuimonias is lymphocytic and is largely composed of Cb8 suppressor cells, which         appear
              to have decreased functional capacify. 34-38 The results of these processes likely arc the tpa}p7
              pathogenetic mechanisms of the inflammatory response seen in this disease

                                                                      THERAPY
              As in all other allergic disozderc, the primary therapy should be avoidance of the offending
              antigen once it is known- Because many of these disorders ale occupational, certain raeasures
              may be necessary, such as the use of masks with filters capable of removing the antigen,
              appropriate ventilation of working are as, or even a change of occupagon .
                   Drug therapy may be needed             in the a cute or subacute forms of these disorders when avoid-
             ance cannot be carried out immediately, Although ant ihista mines or bzonchodzlators have no
             effect on the symptom pattern, patients usually respond to the administration of cortico-
             steroids. Moderate doses of these drugs may be necessary for prolonged periods, along with
             avoidance, to determine if reversibility of the clinical abnormalities is possible. H yposeositi-
             zation should be avoided because toxic immune complexes may be formed when the injected
             antigen combines with the precipitating 1gG, and systemic vasculitis or serum sickness may
             result,



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                                phenotypic and functional s tudie s of bronchoatv e ol a r la vage lymphocytes Am Rev Rcy p ir D ix 1984 '""'s     ~ is
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                                w ith pigeon breed er ' s di y eas e . Lu ng 1990 , 68 :10 3 .                                      patients
                         "a 8 . Mo ore VI., Pedorsen GM, Hause r WC , Fink I N A s tud y of lung lavage materials m patients with
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                                uviry p neumom tis- J Allergy Clin Imm u nol 1 98 0;65365-                                                                 yptrseDSI-
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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF GEORGIA
                                   SAVANNAH DIVISION


 CHRIS JAZAlltF,

                Plaintiff.
 VS.                                                  CIVIL ACTION
                                                      FILE NO . : CV-04-404-091
 ROYAL OAKS      APARTMENT
 ASSOCIATES, L.P., Its Parent Company
 And Subsidiaries, And
MITCHELL L . MORGAN
MANAGEMENT, INC .,
                Defendants .




STATE OF NEW YORK )
                                      AFFIDAVIT OF EC KARDT JQHA NNING, M.D.
COUNTY OF          -WA-f?


         1.     Affiant is of legal age, gives this affidavit based on personal and professional
knowledge and understands that this affidav it will be submitted in the action of Chris Jazairi v

Morgan   Mi tchell Properties, et al. , U.S . District Court, Southern District of Georgia, Savannah
Division, Civil Action No . CV-04-404-09 1 .

       2. Affiant understands that his differential diagnosis of mold induced lung

inflammatory injury of Chris Jazairi has been criticized, in part, due to the lack of published

human   mold spore exposure standards. Molds are living organisms and they release mold spores
into the air_ These mold spores may be inhaled by humans. The mold spores are b iological




                                                                           EXHIBIT

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    Case 4:04-cv-00091-BAE Document 81 Filed 04/29/05 Page 108 of 224




 aerosols , which can be referred to as bioaerosols . Bi ological materi als are different from

 chemi cals, including pharmaceutical drugs, or du s ts, such a s asb estos .

            3.        There   are few published threshold l imit value s    [TLV]    for   limited   number of

 Bioaerosols, although current profes sional consensus is that no validated "threshold" levels exist
 and can exist, becau se of methodological limitations and the natural properties of bioaerosois .

 See E   xhibit 1 .    ACGIH     TLV    Statement on Bioaero sots : American Council of Gov ernment

 Industrial Hygienists Presented For the Bioaerosols Committ ee by Harriet M. Ammann, Ph.D. at

 520-22 .        For purpo ses of the ACGIH guideline s, indoor microbial           growth   is considered a

 bioaerosol. Id.

         4.          A general    TLV   for cultural and countable bioaeros ol concentrations is not

 scientifically supportable because of the complex mixtures of bioaerosoIs, individual human

variability in response to exposures and the difficulty of evaluating exposures with various test

methods . Additionally, specific TLV's for fungal or bacterial bioaerosols have not been

established to prevent in an individual hypersensitivity,       allergy,                       xi
                                                                           and irritant or to c exposures .

Id. Although it is well known that exposure can cause hypersensitivity reactions in susceptible

                                reactions occur differs among individuals because the reactions
people, the levels at which these

are allergic reactions as opposed to toxic reactions, for which some known dose-response

relationship may exist

         5 . The clinical evaluation has shown that Chris Jazairi             has experienced an illness
caused by an allergic and hypersensitivity reaction . This type reaction is primarily allergy based

and different individuals would react differently to the particular combination of mold spores,

that were visibly present and then confirmed by          laboratory testing to exist, in Chris Jazairi's
    Case 4:04-cv-00091-BAE Document 81 Filed 04/29/05 Page 109 of 224




 living and working environment. There is          no TLV or other published exposure standard which
 describes the dose at which certain individuals will deve lop a hypersensitivity reaction to the

 bioaerosol mi xture in Jazairi ' s apartment and there i s general professional agreement that any
 exposure therefore needs to be minimized and strictly controlled. The lack of this standard does

                                                                 x
 not prevent a differenti al d iagno sis of an injurious e posure to the mold spores in Jazairi ' s

 apartment The medical literature that describes aller gy and hypersensitivity reactions in water

 damaged indoor environments containing visible mold r ecognize that the expo s ure to mold

 spores cannot usually be quantified      in the precise     manner that may be required in a scientific

 study.        However, the diagnoses of mold induced all ergy and hypersensitivity is commonly

accepted in      the publishing medical community.
          6.        The phy s iological process of lung inflammation      resulting from a mold-induced
hypersensitivity i s well described in the    medical literature.     Hypersensitivity that can be tested

with immunoglobulin antibodies (i .e, IgG or I gE). T his all ergic reaction results in an general

allergic reaction and in susceptible patients in acute or chronic inflammation of the alveoli of the

lung. When the        exposure   is reduced, the   level   of I gG antibodies typically decrea ses and the

symptoms and inflammation subside.           If reexposure occurs, then the I gG antibodies typically

will increase and the symptoms and inflammation may recur . Only about 10 -20% of exposed

people will• develop th is in blood measurable hypersensitivity       reaction and there is no recognized
exposure dose at which this response will develop .          However, some exposure must occur before

t he reaction can be associated with the exposure.

                   AND   FURTHER AFFIANT           SAYETH NOT.
       Case 4:04-cv-00091-BAE Document 81 Filed 04/29/05 Page 110 of 224




                                                                           Eckardt Johannin g, M.


Sworn to and subscribed .
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              Case 4:04-cv-00091-BAE Document 81 Filed 04/29/05 Page 111 of 224




         ACGIH T IV STATEME NT ON BIOAEROSOLS ; A, Mp~RYC                                                ,tal sampling for bioa
                                                                                                             ,h p
                                                                                                         yye y ocheses about
         COUNCIL OF GOVERNMENT INDUSTRIAL HYGIENt                                                         exposed  to bioaerosc
         PRESENTED FOR THE BIOAEROSOLS COMMITTEE                                                         ,theses and well-form
                                                                                                         may be inconclusive a
                              HARRIET           M.      AMMA.NN, Ph .D.
                                                                                                         nn s identified below, 1
 Office of Environmental H ealth Assessment Serv i ces, Washington S ta t e Dcpaztmrnf
 P,O Box 47846,7700 Cleanwater Lane, Olympia, Washington X8544-7845, Phoac : 36p.236
                                                                                                     y   lmrable or countable b ,
 3 6 0-236-2257, e-raaiL H&fAQ303 @ doh .Wa. gov                                                     ic culcurable or countabl t
                                                                                                     ious agents    (e.g., Legsond
 BivZogically Derived Airborne       Contaminants. TLVs   exist for certa i n substances of           biological contaminac
 origim, including cellulose, aamc wood, cotton, and grain dus ts, nicotine, pqrethru                 xc wmpvunds)-
 snbtitzs i ns (pzocealytic enzymes} ; sucrose ; and vegetable oil mist Howevtc, for th
 identified below, there are no TLVs against which to compare environmental air cono                   rulturable or countable i
 of most materials of biologi cal origin. The A.GGIF4 aioaerosols Committee has dev~                   that can be grown in Iabc
                                                                                                      y-forming unzcs_ Countabi
 separately published guidelines to assess, control, remediate, and p~evcnt bzologic d
                                                                                                      Is, and other material that
 contamination in indoor environments .                                                              fiD,r culturable or countable
 For the purposes of the guadelinm i ndoor biological contamination is defined as the                le of the following:
 of
                                                                                                      ilmcable microorganisms a
 a} biolog ically derived aerosols of a kind and concentration Likely to causes disuse                tity, Le, bioacrasols in oc o
     pose people to disease;                                                                         tfacnt microbial, animal, a
 b) i m pprapriate comcentrati ocu o f outdoor bioaerosols, especially in building de'               itnan responses to bioaeros
       prevent theirentry; or                                                                        ses, depending on the spe
 c) indoor                       remnants of biological growth that may become ac
              microbial growth and                                                                   luefore, an appropriate exT
    and to which people may be exposed .                                                              for another,.
 The guidelines define an approach to assessing and controlling bioarsosol cZpo w                    is not possible to collect as
 approach relies on visually inspecting buildings, assessing occupant symptoms, 'e                   ng method. Many reliable
buildings performance, monitoring         potenti al   environmental   sources,   and applying-Of     aerials. However, differe n t
al judgement                                                                                          ~cient esti m ates of the con
Bio(ogicallY derived airborne contaminants                          (airborne Particles . a
                                                   include bioaervsvls                                ptcsent, ittirormatioq relat
of or derived from living organ isms) and volatile Organic compounds that organism'                  a (th effects is generally insu
BioaerosoIs include microorganisms lie, culturable, non-cultw'able, and dead mi croo                  is cult,uable or countable I
and fragments, mains, and particulate waste products from all varieties o f k
                                                                                                       vat culturable or countable
Biologically derived contaminants are ubiquitous in nature and may be mode .- .
activity, All persons are repeatedly exposed, day after day, to a wide variety o f s"ch ?~b
                                                                                                     Mh', uritaa~ or toxic resgo ,
                                                                                               "iP    ioaaosol concentrations to
The guidelines provide background information on the major groups of bioaeros°1~                     Kposure .  assessments
                                                                                                                      The c
their sources and health cfte cts. The guidelines also describe methods to
                                                                              cvIlecr,
                                                                                                      e sganse  rclatzons h ips. Reas
interpret bioaerosol samples from potential environment sources- Occasionally, s                     "Ships include the folIowin
                                                                          More comsQ
monitoring detects a single or predominating biological contaminant-
toting reveals a mixture of many biologically derived materials . refl ect the d 'Y
                                                                                              A       t data Ort concentrations of
                                                                                                     it rather than From tneasur
       nature of indoor microenvironiuents .                                        ers_activ 14.    11sr the air concentrations c

.520                                                            Prevention,                                      EXHIBIT

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                                                                                               E JOHANNING     MD
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)SOLS; AMERICAN                                          E,,viconmezztal sampling for bioaerosols should be conducted only following careful formula_
2IAL HYGIENISTS                                          tioa of testable hypotheses about potential bioacrosol sources and mechanisms by w hich work
     COMMITTEE BY                                        ,,s may be exposed to beoaerosols from t hese sources. Even        when
                                                                                                                            investigators         work   from
                                                         mtable hypotheses and well-formulated sampling plans, results from environmental         bioacrosol
                                                         monitoring maybe inconclusive and possibly mislead i n&
h . D.
                                                         Fog the reasons identified below, there are no TLVs for interpreting environmental xrscasure-
:1  S tate Ucp rtment of In(tA            I k                   F
                                                         mcnts oE
' 846, Phone; 3 bo-2 3 6-3I1I, FAY,;                     a) total culturable or countable bioacrosals (msg., total bacteria or fungi) ;
                                                         a) specific culturable or countable bioaexosols (e .g, Arpergzllusfmzrgatus) ;
                                                         c} infectious agents (eg, Legionetla parumophila, Mycobacterium tuberculosis) ; or
 -taict substances of 6ivlvgipl
   aicotuxe; P3'rethr un; starch,                        d) assayab[t biological contam inant s ( eg., e ndotoxiia, mycomxiti, antigens, ox microbial volatile
     .t.However, for the reasons                           organic compounds) .
     roiiraen t al air concentrations                    A. Total culturable or countable bioaerosois . Culturable bioaerosols are those bacteria and
     om[ui[tte has developed             and                Fungi that can be grown in laboratory culture . Such results are reported as the number of
      prevent           biologically deriyed               colony-forming units Countable 6ioacrosois are those pollen grains, fungal spores, hacter-
                                                           sa [ cells, and other material that can be identified and counted by xzucroscope. A general
      n is defined a s the pmscncc                         T LV for culturable or countable bio a erosol concerACrauons is not scientifically supportable
                                                           because of the following:
       to causes disease             or predis.            Z) Culturable microorganisms and countable biological particles do not comprise a single
                                                                entity; i.e., bioaerosols in occupational settings are generally complex mixtures of many
       7 in buildings designed trr,
                                                              different   microbial, animal, and plant particles.
                                                  , .•       2) Human responses to bioacrosols range from innocuous effects to serious, even {aeal, dis~         ... .-
                                                                  eases, depending on the specific material involved and workers' susceptibility to it
           t   may becom e aetosdiu 7 '                          Therefore, an appropriate exposure lunzt for one bioaczosol may be entirely inappropri-
                                              %                  ate for another.
                    r
           aae osol exposures, Thia ., ;
           at       symptoms,
                          evaZuatt'tg'• .•s :                3) It is not possible to collect and evaluate all bioaerosol components using a single sarn-
                                                                 pling Method. Many reliable methods are available to collect and analyze b 2 aaeroso3
               and    applying Pcofeuionr,;
                                                                 materials . However, different methods of sample collection and analysis may result in
                                                                 different estimates of the concentrations of culturable and countable bioaerosals,
               )me particles comp*                       -~) At present, information relating culturable or countable bioacrosol concentrations to
               ; • that orgauisnzs's 667
               d dead .mxcroorgau iL~u                          health cfE'acts is generally insufficient to describe exposure/response relationships.
                Pieties of living throb!                 L  Specific  c ulturable or cou n table bioaerosols ocher than infectious agezzcs Specific TLVs for
               be    modified,
                             by bum*                        `hdn''dUal culturable o r countable bioaerosats have not been established to prevent tzyper-
               iety   of such mare'
                                  *                         '4sitivi fY,rirricanc, or toxic responses_ At present, information relating cultuzable or count-
                                                            able  hioae osoi concentrations to health effects consists largely of case reports and qualzra
               f bzoaerosols includm3
               to
                  collect, amllYTe: '°d                     t've exposure assessments . The data available are generally insufficient to des cri be expo-
                Tonally, en~~/e                            sure/response relationships . masons for the -absence of good epidemiologic data on such
               fore commoulY                               rd2"otuhips include the following.
                    diverse ~ ,the                         i- Most data on concentrations of specific hiaaerosvls arc derived from indicator measure-
                                                              ments rather
                                                                              than from Measurements of actual cffector agents. For example, invesriga-
                                                              r°FS use the air rnncentra dons of culturable fungi or represent
                                                                                                                                 exposure to airborne {un-

                                                                                                                                                      521
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Case 4:04-cv-00091-BAE Document 81 Filed 04/29/05 Page 113 of 224




                       gal antigens . In addition, mos t meas ur eme n ts are from ei th er ar
                                                                                                 ea or
                       Th e se mo ni toring approaches are less iik e iy to re flect h um an ex pos u
                                                                                                         sour,
                                                                                                      re acq
                       would personal sampl ing for ac tu a l effecto r agents.
                    2 . Bi o aeroso l components and c oncen tr ati o ns vary widely with in and among dif{
                        pational and environmental se tting s. Unfortunately, replicate samp ling u un(
                        bio aerosol assessments . Further, th e m ost c omm o nly us ed air sam p ling device,
                        m on ito ring are de si gne d to collect "grab" sa mpl es over relatively so rt tim
                        Measure m ents from sing le, shor t-term gra b sampl es may be or ders of magni
                        or lower than long-term aver age concentrations and ar e unlikely t o r epresent
                        exposures accurately. So me o r ganisms and so urces rele ase aerosols as "con
                        burst," whi ch may only rare ly be detec ted by limited grab sampling Nevertf
                        episod ic bioaerosol relea s es may p r oduc e significant heal th effects .
               C. Infectio us  agents . Human dos e/res p ons e data are avail able for only a few
                 bioaerosols . At present, air sampling p r oto c ols for infectious agents are limited
                 primarily for research endeav ors . In mo s t rou tine exposure settings, public h e:dd
                 such as immunization, active c ase findings, and medical treatment, remain td
                 defense against infectious bioaerosols . Facilities associated with incre ased risks
                 mission of airborne infectious dis ease (e g . , micro bio logy laboratories, animal han
                 ities, a nd health care set t ings) sho ul d emp l o y e ngi nee ring contro ls to minimize ;
                 trati o ns of infectious agents. Fu rt he r, s uc h facilities sh o uld cons i der the need
                 irative controls and personal p ro te cti ve equi pm e nt to pr event the expos ure of
                 these bioaerosols .
              D.Assayable biological contaminants . Assay able, biologi cally derived co ntaminants'
                toxin, mycotoxins, antigens, and v ol atile or gan ic compounds) are mic robial, anim
_               substances that can be dete cted using ch e mi cal, immunological, or bioQv
                Evidence does not yet suppo r t TLV s for any of these substa nces . However, assa
•               for ce r tain common airb orne antigens an d endo toxins are steadily i m proving, an
                idati on of these assays i s also pr ogressing. D o se/respo n s e relat ionsh i ps for som
                bioaerosols have been o bserved i n experimental s tud i e s and o cca sio nally in epic
                surveys. Therefore, TLVs for som e o f these substan c es may be app ro priate in .
                 Also, innovative molecular techni ques a re beco m ing av ai lable fo r specific bioaff
                 rently detectable only by culture o r cou n ting.
              ACGIH actively solicits information, comments, and data that will he l p the F
              Committee evaluate the potential for h ea lth e ffects associated with b ioaerosoI ex
              occupational and related environments . Such info rmati on should be sent to
                                                                                            ACGIH

              Affairs office.


              REFERENCE

              • ACGIH (American    Conference o f G over nmen tal Industrial Hygienists) . 19 $9A
                for the Assessment of Bioaeros o ls i n t he In d oo r Environment Cincinnati, 0




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                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE SOUTHERN DISTRICT OF GEORGIA
                                         SAVANNAH DIVISION

 C HRI S JAZ AIRI,

                    Plaintiff.
 VS .                                                         CIVIL ACTION
                                                              FILE NO . : CV-04-404-091
ROYAL OAKS APARTMENT
ASSOCIATE S , L . P ., It s Parent C o mpany
And Subs idiaries, And
MITCHELL L . MORGAN
MANAGEMENT, INC .,
                        D e fendant s .



STATE OF SOUTH CAROLINA
                                               }      AFFIDAVIT OF KENNETH WARREN, C IH
C O UN TY OF C HARL E STON




          1        Affiant is of legal age and gives this affidavit based on personal and professional

knowledge with the understanding that his affidavit will be filed on Plaintiff's behalf in the case

of Chris Jazairi v Morgan Mitchell Properties , et al ., U . S . Di s trict Court , Southern District of

Georgia, Savannah Division, Civil Action No . CV-04 -404 - 091 .

          2.       Affiant is an industrial hygienist certified in the Comprehensive practice of

Industrial Hygiene by the American Board of Industrial Hygiene and has performed

environmental assessments for working and living environments in the usual course of this

profess i o nal pra cti ce .     Affia nt work s for S&ME, Inc ., an e ng in eerin g firm , and i s a se nior

industrial hygienist with S&ME, Inc . He has performed mold assessment projects in the past and

has determined if mold remediation is necessary . As part o f his work as an industrial hygienist ,



                                                                                              EXHIBIT
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       Case 4:04-cv-00091-BAE Document 81 Filed 04/29/05 Page 115 of 224



Affiant uses various methods of analysis to assess the need for remediation in indoor

environments . Affiant's methodology includes the review of available photographs, reports and

test data . Affiant often performs a visual inspection and obtains his own testing if he has been

retained to assess an indoor environment . In the present case, Affiant is performing a forensic

assessment after a remediation has occurred and so the environment is not available for


inspection. However, the report of the inspector of the Chatham County Dept of Health (CCDH)

was available for review together with photographs, bulk sample test data and statements of the


conditions of the apartment .

       3 . Affiant understands that a toxicologist has criticized his methodology of

determining that the level of mold exposure in Royal Oaks Apt . 1607 was probably amplified

from the outside air . However, the use of visible mold as an indicator of conditions that could

cause adverse health effects to occupants is well accepted in the field of industrial hygiene .

Affiant recognizes that the presence of visible mold growth in the occupied indoor environment

is strong evidence that mold exposure may occur and that conditions causing mold growth should

be corrected and the mold remediated (Bioaerosols : Assessment and Control, 1999, para 19 .5 .3) .

The determination of visible mold is the most important assessment tool is noted as an acceptable


methodology . Affiant uses the presence and extent of visible mold in his usual practice as an

industrial hygienist in his primary determination that mold remediation should be performed,

regardless of what types are present and whether air, surface or bulk samples are taken (The Facts


About Mold, AIHA, 2003) .

       4 . The use of air tests in determining the extent of mold exposure in an indoor

environment is an additional assessment tool but should not always be part of an assessment


                                                z
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because remediation strategies can usually be made on the basis of a visual inspection . In

addition, air sampling methods for some mold are prone to false negative results and, therefore,

cannot be use to definitively rule out contamination (Guidelines on Assessment and Remediation

of Fungi in Indoor Environments, New York City Department of Health, 2001, para . 2 .3) . Air

testing can also be unreliable because the level of mold spores may vary dramatically over time,

vary because of seasons and weather, and an airborne exposure limit has not been established for


comparison . Significantly different air mold spore levels can exist in a single hour in an indoor

environment due to the life cycle and diurnal patterns of molds . (Guidance for Clinicians on the

Recognition and Management of Health Effects Related to Mold Exposure and Moisture Indoors,

2004, page 18) . Also, air mold spore levels can differ between rooms at the same time due to air

distribution patterns caused by the HVAC system .

        5 . Affiant is not attempting to determine the exact level of mold spores present in the

indoor environment based simply on the bulk samples c o llected by the CCDH and analyzed by

AQS Laboratories . However, these test results are part o f the data that identifies certain indicator

mold types that may signal moisture presence or a potential for health problems to occupants in

Royal Oaks Apartment 1607 (Bioaerosols : Assessment and Control , 1999, para 19 . 5 .1 . 1 and

19 .5 . 1 . 3) (Guidance for Clinicians on the Recognition and Management of Health Effects related

to Mold Exposure and Moisture Indoors, 2004, page 19) .      This data , along with the factual report


of visible mold from the CCDH and the phot o graphs all provide data for consideration in

determining that, more likely than not, that occupants in Royal Oaks Apartment 1607 were

exposed to mold spore levels at higher levels indoors than outd oo rs . Affiant w o uld have used this

same general methodology in initially assessing the c o nditi o ns with respect to mold in this


                                                  3
          Case 4:04-cv-00091-BAE Document 81 Filed 04/29/05 Page 117 of 224



 apartment even if the apartment was not the subj e ct of litigation .                                           Affiant has used his

 professional judgment as a certified industrial hygienist in f o rming his decision .

            6 . Affiant also recognizes that porous materials, such as pillows, fabric furniture,

 curtains, etc ., from which mold growth cannot be adequately cleaned should be removed from

 the building . If porous materials have absorbed odors, rem oval of the material may be necessary

 (Bioaerosols : Assessment and Control, 1999, para .                                     15 .5.2) .   P orous materials that have m old

growing on them may have to be discarded, as mold will infiltrate por o u s materials and complete

removal may be impossible . (Mold Remediation in Sch oo l s and C o mmercial Buildings, EPA

402-K- 0 1-001, 2001, page 17) .




                          AND FURTHER AFFIANT SAYETH NOT .




                                                                                       KENNETH R . WARREN, C IH
Sworn to and subscribed

before me thi s              ,   4A   day

of          ,          2005 .


     ary Public,
Charleston County, South Carolina

(NOTARIAL SEAL)




G \U S E RSL4ctrve   T erso n a l InjuryU AZAIR i, C H RIS~A ffidant   -Warren wpd .


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Assessment


 Control
                                     Editor:

                           Janet Macher, Sc .D ., M .P.H.




                              Assistant Editors :

Harriet A. Arrunann, Ph.D., D.A.B.T. Donald K. Mi lton, M.D., Dr.P. H.,M.O.H.
Harriet A . Burge, Ph .D . Philip R. Morey, Ph .D., C .I.H.




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                                    ACGIH
                          1330 Kemper Meadow Drive
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                                www.acgih .org
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                                                                                                            FOREWORD
                                                                                                                  Rober t F He m ck, Sc D, C I H                                                                                             i°

                                                                                                            CONTR IBUTORS
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                                                                                                            ACKNOWLEDGMENTS

                                                                                                            LISTS OF   ABBREVIATIONS, ACRONYMS , UNITS , AND LATIN          NAMES

                                                                                                            PART I . BASIC INFORMATION AND GUIDANCE                                                                                          I t{
          OO   1999 by Ame rican Conferen ce of Govern m ental In du s tria l I iygiemst s                        Chap t er 1 . Intro d uctio n


                                                                                                                  Chapter 2 .     Developing an Investig ation Strategy


                                                                                                                  Chapter 3 .     Health Effects of Bioaerosols


                                                                                                                  Chapter 4.
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or by any means      - graphic,    o r mec hanic al inc luding ph o to cop ying, re cordi ng, tapi ng, or         Chapter 5.      Developing a Sampling Plan
 information st o rage and retrie val systems         - without written   permi ssion from A CGI H .

                                                                                                                  Chapter 6. Sample Analysi s

                                              ISBN: 882417-29-1                                                   Chapter 7.      Data Interpretation

                                                                                                            PART II . BACKGROUND INFORMATION
                           Pub li s h ed in   the United Stat es of America by :                                  C hapte r 8 .   Medi ca l Roles and Rec o m m e nd a ti on s
                                                                                                                                  Cenle S Rose, M D , M P H ., with K athleen Kre iss, M D ; Don a ld K Milto n , M D .,
                                               ACGIH                                                                              Dr P. H ,MO H , x nd Edward A Na rd ell, MD
                                         Kemp er Woo d s Cent er
                                     1330 Ke mpe r Meadow         Drive                                           C ha pter 9 .   Res p i rat ory Infe ct io ns   - Transmission and E nviro nment al C ontr ol
                                      Cin cinnati, OH 45240- 1634
                                                                                                                                  Edward   A. Nardell, M.D   and Jan et M Macher, M P H ., Sc D .
                             Telephone : 513-742-6163   Fa x 5 1 3-742 -3355                                      Chapt er 10.    Preve ntio n A nd C ontro l Of Mi crobia l Contami n a tio n
                                                    @
                                       E-mail . c omm acgih org                                                                   Richard Shaughnessy, Ph D and Philip      R.                    I
                                                                                                                                                                                 Morey, Ph D, C H, with Eugene C Cole,
                                         http : / / www .acgih . org                                                              Dr P H
                                                                                                                  Chapter 11 .    Air Sampling
                                                                                                                                  Kla us Willeke , Ph D, C I H and   Janet M Macher, M P. H , Sc D
                                                                                                                  Cha pt er 12. Sou rce S am pl ing
                                                                                                                                John Mdrtyny,      PhD,
                                                                                                                                                    C I H, Kenneth F        Martinez, M   S .E.E, C .I .I-I ., with   Philip R. Morey,
                                                                                                                                  Ph D,C1H

                                                                                                                  Chapter l3 .    Data An alysis
                                                                                                                                  Janet M  Macher,
                                                                                                                                                 M .P H, Sc D
                                                          Case 4:04-cv-00091-BAE Document 81 Filed 04/29/05 Page 120 of 224

                                                                                   Buoaexosol s : Assessment and Control

                                                                                                                                                                                  FO REWO R D
      Chapter 14 .        Data Evaluatio n
                          Harriet A Barge, Ph D .  with Janet M M ac her, M.P .H , Sc D ., Donald K Milton, M   D,
                          Dr P H , M.O H ,and    Harriet A . Amman n , Ph D ,DA B T
      C hapter 1 5 .      R e media tion Of Microbial C ontaminatio n                                                      When Theodore H a tch reviewed the advances made i n               far below the levels we h a d found      in the manufacturing
                          Richard                 D
                                 Sha u ghn es sy, Ph and Philip R M orey, U,C     Ph       111.                            preventing occupational disease in the first half of this          world Ther e     was a   tendency t o di smiss the worke rs'
                                                                                                                           centu ry, he observe d tha t progress had been made as a           compl a ints, bec aus e the expos ures we measur e d   in their
                                                                                                                                                                                              environments did not approach the le v els we     hadbecome
                                        And Antimicrobial Agents                                                           resul t of in [ e rdvsciplinary collaboration" , a true meld-
      Chapter 16. Biocides
                          Eugene C . Cole, Dr P H, and Kann K Foarde, M S                                                  mg, eve n to the poin t w here the differen t individuals          accustomed to finding        in the workplaces where mdus-
                                                                                                                           makin g up the g rou p lost s i gh t of their respective fields                i
                                                                                                                                                                                              mal h yg e nis[s h a d   traditionally pr acticed In retrospect,

PART III SPEC I FIC AGE NTS                                                                                                and fun ctioned together as a unit, each m ak ing his ow n         it i clear that
                                                                                                                                                                                                  s           we were, wro ng      to dismiss the wo rker s for
                                                                                                                           peculiar contribution, b ut a l way s as part o f th e whole"      a t le ast t woreasons.First , w e ten ded to discount evidence
       Chapt er 17. So ur ce Organi sms - An Ove rview                                                                                                                                                       association                             work-
                                                                                                                           (Hatch, 1964) This boo k , produc e d by t he A CGIH               of a c au sal             be tw een s ympto m s an d the
                          Harriet A.   Burge, Ph .D. a nd Janet    M Macher, MPH, Sc D                                                                                                         place because the exposure levels were below the limits
                                                                                                                           Bioaerosols Committee in 1998, is a perfect example of
                                                                                                                           the continued progress we can make by following Hatch's            This was done despite the admonitions of the TLV Com-
      Chapter 18 . Bacteri a                                                                                               guidance In thi s case, th e product is a comprehen sive            mittee and oth ers that the exp osure limits are not meant
                   James A Ott en, S M . and           Harriet A   Burgs, Ph D                                             guide to th e asse s smen t and control of bioa e ros ols A         t o b e interp reted a s ha rd lines between safe and uns afe
                                                                                                                           gla nce at th e list of edito rs a nd c hapter autho rs reveals     conditions . Second, w e were no t sufficiently aw a re of
       Chapter 19. Fungi                                                                                                   the remarkable diversity m professional backgrounds and             th e lim itations of ou r measurement m e th ods, esper•-
                           Harriet A Burgs, Ph D , and James A . Otten, S .M.                                              specialties of the contributors . Thi s group has co nver ged      the fact that w e us ually made n o measurements a l
                                                                                                                           upon the need to prevent occupational disease by apply-            the biologically derived contaminants which are the . ,.,,-
       Chapter 20 . Amebas                                                                                                 mg the industrial hygiene para digm of recognition, evalu-         j ectaf t hisbook As the ACGIH guide clearly d ocum ents,
                                                                    Burge, Ph D                                            ation, and co ntro l t o t he set of hazar ds loosely terme d      an investigation of wo rk-related disease must include
                           J ames A Otten, S M. and Harriet A
                                                                                                                            6mae rosals. The result is Hmaerosais A ss essmen t and Con-      so me assessment o f possible exposure to biologica lly

       Chapter 21. Viruses                                                                                                  trol, wh ich will help the ssndustnal h y gienist, indoor en-     derived contaminants,        and thus book w ill p u t thisimpor-
                           James A Otten, S .M . and Harriet A . Burgs, Ph D .
                                                                                                                            vironmental specialist, and other occupational health             tant  tool into the ha nds of futur e investi g at ors
                                                                                                                            p ro fessional s le arn fro m the wide ra nge o f pe ople who                                            application
                                                                                                                                                                                                 F inally, the boo k il lustrates t he                    sci-
                                                                                                                                                                                                                                                      of the

                           House Dust Mite s
                                                                                                                            contributed the ir experti s e to advance t he state o f knowl-    entific m e t h od to the study ofoccupational     haza rds an d
       Chapter 22.                                                                                                          edge o f biologically derived airborne co ntamin ants             dise ase   Thi    si remarkable
                                                                                                                                                                                                                  s              onl y by comp    ari son to t he
                                        h
                           Larry G . Afl an, Ph .D .                                                                        Hatch would have been proud                                        conventional approach to industrial hygiene, which is fre-
                                                                                                                               There is a small measure of irony in the publication of         quently compliance-driven But how does one design
        C hapte r 23 . Endoto zin And Other Ba c teri al Cell-Wall Comp onents                                             this book by an org a nization i n a profession which s till        and con duct a n investig atio n m a sett in g where ther e a re
                       Don a ld K M ilton, M.D, Dr P H , M O H                                                             identifies itself b y tit le as "in dus tr i al." The ACGIH         no relev a nt exposu r e limits? The approach the
                                                                                                                           B ioaerosols Commi t tee has prepared guidance w hich will          Bioaerosols Committe e has p resented in thi s book i s
        Ch a p te r 24.     Fungal T oxi n s An d p-(1- + 3)- IJ-Gluca  ns                                                 be useful in the full r ange of workplaces, including those         founded upon the scientific method of investigating po-
                            Harriet A . Burgs, Ph .D with Harriet A Ammann,            PhD ,DAB T                          which do not fit the traditional image of "industrial"              tential causal relationships between exposure and d i s-
                                                                                                                           These indoor workplaces, are in fact the environments in            ease It is a thoughtful application of the scientific ap-
        Chapter 25 A nt ige n s                                                                                            which most people spend then workuig time The ubiq-                 proach to workplace investigations which can and should
                                i
                            Cec le S. Rose, M D, M P H                                                                     ui tous nature of biologically derived contaminants, and            be used over the full range of exposures and hazards,
                                                                                                                           their importance as causal agents ofwork-related disease,           not lust the biologically derived contaminants which are
                                                                                                                           are actually among the factors which forced our profes-             the subject of this book
        C h ap ter 26 .     M icrobi al V olat ile Organic Co mp o und s
                                                                                                                           si on to broaden its scope to the non-industrial workplace               So ltmnerosols Assessment and Control piesents
                                                                                                                                                                                                                                           In       ins angle
                            HarrietA Ammann, Ph D,         DA
                                                         B T
                                                                                                                            As workers in these apparently benign environments                 volume a comprehensive guide to the recognition, evalu-
                                                                                                                           began to demonstrate symptoms which they attributed                 ation, and control of biologically derived contaminants .
                                                                                                                            to their w orkplace, industrial hygienists first applied the        It i s a remarkable product of volun t eer effort, and
                                                                                                                            t ools w e had available for evaluating the manufacturing           resents a significant step towa rd the improvem ,
                                                                                                                            environment In m any cases, the mea sur e ments of chemo-           wo rkplace conditions
                                                                                                                            call as gases, vapors, a nd aerosols revealed exposures


                                                                                                                                                                                               Rober t F     Herrick, Sc D , C .I H
                                                                                                                                                                                               References
                                                                                                                                                                                               Hatch, T Mayor Accomplishments In Occupat loml Henldh / n t h e Nat
                                                                                                                                                                                                     Fifty Years led Hyg J 75 1 08 - 113 (1 969)
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  ~. ~              7-4                                                                                                        Bioa e m sols : A ss e ss m ent and C o ntrol


                    fa ctor a re relat e d parame ters that determin e if the pr o-                ba sis f o r evaluatin g the nee d for impro v e d m aintenance o r
                    gress i o n can c ontinu e and if the outcome w ill be a change                remediation in a           preventive  conte xt . It   i s als o r easonable
                    in health s tatu s .                                                           to use thi s appr oach as a me ans of making d e ci s i o ns in
                           Id e ally, documentation that an ag ent causes a pa r-                  resp o nse t o o utbrea ks of BRI s and BR Ss. How ever, c au-
                    ticular dis eas e include s id e ntifi c ation o f (a) an ag ent,              tion s h o uld b e take n in a scrib in g sp ecifi c causal li nks, as
                    (b) its immediate, l oc al source and environmental res er-                    d esc ribe d in Chapter 14 . At t he ti m e of thi s publication ,
                   voir , and ( c) expo s ure sufficient to cause the resp on s e                  th er e is no s cie ntific bas is for applying sp ecific e xposure
                   observed . Data ma y c ons ist of the id entification of a                      lim i ts for co ncentration s of tot al or s p ec i fic culturable or
                   source (ob servational data), meas urement of the concen-                       count ab le bi oaerosol s [see 12 ] .
                   trati o n of a biol o gical agent at the s ource (bulk sampling              WAN
11!' ;',!          data), or measurement of the         concentration   of the agent               7.3.2 Comparison with Existing Standards or Guidelines
                   in air at a p artic ular time (air sampling data) . To e stab-                  In th e U . S ., no fe d e ral a gency has cl ea r autho rity to regu-
                   li s h   a clearc onnection betwe e n an expo sur e and an out-                 late exp osure to biolog i c al a gents a sso ciat ed with BRIs .
                   come, an inves tigator mu s t work through a ll the steps in                    The OS HA G e n e r a l Duty Clau s e and Ha zard Communi-
                   Figure 7 . 1 . Unfortun a te ly, data are seldo m available on                  catio n Standard hav e been u se d to res o lve IEQ probl e ms,
                   rel e ase of biologi c al agents fr om sources, bioaerosol d e-                 fo r exa mp l e, to pro tect remediation w o rkers and build-
                   cay, airway de positi o n of bi o aerosols , agent release to                   ingo ccup ant s during clean-up op e rations and to inform
                   th e body from inhaled and d epo sited particles, or th e                      buildin g occupants of pr ob a bl e expo sur e to signifi c ant
                   human fa ctors det ermining hos t re s ponse. Further , s o                    am ounts o f p o te ntially h arm ful biologi c al agent s (M o ray,
                   litt le i s known about these factors for most biological                      1 992) . The situati o n may diff er in oth er co untri es and in-
                   agents that extrapolation from available general                   infor-      ve s tiga t ors should be familiar with fe deral and local regu-
                   mation to the specific s of a given ca se   may be uncertain .                 la tio ns r e l a tin g to bio ae ros ol e x po s ur es .
                   However, good quality data from envir o nmental inves-                                  Workplace e xp os ure limits are base d on epid e mio -
                   tigation s can be interpreted a s being repre s entative of                    l og i ca l a nd m e a s ur e m ent data (Vincent, 1995) . Epid e mi o-
                   environm ental conditions , and extrapolation of these data                    l og i ca l s tudies examine dos e- respon se r e lationships and
                   to indicate e xposure is al so often po s s ible, as discuss ed               lead t o health-ba se d expo s ur e crit eria . Th e d o se n e ede d
                   in the next s e c tion s .                                                    to pro du ce a gi ven re spon se must be related to many fa c -
                                                                                                 t or s, fo r example, the air c on centration of an a gent, the
                ," 7.3.1 Dealing with Visible Microbial Growth                                   time p e ri o d worke rs ar e expo se d to the ag ent, the depo-
                ;i& Various authors have recommended that microbial growth                       sition and r e t enti on of p artic l e s within the respiratory
                  in occ upi ed interiors , in HVAC sys tems, and on building                    trac t, th e con centrati o n of the a cti ve age nt at the targe t
                  materials and furnishings, esp ecially if extensive, should                    tissue, a nd th e po te n cy o f the agent . Me a surement-ba se d
                  be avoide d and that any contamination that exists should                      s tudi es used to establish expo sure c ri te ria provid e com-
                  be removed and further contamination sh o uldbe prevente d                     parative o r relative data for pr o bl em and c ontrol e nvi-
                  (Samson et a], 1994; Health Canada, 1995; Marom et al ., 1995; ISIAQ           r onme n ts . Fr o m co mp a ri son s of the r es ulting d a ta, ex-
                   1996).  "Extensive" vi sible fungal growth has been d efined                  pos ur es are d e riv ed that may be con sid e re d a c ce ptable,
                  as   surface areas greater than 3 m2(32 ft2) (NYCDH , 1 99 3 , Health          t o l era bl e, or unlikely to cau se harm . If av aila ble, data
                  Canada, 1995 ; ISIAQ 1996) .                                                   from studies of co ntr olle d human or ex p e rime nta l ani-
     ~      .
                        It is well established that bioaero s ols cause infectiou s              m a l exp os ures may a l so b e cons id er ed in th e est abli sh-
                  and hyp ersensitivity diseases and that bioaerosoLs in the                     ment of limit valu es .
                  indoor environment may cause toxic effects, although data                               By fa r , compari son of an e nvir onmental m eas ure ment
                  on inhal atio n e xposure is limited . Therefore, it is reason-                with an exis tin g standard is the simplest m eth o d to inte r-
                  able to us e indi cators of environm e ntal contamination a s a                pre t da ta . Providing da ta ar e collecte d in the mann e r th a t



                                                   ENVIRONMENT                                                               HOST

                                      SOURCE ~                EXPOSURE -->                     DOSE ~                                   RESPONSE
                                      OF AG E NT              TO AGENT                         OF AGENT                                 TO AGENT

                                      Dissemination           Air co n ce ntrati on            Breathing rate                           Host sensitivity/
                                       of agent                of agent                        Particle deposit i on                     susceptibility
                                                              Time spent i n                   Release o f bioiog ,ca l ly              Adequacy of host
                                                               environment                      active agent                             defenses


                  FIGURE 7 . 1 . Steps connecting a biological agent and a host respons e .
                                                                                                                                                                                  e
                                                                                                                                                                                  Q
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      7-6                                                                                             B ioaeroso ls : Assessmen t and Contro l


            7 . 4 .1 .4 Significant or Substantial Health Risk Som e             nificant indoor so ur ces . Fin a ll y, if the v ariabili ty o f the
     informati on is availabl e on con ce ntrati o ns of inf ectious             data is high (whic h is co mmo n), exten s ive samplin g m ay
     b ac te ria th at have b e en ass o ciated with d isease outbre ak s .     b e r equired t o establis h th a t tw o l o ca ti o n s differ. Th e
     For example , el e v a te d con c entration s of L eg io n etla spp .      sp ecies o f fun gi fo u n d in ind oo r and outd oor      air  typi-
     in c oo ling t o wer s hav e been linked epid emiol og ic ally             cally ar e si mil a r if ou t doo r air is th e primary so ur ce for
     with di seas e o utbreaks . Likewise, tuberculos i s transmis -            the fungi i n ind oo r air . Compariso n s of the spec i es      com-
     sion ha s be en r elated to sour ce strength and ventilation               positions     o f in d oor an d outdoor populatio n s re quir es
     rate . However, little is known about th e potential effe cts              ac curat e id en tification of fungal s p eci es not s imply iden-
     for healthy adults and children of expos ur e to the maj o r-              tifi cation t o th e genu s leve l .
     ity of bacteria r e covered durin g routine air and s ource
     sampling . Often , it is only possible to es tabli s h that an                   7 .4.2 .2 Indicator Species Fungi wh ose prese n ce may
     unusual expos ure situation does or doe s not exi s t with                 indicate e xcessive m oisture or a s p ecific h e alth ha z ard
     respe ct to a control environment .                                        have been te rme d indic ator or gani s ms . Int e rpr e tin g the
                                                 ~.                             presence or ab se nce o f a n ind icator spec ies requir es the
   7.4.2 Fungi                                                                  ability to id e ntify fun gi to the sp e cies l e vel and a knowl-
rMany fun gi produ c e alle rgen s and some fungi pro duce                      edge of the pre v a lenc e of the i nd icator s pec ie s in both
 ~ to~cins . Fungal growth in buildings is undesirabl e and                    indoor a nd ou td oor environme nts. The mere pres enc e
     may cause health problems for building occupant s . Al-                   of a few CFUs o r sp o re s of an y fungus should b e inte r-
     though it may be difficult to establish that exp osure to                 pret ed with cautio n. Identifi cati o n of a particular fun -
     fungal aerosols occurs or that exposure presents a haz -                  gus in an ind oo r e n v ir o nme nt d oes not allow an inv es ti -
     ard , indoor fungal growth is inappropriate and s hould                   gator to c on clud e t h a t building o ccupants are being ex-
     be rem oved . Furth er , steps should be taken t o c orrec t              po sed to all er gen ic o r t oxic a g ent s . Investig a tors sho uld
     conditions that led to fungal growth so that it d oes not                 als o rec o gniz e th a t fungi that have b een nam e d indic at o r
     rec ur. Vi sible contamination that is confirme d by sour c e             specie s are not the onl y fun gi of signifi cance . Many fun gi
 5 sampling t o be fungal growth is evidence of indoo r con-                   other than th ose s p ecifically liste d by various group s may
 k taminahon . Air sampling (c ulture or spore- trap sam-                      caus e probl em s fo r bu i ldin g occup ants expo s ed throu gh
 ~ pling) may al s o indicate indoor fungal growth but should                  inhalation of aerosols o r by other c ontact .
   be followed by insp e ction and source s ampling to id e n-
   tify the location of fungal contamination .                                       7.4 .2 .3 Potentially Pathogenic (Infectious) Fungi Some
         In the pres ence of the inevitable backgr ound con-                   fungal patho ge ns s h ould be ass um e d to be pr esent when
   ce ntratio n, the challenge for environmental samplin g is                 material s known to s up po rt th e ir growth ar e fo und ( e . g .,
   to det ec t indoor fungal growth or entry of fun g al ae ro -              His topta sma capsulatum a nd Crypt oc occu s n eofo rman s in
  sols from so ur ce s near OAIs and to document the c o ntri-                bird and b a t d ropp i n gs) . Rem o val of suc h m a terial s
 bution of such sources to oc cupant expo s ure . Interpr e ta-               should be con d u cte d as if they contained pathoge ni c
 tion of possible indoor fungal expo sure has be e n ad -                     fungi. Di s turbance o f so il or o th e r mat e rial that may con-
 dre ss ed using (a) ind oor/outdoor total c oncentration                     tain fungal p a th ogens (e .g , compost co ntaining As p ergt l -
 rati os, (b) compari so ns of the sp ec i es compositions in-                lu s fumig afu s or mat e ri a l enriched with bird or bat drop-
 door s and out, a nd ( c) the pr esence of indicator sp ecies                p ings) should be co ndu cted with con s id e rati on that o c-
  n the ind oor en vironment.                  -~"                            cupants of nei ghb orin g buildings may be expose d if air-
~!                                                                            bo rne fungal sp ores ent er the build in gs .
         7 .4 .2 .1 Indoorl 0utdoor Comparisons The con centr a-
  tion of fun gi in indoor a ir typically is similar to or l o wer            7.4.3 Amebae
  than th e c on centration s een outdoors . Exceptions are en-                Inves tigators s h o uld b e a w a re that a m ebae can cause in-
  cl ose d a gricultural and oth er specialized environm ents                  halation fev er (e .g ., humidifier fe ver), severe e y e and
  (wh e re ind o or fun g al con centrati o ns may be much                     wound infectio ns, and fatal encephaliti s, alth ough the se
 hi g her) . Outdoor c oncentrations may exce ed thos e mea -                 conditi o ns are ra re . The size o f ame bic troph ozo it es and
 sured indoors ev e n where ind o or fungal gr o wth i s obvi-                cysts cause s th em t o fall r a pidly fr om air and greatly di-
 ous . If outdoor fung al concentrations are very high, in -                  minishes the ris k of infec ti on when these amebic fo rms
 d oor /o utd o or con centration ratios for to tal fungi may be              are dis charged as aer osol s . Phy s i c ian s sho uld consid er
 to w, even in the pre sence of signific ant indoor gr owth .                 the pre se n ce of pa t hoge nic a m ebae wh e n a patient's in -
 Dn the other hand, outdoor fung al c on ce ntrations may                     fe cti on do es n o t r espo nd to traditi onal antibioti c trea t-
  )e r e duce d during time s of snow cover or other co ndi-                  ment . Potential en vironme nt al s ources o f am eba e sho uld
  i ons tha t s uppr e ss the releas e o f fungal spores from o ut-           be te s ted for pathoge n ic types if infecti o ns are i d entifie d.
 3 oo r sources, at which times, indo or measurements m a y                   These te sts s h o uld b e conduc t e d by lab o rator ies with
  ) e hi gh e r th an tho se outd o ors even i n th e a bsen ce o f s ig -    experien ce in th e assay of path ogenic am eba e . Ma t chin g
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                                                                                                                                                          1 2-3
         " Source Sampling

    :.     Close cons ulta ti on with laborato ry p e r s onne l is vital                sampl e d environm ent, the microbial age nts, and the meth-
`i
;~ nPT
~          anning    a bulk sampling pr ogram . The type of mate -                       ods of samp l e co llec tio n and handlin g    determine   how rep-

  ~ na i t o be tes t ed, the biological agents sou ght, the informa-                    rese ntative the culture r es ults   are
                                                                                                                                of  the  typ es and  relativ e

~~;       li o n n e ede d about th e agents, and          the e xpected results         pr op o r tions of micro or gan is ms pr ese nt  in bulk sa  mpl es .

~x -      determine the appropriat e collec tion method . Laboratory
          and fi eld staff sh ould discu s s how mu ch material is r e-                           12.1 .3.2 Non-Culture Analyses N on -culture ana ly ses
~;
    quire d to conduct particular ass ays, the numb er of samples                        for bulk sampl es may involve ide ntifyin g b i ol ogical age nts
                                                                                         und e r a mic r osc ope or e mploying biolo gica l or chemic al
    nee ded to obtain repr es entative re s ults, the number of
                                                                                         a ss ays . The inf o rmation a vailable from th ese analy se s
~~ samples the laboratory can handle per day s o that sample
          pro c e ssin g is not d elayed be yond an acc eptable holdin g                 v aries w i th the bio lo gical mate rial under study . Non-cul -
          time, and r e quired sample stora g e and s h ipping      condi-               tu re meth o ds g ener a lly do not provid e inf o rmation on the
          tions   [see Chapter 6 and Part III ] . Samples to be tested fo r              ability o f identified mi croorgani sms to prop a gate or to
         viable mic roorgani s m         counts generally
                                                  ~„~~require overnight                  c a u se infec ti on . Many fungal spor es and p o llen grain s as
         delivery and need to be either ch i lled (i .e ., maintained be-                w ell as dust mit es and some amebic cys ts can be identifi ed
         tween -4 ° and 10° C) or kept at room temperature but pro-                      by d i rec t mi c r oscopic examination b ec au s e o f the organ-
         te c ted fro m extremely high or low temperatures during                        isms ' distinctive sizes, shapes , and surfa ce features. How-
         transport . In some cas es , preservatives or an agent to neu-                  ev er, b acte rial cells and virus es are ge nerally mu ch smaller
'        traliz e a biocide     (e.g.,
                                sodium thio sulfate for chlorine in                      and less d is ti nc tive . Few bac teria can be identified by
         water s amples ) are added in the field to stabilize samples                    micr osco p e without some sort of stainin g, and viruses are
,        and limit changes prior to analysis (Th orne et x1, 19 94; APHA,                only vi sib l e with an electron microscope . In s o me cases,
         1995) . Culture plates can also be ino c ulated at the                collec-   bulk sa mpl es are analyzed t o dete ct the pre sen c e of anti-
         tion    s ite prior to sample shipm ent , and convenient                        ge ns fr o m fungi , dus t mites, co ckroa ches, birds , or mam-
         dipslides are available for some types of water testin g                        m a l s . Bulk sa mpl es can also b e tested for the pre s enc e of
         (Biotest Hycon, Denville, NJ ; Difco       Laboratories, Detroit,   MI) .       mi cro bi al pr o duc ts and mark e r comp o und s (e . g . , endot-
                                                                                         oxi n, muramic acid, ergoster o ls, VOC s, and s p ecific nucl eic
          12.1 .3 Sample Analysis                                                        a cid se que n c e s )
         Chapter 6 and the individual chapters in Part III describ e
         metho ds for analyzing bi o logical agent s in bulk samples .                          12 .1 . 3 .3 Information from Bulk Samples Some         detec-
         The s e m e thods include detection of culturable microor-                      tion methods provide        only s emiquantitati ve information
         ganisms and morphologically distinctive particl e s as well                     and ar e u se d only to identify the pr es ence or absence of
         a s bi o a ssa y s and chemical a ss ays (AIHA , 1 996) . Du s t                the biological age nt in que stion . However , even such lim-
         s amples are often sieved to coll ect the finer particles, whi ch               ited information may help investigato r s decid e if further
         ar e tho s e mos t likely to have been or to become airborne .                  sa mplin g is in d ic ate d and may help the m formulate rec-
         Bi olo gical agents in weighed portions of collected du st                      ommend a tion s for remediation.
         and bulk materials are typically suspended or extracted                                   Bulk samples can also provide m ate rial with which
         in a fluid appropriate for the a ssay to follow . Sections 13.2 .2              t o immun ologica lly tes t exp ose d work ers . P ositive re ac-
         and 13 . 2 .3 de scribe the calculation of the con c entration of               tio ns o nly in symptomatic work ers o r th e occupa nts of a
         biological agent s in bulk samples . O cc asionally, bulk                       pr obl e m a re a c ould r efl ect e xp os ur e t o e nviro nmental an-
         sampl e s are c o llected for archival purpo ses and are not                    tigens e v en th ou gh the s p ecific antige nic mat erial wa s not
         analy z ed immediately. Unused portions of bulk samples                         id entifie d . Simi larly, e x tr acts of micr oorg anis m s is olated
         may al s o be stored for later retesting . Storage conditions                   from e n v ir onm e ntal s ampl es by c ultur e-b as ed methods
         must minimize changes in the biological agents of int er-                       can b e u se d to d e te rmine workers ' i m munol o gical sen s i-
         est . In parti cular, ass ays f o r many living organisms are of                tivity t o sp ec ific b acte ria or fun gi. Te s ts conduc ted with
         limited val ue after prolonged s ample storage .                                ex tra c t s of dust s amples o r microorganisms is olated fro m
                                                                                         an a ctu a l wo rkplac e may have more value than te s ts run
              12 .1 .3 .1 Culture-Based Analyses Culture-based                           with a s tandard e xtract battery such a s an HP panel [ see
         analyses involve gr o win g microorganisms from bulk                            3 .3 .31 . Th e an tig e n mixtures available in comme rc ial pan -
         sampl es . For exa mple , sieved du s t a s well as liquid                      els ma y no t include the r elevant bio logi c al a gents, or th e
         sample s, dust su spensions, and washings of other mate-                        mic r oo r gani sms in a work environm ent may diffe r from
         rials ma y b e inoculated onto suitable a gar-based culture                     th ose use d t o make commercial extr ac t s eve n if they ar e
         medi a or c e ll cultures (soon et           al., 1994, .AMA, 1996) . The       identifi e d as th e same g e nus and spec ie s .
         typ e o f gr o wth m e dium or c ells u s ed and the incubation                      The concentration of a biolo gi c al age nt in a bulk
         conditi ons ( e . g., temperature , humidity, atmosphere, and                   samp le is de te rm ined from the number of cells, number of
         duratio n) influ e nce what ba cteria , fungi, virus es , or ame-               CFU, o r amou nt of t arge t mate rial p er area sa mpl ed or p er
         bae can be is olated. In addition, fact o r s r elat ed to the                  ma ss or volum e o f mat erial an a lyz ed . Fo r exa mple, bulk
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          ~ .
                    12-4                                                                                            B ioaeroso ls : A ssess m ent an d     Control
                    sampling res u lt s c o uld b e e xpress e d as the number of fun-       plin g res ults . L ar ge v ariability has b ee n ob s erved among
    .I              gal sp o re s per square ce ntimeter of c e iling tile , numb er of      sampling    sites     in build ings and even a t a singl e sampling
                    ba cterial CFU per gram of insulation mat eria l , or nano -            location    ove  r  tim  e, reflec ting se asonal effec ts and changing
                    grams o f endot oxin per milliliter o f co o ling-t o wer water.         e nvir o nm  en     l
                                                                                                              ta co nd i tions . Signific ant bi ological agents
      .;
      ! ~'I         Numerical me a s urem ents can help inv est ig at ors compar e           ma y be missed,     misleading         inve s tigators , if the choice of
                    locations within a workplace and relat e c urrent findings              coll ectio n an d analytical methods            were inappropriate or
                    wi t h tho s e from other studies.                                      ins uffic i en tly sens itive . There for e, investigato rs must    con-
                                                                                            sider bulk     samplin g data in conjunction with all available
                    12. 1 .4 Interpreting Sampl ing Results                                 medical and env ironmental information to d ecide if th e data
    <i.
                    Investigators need experience to int erpr e t bulk sampling             supp o rt the hypoth eses und er e valuat i on Further,        investi-
    "i              data . In some cases, it may be suffi cient to demonstrate              gators    mu s t d ec id e what evidence is suffi cient to warrant
                    that a spec ific biological agent was found in a study area .           re comm end ation s fo r r em ediation of suspec te d sources of
                    However, failure to detect a target mat erial does not neces -          biolog i ca l agents . Acc urat e d etermination of the type and
                    sarily mean it i s not present . Laboratories should report                                                    m
                                                                                            e xtent of ind oor biological conta inatio n i s critic al in sel ec t-
                    su ch results as less than th e test ' s LDL rather than as zero        ing s uitab le rem edia tion methods and appropriate pre c au-
                -~ [see 5 . 2. 3 and Chapte r 71 . Because bulk samples are not good        tions dur ing the cl e anup pro c ess [see Chap ter 1 5 ] .
                   estimators of actual expo s ure, mea s ur em ents of biologic al
, .u               agents in bulk samples do not allow conclus ions as to th e              12 . 2   Surface Sampling
                   air concentrati o n of material that would be a ss ociated with          12.2.1 General Considerations
                   a given dis ease o utcome . However, me a s ur e ments of in -          Surface samp lin g durin g IEQ investigations is freque ntly
                   halation exp o sure may be difficult for some biologic al               l i nke d t o bulk and air sa mpling . Surfa ce s amples can
                   agents (e . g., some antigens ) , and po sitiv e co rre lations have    provide inform a ti o n s imilar to th at obtained from bulk
                   been seen b etween h e alth effec ts and so m e antigen con-            samp les rega r din g whe ther envir onm ental mat e rials may
Jill"              centrations in dus t sampl es [see 22.5 a nd 25 51 .                    b e cont amina te d b e y o nd backg ro und level s and possibly
                                                                                           serve a s so urces o f bio logical agents that may be dissemi-
                         12 . 1 .4 . 1 Differentiating In-Situ Microbial Growth from       n at e d a s bi oaerosols . In addition , building occupants may
                    an Accumulation of Material of Biological Origin On micro-             be ex posed t o bio l og ic al a gents via s ki n contact with con-
                    scopic examination or laboratory culture, the finding of pre-          taminated indoor s urfaces .
                    dominantly one type of microorganism or the presence of                      Su r face sa mpling m a y be u se d to (a ) confirm the na-
I~~I               hyphae and spore-bearing fungal structures (rather than a              ture of suspected mic r ob i al growth on enviro nm ental s ur -
F                  mixture of fragmented hyphae and spores) may indicate                  faces, (b ) m easure th e r el ative de gree of bio l ogi cal co n-
                   that growth is occurring at the sampled site rather than that          tamin a t io n , a nd ( c) identify the type s of mi cr oorgani sms
                   biological material has simply collected there . However,              a nd o th er bio l ogi c al a ge nts pre sent . Surfac e samplin g is
                   water in drain pans, cooling tower sumps, or humidifiers is            pref e rr ed ove r bulk s ampling when a le ss d es tructive
                   not expec t ed to be sterile (i .e ., some microorganisms are likely   me th o d o f sa mpl e c ollectio n is de s ired . Fo r exampl e, it
                   to be present even if not actively multiplying) .                      may b e p ossib l e to coll ec t s ampl es o f fungal growth fr om
                                                                                          the s urfa c e s of valuable furni s hings or materials of his -
 ..                      12 .1 .4 .2 Basing Recommendations on Bulk Sampling              toric a l inte r es t with out d a ma ging the o ri ginal it e m s
                  Data Detecting high concentrations of microorganisms in                        The co ncentra tion an d c ompos itio n of mi croorganis ms
                  bulk s ample s may eliminate the need for air sampling if                growin g on indoo r surfa ces d ep e nd on a numb er o f facto r s,
                  there is a clear p otential for the material to become aero-             such a s th e na ture of the material and its moisture history .
                  solized or for building occupants to directly contact the
                  solized                                                                 Surfaces may al so beco me co ntaminat ed a s a con se quen ce
                  contaminat e d items . Re c ommendati ons fo r remediation              of bioaeroso l d ep os ition , fo r whi ch the relevant param e te r s
                 mi ght als o b e strai ght forward becau s e s uc h a situation is       ar e the size, sh ape, a nd de nsity of the bi ological parti cl es ;
                 g ene r ally und es irable and should not be all o wed to per-           air ve l oci ti es p as t s urfa ces ; and air m o ve m ent in the are a .
                 sist [se e i 4.i 2 ] For example, investigat ors who find biofilm        Researc h ers have coll ec ted gravity sampl es b y expos in g
                 or l a r ge a reas of visible fungal gr owth in an air handl er          glass s li des or settling pla tes in sample ar eas to co llect wh at-
                 s h o uld sug ges t mitig a tion of the problem r a ther than fur-       ever par ticles fall o nt o a s urface i n a given time (Pasanen et al,
                 the r sa mpling . How e ver, air sampling is needed to e s tab-          1992) H owever, com p arison s of data from g ra v i ty or sedi -
                 lis h worker i nhalati on expo sure in t e rms o f am o unt or           menta tion samp l es and activ e air samples r a r e ly agr ee in
                 type of biol o gic al material [see 14 131 .                             their assessments o f eith er bioaer osol conce ntr a tio n or com-
                        Part o f the difficulty in d e te rminin g th a t mat erial is    position (Hyvzrinen et al., 1993, Ren et al, 1993) . While gravity
                 biol ogica ll y c ont a minate d and in es t ablis hing a connec-        samp l es m ay reflec t surface depos ition du r in g a sa mpl ing
                 tion b etw e en bulk sample measurem ents a nd he alth com -             p e ri od, they are not sui ta bl e s ub stitutes fo r vo lum etric air
                 plain ts ste ms from the many factor s that c an a ffect sam-            samples [see 1131 .
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               12-6                                                                                                  Bioa e ro sols : Assess m e nt and Control


'                  12 .2 .2.2 Surface-Wash Sampling In the surface-wash                     lion an d ana lytica l me thods did not de tec t it. Th e reli ability
               meth o d, a swab, filt er, or cheesec l oth or gauze swatch is               an d rele van ce of inf ormation obt ain e d fr o m culture-ba se d
               u sed to wipe a s pecifie d surface area (Reynolds et al .,       1990 ,     su rface s amp les depends o n sa mple numbe r, whe r e and
               Sandholm and Wirtanen, 1993 ; Morey , 1994) .   The collection    me-        h ow sampl es w ere collect e d , and the overall design a nd
      .adia may be wetted with steril e water or wash solution ( e .g .,                    purpose of th e s tudy. For example, the c on ce ntra tio n den-
        0 . 1 % peptone water with 0 .01 % Tw e en 80) to enhance par-                      s ity  of biologicalagents on the c eilings, walls, and floors of
        tide c olle c tion . Sample s for culture-bas ed analysi s mus t b e                                   ti
                                                                                            r oo ms and ven la tion ducts m ay   differ s ub s tantially . Morey
    •   handled aseptically ; for example, by us ing sterile for c ep s or                  ( 1 994) fou nd significant variations in funga l co nc entrations

        touching only the bare end of a sw ab stick. A swab can b e                          i n a sing le diffuser , which s u gg es ts that a larg e number of
    '.  used to inoculate a culture plate immediately , or swab s,                           sa mple s is nee ded to accurat e ly c haract erize an area by
        filter s, and swatches can be shipped to a laboratory for                            u s ing surface sampling. Es timating the to tal surfa ce area
               analysis . Samples may be trans ferred to a laboratory dry in                 ass umed to b e similar to ea c h s ampled section is         important
               individual sterile containers or in a test tube with a s terile              b eca u se differ ent levels of prec a uti on ha ve bee n         recom-
               tran s port medium . Wipe samples can be proce ss ed simi-                   mended for remediating different            degrees of contamina tion
               larly
               laxly to dust samples (e . g ., mechanically agitated in a sterile           with potentially toxigenic fung i [see 15 .2 1 .
               wash solution followed by culture-plate or cell-culture in -                         Th e r ec ov ery effi c i ency ofvarious     s urface sampling
               oculation or other appropriate as s ay) .                                    methods differ, and some biologic al mat e rials            may bemore
                                                                                            difficult   than o thers to remove from s urfac es . For example,
               12.2.3 Sample Analysis                                                       Sandholm and Wirtanen ( 1 993) found that microo rgani sm
               Chapter 6 and the individual chapters in Part III de scribe                  rem ov a l from ev en    relatively    s mo oth s urfaces could be dif-
               methods to analyze biological ag ents in surfa ce s amples .                 ficult and that re l eas e of cell s to the enviro nment c ould oc-
               Th e se methods include detection of culturable mi c r oo r -                cur in a random fa s hion .
               gani s ms and morphologically dis tinctive particles a s well                        Porous or fl eecy surfa ces (e. g ., du c t insulation,        up-
               as bioassays and chemical assays ( nff-1A , 1996) . The con-                 holstered furniture,      and carpets ) are even more difficult to
               centration of biological material in surface samples is ex-                  sa mpl e adequately than s mooth surf aces (e .g, wood , tile,
               press ed in t erms of CFLT, particles, or other unit of m ea-                o r vinyl floors ; table and de s k top s ; and metal surfa ces) .
               surement per area sampled . Sections 13 .2 . 2 and 13 . 2 .3                 Debris other than microbial fra g men ts and s p o res is some-
               describe the calc ulation of the concentration of bio logical                tim es s o abundant on envir o nmental surfaces that it ob-
               age nts in surface samples .                                                 scures acc ura te recognitio n and identification of micro -
                                                                                            bi a l contaminant s .     This     may be e spe c ially problematic
                    12.2.3.1 Culture-Based Analyses Culture -based            analy-        w hen   collecting     samples from f abri cs or fria ble s urfa ces
               ses involve growing      microorganisms from surface samples .               su c h a s plast er or concrete . Inv es tig ator s ar e advised to
               For example, contact plates can be incubated directly, and                   t ake multiple s ample s to improve th e chan c es tha t at le as t
               swab samples and oth er surface washings can be in ocu -                     one will b e sati s fac tory . They a l s o may co ll ec t mor e tha n
               lated onto agar-ba s ed culture media or cell cultures . The                 one s ample from the same ar ea on the c h ance that the first
               type   of
                       growth medium or cells used and the incubati o n                     will re mov e the gro sser parti c le s , l e aving the fin e r mate-
               conditions (e . g . , temperature, humidity, atmospher e, and                ri al to be removed sub seque ntly .
               duration) influence what bacteria, fungi, viruses, or           ame-                 Several att emp ts hav e been made to identify s urface
               bae can be isolated.   In addition, factors related to the sampled           concentration s of bi o lo gical materials that indicate un-
               environment, the microbial agents, and the methods of                        healthy conditions . No curr ently available guid e lines have
               sample collection and handling determine how repre se n-                    be e n generally a cc epte d due to th e larg e v a riabil i ty in sur -
               tative culture resultsare of the types and relative pr opor-                 face sampling r esults and po or c orre latio n s with inhala -
               tions  of microorganisms present on surfaces .                             ' E on exposure . In general, immediate mitigation is need ed
                                                                                           for microbial growth found on materials that are in direct
                     12.2 . 3 .2 Non-Culture Analyses The primary non-cul-                y co ntact with ind o or air or subj ec t t o di s turbance tha t mi ght
               ture analysis performed on surface samples is examination of                re le ase biological particles , as we ll as for materia ls that build-
               collected material by microscope [see 12 .13.21 .                           ing occupant s may contact              directly   [see   141.2 and 14.131 .
                                                                                                wever, info rmat ion on cau s e -effe ct relatio nships b e-
                                                                                          To
                                                                                          / h veen s urfa ce concentration s of biol ogi cal m a t e ri a ls and
               12.2.4 Interpreting Sampling Results
               Investigators need experience to interpret surface sampling                  illn ess is no t curr ently ava i l able . The r efor e, inv estigato rs
               r esults . The information expecte d from contact surface                    mus t consider surface s ampling data in conjun c ti o n w ith
               samples is often simple confirmation that the collected ma-                /all av ai lable medical and en viro nme nt al info rm a tion to
               terial is   biological in nature or that b i ological   growth c an be       decid e if the d a ta support the hy p othes es unde r evalu a ti on
              rul e d out. Fa ilure to detect a target mate rial does not neces-            an d if th e evide nce warrants a reco mme nd ation fo r so urce
              sarily me an it was not present, but simply          that the collec-        r emov al, c lea nin g, or r ep air .
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Chapter 15


Remediation Of Microbial Contamination

Richard J . Shaughnessy and Philip R. Morey

15 .1 Introduction
15 .2 Removing Existing Contamination
       15 .2 .1 Source Containment
      15 .2 . 2 L o cal Conta inm e nt
       15 .2 . 3 Fullsc al e Co ntainm e nt
                 15 . 2 . 3 . 1 Critical Barr ier
                 15 . 2 . 3. 2 Negative Pr e ssure
                 15 . 2 . 3.3 Decontaminat i on Unit
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             15 . 2 . 3.5 Area Cl eaning
             15 . 2 . 3 . 6 Unc ertainties
15 . 3 HVAC System Remediation
15 .4 Biocide Use
15 .5 Judging Remediation Effectiv ene ss
        15 . 5 . 1 Non - P oro u s and S emi -Po ro u s Material s
        15 .5 . 2 Porous Mat e rials
15 . 6 Precautions for Potential Exp osure to Infectio u s A g ent s
15 . 7 Procedure for Cleaning Cooling Towers and Related Equ ip m e nt
15 . 8 Long-Term Prevention Plan s
15 .9 Refere nc e s

15 . 1 Introduction                                                  15 .2 Removing Existing Contamination
Pre vention of microbial growth indoors i s only possible if         Grow th that has oc c urred in a surface l ay er o f condensa-
the factor s that may allow it are identified and controlled .       ti on o n painted wall s or non-porous s urfa ce s (including
When prevention has failed a nd visible microbial growth             woo d) can u s ually be removed by (a) vacuuming u s ing
has oc curred in a building , restorati on requires (a) removal      equipment with high- efficien c y filters or dir ect air exhaust
of porous materials showing extensive microbial growth,              to th e o utd oo r s, (b) wa s hing with a dilute solution of bio-
(b) physical removal of surfa ce microbial growth on n on-           cide and dete rgent , or ( c) cleaning, tho rough drying , and
por o u s materials to typical background levels, and                r epa inting . Poro us m a te rials that have s u s t a ined exten-
(c) reduction of moisture to levels that do not support mi-          sive microbial g rowth must ofte n be r e moved . Examples
crobial growth . Prev enting water intrusion during the              of p oro us material s are ceiling til es, ins t alled carpeting ,
remediation process is advised to prevent further micro-             uphols t ered furnis hings, and wallboard . Ex t ensive mi
bial growth . However, Foarde et al . ( 199 found that low-          c r o b ial growth refers not only to the extent of the area
ering indoor RH trigger e d spore release from fungal con-           a ffec te d but als o th e degree to which mi croorganisms
tamination on duct ma t erial . Therefore, remediators should        have d egraded a material for use as a fo o d s o urce . "Ex-
con s id er whether contaminated materials should be re-             tensive" visible fungal growth ha s b ee n defined a s s ur-
moved before measure s to thoroughly dry the environm ent            f ace are as greater than 3 m2 (32      ft2) (NYCDH, 1993, Health
are und ertaken . Id entifi catio n of the conditions that c on-     Canada, 1995 , ISIAQ , 1 996)
                                                                                              Carpeting and drap es that can be
tribut ed to microbial pro liferati on in a building is the most     re m o v ed for thorough cleaning and dryin g may be s al-
important   s t ep in re me diation . No effective control strat -   vagea bl e . V aluable books and pap ers c a n som e times b e
egy can b e implem e nted without a clear understanding of           resc ue d b y fumigation, follow e d by fr e eze -drying and
the ev e nts or building dynamics re s p o ns ible for microbi al    vacuum rem oval of r esi du a l p articl es .
growth [see 10 1] .
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  15-2                                                                                                           Bioaerosols: As s essment              and Control

         The remov a l and c le aning of contaminat e d                 materi-         nal or ar ea af fected . Su c h w o rk sho uld b e c o nd uct ed
  als
  als    mu st not b e unde rtaken without proper prec aution s,                        while build in gs a r e unocc upie d (NYCDH, 1 993, Weber and
l bec ause di sturban c e of c ontami nated ma terials c an re-                         M a- rin ez,1996) I nves tig at ors sho ul d dec i d e if uncontami-
   sult in bioa e ros ol release (Fianru gan, 1 992) . Dis turb a nce of                nated it ems in an area to be r e m e d i ate d should b e re-
   microbial gro wth in air -handling system s m a y lead to                            m o v ed to protec t the m during th e c l e anup process or i f
   the disse min a tion of bioaeros o ls throu ghout a building                         cov e ring the it e m s will provi d e enoug h pr o t e ctio n
   (Money and wil hams, 1 99 1 ) . Con centrati o ns of airb o rne s pores                     With appr op riate PPE , local maint enance perso n -
  indo ors during material disturban ce and remo val may                               net s hould b e ab le to r e me dia te visibly contaminate d ar-
   approac h level s characteri stic o f dusty a gri cul tural envi-                   eas o f l e s s th a n 3 m2 (NY C DH,1993) . H ow ever, many fac-
   ronments (Hunter et al., 1988 ; Rautiala et al, 1996) . Resulting                   t or s must be cons ide r e d in d ecid i n g what lev el of pr e-
  expo s ure s to biologi cal ag e nts may c o mpr o mi s e the                        cautio n i s appr o pria te and h ow co ntaminate d materi als
  health of remediation workers and buildin g oc cupants .                             s hould b e c o ntained a nd remo ved (IIC RC, 1995 ; ISIAQ, 1 996,
        Wh en visible contamination is extensi ve, co ntain-                           Morey and Ansari, 1996) . In g e n er al, the remo val and c on-
  ment procedures similar to tho s e u s ed to handle hazard-                          tainm ent precau tion s re quired f o r toxigenic fun gi s hould
  ous wa s tes (e . g . , asbestos) are required to safely remove                      be u sed fo r re m e diatin g any vi s ible fungal c ontami na-
  contaminated ma terial s (Morey, 1994) Remediators can con-                          tion be cause vi rtu a lly all fungi ca n caus e all er gy (in se n-
  sider u s ing the recommendations others have d e ve loped                           sit i ze d indi v idu a ls ) and many fungi pr o duce t o xin s
  to handle removal of materials visibly contaminated with                             (Mosey, 1996 , NYCDH, 1993) (Table 15 .1) .
  potentially toxigenic fungi (NYC DH, 1993 ; Money, 1992, 1994,
  1996 ; Health Canada, 1995; Money and Ansar i, 1996) R e com-                        15 . 2 . 1 Source Conta inment
  mended removal methods tak e into con si deration both                               Table 15 . 1 r efers to thre e         containment
                                                                                                                                        requirem e nts fo r
  the nature and extent of contamination , that i s, the par -                         varying de grees of cont a     minant     rem  o val. Source              con-
  ticular mic roorganisms present and the amount of mate-                              tainment may      b e as s imple a s plac in g a moldy ceilin g            tile

        TABLE 15. 1 . Guidance for Removing Visi ble Fungal Growth
        CAVEAT This table is presented as a genera l guide on ly Facto rs besides those            listed
                                                                                               may need to be considered when decidi n g what levels
                                           l
        of environmental and persona protection are appropriate during remediaUon activities         g        (e , the
                                                                                                             contaminating agent, the natu re of the
        contaminated material, and t he        location
                                               of t he si te requiring remediation) . Categorizing the extent of contamination requires professional


        Visible F u ngal                                     Recommendations to Preven t                                   Suggested M inimal P PE
        Growth"                                              Dust or S por e D ispersions



        M inimal              Source
                   containment :                                                                                           N-95 re spi rator, gl oves
                        material remova l with minimum
                       dispersa l o f dust and spores
        M oderate Loca l containment :                                                                                     N-95 respirator;6 eye prot ection,
                       enclosure and negative pressurization                                                               fu ll -body covering
                       to preve nt dispersion of dust and spores
        Extensive   Full contain m ent                                                                                     As above
                       critical ba rrie rs and n ega tive
                       pressu r izatio n to contai n dus t and
                       spores ; pe rso n nel trai ned to handle
                       hazardo u s wastes


        (a d ap t ed fro m NYCDH, 1 993; M ore y, 1 992, 1 994, 1996, Health   Canada, 1995, Money an d      Ansari , 199b)

              "Visible contamination" means that fungi are r eadily obse rvabl e on su rfaces . The presence of hyphae and mycelia o n or in materials,
              as seen by direct microscopic       examination, verifies     th at visi bl e contamination is o f fungal origin . [Categorization of the extent o f
              microbial contaminat ion and determi nation of th e required level of containmen t and appropriat e PPE involve professional judgement.]
                                                                                                                           purifying
              H igher levels o f respirato ry protectio n [e.g ., half- or fu ll - face respirators or fu l l-face powered air          respirat ors ( PAPRs) with
              HE PA cartridges]   may be   considered necessary for some       rernediation      work. Investigators should seek the opinions of occupational
              physicians, toxicologists, respirato ry p rotect ion experts, or h ealth and safety professionals to select appropriate P PE .
                           covering"
              "F u l l -body          is defined as the collective use o f full-body disposable coveralls, head covering, eye protection, gloves, and
              shoe covers
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  Fungi                                                                                                                                          19 -7


       19 .2 .2 .2 Hypersensitivity Pneumonitis HP may al so                    19 .3 Sample Collection
  result from e x p os ure to fungal antige n s . For HI' devel o p -           19.3.1 Sampling Strategies
  ment, it appears that heavy, continuous or rep e ated exp o-                 Visible fungal grow th on inte ri o r surfaces is      dear evidence
  sure to small fungal particles is essential . Ge netic facto r s             th a t fungihave c olo nize d an      environment . Although the
  that may co ntro l susceptibility are unknown [see also 3 3 .3               health    impacts   o f surface gro wth have no t b e en docu-
  and 8 2 1 . 3]                                                               mented , th e p o t e nti al exists for expo sure to fungal aller-
                                                                               gens, t oxic metab o li c pro du c ts, and mal odo ro us VOCs . In
  19.2.3 Toxic Effects                                                         mos t cases, th e di scove ry of vis ible fun g al growth war-
           19 .2.3 . 1 Mycotoxins Mycotoxins produce a variety o f             rant s arecommendation for          c leanup and id en tifi cation of
 health effe c ts via ingestion, skin contact, and inhalation                  th e underlying   r e a son for th e gro wth [se e  10 1
                                                                                                                                    an d i4121. In
 [se e   24 z l .   Depending on the kind of       mycotoxin    and     the     many cases, fur th e r air or s ource samplin g is not neces-
 nature of the exposure , effects may include mucous mem-                       s ary . Ho w eve r , investigators   may decide t o collect air or
 brane irritation, skin rashes , dizzin e s s, nau se a, inmluno-               so u rce sampl    es t o docum  e nt that fung al gr owth has oc-
 suppression , birth defects , and cancer . Nearly             all of   the     curr  ed or  t o reco  rd the kind s of fun g i that pr ed o minate .
 mycotoxin literature focuses on ingestion exposure, al-                        Th e mos t s uccess ful sampling strategie s are th ose fo rmu-
 though the role of inhaled mycotoxins in human disea s e                       late d to a nswe r specific que s tions .
 i s currently under scrutiny . In view of the potential sever-
 ity of resulting diseases, a conservative approach to limit-                   19.3.2 Source Sampling
 ingexposure to mycotoxins is recommend ed (see 24.61 .                        Investigators who susp ec t exposur e to specific allergens
                                                                               or toxins may collect s ource samples to evaluate the po s -
      19.2.3.2 Glucans Glucans compris e the bulk of the                        sible co ntributio ns of vis ibl e fun gi or fungi in dust to spe -
 cell walls of most fungi . Glucans have antitumor activity                     cifi c di sease pro ce sses [see Chapter i 2) . Source s ampling is
 and modulate the endotoxin-stimulated release of                               als o useful to docum e nt that di scoloration or d ep os its on
 cytokuies in Gram- negative bacteri al infections (William s                 surfaces actua lly repre sent either fungal growth or spore
 et a l., 1996) . Glucans have irritant effects similar to-al-
                                                                              14accumul a ti o n. Si mple tape sampling, with micro s copi c
 though less potent          than-tho se of endotoxin. Exposure to              analysis, will often confirm the presence of hyphae and
 glucan s in dus t has been asso ciated with BRSs    (Rylander et               spores as we ll a s allo w id e ntification of many kinds of
 al, 1 992 ; Rylander, 1995) . Whether the glucans, some other                  fungi . H o we ver, c ulture of surface or bulk samples may be
 fun gal agent, or other factors a ssociated with condition s                  necessa ry to all o w m icrosc opi c identification of some fungi
 leading to fungal growth actually mediated the effects re -                    (e . g ., s p ecies of As pergillu s or Penicillium) [ see 1941.
 main s to be inve stigated [see        24 7.21.                                         Bulk du s t sa mpl es are oft en cultured to e v aluate the
                                                                               kind s of fungi pres ent In addition, chemical analy s es
 19.2.4 Volatile Organic Compounds                                             (e .g , m e asur es o f e rgosterol or glucans) may be used to
Fungi produce VOCs while growing and degrading sub -                           estimate t o t al fungal biomass . Immunoass ay s for s pecific
s trate s [see 1 9 14] . Some of the se compound s have distinc-               fungal alle rgen s are also under developm e nt . Investiga-
tive odors and low odor thresholds, and many people find                       tions o ccas io nally r equire collection of bird, bat, or r odent
these VOCs offen sive or annoying [see 26.2.2 1] . Exposure                    droppings ; othe r animal d ebris; or soil sa mples for d e tec -
to such compounds may be respon s ible for some nonspe -                       tion of fungal saprob es that cau s e human infe c tions (Levitz,
c ifi c BRS s . However, the role of fungal VOCs in clinically                1991, LLenhart,   1994, APHA, 1995, ASM, 1995 ; Lenhart et al ., 1997)
evident disea s e ha s not be en studied [see 26.31.                          [see 19 2-11.


19.2.5 Beneficial Fungal Products                                              19.3.3 Air Sampling
Fungi ar e well- known as important food sources (e . g. ,                    ` Air s ampling fo r particles of fungal origin is c omplicated
mushro oms,           truffles,   morels, tempeh, soy sauce, yeast             ; by their divers ity in s ize, s hap e, density, and surface fea-
brea d, ch e ese, wine, and beer) . In addition, many of our                     tures-all o f which affec t particle behavior whil e airb orne
most effe ctive antibiotics (e . g ., penicillin, griseofulvin, and              and durin g collec tion . M ost commonly, airborne fungal
cephalo s porin) are produced by common fungi .                                  spor es ar e c oll ec t e d us in g impacti o n onto a gar or an ad-
Cyclosporin A , an immunosuppressive mycotoxin pro -                             he s iv e-co at ed transparent surface (spore trappin g ) (Sam-
du ced by the fungus To lypo cla cltum inflatum, is one of the                 ple r s 1 t o 7 a nd 10 and Samplers 16 to 20 in T abl e 11 . 1) .
drugs th a t make s organ transplants possible . In addition,                  Culture-ba sed analys is tend s to undere s timate actua l fun-
many anti-cancer agen ts a re products of fungal metabo-                       gal concentrations b ecause many spore s are eith er n ot liv-
lism . As mentioned in Section              19.2.3.2, fungal   glucans         ing or are unable t o grow on the cul t ure m e dium provided
show promise as a gents to minimize the effe cts of Grain-                     [ see 19.41 . Sp o r e trap pin g allow s accurate co unting of total
negative bacterial infections .                                                fungal spo res an d identificatio n of some sp o res, but many
                                                    W '
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                                                                        s t.. -




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    ,} n




                     19-8                                                                                                         B ioaeroso l s: A ssess m ent an d Control


I`C'I                s p o res c annot be id entifie d by mic r oscop e ( e . g. ,   Penicil-    assign many    fung i to the s p ecies l evel (e .g ., Epicocc um
                     hum     a ndAspergillus  spp . ) .                                          ni g rum, Paec ilo my ces                variotii,
                                                                                                                                     Pa ec ilo myces                                lilacinus,
                                                                                                 Sta chybo trys cha r t arum , Cladosp o rium spha e ro sp e rmum ,
                      19.3.4 Sample    Handling                                                  Pithomyces cha rtarum, Tri c ho d e rmn v iride, B o frytis                            cinerea,
                     Sampl es of living fungi must be handl ed carefully to pre-                 and sev eral Penicillium                  spp.).            Some Aspergillu s i s ol ates
                     serve viability if cultural analysis is t o be u s ed and to pr e-          can a sol     b  e  identifie        d t o   the  sp  e ci   e s leve l, and oth er s to the
                     vent growth before the s ampl es reach a laboratory. For                    group l      evel,    with       further        characte       rization purs ue d wh ere
                     mi cro s c o py or chemical analy s i s, it m ay be possible to             indica te     d  .  F or     ide   ntification,       fungi        must b e gr o wn under
                     treat sample s with a biocide or dry th em to kill the cell s or            ca re fu  l l y   contro       ll ed   co  ndition      s Identification
                                                                                                                                                           .                             of fun gal
                     prevent replication. Stored properly, tre a t ed s amples can               s p ecies ge       n er  ally      r e qui   res  s killful       u se    of    ahi   g h -p o wer,
                     be held indefinitely. Air and du st sampl es for immunoas-                  li g ht  microscope               and    hig   hly  s  pecific      trainin      g   and   e xperi-
                                                                                                                  h  experi        en  ce is   available         from      mycol     ogists   w o rk-
    r5               say s hould also be k e pt dry, but mu s t be analy z ed within             ence. Su c
                     approximately 48 hours or frozen if l o nger delays are nec-                in g in   academic            r esea   r c h  la bo ratories        and     others     who    have
                     essary. Inve s tigators should consult the my cologist who                  ob ta in ed s p      ec   i alize    d  trainin     g.
    ,, us .          will examine the samples about h ow to ship them (e . g. , the                    Yeas ts a r e often abundant in dust s amples but are u s u-
                     type of c ontainer to us e and whether to refri gerate samples              ally rep o rte d only as total c olo ny counts and are se ldom
                     or k eep them at room temperature). Samples to be culture d                 id entifi ed to genus o r sp ecies l evel . Unlike oth e r fungi, in
                     s hould r ea c h the laboratory within 24 hours of collectio n                            y
                                                                                                 cul ture, eas ts produ ce               bacteria-like             c olonies with few dis-
    I ~i';,III       and sh o uld be examined and pro cessed on the day re -                     tin guish     ing    features            Ph   ys iological        and bio chemi c al tes t s
                     ce ived t o minimi ze changes in the kind s and concentra -                 ar e re qu    ir ed   f o  r  ye     identification.
                                                                                                                                    ast                            Con     s equently, little is
                     ti ons of fungi or fungal products pr esent.                                know n abou           tw     hi   ch  ye  a s ts are     comm      o n  in                 ir
                                                                                                                                                                                indoo r env on-
                                                                                                 m e nts an     d   the   p   ote   ntial    health   effe     cts  of  aer    oso  l expo sure to
                                                                                                 them . On        e  exc    eptio     n  is  S p orobo   lomyces       sp   ., whi    ch has been
                     19 .4 Sample Analysis
                     The primary m e thods of environm e ntal sample analysis                    associ a ted      w   ith     h yp   erse   ns  itivity     disease        and   is  re adily r ec-
                     for fungi remain (a) is olation of fungi by laboratory cul -                ogni zed b y s       it      di  stinc   tive    colony         morpholo         g y  and by it s
                                                                                                                        f forcibly        dischar      ge    d  balli  s t oco   nidia    .
                     tur e, and (b) micro scopic examination of fungal cultur es                 p roductio n o
         IE          and individual fungal s pore s . Howe v er, other approa ches
                     a re al s o us ed (Table 19 . 4) (:vi adelin and Mad elin, 1995 ; AII-LA,        19 .4 .1 .1 Culture Media If investigators wi sh to c ompare
                     1996a,b ; Buttner et al , 1997) . In parti cular, analysis of bulk          th ei r sa mplin g results with an exis ting databa se, they
                     s ample s for ergosterol or glucan      concentration    as e s timate s    should a d o pt the s ame culture medium u se d in the stud-
                     o f t o tal fungal biomass are of increas ing interest [see 19 14           i es in th e d a taba se . E xcept wh en specific fun gi are of spe-
                     and 1 92.3 z ] . Immuno a ssays are under d evelopment for                  cial co n ce rn , c ulture media for fun gi from air or so urc e
              + .,   mea s urement of some spec ific fungal allergens . Sec-                     samp l es s h ould support a wide varie ty o f commo n ta x a .
                     tion 6 .3 . 1 briefly des crib es how laboratories pr oc e ss               Va ri o us fo rmul a ti on s of malt e xtrac t a gar (MEA) have a
                     samples and h ow c oncentrations of culturable fungi are                    l on g h is tory of use for air m o nitoring (sarnson et al , 1994,
                     c alc ul a ted for air and source sampl es . Table 19 .4 c om-              AI-LA,1996a) The sec ond fo rmulati on in Tabl e 19 . 5 is on e
           tf :~     pares a v ailabl e method s fo r identifying common fung i .                al so use d a s a di agnostic med i um to identify Aspergillus
            .~                                                                                   s pp . Thi s formulation w ork s w ell in most non-indu s trial
             e       19.4.1 Culture                                                              indoo r env ir o nm ents , prov ided rapid-growin g fungi, such
                     To tal ( non-d i ffere ntial ) fungal colony counts can provide             a s Rhi_>op us, Mu co r, Monilia, or Tric h odermn spp ., a re n ot
                     in ves ti ga to rs som e information for e valuating the micro-             abund a nt . If these fu ngi a r e pres ent in l ar ge numb ers, 2 %
                     bial s tatus o f an indoor or outdoor env i ronment. How-                   M E A (wi th o ut g lucose or pe pt o n e) or a m e dium s u c h a s
                     ever , it is essential that fungi be ide ntified if investi gators          DG-1 8 that co ntains gro wth inhibitors c an be used.
                     wish to compare bulk , surfac e, or air s amples from differ-                     T he addition to fungal culture m e dium o f co mp ounds
                     ent s ampling l ocati ons or times and to interpr et the poten-              t o suppress b ac te ri al gr o wth is ge n e rally nee de d only fo r
                     tial h ea lth ri s ks of th e fungi pre sent . A well-trained envi-          samples from ar eas wh e re ve ry hi g h co n centra ti ons of
                     ronmental mycologist may b e able to identify many fungi                    b acteria (> l OSC FCJ/ m 3) ar e expec te d (e .g ., agricultural ,
                     to th e genus l evel directly on a culture plate us ing a low-               me t al-wor kin g, or d o m es t ic was te- handlin g e n viron-
                     p ow er di ssecting micro scope . Chara c te ristics used for               ments) . Commo nly use d b acte ricid es are rose b e ngal an d
                     i d entificati o n inc lud e col o ny colo r, si ze , and t exture; th e     antibiotics (e .g ., chl orampheni col, p enicilli n , a nd s tr ep t o-
                     typ e o f spor e- b e arin g stru ctures prese nt ; and, in s o m e         mycin) . Rose be ngal beco mes fungicidal when expose d t o
                     cases, the a rrangeme nt of the s p o res on thes e structures .            lig ht and mus t b e kep t cove r e d as mu c h as possible du r-
                     A few fungi a r e s o distinctive th ey can be i dentified to               i ng sa m p l e co ll ectio n a nd in t h e la b o r atory .
                     g r oup o r e ven sp ecies le ve l by this simple me thod . For                   Cel l ulose agar h as b een use d to iso la te S . chartarum .
                     exa mple, a goo d e n viro nme ntal m yco logis t can r ea d ily            Th is fungus grows well o n ot he r media (e g, MEA s, aft er
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                 Fun gi                                                                                                                                       19-9


                                               growth
                 initial iso l a tio n ), but its     is slow and other fungi in         Fungi th at h ave not sp o rulate d in cultur e generally cann o t
                 environm ental sa mples may outcompete it. Howeve r , few               b e ide ntified. In so m e cases, th ese co lo nies are sterile
                                                                                                                                                       form s
                 fungi o th er than S .    chartarum are abl e to grow on wate r         of com mon fun gi, s u ch as species of      Cladosporium.
                                                                                                                                                  Although
                 agar   (2 0 g ag ar per L of water) overlaid with steril e filte r      an ex p erie nced myc ol ogis t c an pro visionally cl assify th ese
                 paper . Ther e fore, this or other formulatio ns in which c el-           fungi b ased o n colo ny morphology, such ide n tifica ti o n is
                 lulo s e is th e o nly carbon source (AIHa, 1 996a)  may be use-        never e ntirely reliabl e.  However,   most n on -sponilati ng fun g i
                 ful to isolate thi s fungus fro m environmental samples .               see n in th e labo ratory are types that a re unable to pr o duce
                                                                                         spores in culture. Many of thes e co loni es represent gr o wth
`                      19 .4 .1 .2 Incubation Conditions Culture plates are in-          from sexual spor es (ascos pore s and b asidiosp ores) o f fungi
                 cub a ted at r oom temperature (18 ° to 22 °C) for isolation of         that do no t p ro du ce asexual stages .
                 mos t fun gi . If only thermotolerant or thermophilic fungi
                 are of concern , plates can be incubated at temperatures up                     19 .4 .2 .2 Spore-Trap Air Samples M any kind s of indi -
                 to 45 °C . Some near - ultraviolet e xpo sure is necessary to           vidual fun gal s pores are identifiable-at leas t to g en eral
                 induce sporulation in many dark-spored fungi and can be                 catego ry-when ex ami ned at 10 00X ma gnificatio n . Ex=
                 provided by sunlight or by placing lamps designed for                   p eri e nced aer obiologis ts can identify some fungal genera
„_               illuminating ho use plants in an incubato r. Fungal cul -               and species fr o m micro sc opic examinatio n of s ingle spores
                 tures should be monitored daily, but typically colonies                 (e g., E . n igru m and S . chartarum) .   In oth e r cases, the genu s
                 cannot b e accurately counted or identified before at least             c an b e identified from a s po re, but n ot the species (e . g. ,
       -         five days of incubation . Plates should be disturbed as                 Alternaria     and CIadospo rium spp J . The spores of some gen-
                 little as pos sible during incubation be c ause spores are              er a ar e similar (e . g . , Aspergillus and  Penicillium   spp . ) , and
                 readily dislodged, and dislodged spores may form new                    cul ture is n eed ed to id e ntify these fun gi to the species lev el.
                 colonies, l eading to inaccurate counts .
                                                                                         19.4.3 Chemical Analyses
                 19. 4.2 Microscopy                                                      Althoug h culture and microscopy are s till the mos t com-
                 Mycologist s u s e dissecting and light microscopes to ex-              monly used methods for analyzin g s ample s for fungal
                 amine fungi from air and source samples . Both spe c ie s               content, ch e mic al analy s es for indic ato r s of fun gal pre s -

       ;
                 identification                                    spore-
                              of fungi in culture and examination of                     en ce a re of inc r ea s ing int eres t (e . g., assay s fo r ergos te rol
       _         trap
                 trap air samples should be performed by e xperienced my-                and glucans) (AIHA, 1996b,         Flannigan,   1997; Saraf et al,   19977)
^; .             cologi s tss familiar with environmental fungi .                        [see 6 7 and 24 7 3 ] . Requirements for air sa mple coll ec ti o n
                                                                                         for these assa y method s differ from th e r e quir e ment s for
                      19.4 . 2 .1 Examination of Fungal Structures M any com-            eithe r c ulture o r micro sc opy in nee ding muc h lar ger air
                 mon fungi can be identified to genus and sometimes t o                  volum es t o ove rcom e th e methods ' re l a tively low sen si -
                 species based on macroscopic colony morphology (e .g .,                 tivities . These me thod s may pr ove mos t useful in highly
       r color and texture) or spore-bearing structures viewed at                        contaminated environments , such as a gric ultural s ettings
               10- to 60x m agnification (Table 19 .2) . More exact identifi-            o r w as t ewate r treatment plants .
               cations can be made by examining stained wet mounts .
                          TABL E 19 . 4 . Re l ative U sefu lness of Avai lab le M ethod s fo r A nalysis of F u n gal Sam ples


                          Fungal Category                         M icroscopy Culture Ergosterol Glucan Immunoassay



                          Tota l fu ngi                                i +A             +  ++B  ++a  -
                          Altemana spp .                              +-r +             +   -  -   ++
                          Cladosporium spp .                          +-f r             ++  -  -  (++)
                          Stachybotrys chartarum                      i-F+              +   -    -  -
                          Penicillium and A spergllus spp .            +-r              ++   -   -  -
                          Peniallium viridicatum                                        +t   -   -  -
                          A spergi!!us fumigatus                                        ++             -         -         (++)
                          A spergilius niger                                            ++  -                         -               -
                          Chaetomrum globosum                         ++r               +  -                          -               -
                          Basidiospores                               +++



                          " most usefu l for ai r samples                              -    not       useful         ++     useful

                          a most usef u l for bul k samples                             + somewhat usefu l                  +++ very usefu l
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        19 -10                                                                                                B ioaerosols : Assessmen t and Control


        19.4.4 Immunoassays                                                     strengths and limitations of the available methods for en-
 ,t .
    j   Immun oass a ys are ava i lable for detecting a few fun gal             vironmentalsampling for fungi .
        allerge n s ( e .g ., mixtures of allergen s from AlE e rn a ria
        alterna ta , A . fumigate s, and C . h erbarum) (Homer et x1 .,1995)         19 .5 .1 .1 Health Implications of Fungi in Indoor Envi-
        and for a fe w mycotoxins (e. g ., aflat ox in and T-2 toxin) [see      ronments     A 1 992 workshop in the Netherlan d s le d to th e
        24 a2 and   25 41 None of the se assay s h as yet been use d            reco mme ndation that certain fun gi s ho ul d be co n s idered
        extensively in air qua li ty investigations. Large-volume               indic at o r or gan isms        that may s ignal   mo i sture presen ce o r
        a ir samples are required for immunoass a ys to overcom e               a p o t entia l fo r health pro blems if abov e a base l ine leve l (to
        the meth o d s' relatively low s ensitivity .                           be e s tabli s h e d ) in air o r s urface samples (Samso n e t al , t 99 4 ) .
                                                                                The followin g fungi were n amed as indic ator spec ies (an
        19 . 5 Data Interpretation                                              a s terisk i ndi c a tes tho se fun gi the autho rs conside red to b e
        Data from appropriately designed sampling studies                       impo rtant t oxige nic t ax a) : (a) mate rial s with a „, > 0 .90 to
        should allow investigators to           evaluate
                                         hypotheses regard-                     0 . 9 5 : A . fumigatu s and species of Trichoderma, Exophiala,
        ing possible exposure to fungal aerosols at a study site .              Sfachy bot rys *, Phialophora, Fusarium*, Llioctad ium, a nd yeasts
        Few health-based guidelines or standards are available to               (Rh odo t o rul a ) , (b) materials with a „, 0 . 85 to 0 . 90 :
        assist investigators in the interpretation of fungal aerosol            A . ver sicolo r " , and (c) materials with a, <_ 0.85: A ve rs ico lo r*,
        data, and only limited        exposure-dose
                                                 or dose-response               spe c i es o f Eurotium and Wallemia, and sp ecies of Penicil-
        data are available on which to base guidelines . Therefore,             hum ( e g ., Penicillium c hry soge num and P e nic itlium
        the interpretation of data on fungi in air and source                   aurmz tiogr iseu m ) .
        samples generally focuses on the fungal genera and               spe-
        ciesidentified,   comparisons among
                                         different environments,                        19 .5 .1 .2 Canadian Recommendations H ea lth Canada
        and the potential susceptibilities of exposed populations               ( 1 993,1995) h as re c ommended the foll o wing guid e lines for
        to various funga l agents .                                             rec ognizing and managing fungal c o nta min a tion in pub-
                                                                                li c buildin gs . Bird or bat droppings ma y c ontain patho-
        19.5. 1 Other Recommendations                                           geni c fun gi ( e . g ., C . neoformans and His to pla sma spp . ) and
        Various groups have offered guidance on the interpreta-                 toxigenic A . fumigatus. Appropria te a ction (d esc ribed in
        tion of environmental air and source samples for fungi .                the doc ume nt) should b e tak e n for the sa fe removal of
        These recommendations are meant to be applied by prop-                  m a t e ri als tha t may contain the se fun gi . The persis tent
        erly trained and experienced persons who understand the                 prese nce, de m o ns trat e d on repeate d samplin g, of toxigenic


        TABLE 19 .5 . Culture M edia for Fung i ( ingred ien ts per l iter of di stilled water)

        Category                                           M ediu m                                In gredie nt s


        Most saprobic f ungi"                              2% MEA                            20 g malt         extract
                                                                                             20 g agar

        Most saprobic    f ungiB                           MEA                               20 g mal t extrac t
                                                                                             20 g           dextrose
                                                                                               1      g peptone
                                                                                             1 5 g agar                               final pH 4 5-5.0


        Xerotolerant fungi (inc l uding fungi              DG - 18                          10 g glucose
         c ultured f rom sett led dust samples)            ai~ =0 .955          5   g     peptone
                                                                                             1    g KH ZPO,
                                                                                             0 .5 g M gSO, • 7HZ0
                                                                                             0 .1 g chloramphenicol
                                                                                           1 5 g agar
                                                                                          220 g glycerol
                                                                                             2 mg dich l oran                         final pH 5 6


        An tibacteria l                                    MEA   with:
         medium for fungi                                  chloramphenicol                    01      g/L                             final pH 5 6
                                                           rose Bengal, 35 mg/L
                                                           penicillin, 20 units/mL
                                                           or streptomycin 40 units/mL



t.                                                                  ant c Except for chl oramphenicol, add anti-bactena l agent after
        " environments in w h ich rapid-gro w ing f ungi are abun d
                                                                               l aving
        e environments in which rapid-growing fungi are not abundant autoc
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      Fungi                                                                                                                                     19-11

     fungi (e .g ., S .chartarum                                    Penicil-
                                   an d s p ec i es of Aspe rgillu s,             may be even l o w er than in na turally v entil a te db tuldings .
      hum,    and Fu sari u m) indicates th a t furth er inv es tigation          When win d ow s ar e closed or when sno w cov e r r educes
     and appr opri a t e action (describ e d in th e  document)       should      o utdoor sou rces o f fungi, indoor sour ces o f P enici llium
     b e tak en. The confirm e d pr ese n ce of one o r m o re fungal             sp p . and oth e r soi l fun gi m ay be m or e o b vio u s . While a
     s p e ci es see n as a s ign i fica nt p e r ce nta ge of an indoor                                                   in non-problem build-
                                                                                  d i vers it y of fungi i s us ually fo und
     samp le but not si milarly pre sent in concurrent outd oor                  ings, one      or two fun g al species may dominat e the indoo r
     s amples is considered evide n ce of a fungal amplifie r, and               a ir in buildings with p e r s is tent mo is ture p ro blems . The
     appropriate ac tion (de scrib ed in the document) s hould b e               presence o r dominance of to xig e ni c or all e rgenic s p ecies
     taken . Fungi in indoor air should be qualitatively           similar       i nd i cates a proble m that may ca u se det e ri orati o n o f the
     to and quantitativ ely    lower    than what is found in outd oor           qu ality o f th e ind oo r air .
     air, but factors such as sampling te chnique , season, and
     weather affe ct what fungi are i so l a te d from outdo or air .            19.5.2 Earlier ACGIH Recommendations
     Num eric criteria are sugge s te d for s ing le fungal s p ecies             Th e l as t A C GIH (1989) guid e lin e s s t a ted that the taxa of
     (other than Cladosp orium or Alternaria       spp.),  mixed speci es         fun g i i so l a t e d fr o m indo or and outdoor air should be
     reflective   of those typically found in o utdoor air, and fungi             s im i l ar a nd that the c o n c entrati o n of airb o rne fungi
     primarily from plants in summer.                                            s hou ld b e lower indoors than outdo o rs, the degr ee of
                                                                                 di ffer e nce varying with the type of buildin g ventilation .
             19.5 .1 .3 American Industrial Hygiene Association The              Thi s s ta t e m e nt is still corre ct, with the und e r s tand i n g
      AIHA (1 996a,b ) has offered guid elines for interpreting cul-             tha t in r egions with wint e r snow c ov e r , outdoor fungal
      ture results for air and source sa mpl es for fungi . These                a ir conce ntrations may b e lower than ind oor concentra-
     guidelines state that genera su ch as C(adosporfum, Alte rn a-              tions even in non-problem buildings It is as sumed that
     rta , and Epicocc um as well a s Ba sidiomyc e tes are pr ese nt            t h e sa m p l es u sed to make s uch compari so ns were col-
     in outdo o r air on a se a s onal basi s . However, in mechani -           l ec t ed a ppr o pri a tely and that the numb e rs of samples
     cally ventilated buildings with air filtration, the concen-                fo r th e i n do or and o utd oor locations are s uffi cient in
     trations of the s e typically outdoor fungi should be lower                numb er t o a llow m e anin gful comparis on .
     than concentrations mea s ured at the OAI. Dominance in                            Base d on the authors' experienc e when the 19 8 9
     ind oor ai r of fungal species not predominant in outdoor                  g u i d e l ines were written , they s tated th a t outdoor fun -
     air indi cates that the s e fung i are growing i n a buildin g             ga l ai r co n ce ntration s e xc eeding 1000 CFU / m3 were
     and that the air quality is degraded. The confirmed pres-                  r o uti ne a nd that concentrations n e ar 1 0 ,000 CFU / m 3
    ence of S . chartarum, A . ve rs i co lor, A . flavus, A. fumigatu s, or    w e r e no t un c omm on in s ummer month s . Except in  spe-
    Fusarium moniltforni e re quires that urgent ri sk management              cialized environments wh er e immunos uppre ss ed p e r-
    deci s i ons be made (references provided) "Confirmed pres-                sons a r e r o utinely, pre s ent, level s of any saprophytic
    ence" is defined as coloni es in several s amples, many c olo-             fun g u s b e l ow 100 CFU/m' were rep o rted as not of con-
    nies many sample , or, where a single c o lony was found in                ce rn . Co n ce ntrati o n data colle c t e d sin ce 1989 c o ntinue
    a s in gle sample , eviden ce of the growth of these fungi on              to support these statements about concentration ranges
    building m a terials by visual in sp ection or sour ce sam -               f or t o tal c ultur able or co untable fun g i . The earlie r au -
    plin g. The A11 1A guide states th a t certain pathogenic fun gi           tho r s also wrote th a t in buildings with m ech a nical ven -
    may be problems if present in indoor air (e . g . , A . fumigatus,         tila ti o n an d minim a l air filtration , indo o r fungal con-
    A . flav us, and other species that may cause aspergillo sis               ce ntr a tio ns typi c a lly ar e l ess th an half o f outdoor lev-
    a s we ll a s F. moniiiforme, H. capsulatum, and C. n eoforman s ) .       e ls . Curre ntly, it is under st oo d th a t co mparin g the ra-
    B ecause the latter two fungi are diffi cult to culture and are            tio of ind oo r and outd oo r fungal co n ce ntr a ti o ns re-
    se ld om d e te ctable in air samples , a default as sumption is           quires consideration of m a ny fa c t or s . The auth o r s neve r
    th at they may be pre sent in any bird or bat dropping s and               int e nd ed th e abov e statement s t o b e interpr e ted tha t
i   th at disinfe c tion and remo val of such material i s required .          ind oor fun g al air con c entration s of 50 CFU / m 3 ,
                                                                               50 0 CFU / m3 , or 50 00 CFU / m 3 wer e to be u se d as crite-
          19 .5 .1 .4International Society of Indoor Air Quality and ri a for jud ging indoor air quality in vari o us se ttings or
    Climate The International Society of Indoor Air Qual i ty di ffere nt seaso ns. The fo ll o win g secti on s s umm ari ze
    and Climate (ISIAQ) ( 1 996) has proposed guidelines for ACGIH 's c urre nt reco mmendation s fo r ev a lu a tin g fun gi
    interpreting environme ntaIsamplesforfungi. These guide-          in ind oo r e n vi ronments [ see also C hap ters 1 and l a d
    lines s tat e that in naturally ventilated, non-problem build-
    in gs, the rel a tive abundan ce of different fungi in indoor              19.5.3 Current ACGIH Recommendations
    air tend s to follow the pattern found in outdoor air, al -   R a ther than foc using on sp ecific kind s of fun gi or on quan-
    tho u gh the numbers are usually smalle r .         When
                                                       air-con -               titative
                                                                             measur e s o f fungal prevale n ce, the             ap - ACGIH
    d i tioningor mechanical ventilation withfiltration is used,  p roac h has b een t o e mphasiz e that active fun gal growth
    indo or fung al concentrations in non-problem build in gs ` ~ in i n d oo r enviro nments is i na ppro p riate and m ay lea d to
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   19-12                                                                                             Bio a ero s ol s : Ass e ss ment and Control


P ex posure and adve r se h ealth e ffec t s . Evid ence that a ctiv e        N ote th a t exp osu re to fun gi active l y gro wing indo ors may
t- growth is   occurring   is mo st often sensory (vis ual identifi-         prese nt unusual he alth ris ks ev en w hen to tal          fungal con-
   cation or od o r p er ception) confirme d by judicious s ource             centrations       ar e highe r outd oors . If th e vari abili ty of th e
   sampling. If air   sampling    i s to b e us ed , ACGIH guidance                          (which
                                                                             d at a i s hi g h                             may be
                                                                                                          i s comm o n) , it          diffi cult t oes-
   has empha s ize d the importance of w e ll-designed sam -                 tablish    th a t two l oc atio n s diffe r with res pec t to c oncentra -
   pling protoco ls and reliance on carefull y collected basel ine           tions o f airbo rn e fun gi [ see 1x232 ] .
   data for compari s on . Following i s a s ummary of guide-                       The s p ecies of fungi found in ind oor and o utdoor            air
   lines for a s sess ing fungal proble m s in    non-industrial in-         typically a re simil a r if outdoor air i s the prim a ry source
  door environments :                                                        for th e fung i in indoo r       air   Surge et a1, 1 977, Strachan et al ,
         1.    The presenc e of vis ible fungal gr o wth confirmed           199 0 , Targonski et   al ,   1995 , AAAAI, 1996, Delfino et al , 1996,

               by sourc e sampling in occupied indoor environ-                N eas et at, 1996) . C ompariso ns of th e sp eci es compo s iti on s
               ments is stro ng evidence that expo s ure may oc-              of indoor and outdo or p opulations require s a ccurate iden -
               cur . The condition s leading to such growth                   tificati on of fun gal spe cies, not simply ide ntificati on to th e
               should be corrected and the growth removed,                    genu s leve l . F o r e xample , a rep ort stating that Cladosp a
               u sing a ppropriate pr ec autions .                            rium spp . predo minat ed in b o th indo or and o utdoor a ir
     - 2.      The presence of moldy odo rs in occupied indoor               s ampl es m ay le ad inve s ti ga tors to con clude that the in -
               environments is strong evidenc e that fungal                  do o r envir o nm ent did not present a partic ular pr o blem .
               growth is o ccurring . Su ch growth should be                 In fact, C . h erbar u m m a y h ave be en dominant outdoo r s
               loc ated and confirmed by s ource s ampling . The             and C. sphae rospermum d ominant indoors; the former aris-
               conditi on s leading to the growth s hould be cor-            ing fr om o utd oo r so ur ces and the latter rel e a se d from ar-
              rec ted and the growth removed, u s ing appro-                 eas of indoo r growth . How e ve r, witho ut identific ation of
              priate precaution s .                                          the fun gal i so l a tes to the sp eci es level, this p ossible cause
        3.    The pers istent pres ence o f water in indoor envi-            of occ up a n t co mpla ints would be mi ssed .
              ronments (except in places designed for the car-
              riage  or storage of water)    is likely to lead to fun -            19 .5 .3.2 Indicator Species Fungi who se pre s ence in-
              gal growth .   The conditions      allowing such wa-          di cate excessive m ois tur e o r a health hazard have b ee n
              ter to accumulate     should be corrected .                   terme d indic at or o rga nis m s . Interpreting the pres ence or
        4.    The pr esence of accumulation s of organ ic debris ,          ab se n ce of a n indi c at o r sp ec i es (e g , a rec o gnize d toxi-
              e specially bird or  animal  droppings, is presump-           geni c fung u s th a t i s unc ommo n in outd oor air) requires
              tiv e evid e nce of the pr esence of fungal contanv -         the ability t o identify fun gi to the spe ci es level and a kn owl -
              nation.   The   conditio ns allowing the accumula-            edge of the prevalence of various fun gal s pe cies in indoo r
              tion of suc h   debris should be co rrected and the           and outd oor e nvironm e nts . The mere pre se nce o f a few
              debris remove d, using appropriate precautions.               CFUs o r s pore s o f an indicator spe cies should b e int er-
       5.     Interpretation of source or air sampling data in              preted with c auti on . Identification of the pr esenc e of a
              the absence of any of th e above conditions re-               particular fun gus in an indoor enviro nment d oes n ot a l-
              quires a s uffi cient number of samples (includ -             low inv es tigators to con c lud e that buildin g o ccupants are
              in g contr ols) to e nsure that results are not due to        e xpo sed to antigen ic or toxic a gents . Inve s tigat o rs sho uld
              rand o m chance . If     these
                                           data requirements       are      al s o r ec ogniz e that fungi nam e d as indi cator species are
              m e t, an inves tig ator may consider sampling re -           not the onl y fungi of s i gnific anc e . Many fungi o ther than
              sult s in light of the following di scu ss ions .             those sp ecifically liste d by vario us group s may cause prob-
                                                                            lems fo r building o cc upant s exp osed through inhalation
          19.5 .3 .1 Indoor/Outdoor Relationships Indoor/out- ~             of fun g al a e r oso l s o r via o th er co nta c t .
 door relationship s are ass ess ed b o th by comparing con -
 centrations and species composition o f comparably col-                         19.5 .3 .3 Potentially Pathogenic Fungi Som e fungal
 le cted samples . In non-probl em environments, the con-                p  a thoge n s s ho uld be a ss um e d to b e prese nt wh en materi-
 c entratio n of fungi in indoor air typically is similar to or          als kn o wn to s upp ort th eir gro wth are fo und ( e . g .,
 low er than th e concentration seen outdoors, except when               H. caps ula tum and C . neafo rmans in bird and bat droppings )
 outdoor air concentration s are near z ero (e . g ., during peri-        [see 1 92 .1 ] . Removal o f such m a t e rials sho uld b e conduc t ed
 ods of snow cover) . If fungal c on ce ntrations indoors are            as if they cont ained pathoge nic fungi . Disturbance of so il
 c o n s istently h ig her than thos e outdoors, then indoor             or othe r material th a t m ay co nt ain fungal pa th ogen s (e. g ,
 so urces are indic at e d . Howeve r, indoor fungal growth              compos t co ntaining Aspergillus spp or so il c o nt ainin g
 may also b e present in situati o ns where indoor concentra-            H. capsulatum, B . dermatitidis, o r C immttis ) s h ould be con-
 tions of airbo rne fungi are equal to or low e r than those             ducted with cons id e ratio n th a t occup ants of n e i ghb o rin g
 o utd oors, and i nte rpr e t a tion o f d a t a d ep end s on a knowl- buildin gs may be expose d i f ai rb orn e fu ngal sp or es ente r
 edge of the kinds o f fun gi pr esent in the two environments .         th e b uil d in gs
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                                                                                                 m M+-r




American Industrial Hygiene Association
2700 Prosperity Ave ., Suite 250, Fairfax, VA 22031
phone : (703) 849-8888; fax : (703) 207-3561
e- mall: infonet@aiha,ora ; Internet: www .aiha .ora




                                                           _~
                                                         -         -               - ;~--------- -T s .
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                                                                                            Introduction
                                                                                                 Mo ld is i n the news . P eop le       are talking about
                                                                                            its    potential
                                                                                                          h eal th and econo m ic        impact. B u t
                                                                                            what      are the real risks and issues
                                                                                                                                  >

                                                                                                 The availab le science is incompl ete and
                                                                                            sometimes controve rsial . Although the re          are sev-
                 This brochure is a joint effort by the
                                                                                            eralguid ance documents available, there is no
                                                                                            acce pted natio nal      standard .
                                                                                                                          Validated methods t o
                following AIHA technical                 committees:                        measure co ntamination         are still
                                                                                                                              in th eir i nfancy,
                                                                                            and eve n when measuremen t techniques a re avail -
                     Biosafety and           Environmental                                  able, there are no clear benchmarks or standard
                                  Microbiology                                              values to  compare the result s against S imila r sci-
                                                                                            entific uncertainties exist in th e m edical d iagnosis
                                                                                            of some mold-rela t e d he alth effe cts .
                     Environmental Microbiology
                                                                                                   The   scientific complexities      a lone would be a
               Laboratory Accreditation                    (EMLAC)                          h uge cha lle nge, but the truth i s that o t her    difficul-
                                                                                            ties dwarf       them . The incense p ublic and med ia
              Indoor Environmental Quality (IEQ                                )            a tten tion o n this topic oft en creates em otionally
                                                                                            charged       circu mstances  that   make scient ific judg-
                                                                                            ment     and reasone d dialogue diffic ul t. In so me
                                                                                            ins t ances,  building    owners tend to igno re or      dis-
                                                                                            miss    p otentially se rious p rob l ems . In othe r
                                                                                            instances,    building    occ up ants or pu blic offici als
                                                                                            can reac t wi th excessive ala rm      to        iv poten-
                                                                                                                                        p e rce e d
                                                                                            tial  th r eats,  complicating   th e scientifi c component
                                                                                            of the evaluation an d mak ing ris k c o mmun ication
^J~                                                                                         ver ydifficult .
                                                                                                While experts an d practition e r s disagree on
                                                                                            whic h trend i s o f more concern, it is clear that
                                                                                            both are rea l and si zable. Th e biggest obstacle ,
                                                                                            h owever, is the amo u nt of m oney that can b e
                                     VV//i                                                 i nvolved     in
                                                                                                         th ese dis p utes . As a res ult, the issue is
                                                                                           inc reasingly clouded by the a crimony a nd distort-
                                     AIHP.                                                  ed p artisans hip of mus hrooming lia b ility ba ttl es
                            Your Essential Connection                                       i n the   legal
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                                                                                            clai m to b e a    definitive or
                                                                                                                           comprehensive        position
                                                                                                                      it
                                                                                            s t ateme n t . B ecause i s not comp reh ensive, it

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 The Facts About Mold :                                                                    p
                                                                        P rofessionals ex erie n ced with mold issues
                                                                  and familiar with    currentguidelines mus t cond uct
 For the Professional                                             any sampling I f samp les          are
                                                                                                   tak en , regardless of
                                                                  the purpose, the results s h ould help answer a clear
    H o w should a         building b e evaluated for             question .  Sampling without a specific p urpose
mold growth? Check           building m aterials and              greatly increases the chances of gen erating usel ess
sp aces   for visiblemo ld an d signs of mois tu re               data . Note that laboratories vary in experience
da mage indicating a      history of wate r leaks , h igh         and proficiency; using an Al" EMLAP-
humidity   level s, an d /o r con densa tion Any occu-            accredited lab is recommended . A listing of
pant complaint s     or reported health p rob l ems               accredited labs can be found at .z w v aih a .org/
sho ul d be n oted as we ll as any musty o r m oldy               Labo z atorySernces /html /Lstshtm .
odors.                                                                 Why is there c o ntroversy about the health
      C o mp one n ts of the buildi n g 's ventilatio n sys-      effec t s of exp osure to mold           growth?
                                                                                                                N ot all
t e m s h ould also b e inspected . A moisture me t er is         health effects of mo lds are controver sial Fungal
often helpful in identifying wet        ordamp building           infections   axewe ll known . Fungal allergi es        are
materials. If mo ld growth o r moisture problems                  also well known an d accepted amo ng me dical
are                 ir
     foun d, th e a p ressure differentials b etween              experts, al though the alle rgens themselves are
th e a r e a of growth and surrou nd ing       areasshou ld       poorly characterized I nfections and           allergies
                                                                                                                       have
be dete rmined .    Potential airp athways fro m the              objective  and well-es tab lished clinical effects .
sourc e s h ould also be   characterized   t o det e rmine        These effects can be measure d an d rep roduc ib ly
its impa ct on the buil ding a nd its occupants.                  dem onstrated, and the mechani sm s           are
                                                                                                               fully
                                                                  understood T he heal th effects cause d b y con-
        When is sampling necessary in a building
                                                                  suming moldy food o r feed that conta i ns myco-
eva luation?    Sampling       may not b e necessary. If
visible    m old is p rese nt, then it should be     remedi-      toxin sare   also well known . Regard less of these

ated,    regardless of wha t   species are   pr esen t and        controversies,   mold growth in the buil t          environ-
whether sam p les are t ake n. In s pecific i n s tan ces,        ment    is unaccepta ble fro m the p ersp ectives of
                                                                  p otential adve rse hea lth effec ts and b uildi ng per -
s uch as cases wh e re he alth co n ce rn s    are  an i ss ue,
                                                                  fo r mance
li tiga tion is invo lv ed , o r the source(s) o f c o n tanv-
n ation i s uncl ear, samp ling may be considered as                    Othe r heal th effects have b een pro p ose d fo r
        building evaluation . Sampling
part of a                                          is nee ded     mol d metabolites that       areir ri tants or mycotoxins,
in                  visible
    s ituations w h ere            mold is p resent and           a n d p lausible mechanisms        exist fo r h ealth effects
there is a n eed to have the        mold ide n tifie d .          due to these mo ld metabolites .           However,  th e  clin-
   If m old i s suspec ted, b ut not vi sibly de t ecta -         ical relevance  of these mycotoxins and ir ri tan ts
ble after an in sp ection, th e n sampling may reveal             under realistic  airborne exposure leve ls is not fully

evide nce of mold am plification or          reservoirs           established   Fur ther , supporting       evide nce fo r

indoors. If     mold is being r emoved and the re is a            o th er health effec ts is b ased on case studies rat her
                                                                  than controlle d studies, nonrep roduced s tudies, o r
question abou t h ow      far the colonization ex tends,
                                                                  subjective sympto m s.
the n sur fa c e o r bulk  samplingin comb i n ation with
mois tur e re a dings may b e use ful . Sampling for  ai r-            Case studies do indicate the possibility or
borne m old spores can indicate whethe r the mix                  plausibility o f an effect. Unfortunately, such stud-
of    indoor molds is "typical" of th e outdoo r mix              ies canno t address whether an effec t is comm on
or, conversely, " atypical"    orunusual a[ that time.            or widespread among building occupan t s . Results
                                                                  from n onreproduced studies may be false o r are
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Guidance for Clinicians on
the Recognition and
Management of Health
Effects Related to Mold
Exposure and Moisture
Indoors




Eileen Storey MD MPH
Kenneth H . Dangman MD PhD MPH
Paula Schenck MPH
Robert L . DeBernardo MD MPH
Chin S . Yang PhD
Anne Bracker CIH MPH
Michael J . Hodgson MD MPH

University of Connecticut Health Center
Division of Occupational and Environmental Medicine
Center for Indoor Environments and Health
263 Farmington Avenue
Farmington, CT 06030-6210
                                                         EXHIBIT
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                         3. About                    Fungus and Mold




             appreciation of fungi
Aa nn d their ecological
          role will help the
healthcare provider guide
patients who express concern
over indoor mold .' This
section briefly identifies
fac tors about fungi that p ro-
viders shoul d find helpful in
understanding the role mold
exposure may or may not have
in patients' symptoms and in
interpreting environmental
reports.'
                                     Mushrooms produced on ha rdwood floo r wh e re there has been long- ter m water
      Many atopic patients           incursion (Unknown or a nonym o u s auth o r i mage c o u rtesy of D r Chi n S Yan g o f P&K
experience allergic symptoms         Microbiology Services)

related to   molds commonly
encountered outdoors . The presence of mold spores in the indoor environment is not in itself a
problem when the source is the no rm al interchange of outside air and the amount and types of
s p ores inside are the same or less than outside . However, mold actively growing on an indoor
su bstrate may affect the quality of the env ironment by degrading the surrounding materials (weak-
ening the struc t ure) and, more important, by potentially adding unhealthy chemicals and
bioaerosols to the in d oor air. Higher leve l s of mol d spores insi d e than outside or the presence of
different species inside than outside reflec t this "amplification" ofmold . The next section dis-
cusses health effects that may be associated with fungi in the indoor environment .



      Throughout this guidance, the term "mold" is spell e d a cc ordi n g      to American usag e . Th e a l tern a tive
spelling "mould " is al so comm only u s ed in l iterature

     I Tw o helpful reference s used throughout this summary are ch ap te r 19 o f the Am er ica n C o nfer e n ce o f
Governm e ntal Industrial H ygienis ts referen c e Bio ae rosols. A ssess m ent and Co ntro l (B urge a nd Otten ] 999) and
the subchapter on b io logical contamination in the Ency cl opedia of Occup atio n al Health an d Safe ty (F lanni gan
1 998) .



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Fungi Classification                                 Mold actively growing on an
    Mycologists classify fungi by their pre-
sumed evolutionary biological relationships .       indoor substrate-resulting in
The three most common groups of fungi are
Zygomycetes, Ascomycetes, and Basidi-               indoor       amplification-may     affect
omycetes . Although all can contaminate build-
ings, the most common fungi that colonize           the quality of the environment by
building materials belong to the Ascomycetes
group (Burge 1997) . In chapter 19 of
                                                    degrading the surrounding
Bioaerosol . Assessment and Control (Macher
                                                    materials, weakening the
1999), Burge and Otten discuss fungi as a
"kingdom of eukaryotic organisms, without           structure, and, more important, by
chlorophyll, that have cells bound by rigid walls
usually formed of chitin and glucans ." They        potentially adding unhealthy
further discuss that the term "mold" is an
artificial grouping similar to the term "weed"      fungal products and            bioaerosols
used by gardeners . It has no taxonomic signifi-
cance . Mold generally refers to a visible colony   to the indoor air.
of fungi growing in an indoor environment .
"M i ldew" i s a layperson's term referring to
mold growing in and on substances such as fabrics and wood . This section presents a brief discus-
sion of the morphology and ecology of fung u s in the indoor environment .



Ecology and Structure
    Fungi are ubiquitous in the natural environment . They share characteristics of both plants and
animals and are classifie d in a unique k i ngdom . Fungi can be saprophytic, parasitic, or symbiotic .
M ost fungi are saprophytes, and saprophytic f ungi thrive by first exuding enzymes and acids tha t
act on surrounding dead and decaying materials and then by absorbing nutrition from the break-
down, fulfil l ing a critical ecological role by degrading waste material .

    Fungi exist in many forms : single-celled yeasts, microscopic filaments (termed hyphae), large
visible mats of mycelium (an aggregate of hyphae), and visible spore-producing fruiting bodies
known as basidiomycetes, which include common mushrooms . Different fungi are associated with
different health effects, and specific components of fungi (such as glucans in the cell walls) or
forms of the fungi (spores) are thought to be agents associated with illness .

Other Microbial Agents        Indoors
    It is important to note that bacteria also grow on building materials and are likely contributors
with fungi of bioaerosols to the indoor environment . In a water-damaged environment, environ-
mental bacteria such as gram-negatives and actinomycetes may amplify along with molds . The
growth of environmental bacteria may also produce a variety of byproducts, such as endotoxins
and bacterial volatile organic compounds (VOCs) . Some bacterial species, e .g ., Pseudomonas

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aeruginosa, may cause opportunistic infections .
The response to water damage by gram-
negative bacteria is very rapid . In contrast,
amplification of actinomycetes is often due to
long-term or chronic water d amage . Peltola
reports that gram positive bacteria species were
isolated with a toxigenic fungal species from a
home where the occupant experienced substan-
tial symptoms and the bacterial species have
been shown to produce toxic metabo l ites
(Peltola et al . 2001) .


                                                     Photomicrog rap h of Beauvarra bassiana, which is re latively
Nutrition and Growth                                 common indoors A natural insect parasite, Beauvariabassia na
    The type and characteristic/life stage of        has been s tudied as a b io con tro l age n t of i n s ec ts It can becom e
                                                     a significa nt i ss ue in d oors because of m oi sture prob lems lead ing
fungi in the environme nt is influenced by           to inse c t amplifi ca ti on and , h ence, g rowth of t h e fungus on
moisture, nutrition, light, oxygen, and tempera-     inse cts, b ot h aliv e an d dead (im age co urt e sy of or D e-we i Li o f

ture . I n some species, l ight facilitates          P&K M icrob i olog y Servi ces)
                                                 sporula-
tion more    than mycel i al growth. Fungi will
grow anywhere indoors and outdoors over a broad temperature range where there is sufficient
moisture and a nutrient source . Most fungi prefer a temperature of 15°C-30°C (59°F-86°F), but
there are varieties that wil l grow below or above these temperatures . For example, thermophiles
have optimal growth from 35°C -50°C (95°F -122°F) .

    Fungi can use dirt, dust, wood, paper, paint, insulation, or other common materials for nutri-
tion . This means mold can be established in upholstery, carpet, wall board, ceiling tiles, and even
in dirt on glass . Because they are involved in the decaying process, their source of nutrient is
almost any organic material, and specific species may have preferences . Stachybotrys prefers
cellulose and grows exceptionally well on wallpaper or the paper and gypsum of wallboard .
Because of these growth preferences, cultures from interior room surfaces or air do not necessar-
ily represent the true distribution of mold in the indoor environment . When conditions are appro-
priate, fungi may produce secondary metabolites that may be toxic to humans and animals or
other organisms .

    In most indoor environments, the availabi lity of moisture becomes the limiting factor to
amplification or growth of mold . Moisture must be continually present for a colony to grow .
Extensive growth has most often been associate d with the presence of water in materials or
condensation from high humidity, but the environment does not have to be "wet" to support mold
associated with health problems . D ampness, which is noted only by minor moisture/condensate, is
adequate for some mold, including species of Aspergillus and Penicillium, molds that are thought
to be a problem to the health of some building occupants . Other, more hydrophilic, molds
(Stachybotrys, Fusarium, and Acremonium) grow in higher moisture content . Moisture is referred
to by mycologists in terms of water activity, i .e . the measure of water within a substrate that an

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organism can use to support its growth . Optimal water activity varies according to mold species .
Wall relative humidity (because it reflects water activity in the substrate) has been shown to be a
better indicator of Stachybotrus chartarum that relative humidity (Boutin-Forzano et al . 2004) .



Reproduction and Dispersal
     Fungi reproduce by sexual (via meiosis) or asexual (via mitosis) means in the form of spores
Fungi normally reproduce by mitosis an d cell division, growing colonies . Most fungi survive
undesirable condit i ons and disperse into the environment in spore forms . Individual spores are
disperse d and    then
                     pro duce co mplete final organisms in response to appropriate rowth condi-
tions . Some spores are slimy and (mo re) easily stick to substrates, while others are powdery
(dry`errand more easly aerosolized . Most spores are respirable (2- 1 0 mm), but some spores can
              e
weifiexceedY spiiable size (l00 mm) . In   emth e outside environment, mold,spores are dispersed
naturally in a diurnal and seasona l  pattern. Without an    indoor,source, indoor air,is often reflective
of outdoor air ( Bui~ge eY al. 2000) . This diurna l pattern adds to the variability a_nd difficul i~n,~
interpreting indoor      air
                         mold sampling r esults . hen sources of mold are from the indoor environ-
      i                                p
ment, t is unclear hoWspores, are di ersed. Although som e spores may be rel ease d by colonies
and carried  by norma l air currents similar t o what happens in the, outdoor    environment, human
activities inside may disperse mold spores . Reservoirs of mold      spores in  carpet, walls, ceilings, or
furniture  may very well be dispe"rsed by any,acti    vity such  as vacuuming,  walking,  sitting down on
upholstered furniture (Chao et al. 2003), or o th er disturbances to the building materials: ~°'



Fungal P r odu cts
    Mold products include compounds that are common to all molds, such as glucans, a major
structural component, and ergosterol . These can be measured to estimate total mold burden in an
environment . Molds secrete enzymes that degrade nutrient-containing substrates on which molds
grow. Products of this metabolic activity may be absorbed by the mold organisms or remain in the
environment . Byproducts of this metabolism are carbon dioxide, water and ethanol or lactic acid,
and sometimesVOCs . The VOCs may include alcohols, esters, aldehydes, hydrocarbons, and
aromatic compounds . Some fungi produce secondary metabolites . These VOCs and secondary
metabolites may be responsible for the characteristic "musty" odors in buildings where molds
grow .

    Fungal metabolic byproducts may have toxic, allergenic, or immunologic effects . Although
their role in fungal ecology is unclear, some of these substances have had specific effects on
humans (Etze12003a) . For example, fungal metabolites include important antibiotics (e .g ., penicil-
lin), potent toxins (e .g ., aflatoxin) and psychoactive compounds (e .g ., psilocybin) (Burge 1992) .
For specific fungal species, toxic metabolites may provide the organism with a competitive advan-
tage over other species . There are hundreds of known mycotoxins, in a large variety of structural
types, with different biological properties (Norred and Riley 2001) . Some of these metabolites are
produced by a number of unrelated species, and others are very specific . If an individual becomes
allergic to a structural component or metabolite that is found across species, he or she will react

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a llergically to a number of different molds . Fungi produce non-volatile mycotoxins that can injure
or cause the death of eucaryotic cells . Most mycotoxins are heterocyclic organic molecules,
generally having molecular weights of 300-750 daltons . Animal studies have confirmed teratoge-
nic, carcinogenic, immune-suppressive, and other associations with a variety of mycotoxins
( Robbins et al . 2000) . Although they are not usually volatile by themselves, mycotoxins may
readily enter the air in spores and fungal fragments when the substrate is disturbed . For example,
children may become exposed when playing on mold-contaminated carpet .



Sp eci f ic M ol d s
    Appendix A presents brief descriptions of a selected list of fungal species commonly found in
the indoor environment and whose exposures may be of concern to your patients' health . They
include Aspergillus spp ., Alternaria spp., Acremonium spp ., Cladosporium spp ., Dreschslera
spp ., Epicoccum spp ., Penicillium spp ., Stachybotrys spp ., and Trichoderma spp. (Assouline-
Dayan et al . 2002) . Because patients may have concerns over mycotoxins in general, some species
that are not commonly found in the indoor air environment, but have been shown to produce
toxins, are also listed in the appendix . However, this list is not designed to cover all fungi . If
interested in more information on fungi, clinicians should consult a competent mycologist or these
suggested references from t he mycological l iterature :

    ∎   Introduction to Food- and Airborne       Fungi Sixth Edition, 2000 ; Samson, Hoekstra,
        Firsvad, and Fi l tenborg ; The Netherlan d s .

    ∎   Microorganisms in Home and In d oor Work Environments : Diversity, Health I mpacts,
        Investigation and Control, 2001 ; Ed : Flannigan, Samson and Miller ; Taylor & Francis ;
        London and New York.

    ∎   The Fifth Kingdom on CD-ROM . Version             2.5,2001 ; Kendrick ;   Mycologue Publ, Sidney .


    ∎   Fungal contamination as a major contributor of sick building syndrome in Sick Building
        Syndrome ; 2004 ; Li, Yang ; Academic Press, San Diego .




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                 6. Environmental Assessment




              en exposure t o
            mold plays a role in
             the patient's health,
co n sideration ofthe environ-
ment becomes a key element in
unde rstanding an d treating the
patient's illness .

    This chap t er gives practi-
tioners an abridged version of
the principles that un derlie a
professional environmental
assessment so they can ( 1 )
better evaluate patient i nfor-
mation about their environ-
ments and (2) use environmen-        Fruiting bodies of a Peztza sp in a r o om       with
                                                                                         chro ni c water damage . Peziza sp. is an
                                     ascomycete (prod ucing sexua l asc o s p o r es i n a st ru ctu re called t h e as c us) a n d is a ls o
tal assessment as a tool to          known as one of the cup       fungi
                                                                    I t is o ccasionally fo u nd on c hro nical l y wet or      water-
                        illnesses  damaged wood
                                     damaged wood products (such a s ply wo o d          subfloor) Peziza   can be identifi e d o n l y
                                                fruiting
                                     when the sexual         body is p res ent I n cu l tu r e , itsv e getativ e state is n amed
a n d to treat individual patients   Chromelosponum sp (Unknown or anon ym ou s a u th or, im age c ourtesy of D r Chin S

presenting with symptoms and         Yang of P&K Microb iology       Services)
illnesses exacerbated by mol d in their environment .

    Resources to initiate a professional assessment are most often absent or at best limited . Con-
sequently, when exposure to mold indoors is potentially associated with symptoms, the healthcare
provider may choose to give the patient a home checklist (Table C) and a list of references (Table
E) as guidance on how to minimize mold growth in his or her environment, without initiating
elaborate environmental assessments to confirm the presence of mold .

    The reader is referred to the following references for detailed guidance on how buildings are
evaluated for bioaerosols and mol d :

    ∎   Bioaerosols : Assessment and Control, 1999 ; Ed : Janet Macher, American Conference of
        Governmental Industrial Hygienis ts .



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     ∎   Mold Remediation in Schools and Commercial Buildings, March 2001 ; U .S . Environmen-
         tal Protection Agency ; EPA 402-K-O1-001 .

     ∎   Fungal Contamination in Public Buildings : A Guide to Recognition and Management,
         June 1995 ; Federal-Provincial Committee on Environmental and Occupational Health ;
         Health Canada .
     ∎   Microorganisms in Home and Indoor Work Environments : Diversity, Health Impacts,
         Investigati on and Control, 2001 ; Ed : Flannigan, Samson and Miller ; Taylor & Francis ;
         London and New York .

    When is it important to intervene in the home or work environment? The algorithm presented
in chapter 5 provides guidance for the physician . An assessment of mold in the environment may
become especially important for patients with specific symptoms and syndromes (see Table A in
chapter 5) or for patients with other common symptoms and syndromes (see Table B and Grid D
in chapter 5) that are worse in a particular environment . The reader should note that the authors
do not advocate air sampling to initially address concerns over mold in the indoor environment .
This is in p art because air test results are often not representative of the biological exposures a
patient may face an d , therefore, can be misleading and not helpful . Because the health provide r
may be given reports and information that includes air-sampling results, this chapter provides
guidance on planning an indoor air assessment for mold and on interpreting air-sampling results .



C o n s u l tant S e l ec tio n and St a ff Tr ai n in g
    Patients may bring healthcare providers reports with contributions from different types of
professionals, including specialists in ventilation, industrial hygiene, environmental science, archi-
tecture and building physics, occupational and environmental medicine, mycology, and public
health . To evaluate and then use the information in these assessments, it is critical to know the
context of the assessment and the background and credentials of the individuals who performed
them . The US EPA provides guidance on hiring assistance for indoor air quality assessment and
remediation in various programs : the I-Beam Visual Reference Index (www .epa gov/iaq/
largebldgs/gref frame .htm), Indoor Air Quality Tools for Schools (EPA Tools for Schools
Kit,www .epa .gov/iaq/schools/tfs/guidea .html) and Indoor Air Quality in Large Buildings (Build-
ing Air Quality, www.epa.gov/iaq/l azgebl dgs/graphics/sec_8 .pdf ) .

    For the healthcare provider who may look to suggest an outside environmental assessment,
the following paragraphs briefly discuss three categories of professionals who will most l ikely
bring a l earned approach to the challenge of assessing the environment for exposures to
bioaerosols : industrial hygienists, indoor environmental quality consultants, and environmental
health professionals . Although not as common, other professionals may provide assessments or
specialized expertise to address indoor environments . Ex p e rie n ce co ndu c tin g e n v ironm e ntal
assess m e nts w ith a focus on bioa ero s ols is a key qualification for any of these professionals .



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    Frequently, it is also helpful to consult with mycologists and building scientists. Mycologists knowl-
edgeable about indoor-mold-contanunarion issues bring a critical perspective to designing sampling
programs and interpreting results . Building scientists (usually architects or engineers who have special-
ized expertise) bring helpful skills and an understanding of the movement of moisture and air in the
building, which are often instrumental in finding and remediating moisture intrusion .

Industrial Hygienists
     In the broadest sense, an industrial hygienist focuses on exposures that affect the health and well-
being of workers. These individuals are well versed in measuring and assessing occupational hazards .
The American Board of Industrial Hygiene (AB " certification program requires a bachelor's degree in
an associated field (usually engineering or one of the natural sciences), passage of an examination
covering a broad range of relevant subjects, and a minimum of 5 years' experience in some association
with a practicing Certified Industrial Hygienist (C " . The ABIH had offered certification in indoor air
quality ; however that certification is no longer available . Certified Industrial Hygienists have the training
to develop the broad perspective required to address mold in the environment . However, because (1)
exposure to bioaerosols is no t readily identified by
s tandard air-monitoring methods, (2) home an d              A qualitative assessment           that
office environments are different than industrial
sites, and (3) the biology of mo ld is comp lex, an          identifies factors that support the
assessment is best completed by an industrial
hygienist ex peri e nced with mold a ssess m e nt .          growth of indoor fungi and makes

Indoor Environmental Qual ity (lEQ)                          recommendations for correcting
 Consultant.
     Individuals who practice as indoor environ-             these factors provides helpful
mental/air quality consultants come from many
different backgrounds (engineering, basic sciences,          guidance for the healthcare
planning, and design) and different professions
                                                             provider and the patient .
(ventilation, building engineering, industrial hygiene,
environmental science, construction, and architec-           Measurements of fungal colonies
ture). Some IEQ consultants bring an appreciation
of agents in the env ironment and exposure be-               and spore counts are not as
cause they have worked on environmen t al prob-
lems with a concern for health impacts . However,            helpful.
other environmental professionals, though compe-
tent in their individual expertise, lack either the
broad health  perspective              knowledge
                             or specific             regardingbioaerosols   needed for an adequate   assess-
ment when     mold may be an issue   .  For example an  IEQ consultant may have specialized experience with
ventilation   systems, but lack an understanding of sources and  distribution of bioaerosols in the environ-
ment. As with Certified Industrial Hygienists, IEQ consultants who are experienced in determining
exposures from mold in the environment provide the better assessments .




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Environmental Health Professional
      Because an understanding of the building occupants' illnesses and symptoms has become       critical to
appropriately focus the investigation          situations,
                                           in many            environmental health professionals have assumed
an active  role  in  environmental    assessment . Occupational and environmental medicine physicians and
nurses, as well as public health professionals (Masters in Public Health and  graduate-level epidemio lo-
gists), bring  relevant background to environmental assessment . The patterns and locations where
occupants experience symptoms help direct where to look for mold sources . Moreover, the local health
d irector or state official is no t infrequently the person who directs or orders an environmental assess-
ment in a public   building, such as a school, when poor indoor environmental quality is suspected be-
cause ofa high    level of health complaints .



Patient or Family Member as Investigator of Environment
    The patient or a family member may assess the environment for mold . One caution : if you
suspect mold is present and may be playing a role in illness and you direct your patient to investi-
gate his or her environment beyond the home checklis t, it would be prudent to suggest that the
patient use care when exploring his or her environment . I f the individual develops symptoms while
investigating, he or she should be cautioned to ask someone else to explore for and clean up mold
contamination if needed . Guidance on personal protection and how to remediate mold contamina-
tion is addressed in the next chapter of this book .



Q uali tative A pproach to Enviro n mental Site Assessment
    A qualitative assessment that identifies factors that support the growth of indoor fungi and
makes recommendations for correcting t h ese factors provides helpful guidance to the healthcare
provi der. We use t he term "assessor" to i d entify the individual conducting the evaluation . The
assessor can be the patient, a family member, or a professional

    The environmental assessor seeks to identify sources of mold growth (reservoirs) and to
define the pathways in the environment that may bring mold and any associated toxins into con-
tact with the building occupants (Burge and Otten 1999) . The objective is to find areas where
mold is amplified (growing) and then disseminated into the breathing space . Normally, people
should not see or smell mold or mildew in their indoor spaces . A moldy odor or visible evidence
of mold colonies or mildew on materials indicates the presence of mold . However, mold may be
present even if not smelled or seen .

Interview and Walk-through Assessment
     The assessor gathers qualitative data by interviewing the occupants and taking a walk-through site
tour. I f th e assessor is the patient, noting where in the home environment and under what conditions
(such as heat on or off) he or she experiences symptoms will indicate where to look . The walk-through
will explore the immediate outside environment and the physical structure of the home or building ; note
water or moisture incursion from past and present leaks, spills, and condensation; review ventilation and



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note apparent mold, mildew, and areas with moldy, musty odors . Likely places where moisture may
accumulate, such as crawlspaces, should be noted .

Focused Qualitative Assessment
   The assessor will minimally address the following (adapted from Macher 1999, Health Canada
1995) :

    ∎   A review (visual assessment) of the immediate outside environment and building exterior
        for :
        • Sources of outside molds (for example, leaf piles) .
        • Damage to the building (roof, wall, windows and foundation), especially damage that
              would allow water intrusion .
        • Accumulations of organic material in or near air intakes (e .g ., bird or bat droppings
              because they support the growth of pathogenic fungi and plant material that generally
              supports fungal growth) .
        •     Grading  (poor drainage and below-grade air intakes or basement windows) .
        • Evidence of standing water where it may be affecting the indoor environment .

    ∎   Heating, ventilation, and air-conditioning (HVAC) system assessment of:
        • Filters (dampness and microbial growth, dirt) .
        • Heat exchangers (e .g ., cooling coil section including drain pan), ductwork, and air
            diffusers (for dampness, microbial growth, dirt, and rust) .

    ∎   Occupied space survey of :
        • Water damage (leaks, high hu midity, musty or moldy odors) .
        • Chronic condensation (typically cool surfaces such as outside walls and windows) .
        • Air conditioners (standing water, microbial growth, dirt) .
        • Carp et (for evidence of water damage) .
        • Other fabric materials such as upholstery, furniture, and drapes (for dampness, micro-
           bial growth, and dirt) .
        • Portab l e humidifiers (for standing water, microbial growth, and dirt) .
        • Plants (for mold growth on dirt and on plants and for water damage on flooring
           beneath pots) .

Ventilation Sys te m R evie w
     Because the way air moves in the building and the condition of the HVAC system, if present,
are critical aspects of bioaerosol exposure, a systematic review of the mechanical ventilation
system should be part of the initial walk-through assessment . Indoor environments are ventilated
with different systems . For example, the simplest system may be operable windows that allow
outside air into homes and buildings . More complex ventilation will use central intakes to bring in
air, filter and condition it, and then disburse the conditioned air into the space . This section de-
scribes key elements of reviewing ventilation systems and is followed by a brief discussion of home
ventilation.

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     Ventilation systems in buildings often operate differently from the design specifications when they
were first engineered . Because the amount and quality of the air flowing through the system can be of
critical importance to the indoor air quality, a qualitative assessment of the ventilation system is a key
aspect of assessing the patient's environment.

    Venti l ation with outside air can dilu t e the concentration of indoor contaminants . Mechanical
ventilation systems should be properly maintained to optimize the volume of dilution air and to
minimize the accumulat i on of contaminants, specifically microbial growth, within the ventilation
systems themselves . Ventilation systems can supply buildings with tempered and dehumidified
outside air. I t is important to note, however, that ventilation effectively dehumidifies buildings
only when the outdoor air dew point is less than 55°F. Above dew points of 70°F or so, ventila-
tion is likely to become the dominant source of indoor water vapor .

    Although mechanical ventilation systems have varying design characteristics, the following
approach can b e followed to qualitatively evaluate the system's cleanliness from a microbial
growth pe rspective . When evaluating a ventilation system, it is helpful to have the assistance of
the bui l ding's maintenance or mechanical engineering personnel . These individuals can provide
access to t h e u nit, are familiar with the unit's maintenance history, and can describe the system's
design parameters .

    Mechanical ventilation systems should supply buildings with outside air . As part of a ventila-
tion system evaluation, the assessor should identify the location of the outside air intake . These
intakes should be at least 20 feet from potential microbial reservoirs such as cooling towers,
standing water, and gutters filled with leaves, pigeon droppings, or other organic material . Be-
cause all outside air contains bioaerosois, ventilation systems should have efficient filters that can
remove some of this material from the incoming air stream . These filters should be replaced
regularly (ideally quarterly) as part of a preventive maintenance program .

    Once the outside and/or recirculated air passes through a bank of filters, it may be tempered
by passing over either heating or cooling coils . Because cooling coils remove moisture from the
air stream, a drain pan should be located below the coils to collect condensate . This pan should be
sloped to prevent the build-up of standing water and microbial growth in the pan . If the ventila-
tion system is designed to humidify the air- not recommended unless special circumstances call
for humidification - care should be taken to prevent the humidification system itself from becom-
ing a microbial reservoir and amplifier .

    The condition of the filters and the drain pan can be evaluated visually by opening the air-
handling unit when the system is not in operation .

    After the air has been tempered, it may pass through a series of ducts until it is distributed to the
occupied spaces . A visual assessment of the ductwork may be possible through access panels .




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    Ducts without internal lining are desirable .          Environmental assessmentin
Ducts with internal lining or duct board can
become microbial reservoirs and amplifiers if they         homes focuses          on good
become humid and dirty. A combination of internal
fiberglass insulation and condensate water blowing         maintenance practices to ensure
off the cooling coil causes the most extensive mold
growth in ducts .                                          dirt and moisture do not

                                                            accumulate and to provide
Ventila tion in Homes
     Outdoor air enters and leaves a house by
                                                            adequate ventilation .
                    ventilation,
infiltration, natural            and mechanical
ventilation . Most home heating and cooling
systems, including forced     air
                                heating systems, do not mechanically bring fresh air into the house . A
home's venti l ation rat e can be increased by opening windows and doors, operating window or attic fans
when the weather permits, and       runninga window  air-conditioner with the vent control open . Environ-
mental assessment in homes focuses on good maintenance practices to ensure dirt and moisture do not
accumulate and to provide adequate ventilation.

    When concerned about a patient's symptoms that may be related to exposure to bioaerosols in the
home, the lini     ' houldmgiure
             c clans          ' b ta outhe home's
air handling systems and maintenance . Before the
heating season, forced air heating systems should     W hen mo ld is a concern, a good
be inspected and, if necessary, cleaned . Before the  initial assessment notes :
cooling season, several components of the central     • Wate r damage (from l eaks, high humidity)
air conditioning system should be cleaned . Bushes       and any musty or moldy odor s .
and vegetation should be trimined around the          •  Chro n i c conden sa tion (typically cool
                                                         surfaces-outside      walls, windows) and any
outside condenser unit and the coil and fan should
                                                         standi n g water possibly from air condition-
be cleaned . The system's filters should be re-          ers, hum i difie rs .
placed or cleaned several times per season and        • Carpet condition (es p ecia ll y any sig n of
the condensate drain should be regularly checked         water damage and age) .
to ensure that it is carrying off excess moisture .   • Condition    of fabric and porous materi-
                                                              als such as upholstery, furniture, drapes,
                                                              ceiling tiles, partitions, books (again,
     A window-installed air    conditioner
                                         has the              dampness and microbia l growth, dirt) .
same components as a central system Routine
                                       .                   • Plants (mold growth on dirt ; consistent
                                                             water spillage) .
upkeep of these units should include keeping the
                           addition,
filters and coils clean . In       the condenser
coil and the intake vents should be free from
obstruction  and the condensate drain outlet should be kept unplugged and positioned away from the
house .

Summary of Qualitative Assessment
   The assessor will evaluate the      information
                                             gathered from the     walkthrough,
                                                                             interviews, and ventilation
review . If the information
                          is adequate, the assessor may identify how the patient has become exposed to


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mold in the environment and may suggest changes             When there is evidence of
to the environment to limit the exposure . When
there is evidence of moisture incursion, a good             moisture damage, the causes of
assessor suggests that the causes for the un-
planned moisture be fully investigated and fixed,           moisture intrusion should be fully
mold present on nonporous materials be c l eaned,
and all repeatedly wetted, water damaged porous             investigated and fixed, mold
materials be discarded . Often the qualitative
                                                            present on nonporous, easily
evaluation is sufficient to begin planning appropri-
ate improvements to the environment that will limit
                                                            accessible materials cleaned, and
the patients' exposures from microbial growth .
                                                            other damaged materials
Sampling and Analys i s                                    discarded .
    During some   walk-through   assessments, the
assessor may have determined that water or
dampness has provided an environment conducive to mold growth, but the assessor may be unsure
about the extent of the mold contamination . If building-related illness is strongly suspected, mold is
thought to be a potential problem for the patient, and there is insufficient information to broadly suggest
where mold is growing, the assessor may need to implement a well-planned program of sampling and
microscopic analysis in order to develop information on which to base guidance on appropriate inter-
vention in the environment.
    A well-thought-out sampling plan is the first step . The plan should reflect an understanding of
the purposes of the investigation, the characteristics of mold, and the potential for exposure,
along with an understanding of pathways and the limitations of both sampling and laboratory
techniques . With the intent to determine exposures, when, where, and how the environment is
sampled are critical to producing useful information . The quality of the results also depend on the
education and training of the analyst and quality of the mycology laboratory. At the end of appendix A
we have included charts summarizing air-sampling methods, source-sampling methods, and analytical
methods that the healthcare provider may find helpful when navigating technical reports with indoor
mold sampling results .

    Generally, the assessor may use two types of sampling : source sampling of materials where
mold may be growing (such as wood, car p ets, wallboard, and adhesives on wallpaper) using
swabs,wipes, or adhesive tapes and air sampling, where a standard volume of air is passed through a
filter or impacted on growth media plates or greased microscopic slides to collect mold and spores . The
American Conference of Governmental Industrial Hygienists (ACGIFI) guidance Bioaerbsols Assess-
ment and Control (Macher 1999) and Microorganisms in Home and Indoor Environments
(Flannigan et al . 2001) discuss sampling protocols . A competent mycologist should be consulted,
especially when you are uncertain as to the specific mold species or molds likely to be present in the
indoor environment



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Source Sampling and Microscopic Assessment
      Once moisture becomes available, mold will grow on a variety of substrates normally found in our
in d oor  environments . Although mold growth may not be evident by visual inspection, the assessor with
microbiological training will  often confirm mold growth on materials with a tape sample This micro-
scopic  examination   of the residue picked up by clear tape may indicate the type of mold present . For
comparison, the assessor will sample   areas not indicating moisture or mold .

Bulk and Settled Dust Sampling and Microbial Culturing
    T h e assessor may collect bulk samp l es of suspected mold-contaminated materials or collect
dust from the materials to be analyzed for mold, as well as other allergens . The results will    iden-
tify levels and dominant species, which will help the assessor characterize the burden       of mold
from the particular source sampled .

 Air Sampling
    A qualitative assessment, as outlined in this chapter, is often more valuable than air sampling
to determine whether there is likely expos ure to problem mold . This is because colonies of mold
isolat ed from sampled air do not identify an unhealthy environment . More important, the failure of
mol d colonies to develop from sample d air does not indicate a healthy environment .

     There is substantial natural variabil ity in t he amount of mold in air. Understandably, the EPA
and other government agencies have not set numeric standards for indoor concentrations of mold
o r mold spores .

    Mold is measured in air samples as colony forming units per cubic meter of air (CFU/m') by
culturing . (Techniques to assess for mycotoxins and mold components, such as ergosterol and
beta- l,3-glucans, are available and useful in a research setting .) Most often the assessor will use
volumetric samplers to capture a specific volume of air and allow it to pass by a plate with the
appropriate nutrient media so that, when incubated properly at a laboratory, any viable and
culturable spores present will grow into mold colonies that can be identified and counted . Malt
extract agar is typical for a general fungal population, but when Stachybotrus chartarum is sus-
pected, cornmeal agar or Czapek cellulose agar is more appropriate . Because this technique
samples the air for a short time (most often 1-8 minutes) in one discrete location, plus the fact
that there is considerable spatial and temporal variation of airborne fungi, the number, time, and
location of samples are critical to data quality . Appropriate reference samples are also required,
because the results are often meaningful only in relation to the outdoor environment .

    Another partially quantitative approach is to collect spores on membrane filters or slides . Spores are
counted and provide some information about the type of fungal spores present . These "spore trap"
techniques can estimate the burden of mold in environments that are (heavily) contaminated . Because
they require less time than standard air sampling, where incubation often requires multiple days or
weeks, spore trap techniques can be helpful in screening .




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     Several Polymerase Chain Reaction (PCR) technologies to detect and quantify fungi and bacteria
have been developed, including a technology patented by the US EPA research laboratories in Cincin-
nati, Ohio (US EPA 2004). The measurement tool is based on the in vitro exponential amplification of
species-specific DNA sequences so that they can be detected using fluorescent spectrometry. The
technology is called Real-Time Polymerise Chain Reaction (Real-Time PCR) or Quantitative PCR
(QPCR) . The QPCR technology is very sensitive and requires exceptionally good laboratory practice to
minimize cross-contamination and false-positives . Several laboratories have licensed and commercial-
ized the technology. The use and application of the technology as a tool in mold testing and assessment
is in the early stage . In order to fully understand the principles and details of the technology when
reviewing and interpreting results, practitioners may want to discuss the technology with an experienced
professional .'



Limitations and Difficulties w i th Mold Concentration Standards
     Establis h ing standards based on funga l             concentration
                                                              threshold levels may appear reasonable at                           first
g lance, but this    assumption
                              is fundamentally incorrect. Based on fungi ecology, our current                             knowledge of
health effects associated with fungal exposure, and basic environmental assessment and industrial
hygiene principles, not enough is well understood about the short- and long-term dose-response                                    rela-
tionships,  fungal concentration variability over time, and toxic effects of fungal elements to support a
stand ard .

    Quantification of bioaerosols and their active components in the indoor environment may be a
necessary element of research programs . Nevertheless, the cost and complexity of meaningfully inter-
preting air-sampling data limit their utility in patient care .


                                                                                                   The review and
Int erpretation of           Air-sampling Data
    An environmental assessor will review air data carefully to                                    interpretation of air
determine if there is mold growth or amplification and if species that
might merit added concern are present . Methods for sampling have                                  sampling results is
limitations, and the ecology of fungi and mold complicates sampling .
(Fungi are ubiquitous in the environment, characterized by multiple                                fraught with
forms, may integrate into substrate materials, and follow seasonal
and diurna l patterns )                                                                            complexity.

    The healthcare provider should review the results of air sampling with an understanding of this
difficulty . The ACGIH (Hither 1999) and Health Canada (Health Canada 1995) provide detailed
guidance on interpreting air-sampling data . In summary, these references suggest :


        Although th i s discussion addresses environment al sampl es, P CR tec hno l og y h as be en us ed to detec t
A sp e rg illus fumi gatus in rabbit lung tissue and bronchi al l a v age flu i d If this PCR assay tec hnique pro v e s
applic abl e to hum an s, i t m ay hav e utility i n diagnosti c e va luati on fo r pul mon ary aspe rgi ll os i s (O'S ulli va n et a l
2003)


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      ∎ Mold indoors should reflect the outside                          There is an allure to establishing
        species and the movement of outside air
        into the indoor environment . Mold identi-                      a fungal concentration
        fied in air sampled indoors should be at
        lower      concentrations
                                and of            similar
                                                types                   standard for indoor air to guide
        to molds id entified in air sampled from the
        outside . If the concentration inside is                        decisions . However, threshold
        higher or the species different from the
        outside air, mold is suspected to be                            levels of fungal concentrations in
        growing (amplifying) inside           '                         the indoor air have not been
      ∎    A specific species (other than, perhaps,                     established and with our current
           species that may reflec t a particular
           outside type dominant in certain climates                    knowledge would not be helpful in
           at certain times) should not dom i nate the
           mold in the indoor air. If other species                     understanding exposure risk to
           occur as a significant percentage indoors,
           and they do not correspond to outdoor                        patients.
           relationships, an indoor source of the
           species is more probable .'

     ∎    It is important to explore for indoor moisture and areas where the mold maybe growing if
          certain toxigenic or highly allergenic mo lds-species of Stachybotrys, Aspergillus, Penicil-
          lium, and Fusarium, for example-are confirmed in the indoor air and are more dominant than
          in the outside samples . Re m e diation should not b e b ase d on a ir sa mplin g alon e, howeve r,
          even i f these ce r ta in s pecies a re p resent in th e samp l ing res u lts .

     ∎    Air sampling is limited, and negative results do not document the absence of mold exposure . For
          example, mold may be growing in carpets or on walls and wallpapers, yet not be airborne at the
          time of the sampling . Where there are other indications, such as moisture noted where it should
          not be, further investigation for hidden sources is indicated

Additional Quantitative Approaches
    We began this chapter emp hasizing that, with concern over bioaerosol exposure, a good assessor
will begin with a   qualitative
                           assessment to identify sources of                   moisture
                                                                       in the indoor space, and we
conclude by     noting
                   two quantitative approaches d irected at moisture that may be helpful additions .
Haverinen and colleagues      published
                                   a model demonstrating that moisture characterized by location and

     I Read ers wh o would like to revi ew individual case stud i es for e x a mples of o ne scie nti fi c appro a c h to interpret-
ing d a ta s h o uld se e c hap te r 4. 4 in Flann ig an , Samson , and Miller ( M o rey 200 1 )
      For an exampl e , the reader may refer to a study in which fun g al pr ofi l es in si de building s (where occ upan t s
ha d he alth complaints)    tend e d to remain unchanged with Pe ni c e lli um sp do minant , w hil e outd oo r co n ce ntr a ti ons
change d c o ntinu o usly o ver 6 h ours (McGrath et al . 1999)



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size of damage, duration of presence, and type of damage and material correlated with health symptoms
(Haverinen et al . 2001) . This suggests that measurements of the area of moisture damage may provide
useful information in environmental assessment .

    With water as the critical limiting facto r for mold growth, measurements of temperature and relative
humidity (RH) in the room and (when growth on building material is suspected) in the walls may be
helpful to indicate water activity. (Water activity i s the measure of water available within a substrate that
an organism can use to support its growth.) High relative humidity in the walls was shown to corre l ate
well w ith Stachybotrys chartarum growth (Boutin-Forzano et al . 2004) . When a source of growt h is
indicate d but not apparent, RH measurements may help direct the assessor to sampling locations and
minimize the n eed for destructive sampl ing and the taking of unnecessary bulk sam pl es .




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                                  bro w se        he        f eat u re s   l earn i ng    contribute           abou t
                                                                                                                                           Search
                                                                                                                                          advanced


                                                                                          under cons tr uc t io n
                                                                                                                        Fungi


              Fung i
                                                                                                                          page content
              Eumyco t a mus h rooms, sac fungi, yeast, mo l ds, rusts,                 smuts,    etc
                                                                                                                          articles

              M e redith Bl ac kw e ll ,          Ryta s    Vilgalys , a nd J o hn W .             T a ylo r
                                                                                                                          treehouses


                                                                                                                          preferences




                                                                                                                        Explore Other Groups



                                                                                                                          other Eukaryo t es


                                                                                                                          containing g r oups

                                                                                                                         subgroups


                                                                                                                          random page
                              Ba skiomycota   (mushrooms, rusts, smuts, etc .)
                             Ascomycoffi (sac fungi, yeast, Penbillium,    etc.)
                             G bmeromycota
              ~              Zygomycota (bread mobs,       Rhizopus, Mucor, etc a
                              Chytridiomyco   ta (water mobs, Albmyces, etc


                  Phyl oge ny modified fr o m Bruns et a l . 1991, 1993




              C ontaini n g gro up : Eukaryotes




              Introduction

              The organisms of the fungal lineage include mushrooms, rusts, smuts, puffballs,
              truffles, morels, molds, and yeasts, as well as many less well-known organisms
              (Alexopoulos et al ., 1996) . About 70,000 species of fungi have been described ;
              however, some estimates of total numbers suggest that 1 .5 million species may exist
              (Hawksworth, 1991 ; Hawksworth et al ., 1995) .

             As th e sister group of a n ima l s an d p art of t he eu karyot i c crown group that r adiated
             abou t a b i l lion years a go, the fungi cons ti tute a n i ndep ende n t group equal in ran k to
             that of plants and anima l s . Th ey s h are w it h animal s the a bi lity to export hydro ly ti c
             enzy m es t hat break do w n b iopo l y m er s, wh ic h can be a b sor b ed for nutriti on . Ra th e r
             th an req ui ring a sto m ach to accomplish diges tion , fu n gi live in t h eir ow n food s u p p l y             EXHIBIT
             and s im ply grow into new foo d a s t he local en v iro nm en t becomes nutri ent deplete d .

             Most b i o l ogists have seen dense filamentous fungal co l on i es g ro w i ng on r i ch nutrient
             agar p l ates, but in nature the filaments can be much longer and the colon i es less
                                                                                                                            31-D_
             dense . When one of the filaments contacts a food supply , the e n tire co l o n y mo bil izes
             and reallocate s resou rces to expl oi t the new food . Shou l d a ll fo od be co m e depleted,
             sporulat io n is t r iggered . Although the fungal fil aments and sp o r es a re mi crosc o pic,
             the colony can be very large with i nd i v i duals of some species rival i n g t he m as s of the
             largest an i m a ls or plants .




http •// tolweb . org/ tree ?g ro up = Fung i&c ontgroup = Eukaryotes                                                                  2/25/2005
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                       Fi g ure 1 • H yphae of  a wood-decaying           fun g us fo u nd gro w i n g on t he u nderside of a
                                                      active
                     fal le n l o g . Th e m etab olica ll y         hy ph a e have se cre t e d d roplets on t heir surfaces
                                                                          Blackwell
                                                         Co pyrig h t c0 M .              1 996 .



              P ri o r t o m a t in g in sexua l rep rod uc t ion, in di vi d ua l fu n g i com m un i cate with ot h er
              i n di v i d u al s c h emica l l y v ia p h ero mo nes . I n every p hyl u m at least one pheromone has
              been charac terize d , and they ran g e from sesqui terpines and derivatives of t he
              caro t enoid p athw a y i n chytridiomycetes a n d zyg o m ycetes to oligopeptides in
              asco m ycetes and b as idi o m ycet es .

             W it h i n their va rie d natura l ha b itats fu ng i us ual l y a r e the pri mary decomposer
             o rgan isms presen t . M an y s p ec i es a re free- l ivi ng sap robes (users o f carbon fixe d by
             ot h er o r ga n is m s ) i n w oo dy su b strates, soi l s, leaf l i tter, dead anima l s, and a n ima l
             exu d a t es . Th e l a rge c av i ti es eat e n ou t o f li v in g t rees by w ood-decaying fungi pr ovide
             n es t h o l es f o r a va riet y of a nima l s, a nd exti n cti on o f th e ivory bi l l ed woodpecker was
             due in larg e p a rt to l oss, t h ro ugh hu m a n ac t ivi ty , of nesting t rees i n bottom l and
             h ar dwoo ds . In so m e lo w n itro g e n e n viron m e n ts sever a l i nd ependent groups o f fungi
             h ave ad a pt ation s such as n ooses an d stic ky knob s w ith wh i ch to t rap and degrade
             ne mat odes an d o t h er s m al l ani m a l s . A nu mb er of r eferences on fungal ecolog y are
             availab l e (Carr o l l and W icklo w , 1992 ; C ooke a nd W h i pps, 1993 ; Dix and Webster,
             1 995) .

              H owever, m any oth er f ungi are biotrophs, a n d in this ro l e a number of successful
             g roups form s ym biotic assoc i at i ons w i t h plants (i ncluding algae), animals (especia l ly
             arthropods), a n d p rok ary otes . E xa m ples ar e lichens, mycorrhizae, and leaf and stem
             endo p hytes . Al t h o u gh l iche n s ma y seem i n freq u ent i n po l luted cities, they can form
             th e do m in a nt veg etation in n or di c env iron m e nts , a nd th ere is a better than 80%
             c h a n ce th at a n y p lant y ou find is m ycorrhiza l . Lea f a nd s t e m endophytes are a more
             recen t d iscove ry , a n d s om e o f these fung i c an p ro tect t h e plants t hey inhabit from
             h erb i vo ry an d ev en influ ence fl o w eri ng and othe r a spects o f p l ant reproduc t ive
             b iolog y . Fu n g i a re o u r m ost i mp o rta n t pl a nt path og en s, a n d include rusts, smuts, a n d
             man y a sco my cete s suc h a s t he a ge nt s o f Dutc h elm d isease and chestnu t bli ght .
             A m ong the o th er w ell k no wn associatio n s a re fungal p arasi t es of a ni ma l s . H umans,
             for exa m p l e, m a y s u ccu mb to di se a ses c au sed by Pn e um ocystis (a type of pneu m onia
             th at a ffects in d i v id u a l s w it h su presse d i mmune syst e m s), Coccidioides (val l e y fever),
             Ajel l o m yces ( b lasto my cos i s an d h ist oplas m os i s), an d Cryptococcus (c ry p t ococcosis)
             (Kwon-Chung an d B e nn e tt, 1992 ) .




http ://tohveb .o rg/tree? g roup =Fun g i& contgroup=Eukary o tes                                                               2 /25 / 2005
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                   Fi gure 2 . T he    fluffy
                                           w h i te hyph ae of th e m yc o rrh¢al fu n gus Rhizopogon rubescens
                    ha s env e lo ped th e sma l l er roo t s o f a V irg i n i a pine se e dling . N o t e that some of th e
                  myceli u m ex te nds ou t in to th e   surrounding environment . Copyright Q J                  B Anderson
                                                                 1996,




                     Figur e 3 Ento m oph th o ra, " d es troy er of in s e c ts ", is the agen t of a f ungual infectio n
                        kills flies.
                   t ha t            Aft er t h e ir d ea th t h e fu n g al g ro wth erupts t h rough the flycuticle, and
                  di spersa l b y forc i b l e s po re d isc ha rge is a s ource of inocu l um f or infection of new f lies .
                                                   Copyright        O G . L . Bar ro n 1 996



             Fungal spores may be actively or passively released for dispersal by several effective
             methods . The air we breathe is filled with spores of species that are air dispersed .
             These usually are species that produce large numbers of spores, and examples
             include many species pathogenic on agricultural crops and trees . Other species are
             adapted for dispersal within or on the surfaces of animals (particularly arthropods) .
             Some fungi are rain splash or flowing water dispersed . In a few cases the forcible
             release of spores is sufficient to serve as the dispersal method as well . The function of
             some spores is not primarily for dispersal, but to allow the organisms to survive as
             resistant cells during periods when the conditions of the environment are not
             conducive to growth .

             Fungi are vital for their ecosystem functions, some of which we have reviewed in the
             previous paragraphs . In addition a number of fungi are used in the processing and
             flavoring of foods (baker's and brewer's yeasts, Penicillia in cheese-making) and in
             production of antibiotics and organic acids . Other fungi produce secondary
             metabolites such as aflatoxins that may be potent toxins and carcinogens in food of
             birds, fish, humans, and other mammals .

             A few species are studied as model organisms that can be used to ga i n knowledge of
             basic processes such as genetics, physiology, biochemistry, and molecular biology
             with results that are applicable to many organisms (Taylor et al . , 1993) . Some of the
             fungi that have been intensively studied in this way include Saccharomyces
             cereviseae, Neurospora crassa, and Ustilago maydis .

             Most phyla appear to be terrestrial in or i g i n, although al l              major g r oups     hav e i n vad e d

                                                                                                                                    2/25/2005
http :Uto lweb . o rg/tree ?gro up = Fungi& contgr o up=Eukary o te s
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             marine and freshwater habitats'.   .exception to this generality is the flagellum,
             bearing phylum Chytridiomycota, which probably had an aquatic origin ; however,
             some chytrid species do occur in terrestrial environments, primarily as plant
             pathogenic fungi .


             Characteristics

             Fungi are characterized by non-motile bodies (thalli) constructed of apically
             elongating walled filaments (hyphae), a life cycle with sexual and asexual
             reproduction, usually from a common thallus, haploid thalli resulting from zygotic
             meiosis, and heterotrophic nutrition . Spindle pole bodies, not centrioles, usually are
             associated with the nuclear envelope during cell division . The characteristic wall
             components are chitin (beta-l,4-linked homopolymers of N-acetylglucosamine in
             microcrystalline state) and glucans primarily alpha-glucans (alpha-1,3- and alpha-
             1,6- linkages) (Griffin, 1994) .




                   F i g ure 4 : P o rti on o f a hypha of a zygomycete stai ne d w ith a blue dye        to
                                                                                                         show th e
                  many n u c lei p r e s ent . M any other fung i hav e sept a t ion s t hat devide the hyohae       into
                 com p ar tm ent s tha t usually                               nuclei
                                                     con t a i n one to sev eral       pe r compartment Copyright
                                                           OO M Blac k we ll 1 996




                  Figure 5 : Tr an smission   elect ro n mi c r o gra p h show in g d u pli cate d s p indle pole b ody of
                  a pro ph ase I me i o tic nucleus o f a basid iomycete Ex o ba sidium .       Only     chytrids among
                    fung i h av ecentrioles  and lac k s pi n dle p o le bo d ies  Copyright      O B eth Richardson
                                                                    1 996 .



            Exceptions to this characterization of fungi are well known, and i nclude the following :
            Most species of Chytridiomycota have cells with a single, smooth, posteriorly inserted
            flagellum at some stage in the life cycle, and centrioles are assoc i ated with nuclear
            division . The life cycles of most Chytridiomycota are poorly studied, but some
            (Blastocladiales) are known to have zygotic meiosis (therefore, alternation between
            haploid and diploid generations) . Certain members of Zygomycota, Ascomycota, and
            Basidiomycota may lack hyphal growth during part or all of their life cycles, and,
            instead, produce budding yeast cells . Most fungal species with yeast growth forms
            contain only minute amounts of chitin in the walls of the yeast cells . A few species of


http :Ut o hveb o rg/tree ?g ro up=Fungi&c o ntgroup=Eukaryot e s                                                             2/25/2005
 Fungi                Case 4:04-cv-00091-BAE Document 81 Filed 04/29/05 Page 159 of 224                                       P age 5 o f 1 2
              Ascomycota (Ophiostomataceae, ave cellulose in their walls, and certain mem . , s of                     _
              Chytridiomycota       (Coelomomycetales)          lack walls (Alexopoulos et al ., 1996) .


              F oss il R eco rd

              Base d on th e availab l e f ossil reco rd, fungi a re p resumed to have been present in Late
              P rote r ozoic (90 0 -570 mya) . Te rrestrial forms o f p u rp orted ascomycetes are repo rted
              in associa tions w i th m icroarthro p ods i n t he S il u rian P eriod (438-408 mya)
              (Sher w oo d - P ike and Gra y , 1 985) . Fossil hypha e i n association with wood decay and
              fossil ch ytrids an d Giomales- E n d ogen a les re p r e se nt atives associated with p lants of
              the  Rhyme   Ch e rt are re p o rt ed from th e D evonia n P e r io d (408 -360 mya) ( H ass et al .,
              1994 ; R e my e t a l ., 1994 a, 19 9 4b ; Taylo r e t al ., 1994 a, 19 95b) . Funga l fossil diversity
              increa sed t hroug h o ut the P aleozoic E ra (Tay l or et al ., 1994b) wi t h a l l modern classes
              re p orte d i n th e Pennsylvanian Epoch        (320-286 m y a ) .
              A first attempt to match molecular data on fungal phylogeny to the geological record
              shows general agreement, but does point out some conflicts between the two types of
              data (Berbee and Taylor 1993) .


              Biogeography

              Wherever adeq u at e moisture, temperature, a nd o rg anic substra t es are avai l a b le,
              fun g i are present . A l th o u gh w e normall y t hin k of fung i as g rowing in warm, moist
              fores ts, many s p ecies occ u r i n h a b itats th a t a re c old , periodically ar i d, or otherwise
              seem in gl y inhosp i ta ble . I t is im p ortant t o recogni z e t h at optimum conditions for
              gro w th an d r ep r o d uc t io n va ry w i d e l y w i th fu n g a l species . Diversity of mos t groups of
              fung i tends t o i n c r ease In trop i ca l r egions, but d etai l ed studies are on l y in their
              i nfanc y ( I saac et al ., 19 93 ) .

              A ltho u g h ma n y sap robic a nd pl an t pa th o g en ic s p ecies with low substrate specific i ty
              and e ffect i v e dis p e r sal s y stems h ave b ro ad d is t ri b uti ons, gene flow appears to be
              restr icted i n many fu ngi . Fo r t hese species larg e b o di es of w ater such as the A t l antic
              and Pa cific oceans create b arriers to g ene ex change . So m e d istributions are li mited
              by subs t rate avai l ability, a nd dramatic ex am p le s co m e fr om parasites of Gondowanan
              p la n ts ; one o f t h ese is th e So u thern H em i sphe re di st r i bution of the ascomycete
              C yttaria, corres p onding w i th p art of the d i strib uti on o f its host plant N othofag u s . The
              foss il record shows that fungi were present i n Anta rctica, as is the case for other
              organisms with Gondwanan distrib u tions . Arth ro p o d associates also may show
              d i s tri b ut io n s throughout p art o r al l of a h ost ra ng e, an d some fungal species (ex .
              wood w asp associates) occur ou tside the rang e of the associated arthropod .


              Notable Fungi

                      The larg est b asidiocarp kn o wn is th a t o f a Ri g i d i opor u s ulmarius in a shady,
                      h id d en-awa y corner of the R o y al B o tanic Gard ens, K ew, Surrey, Eng l and . This
                      ba sid i oc a rp i s mentioned in t he G ui n n e ss B oo k of R ecords ( M atthews, 1994 ) .
                      A t t h e begin n i n g of e a ch n e w y e a r the Annual M ensu r ation Ceremony of the
                      b asidiocarp ta kes p lac e . On 19 January 1996 th e ba sidiocarp had increased t o
                       1 7 0 cm m a x imu m l en gth ( up from 159 i n 1995 ) a n d 1 46 cm maximum w i d th
                      (u p fro m 140 in 1995 ) . It al so grew 4 cm ta l l er f r o m the soil leve l , now
                      meas u ring 54 cm . Th e weigh t of th e ba si dio c a rp has been estimated to be 284
                      kg (62 5 p ounds)! Oth er l ar g e b asi d ioca rp s a re those of a puffball a l most 9 feet
                      i n circumference in C an a da (over 48 po u n ds) and a basidiocarp of the su l fur
                      mushroom in En g lan d ( 100 po und s) .




http ://t o hv e b , o rg/tree ? gr o up=Fungi&c ontgroup =Eukaryotes                                                          2/25/2005
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                        Figure  6 : La r g est bas id io ca rp w o r ld rec o rd h older Rig i d i o p orus ulman u s a t
                      K e w . The basidiocarp i s sho w n    in                             (170
                                                                  i ts l a rg est d im e nsio n         cm or over 5 1 /2
                                                 feet ) .Copyright        0.
                                                                          O      P egler 1996 .



                  Reproductive structures clearly can be very large, but what about the body of
                 the fungus, which often is hidden from view within the substrates One fungus
                  body constructed of tubular filaments (hyphae) was brought to our attention
                 when molecular techniques were used to show that it was extensive (37 acres
                 and an estimated blue whale equivalent size of 110 tons) . The Michigan fungus
                 clone (Armillaria bulbosa) grew in tree roots and soil . This report drew
                 attention to an even larger fungal clone of Armillaria ostoyae, reported earlier
                  in the state of Washington, which covered over 1,500 acres . Each clone began
                 from the germination of a single spore over a thousand years ago . Although
                 they probably have fragmented and are no longer continuous bodies, such
                 organisms give us cause to think about what constitutes an individual .
                  Penicillium chrysogenum is known for its production of the antibiotic penicillin .
                 Although other antibiotics are produced by a variety of organisms, penicillin
                 was the first to be developed . In the spring of 1996 a long dried out culture of
                 the original isolate prepared by its discoverer, Sir Alexander Fleming in the
                 late 1920s, was auctioned by Sotheby's of London and sold to a
                 pharmaceutical company for 23 000 pounds . This price is insignificant when
                 one considers the worth of this fungus, not only in sales of penicillin, but in
                 terms of illnesses cured and lives saved . In the past a simple scratch
                 sometimes could produce a fatal infection such as the one that resulted in the
                 death of Tad Lincoln, the son of a U . S . president . However, misuse of
                 penicillin and other antibiotics has resulted in selection of resistant
                 microorganisms, and the threat of untreatable bacterial infections and
                 diseases (for example, tuberculosis and syphilis) has returned .
               • Fungal spores fill the air we breathe . On many days in some localities the
                 number of fungal spores in the air far exceeds the pollen grains . Fungal spores
                 also cause allergies ; however, unlike seasonal pollen production, some fungi
                 can produce spores all year long . The largest number of fungal spores ever
                 sampled was over 5 .5 million per cubic foot in Wales (Matthews, 1994) .
                 Basidiomycetes have always attracted a lot of attention because some of them
                 have large basidiocarps, but the realization that all fungi are important in
                 ecosystem function has drawn more attention to microscopic forms as well .
                 For example a report on the secret sex life of a yeast-like ascomycete human
                 pathogen, Coccidioides immitis, made a headline of the New York Times (6
                 February 1996, p . B7) . This fungus causes Valley Fever and is endemic in
                 parts of the southwestern United States . Although no one has been able to
                 observe sexual reproduction in this species, molecular studies show genetic
                 diversity that is best explained by occurrence of sexual reproduction in the life
                 cycle .
                 Another yeast-like ascomycete reported in the Dallas Morning News (28
                 August 1995, p . 8D) lives in the gut of cigar beetles and is essential to the
                 beetle's health . Without the gut fungi to detoxify the plant material of toxins,
                 the beetles would be poisoned . Keep on the lookout for other reports of
                 fascinating fungal feats .


           D i scussion o f Phylogenetic Relation s hip s

http : Utohveb . org/tree?group=Fungi&contgroup = Eukaryotes                                                                  2/25/2005
 Fungi                 Case 4:04-cv-00091-BAE Document 81 Filed 04/29/05 Page 161 of 224                                               Page 7 of 12

              A s presently de li mite d , the k ingdom Fungi is be li eved to constitute a monophy l etic
              g ro u p that sha res some ch a rac ters wi t h a ni ma ls s u ch as chitinous structures, storage
              of g lycogen, and mitochond r i a) UGA co d i n g fo r tryp tophan . Only species of the basal
              Chytri di omycota p ossess th e prim i t ive character of a si n g l e smooth, posteriorly
              i n serted flagellum ( Barr, 1 992 ; Caval i er-Smith , 19 87, 1995) .

              The branch uniting the           fungi   and animals is well-supported from nuclear small subunit
              ribosomal RNA gene (SSU rDNA, or 18S rDNA) sequence analysis, and also has been
              supported wi th studies of elongation factor and three other                          proteins-   alpha- and beta-
              tubulin and actin (Baldauf and Palmer, 1993 ; Bruns et                       al .,   1991 ; Wainright et al .,
               1993) . However, the hypothesis has been challenged by comparison of RNA
              polymerase gene sequences and reanalysis of SSU rDNA data (Rodrigo et al ., 1994 ;
              Sidow and Thomas, 1994) .

              In the absence of many derived morphological (other than hyphal growth i n some
              species) and biochemical characters, Chytridiomycota (previously characterized by
              the presence of a flagellate cell in the life cycle) now has been redefined by SSU rDNA
              sequence analysis . The study also has shown that some non-flagellate species
              traditionally placed in Zygomycota actually are chytrids (ex . Basidiobolus ranarum)
              (Nagahama et al ., 1995) .

              Zygomycota as traditionally delimited on the basis of often non-septate hyphae and
              production of zygospores is not monophyletic . The position of some lineages such as
              that of Glomales and of E ngodonales-Mortierellales is unclear, but they too may lie
              outside Zygomycota as independent lineages basal to the Ascomycota-Basidiomycota
              lineage (Bruns et al ., 1993 ; K . O'Donnell, personal communication, 1996) .

              Evidence from shared morphological characters such as regularly septate hyphae and
              a dikaryotic stage (two separate and different nuclei in a single hyphal segment) in
              the life cycle, usually has been interpreted as support for a close relationship between
              Basidiomycota and Ascomycota . SSU rDNA adds support for this hypothesis (Berbee
              and Taylor, 1992) .

             Molecular characters have been essential for phylogenetic analysis in cases when
             morphological characters are convergent, reduced, or missing among the taxa
             considered . This is especially true of species that never reproduce sexually, because
             characters of sexual reproduction traditionally have been the basis for classification of
             Fungi . Use of molecular characters allows asexual fungi to be placed among their
             closest relatives . Excluded groups previously considered to be Fungi are
             stramenopiles (Oomycota, Hyphochytriomycota, and Labynnthulomycota) and slime
             molds (Myxomycota, Plasmodiomycota, Dictyosteliomycota, Acrasiomycota)
             (Bhattacharya et al ., 1992 ; Leipe et al ., 1994 ; Van der Auwera et al ., 1995) .


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            Popu l a r Sites


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                        mushrooming .
                        introduction to_ the Fungi. UCMP Berkeley .
                        Mycological Society of San Francisco . North                    America's
                                                                          largest local amateur
                        mycological association .
                        The Fungal ]unaal . To further educate people about fungi, edible and
                        otherwise, To encourage sustainable and responsible mushroom harvest, and
                        preserve mushroom habitat .
                        Tom Volk's Fungi .
                  •     Dave Fischer',5 North American Mushroom Basic
                        Mush roomExoert .Com .
                  • Forest Fungi .
                        Pilze, Pilze, Pilze . In deutsch .
                        Westfahschen Pdzbnefe . In deutsch .

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                               ss oaat i . Ne l l 'itai~jno .
                  • M icol ogi A


             Directo r ies , D a tabases & C o l l ec t ions


                      The WWW Virtual          Library :   Mycology . A well indexed entrance to almost all
                      mycology and fungal biology resources on the Internet .
                      Mycology .Net. An Internet site containing information about diversity of fungi .
                      Mvcorrh¢a         Information
                                              Exchange .
                      Mycology Online . A WWW resource of clinically significant mycological
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                      University of Michigan Fungus Collection .
                      Mycological  Herbarium . The N atural History Museums and Botanical Garden,
                      University of Oslo .
                      Herbarium     Mycologicum . N ational Botanic Garden of Belgium .
                      CABI Bioscience Database of Fungal Names Lunindex)
                      Centraalbureau voor Schimmelcultures (CBS) . Fungal Biodiversity Center -
                      Utrecht, The N etherlands .
                      Fungal Genetics Stock Center .
                      Canadian Collection of Fungal Cultures .


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                      Herrera's Microfungi Home Page .
                      Nathan's Fungi Page .
                      Pamela's Mushrooms .


             Research Labs               &   P r ojects


                      Deep Hypha . NSF-funded Research Coordination Network (RCN) that is
                      focused on developing robust phylogenetic hypotheses for the deep branches
                      within Kingdom Fungi and enhanced research and educational tools in fungal
                      systematics .
                      AFTOL : Assembling the Fungal Tree of Life . Collaborative research in fungal
                      phylogenetics .
                      Systematic Botany and Mycology Laboratory . Agricultural Research Service .
                      United States Department of Agriculture .           Beltsville,
                                                                           Maryland, USA .
                      Forest Mycol      ogy
                                       and Mycorrhiza  Research  Team . Forestry            Sciences
                                                                                           Laboratory,
                      Corvallis, OR, USA .
                  •   Cornell Center for Fungal Biology {CCFB) .
                      Bruns  Lab. University of California at Berkeley . Ecology and evolution of fungi .
                      Sp atafora Lab . Oregon State University . Systematics and evolutionary biology
                      of fungi .
                      Taylor Lab . University of California at Berkeley . Evolutionary relationships of
                      fungi, concentrating on the fungi that cause human disease .
                      Thorn Lab . University of Western Ontario . Fungal ecology and systematics .
                      Vilgalys Lab_ . Duke University . Natural history of fungi, including all aspects of


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 Fungi                                                                                                                        Page 1 0 of 1 2
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                                                            H . Petersen, University of Aarhus provide :
                                 Systematic Overview of           the
                                                              Kingdom Mycota
                                 Synoptic key for determination of Northern European genera of fungi .
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                             Fungi Online . A PEST project website .
                   • Moulds Isolation,          Cultivation.
                                                     Identification . David Malloch, Department of
                     Botany, University of Toronto .


              Professional Soc i eties


                       The Inte r nati onal Myco l og i ca l Assoc i at i on . A group that rep re sen t s myc olog i sts
                       and fungal biologists throughout the world .
                       British   Mycological Society .
                   •   Mycological Society of America .
                       Asoaacion Latinoamencana de Micologia .
                       Australasian Mycological       Society .
                       The International       Society f
                                                 or Mushroom Science . To fu rt her t h e cultivati o n of
                       edible (including medicinal) macrofungi .

              Title I l lustra t ions



                                      Scientific Name           C h ytridi u m (C h y t ridiomycota)

                                             Comments Indiv i dua l growing on a s in g l e p i n e p ol len gra i n .
                                                        Successive photos show zoos po re re l ea s e from the
                                                        sporangium, and the arrow p oi nts t o a f la gellum .


                                              C o pyr ig ht     OO 1996 H . Whisler, M . Fuller




                             Scientific Name           Pi lo bo l us (Zygomycota)

                                     Comments           Black   sp o rangium atop swo ll en sporan giophore . Sh o rtly ,
                                                        the swo l len subsporangial ves ic le w i l l burs t t o sen d the
                                                        sporang i um  flying .Herbivores eat the sp or a n gium, and
                                                        the enclosed mitospores germinat e in the du n g . Th e
                                                        bright ye l low carotenoid pigment en a bles the s po ra ng ium
                                                        to ori ent to light (phototropism) . If you loo k c l ose ly, y o u
                                                        can see masses of nematodes o n th e v esi c l e ; pro b a b l y
                                                        herbi v o re pathogens hoping to hitch a rid e .

                                     Sp ec im e n       Live Specimen
                                     C o n di t i on

                                     C opyrigh t        O 1996 Meredith Blackwell




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Fun g i                                                                                                                            Page 11 of 12
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                                             Scientific Name Laetiporus sulph u reus ( Ba si d io my c ota )

                                                  Comments Massed fruiting bodies of th e c h ic ken - of-the -
                                                            woods . The tiny tubular filame n ts (hyphae) th at
                                                            make the body of this fu n gus ( mycel i um) a re
                                                            growing in the old, dead w o od of a large cherry
                                                            tree . Laetiporus is not a p a rasite , but the decay
                                                            may weaken the -tree so mu c h tha t w in d or ic e
                                                            storms can to pple it .

                                                    Sp ec im e n     Live Specimen
                                                    Condit io n

                                                    Copyright        OO   1996 Me r ed i th Bla c kw ell




                                             Scientific Name Scarcoscypha                 coccinea (Ascom y cota )
                                                   Comments Fru iting body               of the scarlet c up fung us .
                                                                                                                Hundre d s
                                                             of millions of meiospo res (a sco s por es) are
                                                             d i scharged from th i s cup , u s ua lly i n pu ffs that
                                                             produce vis i ble cl o uds of s pore s

                                                    Copyright         O 1996     Joey Spatafora

           About This Page

            Many thanks to S o ren Rose n dahl and Atul Batra for scanning ph o tos and D a v i d M a ddis on a n d
           Atul Batra for page design advice .


           Meredith B l a c kwe l l
           mbl ackwell t@ lsu ed u
           Department of Plant Biology
           Louisiana State University
           Baton Rouge
           Louis i ana   70803,    USA


           Rytas Vilgalys
           funai (U uke .edu
           Department of Botany
           Duke University
           Durham, NC        27708-0338
           USA


           John W . Taylor
           rtavl orCla soc re tes . berk ele v .ed u
           Depa r tment of Pl a n t and M ic robial Biolo gy
           321 Kosh l and Hal l
           Un i ve rs i ty of Califo r nia
           Berke l ey, CA    94720-3120
           USA



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http ://tolweb . org/tree?group=Fungi&contgroup=Eukaryotes                                                                           2 / 25 /2 0 05
                            Case 4:04-cv-00091-BAE Document 81 Filed 04/29/05 Page 166 of 224
          CHRIS JXZAIRI v .                                                                                                                PATRICIA COSTANZ0, 114 .
          ROYAL O A KS APARTMENT, et al.                                                                                                           November 22, 2G
          00 :54: 14- 00:55:39                                                    Page 41                                                                             Page


~-'
                Ill     to that?                                                                 ill        certainty?
              [z]        A . Because she just kept directing the                                    f 2l      A . Yes .
              c»        conversation back to the fact that she though t all of                   131          0 . And if you could just describe for me
              141       her symptoms were due to   exposure to fungus and molds                  141        generally how you reached that opinion .
              [51       and didn't want to hear what I was - she seemed not                      [s]          A. She was wheezing, coughing . She had
              c61       to want to hear what I had to say, and I tried to                        [s]        mucus . Her chest x-ray had gotten better. There was
              (71       convince her that she co uld be better if she would                      [71        no indication on the pulmonary function test of an
              [B]       take medication and stop - continue to not smoke .                       I81        interstitial lung problem, which is usually
              [41        0 . Over the almost two years that you saw and                          191        manifested with low lung volumes and sometime s
          [lo)          treated Ms . Jazairi, had you considered mold exposure                [10]          diffusion abnormalities .
          Ell]          as a potential cause of her symptoms?                                 1113                 It all fits . This is what Isee -- 80
          [121           A . Yes .                                                            « :1          percent of what I see in my practice is asthmatic
          [131            Q. And what had you concluded in regard to                          ua1           bronchitis, and I see it over and over and over
         1147           that?                                                                [14]           again.
         [151            A. Well, I think that when I first saw her,                         [ is )           Q . And you've been practicing close      to 25
         use           it's possible that she could have had a problem from                  El 61          years?
         ci»           the mold. It's possible.                                              u>>              A.     Correct.
         ual                   But having moved out of the environment                       (181            Q. You also note tobacco addiction . What did
         U91           and as time passed, it did n ' t appear to be so, at                  [197           you mean by that?
         (201          least as far as I could tell:                                                          A. She had only been off cigarettes -- what
         «11             Q. If I could have you ta ke a look back at                                        she told me in the history is that she had only been
         1221          Exhibit 65, Impression Number 1, if you co u ld just                  u2i            off cigarettes for a short time and she was using a
         [33]          read that into the record for me .                                    [23]           Nicotrol inhaler.
         c :, 1         A . What is it that you wan t me to read?                            [241                   So certainly there's always a chance that
        ash             Q. The impression discussion, Number 1 .                             [2s]           someone will go back to cigarettes and I wouldn ' t


G       00 :55 : 41 - 00:56 3 4                                                  P ag e 4200 :57: 46-0 0 58 :5 7                                                     Page 4


          Ell           A . On July 20th?                                                     Ell           have considered the addic ti on gone . It's too soon .
          c21                 MR . THOMPSON: Yes .                                            c21            Q . And you also after your impression
          (31                  MR. BROOKS : Objection to form.                                E31          discussion you have a pla n of management. What does
          w                    TH E WI TNE SS : "Impression, Number 1, I see                  w            that mean?
          (51             no reason to blame any other disease ss                             (57            A. It was my sugges tio n for tha t day, that
         (61                   r than asthmatic ronchitis due to cigarette                    [s ]         visit.
         [71              smoking for the c lest symptoms in the patient                      [77            Q. What was your      first suggestio n?
         cep              I do not understand
                               ndertand    why she is focusing so much                       [8]             A . Continued en couragement in regard to
         [91              on this fungal exposure. I ca n no t imagine what                  191           s m oking cessation .
       no 7               fungal disease would linger and cause all of the                  f1o7            0 . And did you provide that guidance to
       nip                symptoms she is complaining of. It is not clear                   u11            Ms . Jazairi?
       n2i                that she ever had interstitial lung disease,                      n21              A. Yes.
       L13]              although initially her chest x-ray was                             (lJ]             Q . Then what was your second plan of
       [14]              suggestive of it . And, two, tobacco addiction ."                                 managemen t?
       ( 1 57                 Now, when I write my impression, I'm                          X157             A. " Treat symptoms by s t arting Spiriva an d
       [ i s1            generally dealing just with the pulmonary issues                  [is]            Advair . I have sincere doubts whether she is going
      c1»                here. Pm not going over a ny other things that                    1171            to take this medication because I believe she wants
      [lei               she had.                                                          [1 8 7          to continue having symptoms to try to make a case for
      [191             0.    (By Mr. Thompson) And was that what you                                       this funga l infection .,
      [zo 7           just read, was that your impression as of July 20th,                tool                       MR . BROOKS : Objection, relevance .
      u 11            2004?                                                               ul]               Q . (By Mr . Thompson) And did you          - what did
      us e             A. It was.                                                         [221             you mean by that?
      [33]                   MR . BROOKS: Object to the form .                                              A . Because she kept trying to direct all of
      u. 1             Q . (By Mr. Thompson) And have you reached                                          her symptoms back to the fungus
      us e            that opinion based on a reasonable degree of medical                                 almost unhappy when I suggest            EXHIBIT


      BROWN REPORTING, INC .                                                     Mm-U-Script
                                                                                                                                                        1(0
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                                IN THE UNITED STATES DIS TRI CT COURT
                               FOR THE SOUTHERN DISTRICT O F GEORGIA
                                         SAVANNAH DIVISION
    CHRIS JAZAIRI,

                     Plaintiff.
    VS .                                                        CIVIL ACTION
                                                                FILE NO . : CV-04-404-091
    ROYAL OAKS APARTMEN T
    AS S OCIATES , L. P ., It s P arent Company
    And Sub s idi ari es, And
    MITCHELL L . MORGAN
    MAN AGEMENT , IN C .,
                            Defendant s .



    STATE OF GEORGIA )
                                              AFF IDAV I T OF W . ELL IO TT HO R NE R , PH . D .
    COUNTY                OF        )




             1.      Affiant is of legal age and gives this affida v it based on personal and professional

    knowledge with the understanding that this affidavit will be filed on Plaintiff's behalf in the

    pending action of Chris Jazairi v Morgan Mitchell Properties, et al ., U .5 . District Court,

    Southern District of Georgia, Savannah Division, Civil Action No . CV-04-404-091 .

            2 . Affiant is a mycologist and works with Air Quality Sciences [AQS] in A tlanta,

    Georgia.   Affiant's educational    background includes a MS in Mycology from the State University

    of New York, College of Environmental Science and Forestry and a PhD in                   Forest Pathology
    from VPI & SU. Affiant also undertook          a post-doctoral   fellowship at Tulane University School

    o f M e di cin e co nduc ting l ab orato ry r esearch on fungal allergens . The fie ld of myco l ogy in cludes

    the study of molds and other fungi, including fungi causing root diseases of trees .

            3 . Affiant's work with AQS often involve s an aly si s of samples of building material


                                                                                                 EXHIBIT

                                                                                                  it
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to determine whether such materials have been colonized by fungi (have mold growth) . Affiant's

work also involves analysis of environmental samples taken from buildings for the purpose of

detecting indications of fungal colonization (mold growth) in the building . Affiant also conducts

evaluations that artificially expose building materials to mold to determine the resistance of these


material to mold growth . AQS performs environmental assessments and advises clients,

including many corporate clients, on the need for and appropriate methods for remediation of

mold colonized (moldy) material indoors that can generate mold contamination . The microbial

laboratory at AQS is accredited through the American Industrial Hygiene Association's

laboratory accreditation program for environmental microbiology (EMLAP) . The laboratory uses

well accepted procedures in the analysis of environment samples that it receives, follows written

procedures for these analyses and has a formal, written quality system in place that is compliant

with ISO 17025 (an international quality system standard for testing laboratories) .

       4 . Affiant is familiar with molds and fungi in his work and has published in peer-

reviewed scholarly journals in the field, as well as presented at numerous conferences in the


field . Affiant's curriculum vitae is attached as Exhibit A to this affidavit . Affiant issued the lab

report on the samples sent from the Chatham County Department of Health [CCDH], sample


nos.09586-OlOAAz, BFlm and nos .09586-OlOAAz, BF2m . These samples were received on

September 5, 2002 in appropriate sample containers that were appropriately marked . The

transfer of dry bulk samples by mail to AQS is acceptable .

        5 . Affiant understands that the bulk mold samples were collected by the CCDH on

or about August 2, 2002 . If the samples were dry at the time of collection, the one month interim

between collection of the samples and analysis of the samples is not of any significant scientific

consequence if the purpose of the analysis is simply to determine what molds were present in the
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environment where the molds were collected . If the dry s a mples were stored in clean , dry and

intact plastic bags at room temperature, then the molds pre sent in the bags would not have

grown, i .e . there would be no growth . Furthermore, any fungi detected on bulk samples that were

stored in intact, sealed containers would be derived from the sample at the time of collection (or

the environment in which the container was sealed) . The methodology of the sample collection ,

storage and transfer, as reported to affiant     are acceptable .    The analysis complied with commonly

accepted scientific methods for identification of molds in a living environment . The analysis of

the samples was completed on September 20 , 2002 .

          6.     The samples received from the CCDH were analyzed for molds us ing routine

dilution plating methods, which is a well accepted methodology, a copy of which is attached as

Exhibit B .    The r eport is attach ed as   Exhibit C .   This report i s of sc ientific value for d etermining

the types of molds present on the sample and/or in the environment where the samples were

taken .   Different molds have different properties and ha ve different growing characteristics . For

instance, Stachybotrvs chartarum often colonizes materials rich in amorphous cellulose (paper)

that are very wet (not just d amp) either from prolonge d wet conditions or from being wetted

repeatedly . Stachybotrys chartanuii was found in both of the samples analyzed . Wallemia sebi

however thrives under conditions that         are far drier , and hence often grows in dust indoors .      Dry

tolerant molds were absent from the samples .

          7 . The molds reported in the analysis to                 the   CCDPH in Exhibit C included

Stachvbotrvs chartarum, Asper fIlus niveus, Asper gi llus puniceus , Aspergillus                   versicolor.
These molds are not usually present as visible gro w th in an indoor environment, but are not

unusual as components of visible mold on water dam aged bu i lding materials .               The pres ence of

vi si ble mold (fun gal col oni zation) , as repo rted to affiant, in an indoor environme nt sho uld c reate
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concern for an atypical exposure of humans to spores and other fungal-derived particles from


surfaces with visible mold .




       8 . Molds release spores and other particles into the air at variable rates . The release

rates can depend on the life cycle of the particular mold, the environmental conditions at a given

time, and likely also the degree of degradation of the substrate (e .g superficially colonized


ceramic tile vs . badly rotted wallboard) . Different mold spores have different biological

properties and can be expected to cause different reactions in humans . Mold growth produces

multiple substances (metabolites) that are biologically active, such as glucans, allergens,

proteases, and in some cases toxins . Particles with biological activity other than intact spores

(broken spores, fungal fragments and substrate particles with mold metabolites) are also released


from moldy surfaces . A recent research paper from a peer-reviewed journal demonstrating this is

attached as Exhibit D . Due to the large number of different molds, and the variety of substances

from each, there are inadequate resources to test all of the molds in all the possible combinations

to determine all possible effects on humans . However, it is known that mold spores and mold

substances can cause reactions in humans . Affiant has published articles in peer-reviewed

journals on various substances released by molds that can cause reactions by humans . These

publications include book chapters and peer reviewed articles including the following :

                L Morey, PR,     Homer WE,       Epstien BL, Worthan AG and Black     M S,   "Indoor Air

               Quality in Nonindustrial Occupational Environments", in R .L . Harris (Ed .)       Patty's
               Industrial   Hygiene__(5`h ed .   pp 3149-3241) . John Wiley & Sons, NY (2000) ;

               2 . Homer, WE, Lehrer, SB and Salvaggio, JE,          "Aeorbiology"   (pp 53-72) in RF

               Lockey, and SC Burkartz, Allergens and Allergy Immunology (2d ed) Marcell
      Case 4:04-cv-00091-BAE Document 81 Filed 04/29/05 Page 171 of 224




               D ekker , NY(1 999 ) ;




               3 . A . De Zubiria, W. E . Homer and S . B . Lehrer . 1990 . Evidence for cross-

               reactive allergens among basidiomycetes : immunoprint-inhibition studies .           J.


               Allergy Clin.   Immunol . 86 :26-33
               4 . S . Wongtim, J. E . Salvaggio, S . B . Lehrer and W . E . Homer . 1993 . Protease

               activity in cockroach and basidiomycete aller gen extracts . Allergy Proc . 14 :263-

               268.

               5 . W . E . Homer, E . Levetin and S . B . Lehrer .       1993 . Basidiospore allergen


               release : elution from intact spores J . Allergy Clin . Immunol . 92 :306-312 .

               6 . W . E . Homer , J . M . Hughes, M . Lopez and S . B . Lehrer. 2000 . Basidiomycete

               skin test reactivity is a risk factor for a s thma .   Ped . Asthma , Allergy Immunol .


               14 :69-74 .

               7 . W .E . Homer, A .G . Worthan, P .R . Morey . 2004 .        The Air and Dustborne


               Mycoflora in Houses Free of Water Dama ge and Fungal Growth . Applied and

               Environmental Microbiology . 70 :6394-6400 .




       9 . Air sampling for spores or culturable particles is not always reliable for

determining the amount of mold exposure in an environment . Air sampling generally relies on

the recovery of intact spores for identification by microscopy, or the recovery of a culturable


particle . As stated above, this only accounts for a portion of the material that is released from

moldy surfaces . Further, release of mold spores is variable, so even spore-based analyses are

inherently susceptible to error, unless sampling is repeated multiple times . Air tests taken within
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i




    an hour of each other can provide very different results . Present methodology for investigation

    of the extent of mold and fungus contamination in a living or work environment emphasizes

    observation of the square footage of visible mold (and to the extent possible, including visible

    mold in hidden spaces, such as wall voids) in an en-v7ronment as a surrogate marker for exposure .

    The square footage as surrogate for exposure is used by both the EPA guidelines and the New

    York City guidelines in determining what precautions are prudent for conducting mold


    remediation . The EPA and New York City mold remediation guidelines are well accepted in the

    mold remediation field . Additionally, the attached articles note that visible indicators of water

    damage (such as visible mold) can identify damp indoor environments, and as such are a

    surrogate for determining whether an atypical mold exposure is present in an indoor environment

    Exhibits E, F . The identification of damp indoor spaces is crucial since these favor mold growth

    and both damp indoor spaces and mold growth have been identified in a recent report from the

    Institute of Medicine as associated with deleterious human health effects .


           10 . These remediation guidelines mentioned above recommend some form of

    containment when amounts over 10 square feet of mold-colonized material is removed . The

    purpose of the containment is to prevent the contamination of other areas of the living or working

    environment by the mold spores, and to limit exposure of remediation workers to mold dusts and

    spores . When moldy materials are disturbed, spores and other mold-related particles are

    released, often in massive numbers, that can travel in the air . For instance, if mold-colonized

    gypsum wallboard in one room of a house is removed with a saw, hammer or crowbar, massive


    numbers of particles are released . Large numbers of these particles are small enough to be

    breathed into the lung . These particles (including spores) can travel into other rooms and

    accumulate as dust and if spores contact moisture, they can colonize previously non-moldy areas .
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Humans in these other rooms can also be exposed to the traveling airborne mold spores and

particles, including mold spores and particles that were previously not present for inhalation by


humans in thos e ar eas .

                 AND FURTHER AFFIANT SAYETH NOT .




                                                       ELLIOTT HORNER, PH .D .


Sworn to and subscribed

before me this       I      day

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Notary ublic,
                            County, Georgia

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     Case 4:04-cv-00091-BAE Document 81 Filed 04/29/05 Page 174 of 224


                                   CURRICULUM VITAE
                              W . Elliott Horner, PhD, FAAAAI

                                Air Qual i ty Sciences, Inc .
                         1337 Capital Circle, At lanta, GA, 30067
                          (770) 933-0638 Ehomer@ags .com

Education :
Ph .D. 1 985 . (Forest Pathology) Virginia Polytechnic Institute and   State University .
    Department of Plant P athology, Physiology and Weed Science .

M .S . 1981 . (Mycology/Plant Pathology) State University of New York, College of
     Environmental Science and Forestry . Department of Biology, Chemistry and
     Ecology .

B .A . 1976 . (Botany and Comparative L iterature) University of North Carolina at
     Chapel Hill, College of Arts and Sciences .

Appointments/Employment :
Laboratory Director, Microbiology . 1996-present, Air Quality Sciences, I nc.,
    Atlanta, GA .
Adjunct Research Assistant Professor of Medicine . 1996-present, Tulane Medical
    Center, New Or leans, LA.
Adjunct Assistant Professor of Environmental Health Sciences, 1995-present, Tulane
    University School of Pub l ic Health and Tropical Medicine, New Orleans, LA
Research Assistant Professor of M edicine . 1991-1996, Tulane Medical Center,
    New Orleans, LA.
Postdoctoral Research Fellow . 1986-1990, Tulane Medical Center (Dr . Sam Lehrer,
    supervisor), New Orleans, LA .
Graduate Research Assistant . June, 1981-December, 1985, VPI&SU (Dr . Sam
    Alexa nder, advisor), Blacksb u rg, VA .
Graduate Research Assistant . July, 1979-June, 1981, College of Forestry (Dr . Robert
    Zabel, advisor), Syracuse, NY.
Herbarium Assistan t . September, 1978-June, 1979, N .C . State U . (Dr . James Hardin,
    supervisor), Raleigh, N .C .
Naturalist and CETA Superv isor . January, 1977-July, 1978, Weymouth
    Woods-Sandhills Nature Preserve ( NC State Parks), Southern Pines, NC

Profes sional Affiliation s :
American Academy of Allergy and Immunology
American Industrial Hygiene Association
American Society for Microbiology Pan American Aerobiology Assn
Mycological Society of America ASHRAE


                                                                                EXHIBIT
                                                                              3;,A-
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                                                                W. Elliott Horner
                                                                Curriculum Vitae
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University Service :
Tulane/LSU Clinical Immunology Seminars : Coordinated the 1990-199 1 series and the
    1991-1992 series .
Organized a mini-symposium of current mo l ecular biology techniques as part of the
    1990-1991 series .

Profe ss ional Society Servic e :
American Industrial Hygiene Association, Biosafety Committee, Laboratory Quality
    Assurance Program (LQAP) EM LAC Committee 2000-2003, Chair 2002 ; LQAP
    Analytical Accreditation Board 2002-2003 ; LQAP Technical Advisory Panel 2004
Ameri can Academy of Allergy, Asthma and Immunology, Aerobiology Committee,
    Allergen Standardization Committee, Indoor Allergen Committee (Vice Chair 2002),
    Air Pollution Committee
Mycological Society of America, Environmental Health and Medical Mycology
    Committee 1996-1998, Chair 1998

Grants Rece ived and Contracts Awarded :
HUD : Contract Awarded to Air Quality Sciences, Inc . Co-Principa l I nvestigator, W . E .
    Horner . H UD Healthy Homes Research Program
    Project Period : January 2002 -   July 2003
AS HRAE : Contract Awarded to Air Qua lity Sciences, Inc . Co-Principal Investigator,
    W. E . Horner. Detection and Remova l of Gaseous Effluents and Byproducts of
     Fungal Growth that Affect Indoor Environments
     Project Period : January 1999- October 1999
Center for Indoor Air Research : Contract Awarded to Air Quality Sciences, Inc . Principal
     Investigator, W . E . Homer. Microbial VOCs as I ndicators of Indoor Fungal Growth
    and Sources of I rritation
    Project Period : January 1997- September 1999
Center for Indoor Air Research : Contract Awarded to Tu l ane Clinica l Immunology
    Section, Principa l I nvestigator, W . E . H orner. "Quantitative Assessment of Indoor
    Fungi : Immunologic and Biochemical Methods"
    Project Period : January 1996- December 1998
Center Laboratories, Port Washington, NY : Contract awarded to Tulane Clinical
    I mmunology Section, Co-Principal I nvestigator, W . E . Horner . "Acarasan
    Comparative Efficacy Study"
    Project Period : April 1996-October 1 997
Louisiana Department of Natural Resources : Cooperative Agreement Awarded to
    Tulane Clinical Immunology Section, Principal Investigator, W . E . Horner . " I ndoor
    Air Quality in Louisiana Residences"
    Project Period : October 1994-September 1996
Louisiana Department of Environmenta l Quality : Contract Awarded to Tulane Clinical
    Immunology Section, Principa l Investigator, W . E . Horner . "Detection of Airborne
    Grain Antigen in St . Charles Parish, LA"
    Project period : March 1994-February 1995
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                                                               W. Elliott Horner
                                                               Curriculum Vitae
                                                               Page 3

Grants Received and Contracts Awarded : (con't .)
Louisiana Department of Environmental Quality : Contract Awarded to Tulane Clinical
    Immunology Section, Project Coordinator, W . E . Horner . "Aeroallergen Monitoring
    Program for Baton Rouge, LA"
    Project period : May 1990-June 1993
American Lung Association Research Grant : Principal Investigator, W . E.   Homer.
    "Basidiomycete Allergen Analysis Using Monoclonal Antibodies"
    Project period : July 1991-June 1993
Hyde and Watson Foundation Research Grant : Co-investigators, J .E .Salvaggio and
    W . E . Homer . "Mechanism of action of basidiospore allergens in asthma"
    Project period : May 1990-April 1991
NIH Small Instrumentation Grant (to Tulane Medical Center) 1991-1992 : Awarded
    $7,500 for electrophoresis equipment in university competition .

Awards :
Voted Fellow of the American Academy of Allergy, Asthma and Immunology, 2002
Young Faculty Award : 1 994, 1995
    American Federation for Clinica l Research (Southern Section)
Competitive Travel Grants :
    VII I nternational Congress of I mmunology at Berlin, August, 1989, (awarded by the
    American Associat ion of I mmunologists)
    I nternational Congress of Allergology and Clinical Immuno l ogy (X111 ICACI) at
    Montreux, Switzerl and, October, 1988, (awarded by the Congress)
Musser-Burch Society (honorary socie ty): 1987
    Tu lane University Department of Medicine
Arthur J . Webber Award (outstanding graduate student) : 1984
    Department of Plant Pathology, VP I &SU

Teaching Activities and Invited Lectures :
American Academy of Allergy, Asthma and Immunology, 2004 Evaluation of Homes
   and Buildings with Mold-Re lated Problems in the workshop "Evaluation of Mold-
   Related Health Problems" 22 March, 2004 (San Francisco)
American College of Allergy, Asthma and I mmunology, 2003 . Environmental
   Assessment for Mold in workshop 7 November 2003 (New Orleans)
Mycological Society of America I Br itish Mycological Society, 2003 . "Standardization of
    Lab Methods / Accreditation" in the " Expert Indoor Mycology" workshop, join t
    meeting 31 July 2003
Louisiana Society of Allergy, Asthma and Immunology 2003 . "The Biology of Molds"
   (28 June 2003) and "Environmental Analysis Methods and Interpretation to Assess
    Indoor Exposure t o Fungi, Spores and Fungal Toxins" (29 June 2003) Annual
    Meeting ( New Orleans)
American Society For Microbiology, 2003 . 103~d General Meeting . "Enhanced MVOC
    Detection for Monitoring B uilding Air for Mold Biocontamination ." In the colloquium
   "Fungal Biocontaminants In Indoor Environments ." 20 May, 2003 (DC) .
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                                                               Curriculum Vitae
                                                               Page 4

Teaching Activities and Invited Lectures : (con't) .
Michigan Safety Conference, 2003 . Invited speaker for Industrial Hygiene Division
  "Mold Remediation Case Studies ." 1 5 April, 2003 (Lansing, MI).
Hea lthy Indoor Environments 2003 Conference Proceedings . I nvited speaker for
    Healthy Indoor Environments seminar "Comparative Sampling Techniques for Mold
    Investigations." 9 April, 2003 (Anaheim, CA ) .
American Academy of Allergy, Asthma and I mmunology, 2003 . 60th Anniversary
    Meeting . "Environmenta l Analysis Methods and Interpretation to Assess Indoor
    Exposure to Fungi, Spores and Fungal Toxins ." In the AAAAI Postgraduate
    Symposium " H ealth Effects of Indoor Molds : The Known, the Suspect and the
    Unproven ." 9 March, 2003 (Denver) .
American College of Al lergy, Asthma and Immunology, 2002 "Biology of Molds" Plenary
   Session, Annual Meeting, 16 November, 2002 (San Antonio)
American Industrial Hygiene Conference and Exhibition, 2002 "Strengths and
    Limitations of Microbial Sampling and Analytical Methods" in the A I HCE Forum
   "Mold Investigations : The current state of knowledge" 3 June, 2002 (San Diego)
American-Academy of Allergy, Asthma and Immunology Annual Meeting . 2002 Mold
    and Mycotoxins : Exposure Assessment and Health Risks . (Breakfast Seminar) 5
    March 2002 (New York)
American Academy o f Allergy, Asthma and Immunology, 2002 . Moderator and
   Presentation of "Environmental Laboratory Testing for the Environment : Constraints
   and Clues" in the AAAAI Workshop "Handling Distressed Patients Claiming
   Environmental Disease" 4 March, 2002 (New York)
American Academy of Allergy, Asthma and Immunology, 2002 . "Exposure Assessment
   and Interpretat ion of Results" in the AAAA! Symposium "The Allergist and Indoor Air
   Quality: How to Handle B uilding R elated Il lnesses" 3 March, 2002 (New York)
American Academy of Allergy, Asthma and Immunology, 2002 . "Sampling for Indoor
   Molds and Interpreting the Results" in the AAAA I Workshop "Bui lding Inspect ions
   and t he   Allergist" 3 Marc h , 2002 ( New   York)
American Academy of Allergy, Asthma and Immunology, 2002 - 2004 . "Sampling and
   Analysis for Indoor Mold" in the Advanced Aeroallergen Course" 2 March, 2002
    (New York), 8 M arch 2003 ( Denver), 22 March 2004 (San Francisco)
American Academy of Allergy, Asthma and Immunology, 2002 - 2004 . "Nature of
    Outdoor Fungus Spore Populations" in the "Basic Aeroallergen Course" 1 March,
   2002 (New York), 7 March, 2003 ( Denver), 19 March, 2004 (San Francisco)
American Public Health Association . 2001 . Biological /Microbial Samples from
     Buildings : How are they handled and what can they tell us? in the CEI course "Air
     Quality P roblems in Publ i c Build i ngs - Assessment, Control and Prevention" 21
     October, 2001 (Atlanta)
Aerias Annual National Symposium. 2001 . Indoor Molds : Widely Used, New and
    Experimental Sampling Methods and Interpretation . 19 October, 2001 (Atlanta)
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Teaching Activ i ties and Invited Lectures : (con't) .
National Environmental Health Association . 2001 . Allergens, Molds and endotoxins : Do
    they link to the asthma epidemic? 1 July, 2001 (Atlanta)
Ameri can Institute for Conservation of Historic and Artistic Works . 2000 and 2001 .
    P ostconference Workshop on Practical Aspects of Mold Remediation for Cultural
    Property . 13 June 2000 (Philade lphia) and 4 June 2001 (Dallas)
American Industrial Hyg i ene Conference and Exposition . 2000 . Microb ial VOCs
    (MVOCs) as an effective IEQ Screening Tool . Invited presentation in the AIHA
    Roundtable on I ndoor Volatile Organ i c Compounds from Chemical and Microbial
    Sources . 22 May 2000
University of T ulsa / USEPA Workshops . 2000 . Indoor Air Quality : Asthma and
    Al lergen Control . Denver 3/9/00 ; Atlanta 4/28/00; San Diego 9/12/00
American Academy of Allergy, Asthma and Immunology Annual Meeting . 2000, 2001,
    2002, 2003 . Sick Building Syndrome : Clinical and Environmental Assessment .
    (Lunch Seminar) 4 March 2000 (San Diego), 17 March 2001 (New Orleans), and
    ( B reakfast Seminar) 6 March 2002 (New York), 9 March, 2003 (Denver)
Clemson University Extension Service . Healthy Indoor Air in Warm Humid Climates
    Inservice Training Course) . Environmental Assessment - Limits and Uses of
    Sampl ing, and Current Research and Future Needs . 19 January, 2000
American Industria l Hygiene Conference and Exposition . 1999, 2000, 2001, 2002 .
    Solving I ndoor Air Qual ity Problems in Hot/Humid Climates . Professional
    Development Course, 5 June, 1999 (Toronto), 20 May, 2000 (Orlando), 2 June,
    2001 ( N ew Orleans), 1 June, 2002 (San Diego)
Third I nternational Conference on Bioaerosols, Fungi, and Mycotoxins . 1998 . Why are
    There Still Problems with Fungal Extracts? Saratoga Springs, New York 23-25
    September, 1998
American Industrial Hygiene Conference and Exposition . 1998 . Toxigenic Molds as
    Allergens . Are toxic fungi special allergens? Invited presentation in the A I HA
    Roundtab l e on Toxigenic Molds . What is the Evidence? 14 May 1998
MidAltlantic Environmental Hygiene resource Center . 1998 . Fungi and Microbial VOCs
    in Indoor Air . What does the Data Mean? How much mold is too much? Invited
    Presentation in the Symposium on Microbiological Contamination of Indoor
    Environments . New Orleans 4-6 February 1998
University of Tu lsa / US EPA Workshops . 1997 - 1999 . Sampling for Biological
    Contamination in Buildings : Methods, considerations and implications . Atlanta,
    11/20/98 ; Walnut Creek, CA 12/12/97 ; West Palm Beach, F L 4/23/98 ; Dallas
    5/21 /98 ; Los Angel es 6/17/98, Honolulu 5/20/99, Denver 6/25/99
Mycologica l Society of America . 1997 . Aerobiology, The Real World . Invited
    presentation in the Symposium on Fungi and Sick Buildings . Montreal 3-7 August,
    1997
Society for I ndustrial Microbiology . 1997 . Detection of Early and/or Hidden Microbial
    Contamination by Microbia l Volati le Organic Compound (MVOC) Analysis . I nvited
    presentation in the Symposium on Microorganisms and Indoor Environmenta l
    Quality. Reno 2-3 August, 1997
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Teaching Activities and Invited Lecture s : (con't) .
MidAltlantic Environmenta l Hygiene resource Center . 1997 . Microbia l VOCs: sampling,
    potential health effects and indoor microbial contamination . Invited P resentation in
    the Symposium on Biological Contamination of I ndoor Environments. Chicago 16-
    18 April 1997
American Society for Microbio logy, 1996 . Health Effects of Exposure to Microbial
    Agents in Indoor Environments . Invited Presentation in Workshop : Indoor Air
    Quality. 95th ASM General Meeting, New Orleans 19-23 May 1996 .
American Academy of Allergy, Asthma and Immunology, 1996 . Nature of Outdoor
    Fungus Spore Populations . Invited Presentation in the Aeroallergen I dentification
    Workshop . 52nd Annual Meeting, New Orleans 15-20 March 1996 .
American Society for Microbiology, 1994 . Immunoassays for Fungal Bioaerosols :
    Prospects and Problems . I nvited presentation at Round Table : Progress in
    methods development for monitoring microorganisms in bioaerosols . 94th ASM
    General Meeting, Las Vegas 24-27 May 1994 .
Tulane University School of Public Health and Tropical Medicine . 1993-1996 . Served
    on thesis committee for two Ph .D . candidates .
T ulane Medical Center. 1986, 1988, 1991, 1993 . Provided guidance and
    laboratory instruction for two medical students and three clinical fellows for their
    research projects . (Manuscript coauthor with each fellow).
Department of Plant Pathology, Physiology and Weed Science, VPI&SU . 1982,
    1983 . Planned and coordinated for two years the undergraduate laboratory for
    Forest Pathology (Dr . Alexander) . Designed laboratory exercises and compiled a
    laboratory guide . Presented lectures in the classroom covering fungal decay of
    wood and wood products .
Botany and Plant Pathology sect ion of the Department of Biology, Chemistry and
    Ecology, SUNY College of Forestry . 1981 . Assisted with the undergraduate
    laboratory for Forest Pathology (Dr . Pau l Manion) .


Manuscri pt Reviewer for:
Aerobiologia
Aerosol Science and Technology
Allergy
American Industria l H ygiene Association Journal
Canadian Journal of Botany
Clinical and Experimenta l Allergy
Environmental Research
International Archives of Allergy and Immunology
Journal of Allergy and Clinica l Immunology
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Theses
W . E. Hom e r Studies of A u r _obasidium         pullulans (de    Bary) Amaud on Latex Paint.
1981 .

Dictation
W. E. Homer         Etiologic Studies of V _rti .i .ladiella   procer a in Pine    Christmas Trees.
1985 .

J ou rnal   Articles
1 . R . A . Zabel and W . E. Homer. 1981 . An accelerated Laboratory Procedure for
         Growing A u r .obasidium pullulans on Fresh Latex Paint Films . J . Coatings
         Technology. 53(675 ) :33-37 .
2 . W . E . Homer, S . A . Alexander and M . M . Julian . 1986 . Qualitative Determination of
        Cellulose in the cell walls of Verticicladiella ron c Pra . Mycologia . 78 :300-303 .
3 . K. J . Lewis, S . A. Alexander, and W . E . Horner. 1987 . Distribution and effi cacy of
         propagules of V .rti cfcladiella pr.Q.ceta in soil . Phytopathology. 77 :552-556 .
4 . W . E. Homer, S . A. Alexander, and K . J . Lewis . 1987. Colonization patterns of
         Ve i .i .lath .Ila procera in Scots and eastern white pine and associated
         resin-soaking, reduced sapwood moisture content and reduced needle water
         potential . Phytopathology . 77 :557-560 .
5 . W . E . Davis, W . E . Horner, J . E . Salvaggio, and S . B . Lehrer. 1988. Basidiospore
         allergens : analysis of Cn r~ q ~ad~ fi_d_u G spore, cap and stalk extracts .
         Clinical Allergy . 18 :261-267 .
6 . M . D . Ibanez, W . E . Horner, V . Liengswangwong, J . Sastre and S . B . Lehrer . 1988 .
        Identification and analysis of basidiospore allergens from puffballs . J . Allergy
        Clin Immunol . 82 :787-795 .
7 . W . E . Horner, M . D. Ibanez, V . Liengswangwong, J . E . Salvaggio and S . B . Lehrer.
        1988 . Characterization of a l lergens from spores of the oyster mushroom,
            PIP u rot u s ostreatus. J . Allergy C lin . Immunol . 82 :978-986 .
8 . W . E . Homer, M . D . Ibanez and S . B . Lehrer . 1989 . Immunoprint analysis of
        Calvatia cyathifnrmis allergens : I . Reactivity with individual sera . J . Allergy Clin .
        Immunol . 83 :784-792 .
9 . W . E . Homer, M . D. Ibanez and S . B . Lehrer. 1989 . Stability studies of Calvatia
        cLyathiformis basidiospore allergens . Int . Archs . Allergy Appl. Immunol . 90 :174-
        181 .
10 . A . De Zubiria, W . E . Homer and S . B . Lehrer . 1990 . Evidence for cross-reactive
          allergens among basidiomycetes : immunoprint-inhibition studies . J . Allergy Clin .
          Immunol . 86 :26-33
11 . C . E . O'Neil, W . E. Homer, M . A . Reed, M . Lopez and S . B . Lehrer. 1990 .
           Evaluation of basidiomycet2 and deuteromycete (Fungi Imperfecti) extracts for
           shared allergenic determinants . Clin . Exp . Allergy 20 :533-538.
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Journal Articles (con't.)
12 . R . P . Stankus, W . E. Horner and S . B . Lehrer. 1990 . Identification and
          characterization of important cockroach allergens . J . Allergy Clin . Immunol .
          86 :781-787 .
13 . S . B . Lehrer, W . E . Horner, P. Menon and R. P . Stankus . 1991 . Comparison of
          cockroach allergenic activity in whole body and fecal extracts . J . Allergy Clin .
           m munol . 87 :574-580.
14 . W . E . Homer, J . Kailas, R . P . Stankus and S . B . Lehrer. 1990 . Common German
          cockroach whole body and fecal allergens : immunoprint inhibition studies . Int .
          Archs. Allergy Appi . Immunol . 93 :256-262.
15 . C . E . O'Nei l , M . A . Reed, W . E . Horner and S . B . Lehrer. 1991 . Quantitation of
          specific IgG, IgA and IgM antibodies directed against four species of
          basidiomycetes . Grana . 30 :142-146 .
16 . W . E . Horner, M . Lopez, J . E . Salvaggio and S . B . Lehrer. 1991 . Basidiomycete
          allergy: identification and characterization of an important allergen from
          Calvatia cyathiformi s. Int . Arch . Allergy Appl . Immunol . 94 :359-361 .
17. S. B . Lehrer, W . E. Homer, P. K. Menon, J . Oliver and P . Hauck. 199 1 . Cockroach
        allergenic activity : analysis of commercial cockroach and dust extracts . J.
        Allergy Clin . Immunol . 88:895-901 .
18 . E . Levetin, W . E . Horner and S . B . Lehrer . 1992 . Morphology and allergenic
         properties of basidiospores from four Cal catia species . Mycologia 84 :759-767 .
19 . A . Helbling, W . E . Horner and S . B . Lehrer. 1993 . Identification of P sil
         c«b~ spore allergens by immunoprinting . Int . Archs . Allergy Immunol .
          100:263-267.
20. W . E. Horner, A. Helbling and S . B. Lehrer. 1993. Basidiomycete allergens :
         Comparison of three Ganoderma species. Allergy 48 :110-116 .
21 . A. Helbling, W . E . Homer and S . B. Lehrer. 1993. Comparison of P allocyta
        cuhensis spore and mycelium allergens . J. Allergy Clin . Immunol . 91 :1059-
         1066 .
22 . S . Wongtim, J . E . Salvaggio, S. B. Lehrer and W . E . Horner . 1993 . Protease activity
           in cockroach and basidiomycete a l lergen extracts . Allergy Proc . 14 :263-268 .
23 . W . E . Homer, E . Levetin and S . B. Lehrer . 1993 . Basidiospore allergen release :
           elution from intact spores J . Allergy Clin . Immunol . 92 :306-312 .
24 . A. Hefbfing, G . Reese, W . E . Homer and S . B . Lehrer. 1994 . Aktuelles zur
           Pilzsporen-Allergie . [Current aspects of funga l spores allergy ] Schweiz Med
           Wochenschr 124 :885-892 .
25 . J . J . Musmand, W . E . Horner, M. Lopez, S . B . Lehrer . 1995 . Identification of
           important allergens in German cockroach extracts by sodium dodecylsulfate--
           polyacrylam ide gel electrophoresis and Western blot analysis . J . Al lergy Clin .
           Immunol . 95 :877-885.
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26. W . E . Homer, G . Reese and S . B. Lehrer. 1995 . Identification of the allergen Psi c 2
        from the basidiomycete Fsiln •vb - cubensis as a fungal cyclophilin . Int Arch
        Allergy Immunol 107:298-300 .
27 . G. Reese, W . E. Horner and S . B. Lehrer . Characterization of basidiomycete
        allergens with monoclonal antibodies raised against Psilocyb p cub e nsis spore
        extract . (submitted in consideration of publication ; Int . Arch . Allergy Immunol .).
28. R . Lemus, A . A . Abdelghani, T . G . Akers and W . E . Horner. 1996 . Health risks from
        exposure to metals in household dusts . Rev . Environ . Health 11 :179-189 .
29. R . !.emus, A . A. Abdelghani, T . G . Akers and W. E. Horner. 1997. Potential health
          risks from indoor exposure to chlorpyrifos (O-O-diethyl-O-(3,5,6-trichloro-2-
          pyridyl] phosphorothioate) . Rev . Environ . Health 12:91-97 .
30 . R . Lemus, A . A . Abdelghani, T . G . Akers and W . E . Horner . 1998 . Potential health
        risks from exposure to indoor formaldehyde . Rev. Environ. Health . 13 :91-98 .
31 . W. E . Horner, J . M . Hughes, M . Lopez and S . B . Lehrer. 2000 . Basidiomycete skin
        test reactivity is a risk factor for asthma . Ped . Asthma, Allergy Immunol . 14 :69-
        74.
32. W .E. Horner, A .G. Worthan, P .R. Morey. 2004 . The Air and Dustborne Mycoflora
         in Houses Free of Water and Fungal Growth . Applied and Environmental
         Microbiology. 70 :6394-6400 .
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Co n f . r . n .P Proceedi n gs
W. E . Horner, G . Reese, and S . B . Lehrer . 1995 . Field Assessment of an
   Immunochemica l Assay for basidiomycete Fungal Antigens i n Indoor Dust. pp 639-
   647 . in Engineering Solutions to Indoor Air Quality Problems ( P roc of a conference
   24-26 July, 1995) : Air and Waste M anagement Assn : Pittsburgh, PA
P. Morey, A . Worthan, A . Weber, E . Homer, and W . Muller . 1997 . M icrobia l VOCs in
    Moisture Damaged Buildings . pp 245-250 (Vol 1 ) in Healthy Buildings/IAQ 97 :
    Global issues and regiona l solutio n s (Proc of a Conference 27 September - 2
    October, 1997); J .E. Woods, D . T. Grimsrud, N . Boschi (eds), Healthy
    Build i ngs/IAQ 97: Washington, DC
W. E . H omer, P. R . Morey, A . G . Worthan . 1997 . Microbial VOC Sampling in a Moldy
   B uilding I nvestigation . pp 593-60 1 in Engineering Solutions to Indoor Air Quality
   Problems (Proc of a conference 2 1 -23 July, 1997) : Air and Waste Management
   Assn: Pittsburg, PA
P. R. Morey and W. E . Horner. 1998 . Fungi and Microbial VOCs in indoor air - What
    do the data mean? How much fungal growth is too much? pp 123-129 in Design,
    Construction and Operation of Healthy Bu ildings . Solutions to Global and Regional
    Concerns . ASHRAE, Atlanta
W . E . H omer and S . B . Lehrer. 1 999 . Why are there still problems with Fungal
       Allergen Extracts? pp 313-319 In Bioaerosols, Fungi, and Mycotoxins : Health
       effects, Assessment, Prevention and Control . (Proc of the third Int'l Conf, 23-25
      Saratoga Springs, N Y, Sept, 1998) : Eastern New York Occupational and
      Environmental Health Center : Albany, NY
M . S . Black, T . Worthan and E . Horner. 1999 . Effectiveness of carpet c l eaning in
      biocontaminant removal . pp. 43-48 in Indoor Air 99, Vol 3, (Proc of the 8th Int'
      Conf on indoor air quality and climate, Edinburgh, 8-13 August, 1999) :
W. E . Homer, P. R. Morey and M . S . B lack . 1999 . MVOC and VOC em ission patterns
      from multiple strains of indoor fungi . pp . 9 1 5-920 in Indoor Air 99, Vol 4, (Proc of
      the 8th I nt' I Conf on indoor air qua l ity and climate, Edinburgh, 8-13 August, 1999)
P. Morey, W .E . Horner, M . Gareis, E . Johanning, A . Worthan, J . Lstiburek, R . Krell .
      2000 . M icrobial Evaluation I n a Pa rt ially Remediated Residence . Proc of Healthy
      Buildings 2000, (6-10 August 2000, Helsinki) (Vol 3, pp . 385-390)
B . L . E pstien, T. S . Lowenthal, & W . E . Homer 2001 . Evaluating dust sample analysis
      to detect biocontaminants (mold a nd allergens) in residential buildings . Proc
      ASHRAE IAQ 200 1 Moisture, microbes and health effects : Indoor air quality and
      moisture in buildings (4-7 N ovember, 2001 , San Francisco)
W. E . Homer, P. R . Morey and B. K . Ligman 2001 . How quickly must gypsum board
       and ceiling tile be dried to preclude mold growth after a water accident? Proc
      ASHRAE IAQ 2001 Moisture, m icrobes and health effects : Indoor air qua lity and
       moisture in buildings (4-7 November, 200 1 , San Francisco)
W. E . Horner. 2003 . Clearance Criteria for Microbial Remediation . Proc . ACGIH "Mold
       Remediation : The National QUES T for Uniformity' Symposium .
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Book chapters
S . A. Alexander, W . E. Homer and K. J . Lewis . 1988 . Le pto grao~ him fro . .r u m as a
     pathogen of pines . pp. 97-112 in Lep tstgraohi u m root diseases on conifers . F.W .
     Cobb, Jr. and T.C. Harrington (eds .) Am . Phytopath . Soc . Press, St. Paul, Minn .
     149 pp.
W . E . Homer, S . B . Lehrer and J. E . Salvaggio . 1999 . Aerobiology . pp . 53-72 in
     Allergens and Al lergen Immunotherapy (2nd ed) . RF Lockey, S Bukantz (eds) .
     Marcel-Dekker, New York, 595 pp .
P . R . Morey, E . Homer, B . L . Epstien, A. G . Worthan and M . S . Black . 2000 . Indoor Air
     Quality in nonindustrial occupational environments . Chapter 65 in Patty' s Industrial
     hygiene, (5th ed) Volume I . R .L. Harris, John Wiley, New York.
E . Levetin, W. E. Horner (2002) . Fungal aerobiology: Exposure and measurement . pp.
     10-27, in M . Breitenbach, R . Crameri, & S . Lehrer (eds .), Fungal Allergy and
     Pathogenicity - Molecular and Clinical .    .its.
H elbling, K . A . Brander, W . E . Horner & S . B . Lehrer (2002) . Allergy to basidiomycetes .
     pp . 28-47, in M. Breitenbach, R. Crameri, & S . Lehrer (eds), Fungal Allergy and
     Pathogenicity.
W. E . Horner . 2003. Assessment of the indoor environment : evaluation of mold growth
   indoors . I mmunology and Allergy Clinics of North America 23 :519-531 .
W. E . Horner, E. Levetin, and S . B . Lehrer . (2004) Aerobiology, in
   Allergens and Allergen I mmunotherapy (3rd ed) . RF Lockey, S Bukantz, J
   Bousquet (eds) . Marcel-Dekker, New York. 750 pp


Reviews,
S . B . Lehrer   and W . E . Horner . 1 989 . Respiratory Allergies to Fungi : Investigations of
     Bas id iospores. pp 131-146 in P . Comtois (ed .) Aerobiology, Health and
     Environment . proceedings 1st N o. Amer . Aerobiology Conf., Montreal .
S. B . Lehrer and W . E. Horner. 1990 . Allergic reactions to basidiospores : identification
    of allergens . (Proc PanAmerican Aerobiol Assn) Aerobiologia . 6:181- 1 86 .
W. E . Homer, C. E . O'Neil and S . B. Lehrer. 1992 . Basidiospore Aeroallergens . Clin .
    Rev. Allergy 10 :191-211 .
W . E . Horner, S . B . Lehrer and J . E . Sa lvaggio . 1994 . Fungi in Indoor Air Pollution : An
     Allergy Perspective . Immuno l. Allergy Clin . No . America 14 :551-566.
W . E . Horner, A . Helbling, J . E . Salvaggio and S . B . Lehrer. 1995 . Fungal Allergens .
     Clin . Microbiology Reviews 8 :161-179,
S . B . Lehrer, W . E . H orner, and G . R eese . 1996 . Why are some proteins allergenic?
     Implications for biotechnology . Crit Rev Food Sci Nutrition 36:553-564.
W. E . Horner, A . Helbling, and S . B. Lehrer . 1998 . Basidiomycete allergens . Allergy
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W. E . Homer and J . D . Miller . 2003 . Microbial Volatile Organ i c Compounds with
     emphasis on those arising from filamentous fungal contaminants of buildings .
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Abstracts
1 . W. E . Homer and S . A. Alexander. 1983 . (abstr) Verticicladieila row on Pinus
        s ylvestris Christmas Trees . Phytopathology. 73 :966.
2. W. E . Homer and S . A . Alexander. 1983 . (abstr) Verticicladiella rop cera in Pine
         Seed Orchards in the South . Phytopathology . 73 :835.
3. S. A . Alexander, W . E . Homer and D . Starkey. 1984 . (abstr) V .rti .i .ladiPlla prorpCa
         and Hetembasidion annosum in Loblolly Pine Plantations . Phytopathology .
         74:755.
4. K. J . Lewis, W . E . Homer and S . A. Alexander. 1985 (abstr) Soil-borne Propagules
         of V .rti .i .ladiella roc .ra : Their density, distribution and association with
         colonized roots of Christmas Trees . Phytopathology. 75 :627.
5. W. E . Horner, K . J . Lewis and S . A . Alexander. 1985 . (abstr) Colonization Patterns
         of Veiticicladiel la procer a in Scots and Eastern White Pine . Phytopathology .
         75:625.
6. W. E . Horner and S . A . A lexander. 1985 . (abstr) Permeability of asymptomatic,
         resin-soaked and V .rti .i .ladiel la tea-black-stained pine sapwood .
         Phytopathology 75 :1368 .
7. W. E . Homer and S . A . Alexander. 1985 . (abstr) Histopathology of V .rti .i .ladiella
         pLOS ta.[a in Scots and Eastern white pine . Phytopathology 75 : 1 337 .
8 . W. E . Horner, V . Liengswangwong, M . McCants, R . Macha, J . Salvaggio and S . B .
         Lehrer. 1 987 . (abstr) Characterization of spore allergens from the
        basidiomycete Ple urot us ostreat us ( P.o.). J . Allergy Clin Immunol . 79 :209
9 . M . D . I banez, W . E . Homer and S . B . Lehrer. 1988 . (abstr) I mmunoprint analysis of
        Calvatia cyathiformis basidiospore a llergens : I I . Time and temperature stability.
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10. W . E . Horner, M . D. Ibanez, J . E. Salvaggio and S . B . Lehrer . 1988 . (abstr)
        I mmunoprint analysis of Galitatia cyathiformis basidiospore allergens : I .
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11 . W . E . Homer and S . B . Lehrer. 1 988 . (abstr) Purification and characterization of the
        basidiospore allergen dal c Bd9.3. New England and Regional A llergy
        Proceed ings (X 11 1 ICACI, Montreux, Switzerland) 9 :418.
12 . R . P . Stankus, J . Kailas, W . E. Horner and S . B . Lehrer . 1989 . (abstr) Comparison
        of cockroach whole body and fecal allergen extracts . J . Allergy Clin . I mmunol.
        83:258.
13 . W . E. H orner and S . B. Lehrer . 1989. (abstr) Cal c Bd9 .3: Purification efforts.
         J .Allergy Clin . I mmunol . 83 :258 .
14 . S . B . Lehrer, C . E . O' Neil and W . E . Horner. 1989 . (abstr) Ana lysis of basidiospore
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printed 3/8/05
revised date 6/22/04
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 Summary of Method for Plating of Bulk.                            Swab and         Dust    Samples
      o      Dust and Bulk materials are weighed to determine total weight . The surface area
             of bulk samples is measured in cm and recorded . Apparent mold portions are
             selected, excised, weighed and a suspension in peptone tween is prepared .
      o      Dust is sieved to remove coarse particles and to mix the sieved materials .
      o      Platings are performed in replicate .

      Direct Plat i ng
             • The weighed particles of dust are sprinkled onto the selected agar surface in
                 replicate.
                  Excised portions of bulk parti cles are placed onto the agar surface so as not
                  to overlap each other .

      Diluti on P lating
             •    Suspend enough material in the                    diluent to create a 10-' mixture
             •    0 .1g (dust), 1 .Og (bulk), are suspended in peptone/tween [1 :10/W :V 0 .9mL
                  (dust), 9 mL (bulk)] . Smaller weights may dictate alternate volumes .
             •    The suspensions are mixed on a rotary shaker for 2 minutes, or for smaller
                  volumes 1 minute on the vortex .
             •    For dust transfer 0 .2 mL from the solution into 1 .8 mL (10-2) peptone/tween
                  and vortex. Pipette 1 .0 mL from the solution into 9 .0 mL peptone/tween and
                  vortex. Follow this dilution scheme for 103, 10-4, 10-5 .
             •    Pipette 0 .2 mL onto each replicate plate and spread with a sterile single use
                  device .
             •    If multiple plate analysis is requested proceed in the following order : MEA,
                  DG18, SSA, Cellulose .

      Swabs
         • Swabs are suspended in 2mL (nominal 1 :2) of peptone/tween, and placed on
            a rotary shaker for 2 minutes. Plate 0 .2mL onto each replicate plate and
            spread with sterile spreader . This provides a 10-' dilution set of plates.
         • Pipette 1 .0 mL from the original mixture into 9 .0 mL~10-') peptone/tween and
            vortex . Follow this dilution scheme for 102, 10-3, 10 , and 10-5 .
            Plate 0 .2mL onto each replicate plate and spread with sterile spreader .


Allplates for all analyses are incubated at 25C unt il an analyst identifies the various
fungi growing on the plate (ML009) .




                                                                                                                         EXHIBIT

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Sampling.   Handling and   Preservation

   o   Bulk, swab, and dust samples are collected in the field by an investigator .
   o   The  samples, upon receipt, are labeled with a unique   identifier by sample control
       and delivered to the Microbiology Laboratory .
   o   Swab samples and wet bulk samples are refrigerated until processing .
   o   Bulk and dust samples are held in sampling containers submitted at ambient
       temperatures until processing .
   o   All processing should be accomplished within 24 hours from the del ivery of the
       samples to the Microbiology Laboratory .
   o   No preservatives are added to the samples .
   o   All samples are held a minimum of 1 week before being disposed of by
       autoclaving and disposed in the normal waste stream .
           2002 09/20 17 :25 FAX 770 933 0641                             AIR QUALITY SCIENCES,INC                               0ooziooa
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                           Ms . Sharon Vin                                                   T(hs YLL-PaRT.
                           Chatham County Dept of Public Heath
                           7 Mall Court P.O. Box 1425 7
                           Savannah, GA 31416
                           AQS Report:         09586-01


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                          Thank you for choosing Air Quality Sciences, Inc_ (AQS), an ISO             9002 registered testing
                          laboratory. for your analytical needs. Air Quality Sciences, Inc. Is accredited by the American
                          Industrial Hygiene Association (AitiA ) in the environmental microbiology program .

                          Enclosed you wil l find the analytical results for the samples received on September 5, 2002 . Also
                          enclosed is a copy of the field sampling log acknowledging receipt of these samples. Reported
                          data were obtained from samples and sampling information as provided by the on-site
                          investigator. These data and general information are provided to assist the investigator in an
                          overall IAQ assessment. AQS employees did not collect samples nor visit the site where
                          samples were collected . Interpretation of data is left to the client or persons who conducted the
                          field work.
                          Sources of additional information are also      available from :
                          1 . Matey, P . R ., Homes. W. E ., Epsfien, B . L, Wortryan, A. G ., and         Black,
                                                                                                          M. S . Indoor    Air
                                Quality in Non industrial occupational Environments, in R. L. Harris (Ed.) Pafhls Industrial
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                                  and S. C. Burtcartr, Allergens and All erav Immunotherapy (2' ed .) . Martdl Dekker NY,


                         We     appreciate the opportunity to assist you. If you h ave any q uestions or comments, please feel
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                         W . ~liott Homer, Ph.D .
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                                 Business Solu GVnt for NealtFry fndo a Environments




                                                          MICROBIOLOGICAL LABORATORY
                                                                                RESULTS
                                               CULTURABLE FUNGI FROM BULK SAMPLES (DILUTION)

                                           P REPA R E D FOR : CHATHAM CO . DEPT. OF PUBLIC HEALTH
                                                              AQS PROJECT : 09586

                                                                                                                                 Fung i (Malt     Extract Aga r
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                                                                                                                                    Aifemaria sp. (1 )


                   date sample received:                       Septem ber 5, 2002
                   date analysis completed:                     Septem ber 20, 2002

                   'ca " tom wg units     per 9rarn of sample.
                   "iao   listed in descending order of occurrence .
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                   PIa9e WMg` vym, fazm present but colonies obscurei
                   •SuLcutnue not successful, ID not p osmbla
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                                                                              match In
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                  pmcesslrg mndl4o s n Sample suspension prepared and diluted in laboratory dlutlons replicate plated on Indicated culture medium
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                  Reported data were obtained from samples and sa mpling Information as prv~ided by he on-site Investigator. These data and gene-al
                  infomta9on are provided to asst the invesSgaEor in an Overall FAQ assessment AqS employees did not collect sartples oar visitUie
                  sib where samples were mlleckd Interpretation of data is left to the client or persons who conducted the field work

                  This report should not be reproduced exempt in Rtll . A copy of the sample log /chain of custody, which is an integral part of this report,
                  is attached.




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                               Fungal Fragments as Indoor Air Biocontaminants
                         l
                  Rafa L. G6my,lt Tiina Reponen,i* Klaus Wilieke,l Detlef                                              Schmechel,2 Enric         Robine,3
                                     Marjorie Boissier,3 and Sergey A.                                             Grinshpun'
     Center for Health-Related Aerosol             Studies,
                                                 Department of                  Environmental Health, University of Cincinnati, Cincinnati, Ohio 45267-
        0056,' Health Effects La boratory Divisio n, National In stitute for              Occupational Safety and Health, Morgantown, West Virginia
                     26505,2 and Scientific and Technical Cen tre                  Building, F-77421 tYfarne-la- Vallee Cedex 02, Fr ance3
                                                              Received    23 January 2002/Accepted           18   April 2002
                    The aerosolization process of funga l               propagules
                                                                           o f three species (Aspergillus versicalor, Penrcillium melinii,
                  and Cladosporium cladasporiordes) was studied by using a newly designe d and constructed aerosoliza t ion
                  chamber. We discovered that fungal fragments are aerosolized simultaneously wit h spores from contaminated
                  agar an d ceiling    tile
                                         surfaces.          Concentration
                                                                    m easurements with an optical particle counter showed that the
                  fragments are   released in higher numbers (up to 320 times) than the spores . The release of fungal propagates
                  varied depending on the fungal species, the air velocity above the contaminated surface, and the texture and
                  vibration of th e co ntaminated ma t erial . In contras t to s p ores, the rel ease o f fra                  gm
                                                                                                               ents from smooth surfaces
                  was not affected by air velocity, indicating a different release mechanism .                          Correlation
                                                                                                                  analysis showe d that the
                  number of rel eased fragment s cannot b e pre dicted on the basis o f the number                                of
                                                                                                                   spores . Enzyme- l inked
                  immunosorbent assays with monoclona l antibo d ies produced                        against
                                                                                               AspergiUus and PeniciUiuan fungal species
                  showed that fragments and spores               share
                                                                common antigens, which not on l y confirmed t he fungal origin o f the
                  fragments but also established their potential biological                  relevance.
                                                                                             The considerable immunological                        reactivity,
                  the high number, and t he small particl e size of the funga l fragments may contribute to human health effects
                  that h ave been detected in buildings with mold problems bu t had no                            scientific
                                                                                                         explanation until now. This study
                  suggests tha t future  fungal spore  investigations   in   buildings   with  mold  problems  should include the quanti-
                  tation of fungal fragments.


        Water damage in buildings is common and is often associ-                                 po unds pro duce d by fun gi while growing on           substrates and
     a ted with mold problems . In North America,                      cross-sectional           degrading the m may be respon sible for nonspecific symptoms ,
     questionnaire studies have found that 27 to 36 % of homes have                              such as h ead ach es ; ey e, nos e , and throat irritation ; and fatigue
     mold problems (9, 51) . Studies that included indoor air quality                            (4,35) .
     measurements have shown even higher numbers, from 42 to                                        An asso cia tion between the exi s tence of mold problems in
     56%   (8, 11) . In Europe, the prevalence of damp and moldy                                 buildi ngs and ad verse health effects has been found in several
     homes has been reported to be 17 to 46 % for Great Britain (5,                              studies ( 2 4, 57 ) . Although epidemiological studies show that
     23, 3 4, 42), 15 to 18% for The Nethe rlan ds (3, S5, 56), and 1 5%                         peopl e living o r w orking in buildings with mo ld problems have
     for Finland     (41) . Alarmingly, signs of present or previous mois -                      more   respiratory    symptoms and diseases than people in non-
     ture - related defects were found in 80 % of randomly selected                              proble m buildings , the r e lationship between inhaled fungal
     private homes investigated by civil engineers trained to                   recog-           spores and indu c tio n of respiratory symptoms is         still
                                                                                                                                                               indeter-
     nize   the signs of water leaks or conden sation (37) .                                     minate a n d controversial in many a spects (7, 25, 35, 40, 45, 54) .
        Increased prevalence of water- damaged buildings and sub-                                While the health problems in moldy build ings are associated
     sequent fungal contamination may                     contribute
                                                               to the noted                             xp
                                                                                                 with e os ure to high concentrations of airbo rne fungal spores
     increase in allergic diseases . Fungi can affect human health in                            in a few s tudies (42, 58), several field studi es show that the
     a variety of ways . Possible reactions generally fall into one of                           fungal spore concentr ation in proble m buildings is        not neces-
     three    groups:    allergic reactions (sensiti zation and immune re-                       sarilyhig her than that in n o nproblem ones (14, 25 ,     36,53).This
     sponses, i .e ., asthma, allergic        rhinitis,
                                                   or hypersensitivity pneu -                    suggests that airbo    rne fungal spor es m ay no t be the only agents
     monitis), infections (growth of the fungus in or on the body,                               contributing to the hea lth e ffects in d amp ind oor e nviron-
     e.g.,   aspergillosis),   and  toxic re sponses (24,        30,
                                                              45). The toxic                     ment s.
     reactions are mainly connected with the secondary fungal                     me-               While som e reports are availab le on the e mission of fungal
     tabolites,  i .e . , mycotoxins, but the role of cell wall components ,                     sp o res from m o ldy surfaces (16, 18, 39) , the release of other
     s uch as (3 - (1~3) -n-giucans, has al so been reported (4, 26, 29 ,                        typ es o f funga l pro p a gates h as n o t be en sufficiently explo red .
     45, 47, 50) . In addition , exposure to volatile organic com-                               In our recent inves tigati o n on the r e l ease of fungal spores ,
                                                                                                 perfo rm e d in the laborat ory under controlled environmental
                                                                                                 conditio ns (18), we found that param e ters such as fungal spe-
            Corresponding author . Mailing address: Center for Health-Re-
     lated Aerosol Studies, Department of Environmental Health, Univer-                          cies , air v el ocity above the surface , texture of the surface, and
     sity of Cincinnati, P O . Box 670056, Cincinnati, OH 45267-0056.                            vi b r a ti o n of co ntamina ted material affected the release of
     Phone : (513) 558-0571 . Fay (513) 558-2263 .               E-mail :                        spore s . The principal n ew finding reported h ere is that fungal
     Tiina .Reponen @uc.edu.
                                                                  Medicine and     En -          fragments ar e r e le ased t oge ther with spores from contami -
       t Permanent address : Institute of Occupational
     vironmental Health,       41-200 Sosnowiec,     Poland.                                     nated surfaces . While the presence of fra gments is docu-

                                                                                          3522
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                                                                                               Andersen F lat
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                                                                                                                       u1 ra6ne ParMJ e min ter

                                    Out 4
                                                                                                                                  cascade knpactor


                  FIG.    1.   Experimental      se tup (A) a nd it s   modification for testing th e     immuno l ogical       reactivity of fungal propagules ( B) .

mented with pollen exposures (43, 52), fungal fragments have                                 the vibrator       m t he experim ents A             sweep/function         generator (Model      180;
gained much less attention . The role of fungal fragments is                                 Wave te k, San Di eg o, Calif.) w as connec ted to the electrom agnet to generate the
                                                                                             specific co m bin ation o f frequen cy and p ower
 particularlyinteresting in the light of recent epidemiological                                The concentration o f relea sed propagates was measurcd with an optical par-
studies on the relationship between outdoor air particulate                                  ticle counter   (M odel     1108;    Grimm     Technologies,           Inc , D ougla svlle, Ga. ). This
pollution and       health
                       effects. These studies present evidence                               dev ice , based on light scattering, measures the concentration of p articles in the
that fine     particulates
                      (size, < 2 .5 µm)               are
                                            more strongly related                            (optica l eq u iv a len t ) sac r an ge of 0 3 to 20 µm. The durati o n of eac h experiment
to adverse health outcomes than coarse particles (10, 31, 48) .                              was 30 m m At th e beginning of every experiment the system was perated in the
                                                                                             abs en ce of any test mat e ri al m t he ch amber until the particle level wa s zero, as
The present paper              characterizes
                                      the release of fungal frag -                           measu re d b y the o ptical particle  counter . In the next step, a nonrgntamuta[ed
ments from contaminated surfaces and                     compares
                                                    the results to                           agar pla te or ceili ng tile (in cubated under the same conditions and times as the
those obtained in our previous study (18) on the release of                                  inoculated m aterials ) was pla c ed in the aero sol izahon chamber to e s tablish the
fungal spores. The present study also reports data on the im -                               b a ckground leve l for particles re l ease d from the test surface when expos ed to
munological reactivity of fungal fragments and spores .                                      airfl ow   and/or vib ration These        levels were negligibly low, about 0 Ol % of              the
                                                                                             total released pr op agu les. During all the relea s e experiments in a bi osafety
                                                                                             cabinet , th e temperature and relative humi dity, measured with a humidi ty/tem-
                           MATERIALS     AND METHODS                                         perature me t er (Fisher Scientific Company , Pittsburgh, Pa) , wefe 20 to 2 4° C and
     In the prese ntstudy the sam e experimental setup was      used and the same test       32 to 40%, respectively This low humidity was chosen for the expe rim ents to
 materials and fu ngal species wer e se lected as in ou r previous study on the re lease     represen t th e worst-case scenari o, a s fungalpropagates     have been s hownto        be
 of fungal sp ores (1 8) . A brief summary of t he procedures is gi ven below.                                                       4
                                                                                             aeroso lize d more e a s ily when t he air dry ( in contrast to relea s e i nto hum i d air)
     Experimental setup . The aerosolizadon ch amber and the experimentaJ facility          ( 1 6, 39) . Each test was repe ated three to six tunes B efore each test, the exper-
 utilized fo r this study we depicted in Fi g . I After incubation, th e contaminated       imental syste m was purged by passi ng clean air throu gh it
 mat eri al (either an agar plate or a ceiling t ile) was placed in a h old er inside the       Tested surface materials. Two s urfa ce materials were tes ted for the release of
 aerosolization cham ber. Fungal fragments and spores from the contaminated                 fungal propagules (i e , fragments and spor es) agar plates filled with malt extra ct
 m at eri al w ere released by passing clean , HEPA-filtered a s over the surface           agar ( Becton D ic kinson Microbio logy Sys tem s, Sparks, Md) and white ceiling
 ( 1 2144 HEPA capsule filter, Pall Gel man Laboratory, Ann Arbor, M ich .) with            tiles (Armstrong World Industries, In c., Lancaster, P a ) . The latter material is
 controll ed airflow rates. The entire setup was placed inside a class II biosafety         commonly u se d in buil d ings m the United Sat es and consists of human -made
 cabinet (StezilchemGARD , Ba ker Company, Sanford, Maine), A HEPA filter in                mineral fibers       The  porous texture of this material was expe cted to suppo rt
 the exit flow collected a13 remaining released propagules to prevent contamina-            fungal gr owth ( 1 5 ). Tie te sted ag az an d ceiling tile surface s ha d the s ame round
 tion of the room environment.                                                               shape an d the same dim ensi ons as a plastic pets dish (diameter, 8 .7 cm, height,
     The experiments were conducted at four as velocities typical for the following          14 cm, azea, 59 42 cm2 ) Both te s ted materials were sterilized b efore be ing
enwonments: indoor au (03 m s-i), outdoor air (1 .4 and 56 m a-'), and                       prepared for th e experime nts. The agar pla tes were prepared a ccording to the
ven tilation ducts (29 .1 m a-') . T hese fo ur velocities were adjusted t hrough four       miwbiological procedure recomm end ed by the ma nufa c turer (Becton D ickin-
combinations of two different orifice sizes for th e air inlet and two different flow        so n tvL cr obiology Sys t ems) . Precut pieces of cei ling tiles we r e aut ocl aved at
rates through t he mlet'L\vo 400ori5ce stages of the 6-stage Andersen impactor               121'C for 15 m m . Aft er s teriL za n on, th e agar p lates and ceiling til es wer e
(Model 10-SO(1, Andersen Ins truments, Atlanta, Ga.) with an orifice diameter of             inoculated with specific fungal sp ecies.
1 18 and 0.25 mm, respecti vely, were utilize d as the air inlets, one at a time . By           Fungal species and growth conditions. On the basis of earlier investigations (1,
value of the pressur e drop across the 400 nozzles, the airflow t hrough each of the        44) and similar to our spore rel e ase study (18 ), th re e fungal species we re selected
400 air jets approaching the test surface was th e same The airflow rates were 7             for the t ests Aspe/g!(us verst color, PeTUal4um meLnii, and Cladosponwn clad-
and 35 liters min' .                                                                        o rQonoides A versicolor an d C cladnsporiordu we comm only present in indoor
     To investigate the infl uence of mechanical disturbance on fungal spore release,       air (6, 1 7, 19,18, 28,32,38,40) P. m eluui is characteristic of soil e nviro nments . This
some tests were performed by applying vibration to t he surface at a frequency of           spe cies has, however, p revi o usl y bee n isolate d from contamin ate d building ma-
1 Hz at a power level of 14 W. Ti ns frequency was selected because it is believed          terials and was sel ected to repr esent fungi with large spores (44) .
to cause a maxi mum nbradon-induced structural response in buildings (27, 49) .                The fungal sp ecies we re first grown on malt extract agar pl at es at 24° C at a
A simp le electromagnet with an oscillating cylindrical hammer inside w as used as          re lative h umid ity of 32 to 40% fo r 7 day s be fore inoculation o f the test materia ls
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3524        G6RNY E ' A L   1                                                                                                                    APPL. ENVIRON. MICROBIOL



Fungal suspensions were prepared by w ashing fungal colo n ies from the agar               ete r polycarbonate membrane filters with a pore size of 2µm (Millipore Co. ) .
plates with deiomzed and sterilized water (5 Stage MHIi-Q Plus System , Mffilipore         The purity of the fragment suspensions as well as the spore concentrations
Corp oration, Bedford, Mass.) . The spore concentrations in t he initial water             prese nt w the s pore suspensions were checked by using a bright line hemacy-
sus p ensions were checked by usin g a bright line h emacytometer cou nting cham-          tometer counting chamber. The number of released fra gments with diamete rs
ber (Model 3900; Hausser Scientific Company, Ho rsham, Pa.), a nd the concen-              below 0 .4 µm (collected on the after filter) was estimated by subtrac ting the
trationwas adjusted to 106 sp ores per ml . The agar plates an d ceil in g tiles were      number of particles wi thin the 0 4 to I - µm size range (recorded by the Grim
inoculated with 0 1 and 1 ml of fungal suspensions, respectively . After inocula-          optical particle counter) from the number of particles within the 0 .02- to 1 - µcn
tion, the agar plates and ceiling film were incubated in separate chamber s at 24°C        size ran ge (recorded by the P-Trak u14u&ne particle counter) .
and a relative humidity of 97 to 99% This humidity was achieved by placing                    Th e immunological reactivity of the fungal propagu] es was tested by u sin g a
saturated Kr50q solution (150 g per liter) a t the bottom of the incubation                mod ifie d enzyme-linked immunosorbent assay (ELISA) The fungal fragment
chambers (20) Th e agar plates were incubated for 7 days and the c eiling tiles            and s p ore s uspensions ( 100 µl) we re pipe tted into the wells of ELISA MicroWell
were incubated  for 6 (C cbdarporio/des and P. meluuu) or 12 (A verstrolor)                pl ates ( Nal g e Nunc International, N ap e rnlle, LI) and were in c ubate d overnight
months, which resulted in abundant fungal growth on bot h surfaces, Tempera-               a t roo m temperature- After incu b ation the wells were washed twice wi th 200 µl
ture and humidity in the chambers were monitored by a humidity/temperature                 of phosphate-buffered saline containing 0.05 % Tureen 20 (PBST). The ELISA
meter.                                                                                     plat es were the n processed according to the following five sequential steps , e ach
     After incu bation, two sam ples of each of the two tested materials were used to      step being sepa ra t e d from the next by two washing steps with PBS1': (i) incuba-
determine the initial sp ore surface concentration A 2-cm ' piece of the contam-           tion for 1 h at room temperature m 200 µI of PEST containing 1 % nonfat milk
inated material was cut an d suspe nded in Z5 ml of ricionmed and sterilized water         powder ( PBSTM) , (v) inc ubation for 1 h at 37°C in 100 0 of monoclonal
in a test tube . The spores were th en extracted from the materia l by vo cte xmg          antibo dy (MAb) culture supe rnatant diluted five times into PBSTM; (Iii) in c u-
them for 1 0 m in in a vortex touch mixer ( Model 231, Fisher Scien tific Company,         bati on fo r 1 h at 3TC in 100 µl of Biotin -SP-conjugated A9iPure goat anti-mouse
Pit tsburgh, Pa.). The sp ore concentrations in the resulting suspensions were                                         i
                                                                                           xmm unoglob uLn G plus mmunoglobulin M secondary antib ody               (Jackson Imm u-
determined with the bright lin e hem arytome ter, which in d ica ted about 10'             no Rese arch Laboratories, Inc., West Grove, Pa .) at a dilution of I/5,0W in
spores per cm2 for both agar and ceiling tile samples The hypbal structure of the          PBSTM; (rv) incubation for 1 h a t 37°C in 100 µl o f alkaline phosphatase-
fungal colonies on the agar and ceilin g tile surfaces was observe d by using both         conjugated stmptavidm (Jackso n ImmunoRweazch Laboratories , Inn) at a di-
a light microscope (Model Labophot 2A, Nikon, Tokyo, Japan, available th rough             lution of 1/5,00 0 i n PBSI 'M; and (v) in cubation for 30 mm at room temperature
Fryers Com pany, Inn, Carpentersville, Ill ) and a stereomicrauope (Mode] Ste-             m 100 µl o f sub strate buffer (97 ml of die thano lamine , 100 mg of MgQz [both
reomaster II; Fisher Sci en tific Company)                                                 from Sigma Chemical Co., St. Louis, Mo .] i n 1 liter of distilled water, pH was
     SEM analysis . The presence of fr agm ents was confirmed by scanning elec tron        adjusted to 9 .8 with HC9) containing o n e 5-mg p - mtropheny] pho sphate tablet
mi croscope (SEM) analysis. For this purpose, fungal propagates were aerosol-              (Sigm a Chemical Co .) in 10 m] of buffe r. Three different MAbs were used in the
ized and sampled during 30-min experiments onto a 25-mm polycarbonate mem-                 tests : MAb 14F7 produced ae       m ctA    versico lor but cross -reacted with P. mdinie ,
brane filter with a pore size of 0.2 µm (Mil l ipore Co .) with an m-Lne filter holder     MAb 5177 pr od uce d ag ainst PenicdLum 6revicompa ctum but cross-reacted withA
(Pall Gelman Laboratory), which replaced the F 1EPA filter in the outlet tube              versr co lo r an d P. meLnu, and MAb 12G2 produced against PenicilGum chrysoge-
downstream o f the aerasolizat ion chamber (Fi g IA) After sampling, the poly-             num but cross-reac ted with A vusicolnr a nd P, melinii . After          incubation, the
carbonate fil ters were coated wit h platinum (JEOL 7FC-1300 auto fine water               abs orbance of the pr epared samples was read spectropho[omeGic ally at a wave-
metalbscr; IEOL, Tokyo, Japan) and then analyzed by using low-v acuum S6 M                 length of 4 05 too (UltraM ic ro plau Rea d er, Model EL„800; BIO-TBK Instru-
( Model JS M 5600LV; JEOL) paired with Oxford microanalysis, Th e secondary                ments, Inc. , Winooski, Vt ) Two independent s ets of samples for ea ch test e d
vacuu m in the SE M operat ed at a pressure of SO-6 Pa . The images ob tained              fungal sp ecies ofA versicofor and P. meG 'ui were tested in triplicate (one set i s
d uring th e analysis were digitized from an electron detect or of the SEM an d w ere      a p ai r of one spore and one fragment samp l e) . Two blank PVC filters used as
passed to the computer.                                                                    negative controls were tested in parallel with the sample filters
                                                                                                                                                      .
     Immunological reactivity of fungal propagate. To test the imm imobgical                 Data analysis. The data were statistica lly analyzed by analysis o f      variance and
reactivity of A . vosito7o r and P. mel+n:t propagules, the fragments an d spores          t test by u s ing t he software                         A
                                                                                                                      pa ckage STAT'ISTTCP for W ind ows             (StatSoft, Inc .,
were simultaneously released from the agar p lates at an air velocity of 24 m s''          Tulsa, Okl a )
and were then co llected onto separate filters by using a cascade impactor. For the
purpose of these experiments, a 7-stage Andersen Cascade Impac t or (A ndersen
Instruments Inc., Smyma, Ga.) was ad ded t o the e xpenmenta f setup (Fig. IB)                                                  RESULTS
This device has particle cutoff sizes of 7 .4, 4.7, 33, 2.1, 1 1, 0 .65, and 0.43 µm for
s t ages 1 through 7, respectively. The impaction pl ates of stages 3 to 7 were                The optical       particle
                                                                                                                     s ize dis tribution was me asured for each
covered wi th a double-sided s ti cky tape (M arco Tna, Westlake, Oh io), which was
discarded after ea ch experiment This was done to decrease particle b ounce and
                                                                                           tested fungal species at an air              velocity
                                                                                                                                         of 29 . 1 m s - ' with both
to im prove t he separation of fragments and spores Impaction s tages 1 and 2              agar and ceiling        tile
                                                                                                                   samples . The results                are
                                                                                                                                                  presented in Fig.
(which collected most o f th e spores) had 80-mm- diameter poly vinyl chloride             2 . Previous reports indicate that the physical size of spores
(PVC) filters as substrates (O mega Specialty Instrument Co., Chelmsford,                  (measured under a microscope) is 2 to 3 . 5 µm                      for A.
                                                                                                                                                           versicolor
Maw ). The remaining propagates, most of which were fragments , were collected             (close to spheres), 3 to 2µm by 7 to 4µm for C .                     cladosporioides
onto a 37-mm-diameter PVC filter with a pore size of 0 B µm (SKC sue, Eighty
Four, Pa) . This filter was placed directly after the impactor outlet and is marked        (ellipsoidal shape), and 5 to 6µm for P. melinii (close to
"After filter" in Fig . IB.                                                                spheres ) . The respective aerodynamic equivalent sizes are 2 . 5,
  Each se t of samples was collected for 4 h. During this ti me the fungal prop-           1 . 8, and 3 . 0 µm (44) . The optical size distributions of the
agules were released from 24 contaminated agar plates, which were changed                  relea se d fun gal propagates, shown in Fig . 2, were the first o n es
every 10 min in order t o att ain sufficiently high concentration of r ele ased fungal
                                                                                           to rev e al th at particles signifi cantly smaller than the single
propagates The latter was m easured simultaneously by using the Grimm optical
particle counter an d an ul Vafine particle counter ( P-Trak, M odel 8525 ; TSI            sp ore s ize    are
                                                                                                             released from the cultures of all three test e d
Incor porated, S t. Paul, Mina) 13e RTrak is a condensation nuclei counter,                fungal species . This is          clearly
                                                                                                                              seen as an additional peak in the
which measures the concentration of p articles in the size range of 0 .02 µm to            submi cr o m e ter size range . Th e p e ak in the numbe r of rele a se d
greater than 1 µm .
   For the immunological reactivity tests, only th e filter from stage 2 (collecting
                                                                                           particles  corre sponding to the spore size for all test organisms
spores and their agglomerate s in the 4.7- to 7.4- µm size range) and the aft" filter
                                                                                           is seen be tween 1 .6 and 3 . 0 µm in equivalent                   optical
                                                                                                                                                          diameter .
(collecting fragments) we re used After collec tio n , each PV C filter was cut up,        Therefore, the particle size of 1 .6 µm was selected as the lower
placed separately m a safe-lock Epp endorf micro test tube (Bcmkmann Instru-               counting limit        separating
                                                                                                                          spor e s from fungal                fragments.
ments, Inc., Westbiuy, N. Y.), and soaked with I ml of carbonate coating buffer               The presence of fungal fragm ents was confirmed by collect -
at a pH of 9 6 The collected fungal propaga tes w ere suspended from the filters
                                                                                           ing filte r samp le s and inv e stiga ting them under the SEM. Fig-
by vortexing for 0 5 mm with a vortex mixer (Model Vortex-Genie 2; Scientific
Indu stries, Bohemia, N .Y.). To guarantee purity (absence of spores) in the               ure 3 dis p l ays an example of fragments and spores released
fragment samples, the fragment suspensions were filtered th rough 2Smmdiam-                from A. versicolor culture . Simultaneous releas e of intact
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                                                                                         Table     1 compares the results on the release of fra              gm
                                                                                                                                                      ents and
                                  Fragments Spores
                                                                                       spores from      agar  and ceiling        tile
                                                                                                                               surfaces at the two air veloc -
             H
             C
                       1o*                                                             ities indicate d above . Similar to what was determined about
             Ev                                                                        the releas e from       agar,the number of aerosolized fungal frag-
                       101                                                             ments from ceiling         tilesurfaces was always higher than the
                                                                                       number of r e leased intact spores . At an air velocity of 29. 1 m
              o.       101
              0                                                                        s -1 the release of fra gme nts from ceiling tiles was much higher
             D
             m         101
                                                                                                                                                      x
                                                                                       th a n tha t fr o m aga r surfaces, re a ching its ma imum of 5 . 7              X
             0                                                                         10 5 parti c le s percm'   for P. nselins (P < 0.00000 1 ). At a lower
             d                                                                         air ve l ocity of  0.3  m s -1 the release rate reached 2 . 4 X 103
                       1o°
             N
             d                                                                         fragm e nts per cm Z, but no significant differences were observ e d
             0         1 04
                                                                                       for the number of fragments released from these two surfaces .
             a
             N         103                                                             In contra s t to a gar, there was a noticeable increase in the
             CR                                                                        number of released fragments for all tested fungal species with
                                                                                       increased air velocity from the ceiling                 tile
                                                                                                                                         surfaces. The t test
                       101
             .~!                                                                       statistic a lly confirmed these differences for fragments of A .
              c
              a>       101                                                             versicolo r (P   < 0.05)  and P. melinii (P < 0 .001) .            Similar
                                                                                                                                                       release
             m                                                                         trends w e re noted for fungal spores (18) .
             L
                       100                                                                Data on the effect of surfa ce                 vibration
                                                                                                                                          on the release of
                       104                                                             fungal fragments are also shown in Table 1 . Vibration of                     ceil-
             m
                                                                                       ing   tiles at the lower air velocity of 0 . 3 m s -1 increased the
             m
                       10,                                                             releas e of Cladosporium (P < 0. 05) and Penicillium fragments
             d                                                                         (P < 0 . 01) . For Aspergillus fragments this difference was not
             L         1 02
                                                                                       statis tically significant. At v = 29 .1 m s - ' no statistically sig -
             0
                       101                                                             nificant e ffect of vibration on the release of fragments was
             d
                                                                                       obs erved. The s ame observation was previously concluded for
             E
             3
                       100,o .s   0.5    i       3    5   to         20                the spore r el ease experiments (18) . Similar to                  the
                                                                                                                                                    tests con -
             z                                                                         ducted without vibration, the augmentation of air velocity from
                             Optical diamete r , D oPh Nm                              0.3   to 2 9 . 1 m s -1 resulted in an increase in the number of
                                                                                       releas ed funga l fragments from ceiling tiles when                 vibration was
  FIG.    2. Optical                                  i
                     size distributio n of A. vers color, C. cladosporioides ,
                                                                                                    .
                                                                                       appli e d Statis tical analysis (t test) confirmed this trend for
and P. me (inii propagules relea s ed from bo th agar and ceiling               tile
surfac es (co mposite values) during 30-min expe riments.                              frag m e nts of A . v ersicolor (P < 0 .01) and P. meluiii (P <
                                                                                       0 .0001) .
                                                                                         The     pe rcentage of released fungal fragments and spores
spores (Fig . 3A) as well as fragmented spores and /or hyphal                          during the fir st 10 min of the 30-min experiments is presented
fragments (Fig . 3B) was observed.                                                     in Table 2 . These data were obtained at airflow velocities of 0. 3
     Figure 4 shows a comparison              between
                                                the number of frag-                                                                             il
                                                                                       and 29 . 1 m s -1 for agar and ceiling t es without vibration
ments and spores released from                 agar
                                            surfaces at four air ve -                  applied and for ceiling           tiles
                                                                                                                            when these two air               flows
                                                                                                                                                            were
                                                 gm
locities . The number of released fra ents ranged from 160 to                          accompanied by vibration . For all these species , the percentage
 1 ,400 particles per cm2, and the number of spores ranged from                        of released      fragments   was     30
                                                                                                                             to 53 % and of released spores
 1 to 70 per cm 2. Although             the
                                    optical particle counter used in                   w a s 27 to 45 % at the air velocity of           0.3
                                                                                                                                      m s -1 when no vibration
this study detects and counts particles only down to              0.3
                                                             µm, the                   was applied. When vibrati o n was applied to the ceiling                       tile
data indicate that concentrations of released fra                gm
                                                           ents were                   surfaces the respective mean perce ntage increased to 51 to
 11 to 320 times higher than those for spores ofA. ve icolor, 17   rs                  53 % for the release of fra          gm
                                                                                                                             e nts and to 59 to 76 % for the
to 170 times higher than those for spores of C. cladosporioides,                       release of spores . At the air velocity of 29. 1 m s -1 the mean
and 7 to 270 times higher than those for spores of P. melinii . All                    percent age of released fungal propagules incre ased to 66 to
these    differences were statistically significant (P < 0.05 for A.                   86 % fo r fragments and to 71 to                 88%
                                                                                                                                     fo r intact spores . Apply-
versico lor and C.      cladosporioides
                                      and P   < 0 .000001 for P. me -                  ing the surface     vibration   at this air velocity did not affect th e
[inii by t test) . The lowest      fragment/spore  ratio was usually                   fragm e nt and spor e releas e (the same mean values of 76 and
observed for an air velocity (v) of 29. 1 m s -1 , and the highest                     81 % , respe ctively) .
ratio varied depending on the fung al species (v = 5 . 8 m s -I for                       The correl at i o n between the numbers of rele ased funga l
A . versicolo r, v = 1 .4 m s - ' for C.         cladosporioides,
                                                            and v =                    pr opap l es was analyzed for the three tested fungal species.
0 3 m s - ' fo r P. meknii) .                                                          Fo r e ac h speci es, a ll the da ta on the number of released fungal
     Our recent findings (18) reveal           that
                                            the spore release from                     fragm e n ts (from agar and ceiling tiles with and without vibra -
agar    increas ed with increasing air velocity . In this study, air                   tio n) a t a n air velocity of       0.3
                                                                                                                              m s -1 were grouped into one
velocity did not affect the number of released fragments (P >                          cat ego ry a nd we re correlat e d with the respective numbers of
0. 05 by analysis of variance) , and therefore further e periments   x                 release d spores . The data obtained at an air velocity of 29 . 1 m
were performed at the two extreme velocities,                  0.3
                                                         m s-1 (typ-                   s -1 wer e gro uped into another category and were tested sep -
ical air velocity in indoor environment s ) and 29 .1 m         (typ -    s-'          arately. Th e results       are summarized in Table 3 . As shown,
ical air velocity in ventilation ducts) .                                              strong  correlations     w ere observ ed at the air velocity of 29 .1 m
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                  U




   F'IG. 3. SEM pictures o f propagules releas ed from a ceil ing   tile   contamin a t ed with A. versico lo r (panel A, intact spor es ; panel B, frag-
ments)-s-1
;



     for all three species the correlation coefficients were clo se              The immunological       reactivities of A.versicolor and P.    melinii
to 1 (P < 0 . 05) . At the air velocity of 0.3 m s -1, the correlation         fragm ent s and spore s are shown in Fig . 5 . The total numb er of
between fragments and spores was found to be statistic ally                    fragment s versu s spores in A . vers icolor samples were as fol-
significant (r' = 0.508 , P < 0. 05) only for P. m elinii .                    lows : sample 1, 4.7 X 10 6 versus 1 . 4 x 10`, sample      2,13
                                                                                                                                             x 10 7
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                                                                                        outnumbered        the  aerosolized spores by up to 320 times . The
                                       rg
                                    Asp[ji!Iusj3I                                       prese nce of     fragments   was confirmed by SEM observations .
                ,o'                                                                        The presence of airborne fragments is               clearly
                                                                                                                                                 documented
                1   e                                                                   with    pollen  exposures, as the onset of seasonal allergies is
                                                                                        shown    tostart several weeks before the respective pollen grains
                1 o=                                                                   are   det ected in the air (43, 52). In contrast , the role of frag-
        n
        E       10 1                                                                    ments in fungal exposures has not been sufficiently recognized .
                                                                                        The rea son for this may be that fine and ultrafine fragment
        U
                io°         "                    11                                     particles cannot be detected with traditional bioaerosol sam-
        N                                                                               pling and analy sis methods . However, previous reports on my -
        m
        v
        y       1   0   4                                                               celium pieces (that were large            enough
                                                                                                                                     to be detected by light
                                                                                        microscopy) indicate the possibility of the presence of frag -
        A       10
        CL                                                                              ments. Li and Kendrick (32) and Robertson (46) showed that
        a       tio'                                                                    the co ncentrations of fungal fragments in indoor air can reach
        m
                                                                                        an average level of 29 to 146 pieces per m 3, i .e . , up to 6 .3% of
        m       101
        m                                                                               all fungal propagates indoors. Madelin and Madelin (33) re-
        m
        w
                100                                                                     port ed that pi ece s of       mycelium areoften blown away from
        0                                                                               contaminated surfaces, and some of these pieces remain viable
                                      Pe nicillium melinii                              and capable of        initiating
                                                                                                                      new growth. It is also possible         that the
        m
       .u      104
        E
                                                                                        fragments       are pieces of spores and           fruiting
                                                                                                                                              bodies or            are
        3      103                                                                     formed     through nucleation from secondary metabol ites of
       Z                                                                               fungi , such as semivolatile organic compounds .
               10'
                                                                                          Some re searchers have compared the allergic responses of
               10'
                                                                                       spore and mycelia)           extracts
                                                                                                                          and have found that they share
               ~~
                        o
                             0. 3         1 .4        5. 8   29.1
                                                                                       common allerg ens but that their            reactivities
                                                                                                                                           vary and, in some
                                                                                       cases of extract         comparison,the intensities of the reactions
                                    Air velocity, m s-            1                    from myc e lium can exceed those obtained from the compara-

                                     Fragments ~ Spores
                                                                                       ble spore extract studie s (2, 12, 13) . Our         findings
                                                                                                                                               seem to be in
                                                                                       good agreement with thes e               results.
                                                                                                                                  All three tested MAbs
  FIG.  4 . Number of fungal fragments and spores released simulta -                   reveal e d reactivity with the examined fungal propagules . The
neously fromagar   surfaces at four different air velo cities during 30-min            finding that the fragment samples had fungal antigens even
experiments. The    error     bars
                                 indicate the standard deviation of 6 re -             after filtering for the remaining spores confirms that the frag-
peats for A. versicolo r, 4 repeats      for C cladosporioides,
                                                            and 10          repeats    ments were indeed of fungal origin . Furthermore , the activity
for P me/inii. The sp ore data         are
                                      taken from G a my et al . (18).
                                                                                       of the fungal fragment samples always exceeded that obtained
                                                                                       for the spore 'samples . The reported numbers of fungal frag-
                                                                                       ments and spores were released from the same area of con -
versus  1.3 X 104. The respective numbers for P. melinu were as                        taminat e d surfaces during the same sampling time and thus
follows : sample 1, 1 . 8 x 10 8 versus 1 . 6         X
                                               105; sample 2, 1 . 0 X                  represe nt a true exposure situation . The high number and
  '
10 versus 1 .0 x 105. The immunological react ivity was ex-                            reactivity of the fungal fragments           are
                                                                                                                                   striking, suggesting that
pressed as the optical density of the respective fungal prop-                          these fragments may significantly             influence
                                                                                                                                           the health of ex-
                                                  X
agule sample incubated with a MAb ( = 405 nm after 30 min                              posed individuals. This factor has, to the best of our knowl-
of substrate incubation time) . The fragment and spore samples                         edge, been overlooked so far in studies evaluating indoor air
always showed significant immunological reactivity indepen -                           quality . The specificity and the cross-reactivity of the tested
dent of the type of MAb used . For the tested A . versicolor                           MAbs should be taken into consideration when evaluating the
fragment samples the optical densities were 3 .7 to           times   5.1              above results . In our studi es, the activity of P. meknii fragments
higher than those for the spore samples (P value in t test varied                     and spores was higher than that of A .                versicolor
                                                                                                                                                propagules .
from  <0.05  to < 0. 01) . For the P. melinii fragment samples the                    The high optical density values were probably caus e d by the
respective values were 2.0 to 3 .2 times higher than those for the                    higher numb e r of         antibody-specific
                                                                                                                                fungal antigens present in
spore samples (always with a P value of <0 . 01) . The blank filter                   the tes ted propagule suspens ions . However, the high reactivity
samples (negative           controls)
                                  tested simultaneously with the                      of fungal fragments itself appears to be of great significance
fragment   and spore samples showed no activity in ELISA .                                         xp
                                                                                      from an e osure as s essment point of vie w. As seen from the
                                                                                      data given above, the            high
                                                                                                                         number of small partic l es being
                                    DI SCUSS I ON                                     immunolo gically reactive and penetrating into the human re -
                                                                                      spirato ry tract can potentially be the cause of adverse he a lth
  The most interesting finding of this study was that a signif -                      effects  and can, at least in part, be        responsible
                                                                                                                                            for unexplained
icant amount of immunologically reactive p articles having sizes                      cas es of r es pir at o ry symptoms in damp buildings .
considerably smaller          than
                             those of the spores was released                            The r e sults of previous studies (18, 21, 39, 59) indicate that
from surfaces contaminated with fungi. Even with the accuracy                         the rel e ase of fungal spores           generally
                                                                                                                                   increased           when
                                                                                                                                                      the air
of the Grimm   optical size spectrometer, which allows measure-                       velocity a bove the contaminated surface increased . In the
ment of particles as sm a ll as 0 3 µm in size, these fra   ents       gm             present s tudy, however , the release of fra          gm
                                                                                                                                          ents from smooth
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                                                                                     agar pl at es an d ceiling til es duri ng
          TABLE 1 . Average number of fun gal fragments and spores released simultaneous ly from
                                                   experiments           30-min

                                                 No. of fragments and spores (cm-2) r elea sed at the following air velocity,

                                                   03ms 1                                               29. 1ms i
      Species             Type of
                                  surface Fragment              Sp ore"                 Fragment Spores
                                                                   Avg                SD     A vg     SD            Avg        SD                Avg         SD

A . versicolor            Agar p l ate with out vibration        1,240`  2, 270` 26` 60`                              441` 491` 18` 14`
                          Ceiling  tilewithout vibration         2, 390` 229` 101` 690                             129,000` 103,000` 44,6IX1` 40,600`
                          Ceiling  tilew ith vibration            1,150 87 5      361 3 15                         144,000 52,000 46,400 17,100


C. cladarponaides         Agar plate without vibration                 426 473 4                         8             331         375                 20    19
                          Ceiling tile without vibration                85 41    2                       2          19,300 16,600 4,590 3,950
                          Ceiling tile with vibration                  429  175 70                       66        129,000 99,100 42,400 34,300


P. melinu                 Agar plate without vibration             604` 35 5` 2` 2`                                   487` 343` 74` 520
                          Ceiling tile withou t vibration           36` 23` 5` 3`                                  571,000` 14b,000` 42D,000` 1 70,000`

                          Ceiling tile with vibration              1 , 550         690       463         98         646,000 53,200 509,000 53,700


  ° ' ILe numbers iepi csent the average va l ue and standard deviation of three repeats, unless indicated otherwise
  b Fungal sp ore release da ta we from G6rny et al. (18)
  `Avenge val ue for four repeats .




agar surfaces was not affected by the air velocity . The different                     respective Cladosporium structures, and they probably become
trend in fragm ent rel ease compared to that of intact spores                          much m o re brittle when subjected to air turbulence.
indicates that the fragments are aerosolized through a process                                In the real wo rld ceiling tiles are probably under constant
different from that for spores. It is hypothesized tha t the frag-                         influence fr o m different sources of vibration . This mechanical
ments    are already liberated from the mycelium or spo r es be-                           disturb ance can originate both from        the  indoors and outdoors
fore the air currents carry them away . Thus, all the fragments                            (operating home appliances , heating or air conditioning units,
are   aerosolized at      low air velocity, and an increase in the                                                   wall vibrations
                                                                                           resident s ' ac tiviti e s,                   caused by road traffic,
velocity does not increase their re l ease . The increased re lease                        ground mov ement, etc . ) and generally may lead to particle
from rough ceiling        tile
                             surfaces      appears
                                               to be related to the                        release  from surfa ce s into the air (22) . The vibration parame -
highe r air turbulence effec t above the surface cavities        The   (18).               ters selected for this study, i . e . , a frequency of 1 Hz at a power
particular   components of fungi (hyphae, conidiophores, and                               level of 14 W, reflect the disturbances caused by, e .g ., closing or
spore chains) overgrew almost the entire surface on both ma-                               slamming a door or children jumping.              Similarto results ob-
terials . Stereomicroscopic observations revealed that for                     ceil-       tained for spore    (18),
                                                                                                               s       the vibration    was shown to increase the
ing  til es, growth occurs not only on the top surface, but the                            release of fungal fragments at the low air velocity . This indi-
fungal colonies grow in each of the surface cavities as well .                             cates that vibration is an important mechanism affecting the
Fungal myce lium rises ve rtically         upward,
                                               creating a mesh-l ike                       release of fungal propagules in indoor air environments and
structure in the recesses of the ceiling        tile
                                                surface. Th e higher                       may  partly   explain the sporadic release of fungal propagules
air velocity with increased turbulence is more                likely
                                                            than the                       discussed below . High -velocity air currents appeared to have
l ower air vel ocity to rel ease fungal propagules from the surface                        released all the   fragments    that were capable of being aerosol -
cavities. The difference in the fragment release between                       agar        iz ed, and therefore additi o nal forces applied by vibration did
 and ceiling     tile
                  can be partially caused b y the differences i n the                      not increase the release .
moisture       conditions .
                          Moisture from           agar
                                                 can pe n etrate                the           Regarding     the colony morphol ogy, mechanical stress caused
 thick layer of fungal growth and thus          can
                                              increase the adhesion                        by vibra  tion  may  also cause additional release of fungal frag -
forces and reduce the release of fungal propagules . I t should                            ments fr o m the elongated colony structures . Shorter structures
also be noted that the adhesion forces              are
                                                  higher for fungal                        of C cladosponoidu       are  more compact and , thus ,     are
                                                                                                                                                         probably
fragments than for fungal spores due to             the
                                                 smaller size of the                       more resistant to the forc    es  created by vibration  of the surface .
fragments .                                                                                                               i
                                                                                           E long a ted parts of A . vers color and P. melinii colonies      appear
    On the basis of microscopic observations it can also be                                 to be m o re ea sily affected by this mechanical force, which
 conc luded that the morphology of fungal colonies may play an                              results in higher aeros olization of fragments , es pe c ially when
 important role in the fragment release mechanism . A . vers -                    i         the air curr ent is l ow (indoor conditions) .
color and P. melinii colonies have longer, thinner conidio-                                  The    air currents were able to release up to 86 % of the fungal
 phores and longer spore chains than the colonies of C. clad-                               fragments at v = 29 .1 m s-' and up to 53% of the fu ngal
 osporioides . During exposure to the air currents, elongated                               fragm e nts a t v = 0.3 m s -1 from contaminated surfaces during
                                                          n
Aspe r giQus and Penici!lium colony parts (co idiophores, metu-                             the first 10 min . This is almost the same p ercentage as that
 las, and phialides) as well as other structural elements (e .g.,                           d etermined  earlier   for intact spore release    (18).
                                                                                                                                                  On the basis of
joint   areas between the spores) are much more                susceptible to               these r esultsit   can be c oncluded that a significant portion of
 desiccation     stress
                     (because of the larger e osed   xp        area)
                                                            than the                        fungal pro p ag ul es can be aerosolized from contaminated         sur-
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                    TABLE     2.   Percentage of released fungal fra            gm ents and sp ores during the first 10 min      of 30- min   experiments'
                                                                                                         of released fragments and sp ores at the following   air   velocity :

       species                       Type               o f surface                                          03m s I                                     291ms7'

                                                                                              Fra gment          Spore"                       Fragment                           Spore°

A. ve/sico(or                        Agar plate without vibration                                32                 29                            84                   87
                                      Ceiling tile without vibration                             35               45                              86                   88
                                    Ceiling tile with vibration                                  51               59                              77                   79

C. clndasporioidu                   Agar plate without vibration                                 30 27                                            66                   71
                                    Ceiling tile without vibration                               53  30                                           79                   80
                                    Ceiling tile with vibration                                  53 76                                            81                   82

P. melinu                           Agar pla te with out vibra tio n                             37              32                              66                   76
                                    Cei l ing tile wi thou t vibration                           41              30                              77                   86
                                    Cei l ing tile wi th vibratio n                              53              72                              71                   83

  ° After 30 min, spore and fragment release we re 1 00 %
  ° Fungal spore release data are from Gdrny et al (18)




 faces during a very short time interval. Such a high concentra-                              vance. The fragment fraction of released fungal propagules,
 tion of particles gene r ated during a relatively sh ort time period                         not prev io us ly measured       in water-damagedbuildings, may con -
 can signi fican tly  contribute  to the i ndoor air qual ity. It is well                     tribute to adverse health effects that have been detected among
 known that fungal spore concentrations in indoor a ir have a                                 building inhabitants.
wide t empora l variation . Our study indicates that a                          similar          While the spore release from surfaces increased with in-
variatio n is    likely to occur with airborne fungal fragments in                            crea se d air v elo city, the release of fragments from smooth                     agar
contaminated buildings .                                                                      surfaces w as not affected by the magnitude of the air velocity ,
   This study showed that the number of released fragments                                    indicatin g diffe rent rel e ase mechanisms for spores and frag-
was always higher than the number of intact spores released                                   ments, respe ctively . At the       low
                                                                                                                                   air velocity (typical for indoor
from contaminated surfaces. This trend seemed to be the same                                  environments), the       application of vibration to the contami-
regardless of air velocity, surface material, and the presence or
absence of vibration applied to the surface . On the basis of the
correlation ana lysis of the         above-described results it can be                                                                               ~   Fnpn .el. - ..mpY 1
concluded that the number of fragments released at high air                                                                                          p SDan~ - ..nW I
                                                                                                                                                     ~ BVa.~ - a.nO1.2
veloci ties can be predicted if the number of spores present in                                         OS

the air is known. At low air velocities such predictions cou ld be                                 Ec                  As er illus versicolor
burdened with significant error .                                                                  e    04
                                                                                                   0
   Co n c lusi on s . This study revealed t h at fungal fragments                      are
aerosolized      simultaneously with   spores from contaminated sur-                              ~' 0 3
                                                                                                  h
faces. The released fungal       fragments    consistently outnumber                              c

the spores and can exceed 6 X          1V particles per cm . Such                                 v 02
                                                                                                  m
changes in the number of potentially immuno logical ly relevant                                    U
                                                                                                  a 01
particles should be taken into consideration when perform ing
                                                                                                  0
exposure assessments in indoor environments .
                                                                                                        00
   T he tests performed wi t h MAbs produced againstAspergdlus
and Penicillium fungal species revealed that the fungal frag-
ment and spore su spensions           both
                                         had immunological reactiv-
ity. EL,ISA tes t s showed that       fragmentsand spores           com-  share                         25
mon antigens which not        only confirmed the fungal origin of the
                                                                                                  c
fragments but also established their potentia l biological rele-                                  y 20
                                                                                                  0
                                                                                                  a
                                                                                                        15

                                                                                                  N
       TABLE 3 . Correlat i on between the numbers of released                                    C


                           spores and     fragments                                               -p    10
                                                                                                  m
                                   Correlation   at   the   following air velocity :              u
                                                                                                        05
                                                                                                  CL
       Species                      03       m         s'          29. 1 m s-'                    0
                              T2                 P                  r2                 P                00
                                                                                                               M ab 14F7         M ab SF7 Mab 12G2
.9. versicolor              0.08 4          >0 .05              0 .986 <0.05
C. cladosponoider           0.104 >0 .05 0 .996 <0.05                                           FIG. 5 . ELISA reactivity (defined as optical density) of fungal frag-
P. melinii                  0508 <0 05   0.956 <0.05                                          ments and spores with three MAbs : MAb 14F7, MAb 5F7, and MAb
                                                                                              12G2 . The error    bars indicate the standard deviation of three repea ts.
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Hate d surface increased the number of released particles . Fu r-                          21 . Gre gory, P. H., and M. & lacey. 1963.    Liberation of spores from mouldy
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widely,      similar
                to the wide variations in spore concent ration in                               M. E. Flannigan, A P. Verhoeff, 0 C G. A dan, and E S Hoekstra (ed .),
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that in indoor environments the number of released spores is                                   Work Envicon . Hea l th 22:13
generally not a r eliable indicator for the number of released                             25                    Reponen, T. Fi os man, ) . Ru uskanen, and A. N eval ai nen.
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Building-related respiratory symptoms can be predicted with
semi-quantitative indices of exposure to dampness and mold

  Ab str act Using a semi-quantitative mold exposure index, the National I nstitute    J:H . Park, P. L Schleiff,
  for Occupational Safety and Health (IVIOS H) investigated 13 college buildings       M. D. Attfield , J. M.                Cox-Ganser,
  to examine whether building-related respiratory symptoms among employees are         K. Kreiss
  associated with environmental exposure to mold and dampness in buildings . We        National Institute for Occupational Safety and Heahh.
  collected data on uppe r and lower respiratory symptoms and their building-          Division of Respiratory D isease Studies,      Field
                                                                                                                                    Studies
  relatedness, and time spent in specific rooms with a self-administered question-     Branch, Mo rgantown , WV, USA
  naires . Trained NIOSH industrial hygienists classified rooms for water stains,
  visible mold, mold odor, and moisture using semi-quantitative scales and then
  estimated individual exposure indices weighted by the time spent in specific
  rooms . The semi-quantitative exposure indices significantly predicted building-     Key words; Dampness; Mold; Semi -q uantitative
  related respiratory symptoms, inc luding wheeze [odds ratio (O R) = 2.3; 95%         exposure in dex Res pirato ry symptoms; Building;
  confidence interval (CI) = 1.1-4.5], chest tightness (OR = 2.2 ; 95% CI = 1 .1-      Indoor air quality.

  4.6), shortness of breath (O R = 2.7 ; 95% CI = 1 .2-6.1), nasal (OR = 2 .5 ; 95%    Ju -Hyeong Pa rk
  CI = 1.3-4.7) and sinus (OR = 2 .2; 95% CI = 1 .2-4. 1 ) symptoms, with expo-        National Institute for Occupational Safety and Healtli,
  sure-response relationships. We found that conditions suggestive of indoor mold      Division of Respiratory Disease Studies , MS 2800, 1095
  exposure at work were associated with building-related respiratory symptoms .        Willowdale Road , Morgantown , WV 26505, USA
                                                                                       Tel .: 304 285 5967
  Our findings suggest that observational semi-quantitative i ndices of exposure to            29 0
                                                                                       Fax 304 5 582
  dampness and mold can support action to prevent bui lding-related respiratory               gz C
                                                                                       e - mail : p8 cdc gay
  diseases .
                                                                                       Received for review 12 March 2004. Acc for .
                                                                                       publication 21 June 2004 .
                                                                                       m Indoor Air   (2004)




                                                                 sizes, which may lead to the false conclusion that no
Introduction                                                     association exists between exposure and health effects
Current airb o rne fungal sampling and analyt ical               in epidemiologic studies (Park et a1 ., 2000; Rappaport
methods provide co ntinuous scales of measurement                et al ., 1995) .
for exam inin g exposure-res p onse re lations hips. They           Various studies have linked respiratory symptoms
are, however, limi te d by p otent i all y large samp ling and   and diseases with damp residential environments and
analytical error, in addition to spatial and temporal            mold growth (Hyndman, 1990 ; Jaakkola et al ., 1993 ;
v ari ance of fun gal levels (Hyvarinen et al ., 2001) .         Mohamed et al., 1995; Nafstad et al ., 1998; Platt et al.,
Large variability of bioaerosol measurements is likely           1989 ; Verfloeff et a( ., 1995) . In these analyses, entire
to p roduce exposure misclassification in small sample           buildings or rooms within buildings were frequently

                                                                                                                                              425
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dichotomized into damp/not damp based on one or                    survey, data for 323 employees for whom we had
more of the foll owing factors - visible mold, wat er              comple te i n formati on ab out the amount of time
stains, condensation, water damage, a nd mold odor -               worked in specific rooms during the fall sem es ter were
using self-reports, inspec tions, or humidity measure-             used for statistical modeling . We analyzed lower
ments (Bo me h ag et al., 200 1) . Such dichotomous                respira tory (wheeze, ches t tightness, sho rtn ess of
dis tinc tio n s can provid e ins ight ab out p ossible associ-    breath, and attack s of cough) and uppe r respir a to ry
ation s with health effects, but may not p rovide                  (nasal symptoms, sinu s sym p toms, and throat irrit a-
a dequate info rm atio n to assess p oss ible exp osures           tion) b ui l ding- rela ted symptoms reported to have
response re l ationshi ps .                                        occurred i n the p revious 1 2 mo n ths . Building-related
   Faced with difficu lties in bioaerosol me asurement             symptoms were defined as those that improved away
and inade quacies o f dicho t om ous assessment o f damp -         from work or fo r which me dicati on use increased o n
ness,  semi-quantitative    metho d s of assessing exp osure       work d ays . Our investi gati on i ncluded a `natura l exp eri -
to dampn ess/mo l d based on visual and olfactory                  ment' in which the majority of faculty members from
classification offer a potentially powerful and cost-              one depart ment h ad relocated within 8 months be fore
efficient alternative approach for epidemio logic         expo-    the survey from one of the water-damaged buildings to
sure-response      studies o f damp building envir onments         three o f the comparison buildings b ecause o f a high
(Haverinen et a l ., 2003) .                                       p revalence of res pirato ry illness .
   The Nat ional Insti tute fo r O ccup a tion al S afety and
Health co nducted a n inves tigation at a college wh ere
                                                                   Environments! evaluation
empl oyees' concerns included building-related respir-
atory symptom s, asth ma, and in ters titial lung disease           We inspec ted a ll 669 accessib l e rooms on all fl oors of
(Schleiff et al., 2002) . In this study, we evaluat ed the           12 buildings and a random ly selected 25% (n = 52) o f
presence of building-related respirato ry sympt oms and             th e r ooms o n each floo r o f the newes t co mpari s on
diagnoses . We also examined the utility of semi-                   building because of time and r esou rce l imita ti on . Using
quantitative d ampness/mo l d exposure ind ices using                a standardized evaluation form, teams of indus trial
o bserv a tio nal measuremen ts in predicting re spiratory          h ygienists classified four environme ntal facto rs (w ater
symptoms .                                                          stains, visible mo ld , mold o d or , a nd moi s ture) in seven
                                                                    areas of each room . The seven areas were : ceiling ;
                                                                    walls ; windows ; floor; heating, ventilation, and a ir
Methods                                                             co nd itioni ng system; water pipes; and furniture . To
                                                                    check the validity of observations, two different teams
Study po pulation and epidemiological survey
                                                                    indepen d ently cross-class i fied eight rooms in water-
Th e college encomp assed 40 buildi ngs in wh ich                  damaged buildings ; concordance ra tes for individu al
 a p p roxi mately 1 23 1 full-time emp l oyees worke d . B ased   environmental fact ors were 88% for wa ter stain (from
 on di scussions with o ffi cia ls at the coll ege, we selected     the compariso n o f dichotomou s variables using me di an
 all seven buildin gs th at had a recurrent histo ry of water       average-water-stain score), 63% for visible mold, 75%
incursion and related renovations (water-damaged                   for mold odor, and 100% for mois ture .
buildings), We a lso se l ected six co mparison b uildings             We g rad ed water sta ins on a scale of 0-3 (0 = no
 tha t were reported t o h ave h ad little pr oblem with           water stains; 1 =water st ai ns < 5% of the evaluated
water in cursion (comparison bui ldings) . We conducted            ar ea; 2 =X3 0 % ; 3 = > 3 0% ) for each area. We then
a sel f-adm inistered questi onn aire survey of 554 full-          averaged the scores over the seven areas within a room
time employees in these 13 buildings to o btain demo-              to give the average water-stain score (AWSS) . Visi bl e
graphic characteristics, respira t o ry diagnoses an d             mold was documented when seen in any area . Mo ld
symptom data, and the time fractio n spent in speci fic            o dor was grade d on a scale from n o o dor to slight to
rooms . The respiratory question modules were from                 strong odor . We graded moisture as 'damp' if an area
th e European Commun i ty Respir at ory He alth Survey             was moist to the t ouch or as `wet' if visibl e water was
and the American Thoracic Socie ty Questionnaires                  o b served . We a lso created two co mbine d scores for
(EC Directorate General XIII, 1994; Ferris, 1978) . The            each room usi ng the enviro nmental fact ors with
res ponse rate o f the full- time employees in the 1 3 bui l d -   different weights: (i) water-stain-weighted combina-
ings was 7 1 % (n = 393) . The resp o nse rate by pri m ary        tio n = 1 .0 (i f water stain s) + 0 .5 (if visible
building type (primary building is define d as the                 mold) + 0 .5 (if mold odor) + 0 .5 (if damp or wet) ;
b uildin g in wh i ch a resp ondent spent most time du ring        and (ii) visible-mold-weighted combination = 0 .5 (if
the school year) was 76% in water-damaged buildings                wat er stains) + 1 . 0 (if visi ble mold) + 0. 5 (if mold
an d 59 % in com pari son buildings . We conducted a               odor) + 0 .5 (if damp or wet). We gave more weight to
separ a te te l ephone survey of 161 non-p artic ip ants           either water stains or visi b le mold in th ese two
about 4 months l ater, an d the resp onse rate was 39%             combinations as those two environmental factors were
(n = 63) . Among the 393 part icip ants in the main                most prevalent among all environmental factors .

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                                                          Dampness and mold exposure and              building-related respiratory diseases
 3imation of individual exposure i ndex and data ana l ysis            Table 1 Demographic characteristics and prevalence of respiratory symptoms   within the
                                                                                                            = 393)
                                                                       past 12 months for all participants (N
 le es timat ed individual employees' exp osur e to each
                                                                       Characterist ics/symptoms No of pe ople Prevalence I%)
 ivironmenta l factor o r combinations of the environ-
 iental factors by the fo ll ow ing e quatio n :                       Demographics

                                                 k
                                                                                               I
                                                                         Average age in years s d)               511101                       -
                                                                         Gender
  Indivi dual exp osure ind ex (IEn = ~ (E, x TF,),                         rate                          214                      54
                                                                            Male                           173                     44
                                                                            NM            responded                                6       2
 here i = specific     room; E; = 0 (none) vs . I (any) fo r
                                                                         Ethnicity
  idividua l envi ro nmental factors, or continu ous value                  White     344    87
  >r AWSS o r each c ombination o f four enviro n me ntal                   African-Amencan 22 6                                                                 i
  i ct or s, for room i; and TF; = estimated time fracti on                 Others       14    4
  ach individual spent i n r oom i durin g the fall semester                Not responded   13 3
  CFt , k sums to 1 .0) .                                                Smoking status
    The IEI estim a t ed fr om each i n dividual fac t o r was              Non-smokers                              262              67                             i

  Seated eit her as a dichotom ous vari able (`no' vs . `any                Ex-smokers     113 29

  r po sure~, or as a con tinuou s variable fo r the AWSS .                 Current
                                                                               smokers      16  4
                                                                            Not responded 2                                                  <1
  EI s es timated fr om the co mbinations wer e also treated
                                                                      Respiratory symptoms
  s co ntinuo us variables . In es tima ting IEIs for th e               lower respiratory symptoms
  ccupants wh o s p ent some tim e in no n -evaluat ed                     Wheezing                                  129              33
 Moms in the newes t b uilding (in the co mparison                         Chest tightness                           105              27
 r o up), a zero value was assig ne d t o th e exposure fo r               Shortness of breath 136 35
                                                                           Attack of cough 113 29
 tat time fraction .
   We used generalized linear r egression mode l s to                    Upper respiratory symptoms

 xamine the associ a ti o n of AWSS wi th visib le mold,                    Nasal symptoms                           238              61
                                                                           Sinus               symptoms                     234         60
 to ld o d or, and m ois ture and to o bt a i n least squares              Throat              irritation                     163        41
 lean values (LSM) of AWSS (SAS Insti tute Inc.,
 ;ary, NC, USA) . To compare building-related resp i r-
 t o ry symptom p revalen ces be tween building groups,               (wheeze, or awakene d by shortness o f b reath , or ch est
 te u se d chi-squ are tests . We exa min e d the associati o n        tightn ess aro und anima ls or du st , or continuo us
 f IEIs wi th building- rel a ted respiratory sympt oms               breath ing troubles) (Burney et a l ., 1 989), and 1 8 %
 sing multiv ariate l ogistic regress io n m odels adj ustin g        repo rted hyp ersensitivity pneu mon itis (HP) -lik e symp -
 ar age, gender, sm oking, j o b status (faculty or staff ,           to m s (at least one lower respiratory symptom such as
 ear of hire, presence of allergies, and use of lat ex                wh eezing, chest tightness, sho r tn ess o f breath with
loves . W e rep orte d o dds ratio (OR) an d Wald 's 95%              exertio n, o r usua l cough, and any sys temic sy mpto m
 o nfide nce interval (CI) . We use d S omers' D stati stics          such as fevers, chi ll s, night sweats, o r flu-like achyness)
SD S) of ran k correlation to compare the predicti ve                 (Arr ow e t a l ., 1978 ; Fox et al., 1 999; Hodgson et al .,
 bi lity o f the l ogis tic m od el s using the AWSS-based            2001 ) . S eve n teen pe r ce n t o f the particip ants repo r ted
Els t o th ose using the combi nation- based IEIs. We                 physician- diagnose d asthma, an d h alf o f those asth-
x amine d exposure-response relati o nship s u s ing quar-            matics reported building-r elatedn ess .
iles of the AWSS-based IE I s and the visible-mold-                      The preva lence of any buildin g-related respirato ry
veig h te d combination-based IEIs by sympt om in the                 symp tom was significantly h igher (P < 0. 02) in the
ogistic m ode l s (SA S Insti tute Inc ., Cary, NC, U SA) .           water-d amaged buildi n g gro up than in the compariso n
                                                                      building group (~!20% vs . _< 7% for any lower
                                                                      respiratory symptom, and >_34 % vs . <_ 1 7% fo r any
Insults                                                               uppe r respiratory symptom) (Figure 1 ) .
ymptom prevalences
                                                                      Environmental evaluation
among the 393 participants (mean age = 51, range =
t5--65 ; 54% female ; 87% white), approximately 30%                   A higher prevalence of room s with water st ains, visibl e
eported at least one of the lower respiratory symp-                   mold, mold odor, or m oistu re was ob served in the
oms, about 60% reported nasal and/or sinus symp-                      wat er-damaged building gro up compared with th e
oms, and 40% reported throat irritation (Table 1) .                   c omparison b uilding gro up (Ta ble 2). Th e average
 or each symptom, more than half of the symptomatic                   AW SS of the rooms in the water-damage d buildings
participants reported building-relatedness . Of the 393               (0.80) was higher tha n that in th e comparison building s
participants, 43% reported asthma-like symptoms                       (0.38). The newest comparison b uilding had an average

                                                                                                                                                       427
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             ,o                                                                                       higher     (95%
                                                                                                                   CI =             1 .9-8.4)
                                                                                                                                 in rooms with visible mold
             35                                                                                       than in rooms without visible mold .

             30
                                                                                                      Association of Us with respiratory symptoms
     x 25
     8                                                                                                 The AWSS-based IEIs for the 323 employees ranged
     C 20
                                                                                                       from 0 to 2 .2 (mean = 0 .63, median = 0.65, and
             ,5
                                                                                                       s .d . = 0 . 4 3) . The combinati on- b ase d IEIs ranged from
     a
             ,o                                                                                        0 to 1 .8 (mean = 0.89, median = 1 .0, and s .d . = 0.45
                                                                                                       for the water-stain-weighted combination and from 0
                                                                                                       to 1 .6 (mean = 0 .63, median = 0 .5, a nd s .d . = 0 . 42)
                                                                                                       fo r the vis ible-mo ld-weight ed combin ation . The IEI s
                                                                                                       based on AWSS or visible mo ld were mo re consistent
                                                                                                       p r e dicto rs fo r b uilding- related respirat o ry sympto ms
                                      to* "01           oe                                            compar e d with lEls base d on mo ld odo r or moisture
Ftig. 1 Prevalence of building - related res p iratory sympt o ms                                      (Table 3) . In multivariate logi s tic model s the AW SS-
(wheeze, chest tightness, shortne ss of breath (SOB), attack of                                        based I EI was a si gn ificant p redic tor for buil ding-
cough, nasal symptoms, sinus sympto ms, throat irritation                                              related wh eeze (OR = 2 .3) and throat irritation
(throat itrit ), and physician-diagnosed asthma (asthma dx. ) by                                       (OR = 2. 4) . Exp osure to visibl e mo ld was associate d
building group . Only those who had respo nded to a que stion
                                                                                                       with significantly increased buildi ng- r ela ted wheeze
ab out the primary building they had been working in during
scho ol           year   were included in this an aly sis . A department in                           (OR = 2 .0) , chest tigh tness (OR = 2 . 6), sho rtness o f
which the majo rity of faculty was rel ocated was excluded from                                       breath (O R = 2 .6), nasal symptoms (O R = 1 .7), and
the analysis ("P < 0. 02 ; *P = 0. 14 fo r           tes t of chi-square                  two         sinus symptoms (OR = 2.0) . Exp osure to mold o do r
prevalences, adjusted for age, gender, smoking, job statu s,                             year         was associated with significa n tl y increased thr oa t
of hire , aller gies, and u se o f latex gl ove in models)
                                                                                                      irritation (OR = 2 .3) . We also found significant ass o -
                                                                                                      ciations of the combination-based IEIs wi th building-
AWSS of 0 .08, and o nly one of 52 rooms investigated                                                 rel ated chest tightness, sh ortness o f b reath, na sal
had visibl e mo ld (data n ot show n) .                                                               sympt oms, and sinus symptoms (range of ORs =
   In the multivariat e analyses, wat er- d am aged bui ld-                                           2 .2-2 .7) . We did not find significant associ ations of any
in gs had significantly highe r (P < 0 .0001) average                                                 of these exposure indi ces with physici an- diagn osed
AWSS (LSM = 0 .81) than the comparison b uildings                                                     as thma rep o rted as bui l ding related. The o dds of
(LSM = 0 . 44) afte r contr oll ing fo r fixed effect s of                                            building- r el ated wheeze, shortness o f breath , nasa l
room type (classroom or office), floor, i ndustrial                                                   symptoms, and throat irritation generally inc r eased as
hygi ene team , temp e r atu re, and relative humidity. In                                            JET increased in quar ti l e an a lysis ( Figure 2) . Similar
logi stic regressio n m o d els contro lling for room type,                                           trends were also observed for other symptoms (not
the wa ter-d amaged bui l dings showed significantly                                                  sh own ) .
higher odds of visible mo ld (O R = 11 . 4; 95% CI =                                                      The AWSS-based I EI model appeared to be better
4.0-31 .9) and of mol d od or (OR = 4 .5; 95% CI = 1 .1-                                              in predicting wheeze and throat irritation than either
19 .3) comp a red with th e comparison building s.                                                    of the combination-based IE I lo gis tic models (SDS :
   Enviro nment a l facto rs were significantly co rre l a ted                                        0 .42 vs . 0 .38, 0 .39 for wheeze; 0 .32 vs . 0.28, 0 .29 for
with one another. The a verage AWSS s were signifi-                                                   throat ir rit atio n) . However, these mo d els showed
cantly high er (P < 0 . 00 5) in rooms with mo ld odo r                                               s i mil ar pre dictive abilities fo r all other b uilding-
(0 .99), visible mold (1 .18), or damp/wet material (1 .20)                                           rel ated resp i r a tory sympt oms . The l ogistic mo del
than in rooms without them (0 . 69, 0 . 62, 0 .70 ,                                                   u sing t he wat e r-stain-weighted com binati on IEIs
respectively) . The odds of mold odor were four ti m es                                               bette r predicted building-related n asal sympt oms
Table 2 Distribution       of abservaUOnal measurements for rooms by    building group
                                                               Water stains                                                         Any mo ld od or N (%1              Moisture con dition N


                                                               Co ntinuous               Any             Any visible mold
Bu il ding   group'                     No of   rooms          Mean (S .d .)             N (%   )        N (%)                      Slight Strong Damp Wet

Water-damaged buildings 558 080 (0 , 5)                                          5d9 98       ( )        109 {20) 23(4)                               )
                                                                                                                                                     7 11  4 (<t) 4 (< 1)
Companson buildings 163      0.38 X0 .4/                                           1T1(75         )        401        20)                            001 0(01 0(0)
Total                                   721                  0.71 ( .0 51                67 1 (93)       113 1i6)    2513                       7 j<1/             41<1) 41<11

' Water-damaged b uildings buildings that had a recurrent his tory of water i ncursion and related renovations ; comparison   buildings, buildings that were reported to have had little   a rro
probl ems with water incursion.


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                                                                            Dampne s s and mold e xposure and                          building-related respiratory diseases

  idi Ie 3 Adusted' odds ratios (95% Cls) of respiratory symptoms for e xposure ind ices from each environmental factor and from linear combinations of the environmental factors
                            Water stains                                                                                            Factor combinations
  j ifding{elated         Continuous Any visible                                         Any damp material or
  Ispitatory symptoms variable         Any stains mold                   Any mold odor standing water                                         Water-stain-weightedb Visible-mold-weighted'
  NW respiratory symptoms
    Wheeze 2311 .1-d.51                2. 6 l0 .7-921   2.0 (1 .1-3 .7 )  11 (0.5 23 1   12 (03- 4.5)                                                9
                                                                                                                                         1 . 8 (0. 3.5     )                   1.7 (0 9-3. 4)
    Chest tightness       IA (0.9-1 81 1 . 9 (0 5-6. 91 Z6 (1 .3- 4 91 1 . 01 (0.5-221   1 .0(022)                                       1 .8(09-38)                           u 11 .i-a.s1
  Shortness of breath 17 (0 .8-38)                6. 3 X0 .8- 51 . 1 26 (13 - 51) 1 .4 (0 J-3 .2 1            3.3(09-119)                27 12 1) ( -6                         25 (12 4)-5
  Cough 13 . r26)                10 6             32 10.7-14. 4) 1 . 5 (0.8-2 81 1 .7 10 8-3 .6)              1 .0102-45)                 1 . 5 /0 7-3 2}                      1 7 (O 8-3. 6

 pper respiratory symptoms
  Nasal                    15(08-29)               41
                                                 4. 12- 153) 1.7(1 .6-30) 11 A&-2.11)                         1 .7105 - 60)                      1
                                                                                                                                         24 13-461                             u {t s-a3 l
  Sinus                    1.6 (0.9-2.9)                                  13107-2.5)
                                                 3.8 (1 . 1 - 13. 4) 20 (12-34)                               0. 8 (02-29/                    18(10-3.4)                       22(12-4.1)
  Throat irritation          24 X1 .3-4.4)       20 /07-b. 6 1 13(07-21) 23 (12 .3)                           1.5(04-51)                      1.6 (09-30)                      1 . 5 ( 0 8-28)


 Adjusted for age, gender, smolang , job status, year of hire, allergies , and use of latex glove in logistic regressi on mode ls   B ol dfa ced odds ratios are statisti c ally si gnificant    (P< 005)
 Water-stain-weighted indexc 1 (if water stains) + 0.5 (if visible rtroldl + 05 (if mold odor) + 0. 5 (if damp or wet).
 Visible -moM-weighted i dex 05 0 water sta ins) + 1 (if visible mold) + 0 5 ( i f mold odor) + 0.5 (if damp or wets


 hen that using only the AWSS-based lEls (SDS :                                                     th ese 14, 36% reported th at their symp toms had either
  ).41 vs . 0 .37). Both the combination-based and the                                              lessened or complete ly resolved after the re location .
 M SS-based IEI models did best predicting building-                                                    In the no n-res p ondent survey, the maj or reason s
 -elated shortness of breath (SDS: 0 .48-0.50) com-                                                 given fo r no n-response in the main study we re unre-
 )ared with other building-related respiratory symp-                                                l at ed to hea lth . T he only demographic diffe re n ce
 .oms (SDS : 0 .28-0 .43) .                                                                         b e tween responde nts a nd no n -resp ond en ts w as a
                                                                                                    hi gher pro p or t ion of males am ong no n- resp o nde nts
                                                                                                    (5 6 % vs . 44%) . The preva len ce o f ph ys i cian- diagn osed
 iefocation and non-respondent surveys
                                                                                                    asthma was almost identical b etween respo ndents
T o supple me nt th e associations between d ampness/                                               ( 17 %) and non-respon dents ( 1 6%), alth ough res p o nd -
Hold e xp osure indices and building- relate d respirato r y                                        ent s were more likely to h ave any ch est symp to m th an
;ymptoms, we ex am ined th e effec t o f employee reloca-                                           n on- respo n dents (46% vs . 3 0 % ) . No n-respondent s in
:io n from a water-damaged buildin g to comparison                                                  the water-damaged building group had increased
Buildings . Of the 26 rel ocated empl oyees, 14 employees                                           symptom prevalence co mpared with non -resp ondents
;54 % ) reporte d building- re l ated respiratory sympto ms                                         in the compariso n building group , as was found fo r
while they work ed at the wa ter- d amage d building . Of                                           respondents .


                                             20 (3 .0)


                                             7.4(20)

                                     0
                                    0 2.7(l .0)
                                    .0
                                     a
                                              1 (00)
                                    0


                                         0.4(-1 .0)
                                                          1st 2nd 3rd 4th          1st 2nd 3rd   41h        list 2nd 3rd 4th            t s t 2n d 3b 4th

                                                                                 Quartile of I n dividual exposure Index

                                                           . Wheeze         r Shortness of b reath A Nasa symptoms                   .Throat irritation


Fig . 2 Exposure-response relationships across quartiles of individual exposure indi ces (IEIs) and w ork-related respiratory symptoms .
Quarti les based on AWSS -based Ms for wheeze and nasal symptoms ; quartiles b ased on the visibl e m old -weighted combinati o n IEI
for shortness of breath and throat irritatio n . Similar tre nds were also observed for ot her symptoms (not shown)

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 Discussi on                                                         reflec t the pr esence of building-rela te d diseases even
                                                                     among those no t specifically diagnosed.
 Building-related respiratory symptoms and diagnoses
  Three pieces of evidence combine to suggest a
                                                                     Semi -quantitative dampness/mold exposure indices
  rela tionship b etween b uildi ng conditi on s and symp-
  tom p revalence in our study . First, the distribution              Our stud y s hows that se mi- quantitative d ampness/
  of symp toms and physician diagnoses across the t wo                mold exposure indi ces crea te d from vis u al and olfac-
  buildi ng popu lations was uneven. In this, the prev-              tory observati ons predicted buil din g-related respi rat-
  alences of building-related respiratory symptoms and                ory symptoms in 1 3 buildings on thi s co llege campus .
  d amp conditi ons we r e b oth consi d erably higher in            In our study, trained indu strial hygi enists assessed
  the water-damaged bui lding gro up than i n the                    room environments ra th er than relying on occupant-
  co mp ari son building group , sugges ting that occu -             repor ted exposures, which are subj ect to i nformation
  pants' symp toms may have resu lte d from building                 bias . Man y stu dies have repo rted the association of
  conditions . Seco ndly, improvement or resoluti on of              damp envi ronments w ith respirato ry he alth u s ing
  symptoms a m ong a p o rtio n o f employees re loca ted            dichoto m o u s assessme nt of exp osu re (Andri essen
  from a water-damaged building to other buildings                   et al ., 1998 ; Brunekreef, 1992 ; Dales et a l., 1 991 b;
  suggests th a t their symptoms may have been cause d               Jaakkola et al ., 2 0 02) . To mini m ise bias due t o an
 by expos ure in t he water -d amaged building . Thirdly,            ar b itrary c h oice of dich otomo u s exposur e criteria
  and most imp ortant, our statistica l mod el s demon-              (Bornehag et al ., 2001 ), we d eveloped a c onti nu ou s
  strated no t only associations but also exposure- -                exposure scal e using a time-weighted sem i- quantitative
 res p onse rel ati o n ships be tween semi-quantitative             assessmen t too l for damp ness/mold . By treating a
  dampness/mold ex p osur e indices and b u ilding-related           semi-quantitative scale as a continuous varia ble in th e
  res pirato ry symptoms .                                           statistical mode l s, we could examine exposure-
    Consist ent with building-relate d respiratory disease,          res p onse re latio n ships .
 the college employees in the wa ter-dam aged building                  H averinen et al . (200 1) showed th at a three-level
 gr oup h a d an excess of sympto ms and physician-                  classificatio n of wa ter-damage for e nti r e reside ntial
 di agnose d asthm a i n compari so n with tw o extern al            b uildings, using bo th the amo unt of mois ture damage
 groups . Firs t, compa r e d with occupants of US o ffice           and its seve rity, bett e r pr edicted heal th sympt o m s than
 build ings n ot know n t o have in door a ir qu ali ty              a two-level (no/minor vs, mode r ate/severe water da m-
 co mplaints, the co llege employees had higher preva-               age) classification . They d emo nstrated exposure-
 lences of l ower respira tory symptoms ( >27% vs .                 respo n se rela tions hips using the three-l evel classifica-
  <6%) an d upper respir atory sympt oms (>41% vs .                  tion . Our evaluation for water stains was a four-level
  < 1 4 %) (Apte et al ., 2000) . Secondly, the college             classification based o n the percen tage o f area stained in
empl oyees also r epo rted mo re p hysici an- di agnosed            seven different areas in each room and all our lEls were
 asthma (18%) th an adult residents in the sam e state              weigh ted fo r time spent in particular room s, yielding
( 11 % ) (N ati onal Ce nter fo r Chronic Disease Preven-           conti n uous variabl es for stati stical mo deling. Our
tio n and Health Pr omo tion, 200 1) .                              quartile anal yses o f continuous IE Is showed th at an
    B ui ldin g- rela te d asthma i s characterized by ch es t      increasing exposur e to dampness/mo ld was generally
ti ghtness, wheezing, co ugh , a nd s h o rtness of breath          associated with elevated o dds of b uil ding-r elated res-
wit h one of several patterns o f exacerbation rela ted to          pirat ory sym p toms .
building occup an cy, Building- related HP i s character-               Our observatio n of exp osure-resp onse relatio nship s
iz ed b y ch es t symptom s often a ccomp anied by fevers,          for several building- re l ated resp irat ory s ymptoms s ug-
ch i ll s, or flu- like achy ness re lat ed to buildin g occu-      gests that our exposure indices may be valid surrogates
pancy . Likewise, building-related al lergic rhini tis is           for the r ela ted exp osure(s) . Al tho ugh the specific
su spected when building occupants h ave nasal symp-                microbial cause(s) remains unknown, a robus t body
t oms and s neezing in relatio n to building occupancy              of knowle dge exists to support the association o f
(Kreiss, 1989) . In our study, many perso ns with                   moisture incursion in residences with risk o f asthma
asthm a- or HP-compatible sympt oms did not r ep ort                an d respi r atory sympt oms (An driess en e t al ., 1998 ;
a physician diagn osis of either . Other investiga tors             Brunekreef, 1 992; Da les e t al ., 199 1 a ; Haverinen et al .,
have reported that over 70% o f those with asthma                   20 01) . Our study adds to the ex i s ting eviden ce indica-
symptom s an d airfl ow o bstructio n in the gener al               ting th a t the same ri s ks occur in wa ter-dama ge d n on-
population are not di agn osed with as thma (van                    residential bu i ldings (Jarvis and M orey, 2001 ; Li et a1 .,
Schayck et al., 2000) . Similarly, in outbreaks of HP               1997; Savilahti et al ., 2000; Wan and Li, 1 999). D ales
an d othe r si m ilar granul oma to us lung diseases, symp-         et al . (1997) showed th at self-reporte d mold odor was
tomatic cases may no t be diagn osed as such by                     associated with total culturable fungi in settled dus t,
physicians ( Rose et a l ., 1 998 ; S anderso n e t al ., 1992) .   an d visible mold gro w th in homes was associ a ted with
Therefore, th e symptoms rep orted in our s tudy may                increased levels of Aspergillus and Penicillium in set tl e d

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  semi-qu a ntita tive dampness/m old exp osure indices,                                 building-related respiratory diseases . Although not
  weighted by time spent in s pecific rooms and based                                    addressed by our study, hidden reservoirs of mic r o-
  solely on visual and o lfactory obse r vation, were                                    bial contamination should not be ignored in                            reme-
  associated with building-rel ated symptoms that m ay                                   diation of water-damaged buildings .
  refl ec t as thma, HP, and nasal /sinu s disease. Our
 findings d emonstrate the u sefulness o f the observa-                                  A cknowledgements
  tional semi-quantitative approach for exposure
 a ssessm ent in large epidemio l ogi c studies . Our semi-                              We thank C . Rao, C. Piacitelli, D . Yereb, R. B oylstein,
 quantitative metho d sugges t s that n ot only i s the                                  and K . El-S h erbini fo r assistance wi th the d evel opment
 presen ce of wate r stains, vis ible mold, mold od or , or                              of an env ir onment al evaluation shee t or fo r the
 moi s ture imp o rtant for predic ting building-relat ed                                co llection of envi ro nment a l data . We tha nk Dr. R obert
 respirat ory diseases, but also that the rel ative extent                               Caste ll a n , Dr . Terri P earce, and Dr. E va Hnizdo fo r
 o f these fact ors can be used to prio ritize remediation                               review o f the manuscript and he lpful co mments . We
 to reduce pot ential risk of build ing-related r espirat-                               also thank William Turner for pr ovidi n g goo d discus-
 o ry diseases. Fr om a publi c h ea l th perspectiv e, these                            sion r egar ding devel o pme n t of semi- qu a ntit ative ob s er-
 observational findings justify action to correct water                                  vational methods .
 lea k s and repair water damage in orde r to prevent


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   and airborne en do toxin in the home,               morbidity among children following




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PhAra cterization                                   of Mold and Moisture                                 Indicators
in the Home
lVe aC Mahogti-brooks,' Eileen Storey,' Chin Yang,2 Nancy J.                                                  Simcox,1
William
    iam Turner,3 andMichael Hodg son4
' UpiYergity of Co nn ectic ut H ealth Cente r, Division of Occupational and Environmental Medicine,
FArmington, Connecticut
21.?A K M ic ri obiolog y Se rvi ces, In c., C her ry Hill, N ew J ersey
3TiAmer Bu i l d i ng Science, LLC, Th e H . L . Turner Group I nc ., Concord, N ew Hampshire
4 Vet eia n s H ealth Administrati on, Occupationa l H ealth P rog ra m , Washington, D.C .



           As .studies increasingly supp ort the p resence ofh ealth risks             ing mois ture and mo ld in buil dings to health sugges ttha tthe as-
    assoc iated with mold and moisture, unde rstandingfunga l con-                     sociation becomes stronger as the reliability of moisture dam-
   9   e nh'arionsand physical          measu rements as    th ey relat e to the       age and bioaerosol a ssessme nt techni qu es improve .(2-4) Th e
                r
    rnicroenvi nnnment becomes more             important. We conducted a
                                                                                       U .S . Nati on al Academ y of Sc ien ces states tha t there is "suffi-
    cross-  sectional       study in the homes of 64 subjects . The primary
    o 6,~ective
        ,d           of th is s tudy was to use traine d   inspectors'    list of      cient evidence of an association between fungal exposure and
    indicators in rooms (bathroom, bedroom, and basement) and                          symp tom exacerbation in sensitized asthmatics" ( S ,P "x) Other
    determine whe th e r these indicato rs a re associa ted wi th        higher        studies su gges t tha t mois tur e in th e home is associated not onl y
   junxal levels or     physical        measurements. A new category for
    cgmfiining the concenrrations of fungal species, referred to as
    ry tg is ti.r~ in di cato r fungi (MIF), is u sed in th e a nalysis . Our          pneutnonitis .("$)
    results show that basements with a musty            odor ffl e orescence,             According to the 1999 American Housing Survey, 10 % of
   Water sources,                      a two-
                            o r mo ld h ave         to threefold increase in           homes surve yed report water leaks .(9) Water problems include
   fungal concentrations over       basements      without these indicators.           leaks from in side as a res ult of faulty pip e s or plumbing fixtures
    The regression    model for         die basement was    high ly  predictive        and outs ide s ources spoor drainage, leaky windows, and foully
                                         r2
   pf indoor MlFconcenrrations ( - .446, p - .017). Basement
                                                                                       exterior cladding) . In U.S . housing, a higher prevalence of
   water so urces are substantial predictors of in doo r total fung i,
   MIF, dnd A spergillus/ Penicill ium spp . MIF con ce ntrations are                  water leaks is reported from sources outside the structure .(9)
   higher in hom es, with b asement water sources, and most                 no-          In 1993, the U .S . Institute of Medicine reviewed the mech -
   tably,      th e increase in MIFconcentrations             ific
                                                       is sign a nt in othe r         anisms by which mo isture enter s the built environment and
   Living spaces(bathroom              and bedroom) of the dwe lling. Base-           identified weaknesses in building assessment protocols, mea -
              sources
   ment 'tvater                  are important moisture/mold indicators fo r
                                                                                      surement techniques, and the various standards that control or
   epidemiologists           to use i n exposure assessments performed in
   residential dwellings .                                                            regulate moi s ture .00> The report explained that a high rate of
                                                                                      moisture may enter the indoor built environment from moist
Keywords        basements, exposure, indoor, moisture, mo ld,                         soil that is often associated with drainage around foundations .
                residential                                                           In additi on, basements-spaces that are usually below grade,
                                                                                      cool, damp, poorly ventilated, and near water tables-are more
                                                                                      likely to ac t as reservoirs of microbial growth than any other
                                                                                      part of a building .(i 1, 12)
                                                                                         Several studies have examined the a spects of moisture that
                                                                                      are associated with biological contamin ation; these include
                                                                                      exhausts in kitchens and bathrooms ; below grade moisture
                                                                                      seepage ; bulk water (plumbing leaks, roof drainage, and en-
                                                                                      velope penetration) ; condensation on inadequately ins ulated
                                                                                      outside walls; and inappropriately si zed cooling coils (i . e. ,
              he health risks associated with              moisture indicators        incorrect latent heat ratio) . (i3-1e)"
              in naturally ventilated buildings and the potential                        In many of the epidemiologic studies showing an associa-
              for indoor microbiological exposures are well docu-                     tion between moisture and adverse respiratory health effects
T             mented in a recent literature review .0 > Studies link-                 or lung di s ease, expo s ure is often defined with both qualitative

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an d quantitative me thod s. Exposure assessment methods used             environment(31") Fungal indicator species that relate to moi s -
to c hara cterize moi sture and m o ld inc lude the following : tare are described in th e literature .(3g•39) One way to prov ide
(1 ) physical measurements (e .g ., humidity, temperature) ; a better understanding of the influence of residen tial charac-
(2) sampling and analysis t o detect microb es indicative of              teristics on fungal levels i s to clarify the definitions of "fun g al
moisture ; (3) visual inspections for moisture and mold ; or (4)          l evels" Most studies use tota l airborne fungi concentrations or
que sti onnaires (self-reports or interviewer-administere d) .( 1 9)      r eport a dominant type of fun gi species, such as Cladosporium
Douwes e t al .(20) ide ntified the limitations in bioaerosol        ex- or   Aspergillus, in their exposure assessment analyses. Li an d
posure assessments from a quantitative perspective . Kendrick( 40) found signficandy higher airborne funga l spore
   Cooper-Arnol d et al .(3) reviewed moisture and t h e associ- counts of specific species (Aspergitlus/Penicillium, Cladospo-
ation with pulm onary disease i n 15 s tudies to define a bes t      rium, unidentified basidiospores, etc .) i n d amp residences (dam
estimate of pop ul ation attributable ris k (PAR) . They found fined as homes with visib l e mold, water damage, or water in
that the method o f exposure assessment influences the staffs- the basement) .
tical si gnific ance o f apparent rel ati onship s b etween moisture Fung i can grow only on a s urface o r in a substrate . Many
indicators and lung disease. S tudies us in g phys i cal or vi sual    conditi ons o f th e s u rroundi ng enviro nment (e.g ., rel ative hu-
mea s urements reported higher odds rati os than self-reported         midity and temperature) affect fung al growth by increas ing
questionnaires . Five studies were id entifi ed as " bes t s tudies" or decreasing th e drying poten tial of the substr ate . In gen eral ,
b ased on expo sure assessment techniqu e (defined as u sing field     water requ irements for fun gi are s pec i es specific . For exampl e,
inspection and    bioaerosol  sampling),    and the   authors reported Chaetomium globosum, Ulocladium botrytis, and Stachybotrys
a PAR o f 243 % for airw ays and pulmo nary di sease .                 chartarum thrive o n wet s ub strates, where a s so me Aspergillus
     As s tudi es increasingly support the presenc e of health risks spp. (s u ch as A . pen ic illio ides and A. restri cru s), and Eurotium
associated with mold and mo i sture, understandin g fungal co n - spp . (s uch as E. a m s te lodami and E. rep ens) pr efer sub strat es
centrations and physical measureme n ts as they relate to the         th at have less ava ilable free wat er.(3s .a1) Exposure assessments
micro environment becomes m ore i mp ort ant. R eports of d amp may prove m ore useful if a broad group of fungal species is
s p ot s , w ater leakage, or water d amage, and o bservati o ns of se lected according to their nutrie nt requirements an d sub strate
mold or mildew from se lf-repo rt questionnaires, are used as ehruacteiistics, including water availability .
surr ogat e measures for the number o f fungi in several pub - The goal of this study w as to improve the characterization
fished epideauol ogi c studies X21-2 6) Severa l studies have reli ed     of commonly used moisture/mold indicators, suc h as observa-
o n ho m e i nspectio n s for verifyin e oism    tw-e and mold in th e fionssf-mold , musty-0 dors,at~se z~ce-o f exhaus t#ans, ~d-regous ----
h ome .(2, 2-2-'0) Haverninen(2) defin e d three l evels o f crit eria of water sources in residential dwe llin gs . S everal important
fo r the severi ty and am o unt of m oisture dam age in a h ome for       mo isture/mold in d icators-de fine d i n thi s study as an obse rve d
inspec t ors t o u se a s a n ind ir ect method o f m old expos ure and   conditi on th at may contribute, cau se, or res ult fro m water vapor
demonstrated dose-dependen t ri sk increases for several he alth          or free water-were identifi ed in s p ecific rooms o f a dwe lling.
symptoms .
    Dh armage, 00 Garrett, ( 3 2) S u,(33 ) an d Waege maker(30) mea-
sured the presence of fungal propagules in air and demonstrated        METHODS AND MATERIALS
that reported house characteristics, such as visible mold or
dampness patches, have validity as mea sures of mold concen-           Study Design
trations and dampness in homes . Dharmage (31 ) showe d th at T hi s stud y was part o f a larger case-co ntrol stud y e xploring
higher to tal airborne fungal co n ce ntratio ns were ass ociated      the relations hip between moi sture and mo ld and inters tit ial
with vis ible mold. Garred32) found significantly higher Cla-          lung disease (ILD). A cross-sectional sa mpling s tra tegy was
dosporium co nc entr ati ons in homes wi th sub stantial visible emp l oye d in the h o mes of subj ects . S everal different exp osure
mold (998 ( ;FU/m3) compared with homes with none to slight            assessme nt s o f moi sture and mold were used in the home
(458 CFU/m3) . After conducting a factor analysis, Su(3 3) re- including self-report questionnaires, walkthrough evaluations
porte d th at elev ated airb orne concentration s of total soil fungi by an in spec t or usi n g a checklist, phy sical meas urement sam -
co llected in the livin g roo m o r family room were signific antl y   p ling (temperat ure and rel ati ve h umidity ), and airborne fun gal
associated with the dirt floo r, crawl-space type of basement . sampling .
    Waegemaeker(30) used three kinds of criteria to d efine dry Sampling goals included collecting fungal samples and
and damp in a pil o t study of 36 ho m es and fou nd th at vi able physica l measur ements outdoors and i n three different room s
fungal spo re con centrations were hig h er in d amp h omes than of a home . Rooms, suc h as the basement and bathroom, were
dry homes . Oth er s tu dies, such as Re n(34) and Verhceff,(2g) specifically targeted b ased on their likelih ood to have moistu re
found only a weak re l ationship betwee n house ch aracteristics, or fungal growth present in the area . Bedrooms were also
as described by a questionnaire, and the presence of funga l           targeted because they are where individuals sleep and spend
propagules in indoor air. most of their time when indoors . Specific information collected
    Fungal exposure and its association with moisture dam- from subjects (self-report questionnaires) and trained inspec-
age in a bui l ding is complex and multifaceted. Many types torn (walkthrough evaluations) regarding house characteristics
of fu ngal species   are   reported to grow in the indoo r home is           compared.
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    The primary objective of this study was to use the inspec- dampne s s in homes and health effects . Trained inspectors used
 tots' list of moisture indicators in a room and determine the IRC to identify the presence or absence of moisture/mold
 whether these indicators were associated with higher fungal indic ators in specified rooms in the home.
 levels or physical measurements . Airborne      concentrations   of The information o n the IRC includes general housing char-
 a unique group of     culturable   fungal species, referred to as acteristics such a s design and age of the               dwelling,   types of
 moisture indicator fungi (NIIF),   are described in this article .   heating, type of flooring, ventilation, humidifier use, and num-
                                                       ber of house plants, In addition, the IRC focuses on specific
                                                                  ser vations for "dampnes s ," including the ab sence of
 Subject Recruitment room ob
                                                             s t fa n s in bath room s, visible mold, evidence of moisture
  Study subjects with ILD (cases) were obtained from a exhau
                                                                     damage (stained ceiling til es), and several water-related base-
 pathology registry at Hartford Hospital, selected from physi -
                                                                     went obs ervation s (spalling, wall efflorescence, musty odor) .
 cians throughout central Connecticut. Subje cts without ILD
                                                                     Observations of eac h dwelling were made using the IRC in
 (controls) were identified from a random git-dialed list gen-
                                                                     the kitchen, living room, bedrooms, bathrooms, laundry room,
 erated by the Roper Center at the University of Connecticut,
                                                                     and bas eme nt . In this study, the analysis used the items on the
 Stows, Conn ., as part of Tier I for population surveys . Fifty-
                                                                     IRC related to the bathrooms,                                   .
       cases and 50 controls were eligible to participate in , basements, and bedrooms
                                                                                     spect ors aske d occupants about the dwelling, such
 the case control study . In 1997, study subjects were mailed a Trained in
                                                                     as history of wate r damage in the home, because it was not
 40-item questionnaire, referred to as self-report questionnaire     possible to obtain this information by observation alone . The
 (SRS, addressing moisture and aerosolization in their home
                                                                     in spectors al s o too k a photograph of each home and its sur -
 and work environment rounding ground
                                                                                          . To asses s the contribution of moisture load as
    The survey instrument used for this study was adapted from it relates to surface drainage around a home, co-author
                                                                                                                                    Turner
 MullenM and Ortiz.(6)
                        The survey instrument was modified to developed a building drainage score for each house. This author
 expand on the questions related to moisture and mold . For
                                                                     used a photo, a house footprint, and his years of experience with
 example, the question "Does your basement have water prob-                sture intrusion in ba s ements based on surface grading of
 lems?" was added. Another question regarding the presence moi
 or absence of carpeting in the home was modified to ident i fy
                                                                     the  earth to a ss ign one of the three scores as a way to describe

 the location of the carpet in the home (e . g . , bedroom or living
                                                                     the potential for s urface drainage to contribute to moisture
                                                                     load: 1 = littl e pote ntial , 2 = more potential, and 3 = lots of
_ room).                                              «~~~ .                                          _~
      Participants were asked about their occupational histories,
 allergies, hobbies, smoking status, and household chazacteris -
                                         I _A
 ti CS . Approximately21items
                           '      were re   at to1-u seh o1 .4c az-
                                                               b Sampling Rooms
 acteristics, including type of home, heat source, humidifier
                                                                               Sampling was conducted on the same day as the walk-
 use, carpet status, water problems, vis ible m old growth, and
 presence of exhaust fan in kitchen and bathrooms . Once the
                                                                          thro ugh evaluation by the ius~;w i. One outclour and             three
                                                                          indoor sampling sites were chose n at each d welling . C omple te
 SRQ was returned and subjects granted permission, trained
                                                                          samplin g was cond uc te d i n 63 homes ; two samples were no t
 inspectors visited and conducted a walkthrough evaluation of
                                                                          collected from one sampling site in one home . The criteri a for
 each dwelling .
                                                                          the firs t samp l ing location in th e ho me in cluded a roo m with th e
    Investigators assessed 64 residences (30 cases and 34 con-
 trols) in this phase of the study . The time period between
                                                                          fo llowing   characteristics : a histo ry of flooding or water leaks ;
                                                                          v isual evide nce of water damage ; or a room pr on e to mo i s-
 the returned self-reports and watkthroughs was 3-6 months .
                                                                          ture incurs i on (th e b asem en t , if present, or a bathroom) . Once
 Before each assessment, subjects were asked not to clean and
 to keep their windows closed at least an hourbefore the site visit
                                                                          this initial "wet" room      was chosen, an o th er room having the
                                                                          next g reatest potenti al for moist ure i ncu rsion or damage wa s
 (data regarding compliance was not collected) . All procedures
                                                                          chosen . The b edr oom was selec t ed bec ause it w as considere d
 involving human subjects were reviewed and approved by the
                                                                          the place where the subj ect spent the most tim e wh en at home .
 University of Connecticut Health Center Institutional Review
 Board before the study began.
                                                                          The  three   most commonly sa mpled indo or       locations    were the
                                                                          bathroom, the baseme nt, and the subject's bedroom. In 77% of
                                                                          th e h omes, the basement w as chosen as the firs t "weP' roo m,
 Walkth rou gh E val u at io n s                                          using the criteri a as defi ned in the methods .
    The majority of homes recruited for the study were located                Descriptive stati stics of h ouse ho ld demograp hics as re-
 in central Connecticut Two inspectors were trained to use the            ported on the I R C were completed for all residential dwellings .
 same protocol for each home visit . Walkthrough evaluations              During th e site visit, inspectors originally used five indicators
 were performed primarily in the spring, summer, and autumn               in the basement, four in the bathroom, and five in the bed-
 between the years 1997 and 1999 . The trained inspectors used            room from the IRC . Some of these indicators were collapsed
 a 45-item checklist, referred to as the inspector-rated checklist        to create a composite indicator for analysis purposes . In th e
 (IRC), designed by the investigators after a thorough review             basement, the moisture/mold indicators were : musty o dor, wall
 of the literature for positive associations between self-reported        efflourescence, water sources, visible mold, an d spelling . In
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TABLE I.     Mold/Moisture Indicators          Used by Inspectors During Home Walkthrough Evalua tio ns
Mold and Mois ture Indicator                                                     Definition

Bathroom
  Absent exhaust fan                The bathroom fan is not present or is n ot func tional. It is not externally exh au s ted to the
                                     outside .
  Visible moisture damage       The presence of water damage . For example, the presence of water stains on ceiling, walls, o r
                                     around th e windows . Bubbling p ain t on windowsill or oth er area.
   Visible mold in sh ower      The vi s ible presen ce of fungal colonies of any colo r on surfaces, includin g tiles, walls, and
                                     ceilings in the tub/shower enclosure .
  Visibl e mold in other           The v isible presenc e of fungal col onies of any color on surfaces, includ ing tiles, sinks, walls,
                                     ceiling s, toilet, windows, or floors in other areas of the bath room excluding th e tub/shower
                                     enclosure .
Base me nt
  Water sources                     Any information or signs related to l eaks, defective dr ainage, water acc idents, uncontr olle d
                                      water activity, or water intru sio n even ts in the basement at any period during the occupant's
                                      time of livin g in the dwelling and/or duri ng th e life of the dwellin g.
  Wall efflorescence                The presence of "cry stals" or white markings on the walls in the basement
  Spalling                          The breaking o ff or burs ting out o f surface layer of concr ete or b ric kwork , u su ally caused by
                                      freezing of intruded wat er. This i s often present as h oles, divots, or s urface defects .
  Musty odor                        A damp , musty smell is noticed when entering the room .
  Visible mold                      The vi sible presence of fungal c olonies of any color o n surfaces, w alls, ceilings, windows, or
                                       floors, most ofte n small colonies on surfaces withou t
B e droom
   Vi sibl e moisture damage        The p resence of water damage . T he presence of a water stains ou the ceiling, cc ails,     or around
                                      the window s . Bubbling pai nt on windowsill o r o ther area.
  Visible mold                      The visible pre sence o f fungal co lonies o f any colo r on surfaces, wall s, ceilings, windows, o r


  Wall-to-wall   carpet             Carpeting is present from wall to wall in the room.




the bathroom, indicators were : absent exhaust fan, mold in             Atl anta, Ga.) for 1 to 2 min . S amplers were ca librated annually
shower, water or moisture damage, and mold in a location other          b y th e manufacturer and o p erate d at a fl ow rate o f 28.3 Umin .
than shower. Another bathroom mold indicator was created by             All sampling was performed in duplicate . Samples were col-
collapsing two mold bathroom indicators (mold in shower and             l ecte d o n 2% malt ex trac t agar (20 g DIFCO malt extract
mold in other) into one, referred to as "mold any. "                    broth, Becton Dickinson, Sparks, Md . ; 20 g agaz/L distilled
   The bedroom indicators included wall-to-wall carpeting,              water). Sixty -four duplicate indoo r samples were collec ted in
visible moisture damage, visible moisture damage on ceiling,            a b aseme nt, bedroo m, and b athroom, respec tively. In t otal, 382
visible moisture damage on windows, and visible mold growth .           indoor samples (2 sampled were n ot collec te d fr om 1 sampling
Carpeting was included in the analysis because of its potential         si te in a case home) and 64 o utd oor samples were co llected .
to act as a reservoir of microbial growth . Because 85% of the               Sampl es were sent to the l abor at ory b y overnight mail on
data for bedroom visible moisture damage on ceiling and on              the d ay they were co ll ected . Th ey were inc ub ated at 25°C o n
windows were missing from the homes, these two moisture                 r ecei p t by the l ab oratory. Two re adings, including counting
indicators were not explored . Only three homes had evidence            and identificatio n , were performed on the seventh and tenth
of spalling in the basement and mold in the bedroom ; therefore,        days after collection . All fungal colonies were identified and
descriptive stati s tics for these indicators were not included .       counted. D o minant species of Aspe rgillus an d Pe nicil liu m were
In summary, a total of 11 mold and moisture indicators were             identified and recorded i n the data ana lysis as o ne p ooled
analyzed in combination with the environmental and fungal               taxon . (36,ao) Funga l concentrati ons are presented in CF[J/m3 .
sampling in this study.                                                 The limit of quantification was 35 C'FCT/m3 for 1-min samples
                                                                        and 18 CFU/m3 for 2-min samples . Concentrations of the
Fungal Sampling                                                         paired duplicate sa mples were averaged, and a mean concen-
  Quiescent fungal airborne sampling was conducted in each              tration in CFIJ/m3 was used in the analyses . .
room . ( 19) The sampler was placed on paper on the floor dur-               Because of the large number of biological sample compar-
ing sampling . Samples were coll ected in each dwelling using           isons, a hierarchy of coding criteria was established before-
an Andersen N-6 single stage sampler       (GrasebyAndersen,            han d based on the investigators' ex p erience an d views. After

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     TAB L E li .     M oistu re In d icator Fungi (MIA List                            Physi ca l Sampling
                                                                                           Physical measurements, including dry bulb temperature,
                                   Fungi Species                                        dew point temperature, and relative humidity, were taken si-
                                                     Phoma spp .                        multaneously with the fungal sampling at three locations in
     Acremonium            Basidiomycetes
                                                                                        each dwelling . Temperature and relative humidity measure-
       spp .
                                                                                        ments were taken at each indoor site with a Velocicalc Plus
     Alternaria Chaetomium Rhizopus stolonifor
                              globosom                                                  8360 (TSI Inc ., SL Paul, Minn .) . Physical measurements pro-
       a lternata
                                                                                        vide basic information about the amount of moisture in the
     Aspergillus Cladosporium spp . Rhodotorula spp .
                                                                                        air and/or in building material . Although the study design
         ca n didus
                                                                                        originally incorporated the use of indirect water content mea-
     A. fumigates    Ep icoccum nig rum Sporobo lomyces spp .
                                                                                        sures (conductivity using a Tramex moisture meter [model ;
     A . nige r       E uro tium        Stachybotrys charta rum
                         arnstelodami                                                   Tramex, Littleton, Colo .] or a Delmhorst BD 2000 moisture
                                                                                        meter (Delmhorst, Towaco, N .J .), these were found not to be
     A . ochraceus E . rubrum Trichoderma harzianum
                                        Tri chode rm a koning ii                        practical in the course of the study .
     A . ve rsicolor E. repens
     A. sydowii Ex       ophiala spp .  Tritirachium o ryzae
                                                                                        Data Analysis
     A . penicillioides Fusarium spp .       Ulocladium chartarum
                                                                                           All data were maintained in ACCESS version 9 .0 and an-
     A . restrictus    Muco  r  s pp .       Wal le mia seb i
                                                                                        alyzed in SPSS version 10 .0 in a Windows environment. A
     A. sclerot io rum Paecilomyces    spp .
                                                                                                                                                          IRC
                                                                                        subset of approximately 15 questions from the SRQ and
     A , us tus        Peni cil(ium spp .
     A u reobasidium
                                                                                        were analyzed to determine the      relationship
                                                                                                                                 between moisture
                                                                                        assessment performed in the home by occ upants and trained
        pullu lans                              ~
                                                                                        i n spectors . Housing ques ti ons ranged from genera] items such
     Note: Several factors, such as funga l water activities,   nutrient requirements, as type of heatin g to more specific d ampness ite m s such as
     and fungal spore discharge mechani sms , played a          key role in defining the musty od r in the bas ement . Kappa statistics were used to mea-
                                                                                                 o
     criteria fo r establishing MIF
                                  R                                        sure the level of agree me nt in housing characteristics b etween
                                                                           the two types of data collection (self-report vs . inspection),
                                                                           with kappa values of 0 .75 indicating excellent ag r eement and
-   o     g c ~tS-(`Pp`      I )~re   c~L•ulated; furcgatspacies-vvere- --values-below--O-   ~ indiea ' er- -a emenE . -~At StauSa6-
    g roupe d into three subcategories : ( 1 ) NIlF, (2) Aspergillusl      with its associated p robability (appro ximate significance) was
    Penicillium spp . (A/P), and (3) all other fungi . The M1F group- used to test that each measure differed significantly from 0 and
     ing (Table In was constructed by co-author Yang by using                           p -val ues .
     fungal characteristics, such as fungal water activit}
                                                            (41 -43) and                    The frequency di s tributi o n s of th e physical measureme nts
     fungal spore mechanisms . (") The primaryfactor (i .e ., fungal                    (re lative humidity, dew p oint tempe rature, and dry bulb t em-
     water activities) played a key role in defining the criteria for                   perature) were normally distributed, and parametric tests (in-
     MIF. For example, some fungi that grow at high water activity                      dependent sample t-test) were used to anal yze the data . Central
     conditions are called hydrophiles . Species of Acremonium,                         tendenci es are rep rese nte d as means (with s t andard d evi atio ns )
     Chaetomium, Stachybotrys, and others, require high water ac-                       in Table IV.
     tivity and thrive on wet substrates .                                                  Th e frequency di stribution s of th e fun gal concentratio n s
        Another group of fungi are xerophilic and grow at low                           were skewed to the ri ght . Log1o tra ns formatio n yielded nor-
     water activity. Some common xerophilic fungi species found                         mal distributions, so central tendencies of the data are repre-
     indoors are Eurotium, Aspergillus restrictus, A . penicillioides,                  sented as geome tric means (with 95% confidence inte rval s) .
     and A'allemia sebi . Their detection and growth preferlow water                    Sta ti stical analyses are conducted u sing parametric tests with
     activity substrates . These fungi are often found on substrates                    l oglo-transformed d ata . Three fungal groups were u sed in the
     subjected to high humidity and poor ventilation but generally                      analyses (TOT, MIF, and A/P) .
     not wet conditions . There is a third group, in between the                            Indoor-outdoor ratios of fungal measurements were calcu-
     hydrophiles and the xerophiles, that are more commonly found                       lated b y divi din g the indoor measurement of each roo m by
     on water-damaged materials . They are called xerotolerant fungi                    the ou tdoor meas urem ent o f th e ho me . Ind oor-outdoor ratios
     and include Aspergillus versicolor and A. sydowii, and others .                     are reported for three fungal categories (TOT, NIIF, and A/P) .
        Concentrations of each taxa in the MIF category were to-                        These ratios were used to determine whether fungal amplifica-
     taled and reported in CF[J/m3 . Aspergillus spp . (several species                 tion was evident in the room. An indoor-Qutdoor fungal ratio
     are known to be pathogens) and Penicillium spp . are two of the                     greater than one may indicate fungal amplification!") The fre-
     most frequently found fungi indoors, especially in problem                          quency distributions of the indoor-ou tdoor fungal ratios were
     buildings .(37) Aspergillus or Penicillium spp . may also be re-                    skewed to the right. I .oglo tra n sformation yi elde d n o rmal dis-
     garded as indicator taxa, defined usually as a particular fungus                    tributions, so central tendencies of the data are represen ted as
     that carries an excess health risk or presents a warning of                         geometric means . Parametric tests (independent sam pl e t-test)
     environmental damage .(I9,as)                                                      were used to analyze the data . Other descriptive statistics are


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TABLE III .         Relationship        Between Self- Report Questionnaire                      (SRO)     and Insp d6tot-Rated                 C h bcki hkt Oft)
Variables

                                                                                                                                          Kappa
Hou sin g Characteristics                                                                                                         Statistic (n)A          p=vaiiO
What    year was your c urre nt home built ?                                                                                         0 . 91   (57)          < .t100i
How long have you lived in your current home?                                                                                        0. 72    (62)          <.0001
How many houseplants do yo u have in your home?                                                                                      0. 65    (49)          < .0001
What kind of h eat so urce do        yo u u s e in your current    furnace or boiler (oil , gas, elec tric)?                         0. 88    (64)          <.0001
Wh at kind of h eat distributio n system d oes yo ur current hom e h ave (forced air, hot water, grav ity)?                          0. 90    (60)          <.0001
Do you use loca l humi difiers in y our current ho me?                                                                               0 . 71   (59)          < . 0001
In your current home, do you have wall-to - wall carpets in your bedroom?                                                            0 . 87   (64)          < . 0001
In your current home, do you have wall-to-wall carpets in your living room ?                                                         0 .83    (63)          < .0001
Is air from your kitchen exhausted to the outside from a range hood?                                                                 0 . 59   (61)          < .OObI
I s air fro m your bathroo m exhausted to the outsi d e?                         0.53(61)                                                                   < .0001
Is there mold growth present anywhere in t h e bathroom (in shower or on walls)? 0 .22 (62)                                                                   .055
D oes your b asement have a mu s ty or mold y odor ?                             0 .2 1 (5 8)                                                                    .066
D oes your b aseme nt have a wate r problem ?                                    0.24 ( 5 6)                                                                     .b2~
An =   number   of homes .
                                                   xi       gn                                            differs signific antly from 0
B A t statistic wi th its asso ciated probability (appro mate si ificance) was used to test that each m eas ure                           By u s ing the kappa   statistic
                           i i the
as a measure of repro duc ib l ty,                                  reproducibility
                                         p-values indicate the signific ant            between the SRQ and IRC.



provided (arithmetic m ean, standard devi ation , and range) to      however, the majori ty of samplin g was performed in the Spring
comp ere with values repo r ted in the sc i enti fic literatur e . and summer.
   Homes were classified into two groups according to th e
presence or absen ce of a moisture/mold indicator (as ob serv e d
by   in¢nrrr}nrc       e-md ,~p,.n d eax_Samgle-t te,r~~                              ObsenraYions - 8etween -SRQ-and-IRC            --
test for significant differences in fun gal level s or physic al                          Table III presents the relati o nship between S RQ and IRC
measurements in rooms with or withou t each moisture/mold                             observations . B asic env ironm ental indica tors, including age of
indicator. Three sequential regressions were conduc ted to de-                        dwe lling, carpeting, and beat source, were in agreement b e-
termine the presence of a relationship between funga l concen-                        tween the self-report and the inspection. A formal comparison
trations, physical measurements, and moisture/mold indica-                            of th e two assessments us ing kappa s t atisti cs sugges ts good
tors. Fungal indoor measurem ents were use d as the dependent                         agreemen t . H oweve r, h ome occupants were less likely to note
variable. Each of th e fun gal ca t ego ries (TOT, MIF, and A /P)                     m old o r musty odors in the basement , mold growth in the
was used separately a s a dep e ndent vari able . Moi s ture/m old                    b athroom, and problems of water in the basement than trained
indica tors o f each room were the ind epend ent variables . Ad -                     inspectors ( kapp a statisti cs <     0.3). Information 'colle cte d on
ju stments for seaso n were condu cted by usi ng the outdoor                          the IRC was used in further analyses for this article .
concentrations as a n inde p endent vari able in the model . Rel-
ative humidity was also used in the model as an independ ent
variabl e .                                                                           General Housing Characteristics
    The ord er of th e three ste p s o f th e regression mod el in-                       The majority of the homes were single-family dwellings
cluded: ( 1 ) ou td oor concentratio n s, (2) ind oo r relative hum i d-              located in central Connecticut . Approximately 12% were either
ity measurements, and (3) moisture/mold indicators of eac h                            apartments or condominiums . Subjects lived in the homes for
room (i ndicators were a dd ed as a group bl ock for e ach room) .                    approximately 13 years (range 2-24) . The average number of
Stepwise regression analyses are described with Pearson cor-                          inhabitants in the home was three . The mean size of the homes
relations (r) and model summary r2, standardized beta coeffi-                         was 1825 .4 ft2 . The average age of homes in this study was 46
cients (P ), and p-values .                                                           years (range 12-80) . The average age of the roof was 10 years
                                                                                      (range 2-18) . Sixty-four percent of the homes used oil as their
                                                                                      heating source . The source of heat was distributed mainly by
RES ULTS                                                                              either hot water (52%) or forced air (44%) . Approximately
                                                                                      two-thirds of the homes had air conditioning . One-third of
S ixty-four homes (30 cases and 34 controls) were evaluated                           the homes used humidifiers . Thirty-eight percent of the homes
    in this st udy. Fungal and physica l measurements were                            used a dehumidifier in the basement . Pets were observed in
collecte d in 64 homes and 191 rooms (1 room sample was not                           58% of the homes (14 homes with cats, 17 with dogs, 1 with a
collected) . Homes were sampled throughout different seasons,                         rabbit, 1 with a bird, and 4 with fish) .

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TAB LE VII .      Descri pt ive Statistics o f B asement Fungal Indoor-Outdoor Ratios
                                                                 Indoor-Outdoor Fungi Ratio             (CFU/m3)
                       TOT                                                         MIF                                            A/P
  Moisture/
Mold Indi cator GM AM (S D)                          Range GM                AM (SD)           R ange GM                   AM (SD)                 Ran ge

Musty odor
  Present = 38          1 .8 4 .8 (9 .8) 0.02-58 .9 1 .7 4 .1 (5 .1) 0 .02-17 .9 14 .1   89.3 (232 .9) 0 .15-1213.3
  Absent = 20           1 .0 3 .2 (4 .9) 0 .05-15 .4 1 .0 3 .7 (6 .0) 0 .05-20 .0 10 .1 34.2  (61 .5) 033-249 .
Efflorescence
  Present = 24          1 .7 3 .8 (4 .5)          0 .05- 1 4 .4 1 .8 4 .5 (5 .7) 0 .05-20 .0 18 .8 79.8 (167 .9) 0 .33-807 .7
  Absent = 34           1 .3 4 .7 (10.4)          0 . 02 -58 .9 1 .2 3 .6 (5 .2) 0 .02-17 .9 9 .5 63 .6 (2 1 0 .8) 0.15-1213 .3
Water sources
  Present = 37          2.0^ 4 .4 (5 .0) 0 .05-15 .4 2 . 1 A 5 .2 (6 .2) 0 .05-20.0 17 .9B 96 .0 (233 .6) 0 .15-1213 .3
  Absent = 20           0 .8^ 4 .2 (12 .9) 0 .02-58 .9 0 .7A 1 .9 (2 .7) 0 .02-1 1 .8 6 .78 25 .7 (67 .7) 0 .33-310 .1
Visible mold
   Present = 15 2 .2 43 (4 .4) 0 . 1 2- 1 3 .9 2 .4 5 .2 (5 .9) 0 .12-17 .9                                   27 .98     49 .9 (503) 3 .63-1 64 .7
   Ab sent = 43 1 .2 4 .3 (9 .5) 0 .02-58 .9                        1 .2 3 .5 (5 .2) 0 .02-20 .0 9 .6B 77 .4 (222 .3)                        0.15-1213.3
Notes : GM = geometric mean, AM = arithmetic mean, SD = standard deviatio n , CFU/m3 = colony forming units per cubic meter ; TOT =   total ; M¢   = moisture
indicator fungi ; A/P = AspergilJur and Penicillium spp .
AThe difference between group means is statisti cally significant (p < .05) by independent samp le t-test.
BThe difference between group means approa ches stati s ti cal significance (p < . 07) by ind e p endent sample t-test




indoor-Outdoor Fungal          Ratios                                           lio n change assoc i ated with o n e standard deviation change of
    H omes with water sources in the base m ent have high er                    the in d epende nt v ariable . For ex ampl e, the standardized beta
indoor-o u td oor funga l rati os th an ho m es w ithout wat r so rces__ _ coefficient for the association
                                                               e      u                                                 be twee n MIF concentrati o ns and
                                                         ant i n  TOT   an d   wat    er sources   in   the  basement    is .367 . This mean s that fo r on e
(Tabl e VII) . This was found s t ati stically signi fic
MI F co ncentrations an d approache d signifi     cance    with   A /P (p =  standard     devia     ti on  c h ange  in  water  sources in the b asemen t ,
                                                                                 th e predic ted i ndoor      NIIF log   concentr  ation in creases b y .367
 .07) . Basements w ith visible mold had an i     nd oo   r-outdoo   r ratio
of A/P three times that of baseme nts without        vi s ible   mo ld, and     s tandard  deviation.
the difference approached sl alisti cal s i gnifi cance (p = .069).
Mean indo or-o utdoo r ratios o f Mff co ncentrati on s in homes                  Ba sem en t
with moisture/mold indicators ranged from 0 .49 to 1.32 i
                                                                  n Table VI II shows that indoor IvIIF concentrations are signi f-
bathro o ms and 0 .65 to 1 .17 in b edrooms . Mean indoor-outdoor
                                                                      icantly correlated with outdo or concentrations, relative humi d-
r at ios of MIF in h o mes w i th the presence of moisture damagee iry,and moisture indicators i nth e basement (wall efA o resce n ce,
in the bath room w ere greater than one (1 .32) ; however, th         water sources, and visible mold) . This same pattern exis ts for
ratios were not significant when compared with homes without          indoor TOT and A/P concentrations . A s Table VIII sh ows,
b athroom mo i sture damage . Mean indoor-outdoor ratios ofA/P        the mod e l was highly predictive of in door IvIIF co ncentrations
in h omes with the p resence of moisture damage and mold in                   .446, p = . 017) . The s ame ho ld s true fo r indoo r TOT
showe r were 7.5 6 and 5 .52, respec tive ly ; h ow ever, they were   ~~ -
                                                                      (r2 - • 4 1,7 , p = .019) an d indoor A/P (r2 = .3 61 , p =
not s tatistically signific ant when compared to homes without
                                                                      .022). When adjuste d for outdoor concentrations and in-
these i ndicators (3 .62 and 3 .53, respectively) . The majority     door
                                                               cate- water   relativesources
                                                                                       humidity; in the basemen t were
(74%) of indoor-outdoor rati os th at exceeded 1 for A/P                 un d to be  sig nific ant predicto rs of i ndoor TOT, MIF, and
                                                                      fo
g ory occurred at outdoor concentrati on s < 100 CFU/m3 wh ere        A/P concentrations . However, ba sement water sources and not
              i s high, so there fore their interpretatio n may be                         ,
                                                                      relative humidi ty explain 36% o f th e vari ance in the mo del for
questionable. (48)                                                    in d oor A/P concentr ations .

Regression Analysis
    Table VIII provides regression results for all steps using                    Ba throom
mean MIF concentrations as the dependent variable and for                            Indoor funga l concentrations of TOT and MIF were sig-
the final step using mean TOT and A/P concentrations . Raw                        nificantly correlated with outdoor fungal concentrations and
Pearson correlations among the variables are presented first,                     relative humidity (Table VIII) . Visible mol d in the shower
followed by the predictors of the model . The               standardized          is significantly correlated with A/ P concentrations (r = .213,
beta   coefficients ,6 express
                  ( )         the expected indoor concentra-                      p = .053) and approaches significance with TOT (r = . 197,


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    TABLE V III . Stepw ise Re gression Model to Pred ict Ind oor MIF Conc e ntrat ion s ( Log o-Tran sform e d , mglm 3)
    in the ba se m ent, Bathroom , and Bed room ; Model C (F i n al Ste p Only) to P r edict TOT and A /P Concentrati ons
    ( Log o-Transfo rmed , mg/m3 )
                                            Pearson     Mo del AA                Mo del B$            M odel Cc          Model Cc Mo de l Cc
                                           Coeffici ent   MIF"                     MIF               MIF               TOT                A/P
    Predictors                               MIF A Coeffi cien t                 f3 Coeffici ent     /j Coefficien t   /.i Coeffic i en t 3 Coefficie nt

    Basement
       Outdoor concentrations                   32 E              319 E                . 092                . 116            . 083             . 070
       Relative humidity                        .56 E              -               . 523 E              .343 E               327 E         . 247
       Water sources°                           .53 E              -               -                   . 367 E               . 368 E       . 345 E
       Visible moldD                            .29 E              -               -                    .085                 . 087         . 175
       Efflorescence D                          .37 E              -                 -               - .014                - . 010      -026
    Basement r2                                                  0 .102            0 . 324                0.446          0 . 417           0 :361
    Bathroom
       Outdoor concentrations               .48 E               .478 E              . 312 E                 .299E            . 299 E           .180
       Relative humidity                    .51 E               -                   . 366 E                 . 336E           308 E             .289
       Absent e xh aust fan °             - .23 E                -                 -                      - .083           - . 118             .032
       Visible mold in shower °             .21                  -                 -                        .330             . 390             . 054
       Visible mold in other°                   .06                -               -                        .013             . 025         - . 053
       Visible mold     anyD                    . 14                 -             -      - .270                           -.356               .111
    Bathroom r2                                                  0 . 228           0 . 335 0.363                           0.358              0.229
    Bedroom
      Outdoor concentrations      .57 E  .568 E                                     317 E   . 322E        304E                                 335 E
     Relative humidity            .64 E   -                                         .476    . 483 E       .498E                                .198
     Visible mold°                . 07    -                                       -         . 032         .038                                - 010
     Visible moisture damage °    .09    -                                           -      . 089         . 089                                . 130
---- ~Va~i -te-t~l~arpet~' ------ ~5------ -                                     - - --- X     5 9---= 868----
   Bedroom r2                           0.323                                     0 .487  0 . 501 0 .507                                   0 .265

    A Predictor variable in model A =outdoor concentrations.
    B Predictor variables in model B = outdoor concentrations and relative humidity .
      Predictor variables mmodel C outdoor concentrations, relative humidity, and moisture indicators .
    D Dichotomous vanables (i =yes, 0 = no) .
    E p- value < .05.




    p = .067) and MIF (r = .21, p = .055) concentrations . Absent                     pares the distribution of the outdoor IvIIF concentrations and
    external exhaust fan is correlated with indoor TOT (r = - .246,                   indoor MIF concentrations among the three rooms in the homes
    p = .Q30) and NIIF(r = - .225, p - .044) concentrations . When                    with and without basement water sources . Outdoor MIF con-
    adjusting for outdoor concentrations, indoor relative humidity                    centrations were not significantly different between the homes
    is a predictor of indoor TOT concentrations (r2 = .358, p =                       with basement water sources and homes without (p = .27) . MIF
    .007) an d MIF concentrations (r2 = .363, p = .004) .                             concentrations were significantly higher in all rooms (base-
                                                                                      ment p < . 001 ; bathroom p = . 019 ; bedroom p < .001) of
    Bedroom                                                                           homes with basement water sources as compared with homes
        Indoor fungal concentrations of TOT, MIl', and             A/P
                                                                 were                 without basement water sources . The NIIF concentrations were
    significantly   correlated with outdoor concentrations . In            the        approximately threefold highe r in rooms of homes with
    bedroom,   wall-to-wall  carpeting is significantly correlatedwith                base ment water sources (bathroom and bedroom means w ere
    A/P conc entrations (r = . 219, p = . 045) . When we adjusted                     91 0 and 857 CFU/m3 , res pecti vely) a s co mp are d with h o mes
    for outdoor     concentrations, indoor relative humidity in the                   without (bathroom and b edroom MIF m ean s were 352 and
    bedroom was found to be a significant predictor of indoor TOT                     238 CFTJ/m3 , respectively) .
    (r2 = . 507 , p < . 001) and MIF (rZ = .501, p < .001) .
                                                                                      D I SC U SSION
    Room Comparison and Basement Water Sources
      Regression results show that the "basement water sources"                             his is the first article to characteri ze moisture/mold    in-
    indicator is predictive of fungal concentrations . Figure 1 com-                  T dicators      in residential homes by using a unique fungal

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                              45
                                      P= .279 p<. 001 , p=. 019, p< . 001
                        m
                        E     4 .0
                        LL
                        U
                         ° 35                                          A
                        0

                        c 30
                        0
                        Y
                        m
                        c 25
                        CU
                         U
                         C
                        0 20
                        U
                                                                                                   Basement water sources

                              15                                                                   Qno
                                                                       O    O
                               1   01 _~                                                           dyes
                                     H = 20        37    20   37       19   7   1    IV   37

                                          ou tdoors     bas ement bathro om         be d room


 FIGURE     1 . Box plots co mp aring mois ture indicator fung i co ncentr ation s (log , p CFU/m3) in ai rbor ne sa mpl es a c ross room s fro m homes with
 an d withou t basemen t water sources . From the bottom      to the
                                                                   top, the box lines in the figure represent 1 0th, 25th, 50th, 75 th, and 90th percenti l es,
 resp ectively. Circ l es rep rese nt outliers .
                                            Outl ie rs are defin ed as 1 .5 box l en gths above 75t h percent ile an d 1 . 5 box len g ths be l ow the 25 th
 percentile .


grouping based on characteristics such as water activity and nu-                    model predicting in d oor M1F co n centration s. Relative humi d-
trient requirements . Fungi are adaptable to the indoor environ-                    ity also explain s so me of the variance in mos t mo de ls an d may
ment because of the richness of nutrients . The MIF grouping is                     h ave a seco n dary impac t on m old g rowth , s ince a wet s ub -
important because it represents exposure from indoor sour c es                      strat e has limite d d rying p otential in a high relativ e hum idi ty
vs . outdoors . Cladosporium spp . andAlternaria alternata spp.,                    environme n t .
although they are phylloplane fungi and common in outdoor                               It appears th at occupants ar e able to ide ntify major wat er
air, were included as moisture indicator fungi because they are                     leaks in their homes and yet fail to recognize common water
commonly found indoors on cold surfaces with condensation,                          p ro blems or sour ces s uch as l eaky basement wi ndow s, poor
a common phenomenon in the northeastern United States .                             drain age, crack s in found ation s, and static fac tors, tha t con-
The IvIIF grouping may also help with the interpretation of                         tribute to mo i sture entry into the built envi ro nment . In our
indoor and outdoor fungal ratios of A/P, which was very low                         study, occupants reported fewer signs of mold and moisture
outdoors . Grouping species together by their environmental                         th an inspectors, and there was little agreement found among
characteristics allows comparison across climates and geo-                          base ment mold/musty o do r and b asement w ate r problems be-
graphical regions .                                                                 tween SQR and II2C . -Trained inspectors observed the follow-
     It is not feasible to compare airborne fungal concentrations                   ing basement water sources that re lated to th e outside struc ture
directly across studies for three major reasons : (1) studies were                  but were not considered by an occupant : drainage fields that
conducted in many parts of the world with different climates                        fl o w ed toward the ho u s e, b elow grade with ou tside rai n water
(e . g . , cold and damp areas in Nordic countries), (2) sampling                   dr aining around foundation, and leak s throug h the bulkhea d
strategies and proto c ols varied, and (3) the studies were de -                    doors . Th e rol e of surface dr ainage an d the con tribution to
signed to answer different questions . However, our study and                       moisture load in b asements was exploratory, and descriptive
others continue to show that there is wide variability found in                     r esul ts indicate that surface drainage quality may be an i mpor-
airborne fungal concentrations, especially when using cross-                        tant factor to consider i n future studies . By us ing the inspec tor
sectional study design . Our mean indoor TOT and A/P con-                           observations in our anal ysis, reporting bias by subjects was
centrations were similar to findings in another northeastern                        reduced.
study(33 ~ that included the large variability in concentrations .                     Our study shows that rooms with mold and moisture in-
Basement water sources explain 45% of the variability in our                        dicators as observed by an inspector have high er fungal



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      concentrations and physical measurements than rooms without stack effect (50) creates a negative pressure in the base ment
      indicators . This is an important finding because the, tren d in This tends to draw mois t exterior air in throug h cracks or
      industrial hygiene is to use observational data, rat her than air openings in the foundation and may facilitate fungal grow th
      sa mp ling, to document potential mold exposures . We chose to and subsequent migration of funga l material throughou t the
       focus on the fungal concentrations of a specific room and see house . More research is needed to investigate the relationship
      'the  relationship it  has with the   moisture/mold   indic ator in th at  among a "wet' base ment, other occupied sp aces in the home ,
       room-an el ement of the study design th at may account for                and health symptoms.
       the significant findin gs as sociated wi th seve ral mois ture/mold Indoor-outd oor ratios we re c al cul ated to determine wh ether
       indic ators in our s tudy as comp ared w ith th e results o f o th ers in microbia l amp lification occurs in the h omes . M ost notably,
       the literature .For example,   homes without an exhaust fan in the mean indoor-outdoor fungal ratios for homes with water
       bathroom h ad statistically     significantly
                                                   highe r fungal concen- sources were                      significantly
                                                                                                              higher than homes witho ut. Our
      trations                                x
                than h omes with a fan . E haust fans remove m oisture s tudy provides additional data to explore th e feasibility of
       from th e bathrooms and th er efore control mold growth on                using indoor and outdoor fungal ratios in exposure assessment .
      surfaces . The presence of operable windows, suppor ted by the The use of indoor-outdoor ratios in an exposure assessment
      building code , may no t provide an equivalent solution.                         i s s till l imited . Thi s i s m ost evid ent for A /P co ncentrations ,
            Our study found similar total fungal concentrations in homes               whe reb y th e indoor a nd outd o or geome tri c mean ratios of
      with be dro oms with v i sible m old (        geo  me tri c  mea n  892   CFCJ/  homes with an indica tor in the ba sement r a nged fro m 14-
      m3) and without mo ld (561 CFU/m3) as D                 h armage.( ) 30  H  ow-     28CF[J/m3 as compared with homes withou t indicators (7-
      ever, Dharmage tri ed to quantify t          he  mold   surfaces   and   found    10 CF[J/m3) . The ratios exceeding 1 .0 occurred at outdoor
      significantly   greater total fung      al prop  agules   in h omes   with   > 3 co n centr ati ons of < 100 CFU/ m3 . U sing dat a fro m an offic e
                                                                                                                                                      )
      mo ld surfaces (811 CFU/         m3)     in  the be droom    tha n  in  h o mes  build ing with mec hanical ventilation , Burge(48 reported th at
      without o bserved mold (544 CFU/m3) . In our study, it might the impor tance of indoo r and outdoor ratios exceedi ng 1 . 0
      have been helpful to define or quantify the mold surfaces in a at outdoor concentrations < 1 00 sh ould be interpreted with
      simi l ar manner.                     caution .
          B ase m en ts are not u s u a ll y pl aces where peopl e sp en d time             This study was conducted in th e state of Connecticu t , and
      How ever, air circulates thro u gh o ut a home, and o ur results                 th e small sampl e size and the vol untary n ature o f partic ipa-
      s ugges t that base ments m ay provide a source of micro b ial li on may somewhat limit the gen eralization of th e findi ngs .
      co ntamin ati on to livin g s paces . Thi s m ay b e more of a conce rn             Nevertheless, the                                with what. is expecte
                                                                                                                res ults are co ns i s t ent
-   ---du  xng t~e~ieahng seaso       n for homes        in a north ern cli mate .     from environmental microbiology. In additi on t o geogr aphy,
             ( )
      Ren, ll in a pilot study condu c te d in 11 Co nnecticut homes, seaso n p l ays an importan t r ole wh en inte rpretin g th e resu lts                       of
      found higher mean airb orn e fun gal conce ntrations in b ase-                   fungal sampling . The stud y h o mes wer e sampl ed thro ug h o ut
      m enu th an in bedroo ms and living rooms and o utdoor air in th e                       year,    large
                                                                                                     with a         p ercentage of homes visited in the spring
      mos t seasons . Indoor basement air differed by the type of fu ngi an d                   summer.       sampling
                                                                                                          Ideall y,              homes in one season wo ul d
      and the t otal fungal   concentrations compared
                                                    as               wi th the othe r re du ce some o f the variab ility o f airbo rne fung al concen trati o ns
      rooms and outdoo r air.                                              and physical m easure ments . In o ur s tudy, as a way to acco unt
          Most notably, the     highest     fun g al concentr ati ons were found for           seasonality,  indoor fungal concentrations were adjusted by
                                                 ( )
      i n the winter in the b asement. Ren ll also found significantly outdoor co nce ntr ati ons and relative humidi ty in a regress i o n
      hi ghe r concentratio ns o f fungi i n the ba seme nt of one home                an alysis . In d oor and outd oor fung al con cen tration ra ti os were
      with frequent fl oodin g than in the base ment of other homes . also presented as a way to account for seasonality.
      Th e measurement of pressure differences between rooms, such This study was ca rried out in the late 1990s, and the current
      as be twee n a bedroom and b asem ent, may b e use ful for de-                   trend for i d enti fyi ng a "mo ldy or "moisture problem dw elling"
      term i nin g bow air circulates in a h om e to indicate potenti al m ay b e                   shifting   away from relying on airborne fungal sam-
      exp os ure pathw ays .                                                           pling fo r expos ure assessment . Most re ce ntly, Haverinen( 2) has
          Wat er sources and mold growth are in terre l ated va riables, s h own th at a n e xposure                   classification      s y stem u sing in dic ators
      the effects of which     are  difficult to separate from one another.            i s more predictive of hea lth symptoms (with an observed               dose-
      Our    findings show that homes with vi sible mo l d in the base- response relationship) when the exposure model accounts for
      went have significantly higher A/P concentrations by fourfold the amount of moisture damage and es timated severity. Due
      than h omes without      mold.   Mean fun gal co ncentra tions     in base-      to th e compl exity and        technical  inabi lity to document fungal
      ments with mo ld were t wo to five times hig h er th an fungal exposures that may occur wit h the meth od of air                               sampling, this
      concentrations in bathrooms with mo l d. kind of classification system is promising .
          O ur find ings sugges t that the indicator "mold in        basement"
      may represent an important source of exposure t hroughout                        CONCLUSIONS
      the dwelling tha t has     largely     been ignored in the   literature . In
      most h ouses, warm air rises to the u pper portions of a building his study characterized several moisture and mold indica-
      envelope to induce a "stack effect' or "chimney effect" This T tors in residential dwellings using conventional sampling


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                                      CERTIFICATE OF SERVICE

                This will certify that the undersigned today placed the attached discovery in the


Unit e d States Mail to all coun se l o f record as follows :




                         Attorneys for Mitchell Management         d/b/a Royal   Oaks

                         Andrew M . Thompson , E s q .
                         Stephen E . O' Day, Esq .
                         Smith , Gambrell & Russell , LLP
                         Suite 3100 , Promenade II
                         1230 P e achtree St ., N . E .
                         Atlanta GA 3 0 309



                         This i~- day                of           2005 .

                                                            ~-
                                                            -~-
                                                            EUGENE C . BROOKS, IV
                                                            Attorney for Plaintiff
                                                            State Bar No : 084750

BROOKS LAW FIRM
313 W . York Street
P .O . Box 9545
Savannah, GA 31412
912/233-9696
